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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION



                                                  )   Case No. 3:24-cv-00974-AN
                                                  )
                                                  )   Judge: Hon. Adrienne Nelson
                                                  )
                                                  )
 IN RE NIKE, INC. SECURITIES LITIGATION           )   DEMAND FOR JURY TRIAL
                                                  )
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 FIRST AMENDED CONSOLIDATED CLASS ACTION ALLEGATION COMPLAINT
          FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS




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       Court-appointed Lead Plaintiffs Caisse de dépôt et placement du Québec (“CDPQ”) and

Deka Investment GmbHC (“DEKA,” and collectively with CDPQ, “Lead Plaintiffs”), bring this

federal securities class action pursuant to Sections 10(b) and 20(a) of the Securities Exchange Act

of 1934 (15 U.S.C. § 75a et seq., the “Exchange Act”) and Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5), on behalf of themselves and a class consisting of all persons and entities that

purchased NIKE Class B Common Stock (“NIKE Stock”) from March 19, 2021 through October

1, 2024, inclusive (the “Class Period”). See ¶801 (operative Class definition). This Action is

brought against Defendants NIKE, Inc. (“NIKE” or the “Company”), John J. Donahoe II

(“Defendant Donahoe”), Matthew Friend (“Defendant Friend”), Heidi L. O’Neill (“Defendant

O’Neill”), Andrew Campion (“Defendant Campion”), and Mark G. Parker (“Defendant Parker”)

(Defendants Donahoe, Friend, O’Neill, Campion, and Parker are collectively the “Individual

Defendants”).

       Lead Plaintiffs allege the following based upon personal knowledge as to themselves and

their own acts, upon information and belief as to all other matters, and based upon the investigation

of counsel, which included review of: (i) NIKE’s public filings with the U.S. Securities and

Exchange Commission (“SEC”); (ii) public statements by the Individual Defendants and NIKE

and its executives, including in press releases, earnings or other analyst conference call transcripts,

and news and social media; (iii) interviews with former employees of NIKE; (iv) documents

provided by a former NIKE employee; and (v) reports of securities analysts, news articles, and

other publicly available sources. Lead Plaintiffs believe that additional evidentiary support will

arise for the allegations set forth herein after an opportunity for discovery.




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I.      INTRODUCTION

        1.       Throughout the Class Period, Defendants repeatedly touted to investors the

purported continued success of NIKE’s key corporate strategy called “Consumer Direct

Acceleration” (“CDA”), which emphasized a digitally enabled direct-to-consumer (“DTC”)

business model. The CDA strategy, according to Defendants, had the purpose and effect of

propelling long-term sustainable financial growth for the benefit of NIKE and its shareholders.

During the Class Period, Defendants repeatedly, falsely assured investors that the CDA strategy

was achieving its key objectives—including, for example, that NIKE had developed the

technological capabilities and supply chain infrastructure necessary to effectively execute such

DTC operations—and thus was succeeding in driving the promised sustainable growth.

Unbeknownst to investors, however, the CDA strategy suffered from multiple, severe problems in

key underlying areas—including NIKE’s failure to build out the critical DTC technological and

supply chain capabilities—and thus was a ticking timebomb. When Defendants’ fraud was finally

revealed over a series of partial disclosures of the truth, showing the extent of NIKE’s CDA

strategy failures and their disastrous impact on the Company’s financial performance, investors

lost billions.

        A.       Overview of NIKE’s Business

        2.       NIKE sells products through both wholesale and DTC channels. Most of NIKE’s

wholesale channel sales are to multi-brand retailers that sell NIKE products along with products

from other brands (i.e., “multi-brand” retailers). For example, under this model, a multi-brand

retailer like Foot Locker will purchase sneakers on a wholesale basis from NIKE, and Foot Locker

will then sell those NIKE sneakers side-by-side with sneakers from other brands to customers.

NIKE’s DTC channels, on the other hand, allow NIKE to sell its products directly to consumers


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without such a middleman. Instead, under the DTC model, a consumer can walk into a NIKE store

or log onto NIKE’s website or mobile applications (“apps”) and buy NIKE’s sneakers or other

products without the need to go through a third-party retailer, like Foot Locker.

       3.      Sales made through NIKE’s wholesale and DTC channels were NIKE’s lifeblood,

as revenues from those two channels constituted approximately 95% of NIKE’s total revenue

throughout the Class Period.

       4.      Historically, NIKE has sold a significant majority of its merchandise through its

wholesale partners. However, over the past decade, NIKE made a concerted effort to increase the

portion of its revenue derived from DTC channels as opposed to wholesale channels. As part of

this effort, in 2017, NIKE announced its “Consumer Direct Offense” (“CDO”) strategy, which

sought to “drive growth” by increasing investments in the Company’s DTC channels, while

similarly increasing the pace of NIKE’s innovative product pipeline. In 2020, NIKE’s strategic

pivot reached a key inflection point with the appointment of Defendant Donahoe as NIKE’s Chief

Executive Officer (“CEO”) and the announcement of the “next phase” of NIKE’s DTC-focused

strategy—which NIKE called CDA.

       B.      The CDA Strategy

       5.      NIKE announced its CDA strategy on June 25, 2020. CDA incorporated the tenets

of CDO, including its commitment to increasing NIKE’s innovative product pipeline while

investing in and building out the Company’s DTC channels. But the CDA strategy went further—

by accelerating NIKE’s investments in its DTC channels, with a particular focus on its digital

operations (i.e., Nike’s website and mobile apps). Specifically, the CDA strategy envisioned “three

areas of strategic acceleration,” which included: (1) increasing NIKE’s focus on digitally-led DTC

operations; (2) increasing NIKE’s technological capabilities to enable those DTC operations; and


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(3) engaging in a massive corporate restructuring to streamline and reorganize the Company’s

business around what it called “consumer constructs,” meaning demographic categories—

specifically, “Men’s,” “Women’s,” and “Kids’.”. This represented a shift from NIKE’s prior

approach of orienting its business around sport-based categories (e.g., running and basketball,

among other sports).

       6.      According to Defendants, the purpose and effect of the CDA strategy was to propel

long-term sustainable growth for NIKE. Notably, when announcing the CDA strategy in 2020,

NIKE described it as the Company’s “new digitally empowered phase of NIKE’s strategy to

unlock long-term growth and profitability.” Defendants repeated this sentiment throughout the

Class Period. For example, in a June 24, 2021 press release, Defendants touted that NIKE’s “digital

leadership,” enabled by the CDA strategy, had “set the foundation for NIKE’s long-term growth.”

       7.      The ability of the CDA strategy to drive this vaunted long-term growth depended

on NIKE building out or maintaining certain key aspects of its business. These key areas were: (i)

developing an effective DTC supply chain; (ii) enhancing NIKE’s DTC technological capabilities

and establishing a technology organization to support those capabilities; (iii) engaging in a

corporate reorganization, including the creation of new consumer constructs and building out

NIKE’s technology capabilities; (iv) maintaining a robust pipeline of innovative products while

effectively managing the supply of NIKE’s key products; (v) maintaining NIKE’s brand strength

and leading competitive position; and (vi) effectively adapting to consumer demand patterns

regarding shopping at mono-brand and multi-brand retail stores. The success of the CDA strategy

hinged on the successful execution of each of these components; thus, the failure of even a single

component jeopardized the success of the CDA strategy as a whole.




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         C.     Defendants Misled Investors Regarding Key Failures of the CDA Strategy

         8.     Throughout the Class Period, Defendants repeatedly conveyed that NIKE had

successfully built out or maintained each key component of the CDA strategy and, as a result, that

the CDA strategy was succeeding at propelling long-term, sustainable growth. For example, during

the Class Period, Defendants repeatedly assured investors that the CDA strategy “is working,”

including by specifically touting the purportedly successful execution of its underlying key

components, like the DTC supply chain and technological capabilities buildout. 1

         9.     Investors took Defendants at their word, as evidenced by Class Period reports from

securities analysts who followed NIKE and served as a proxy for investors. For example, a June

25, 2021 report by analysts at UBS 2 assigned NIKE Stock a positive “Buy” rating and hailed

NIKE’s DTC focus under the CDA strategy as a key growth driver for the Company: “[t]he

financial benefits from Nike’s transformation into a digitally-led, direct-to-consumer company

are just starting to play out. We believe the reason to own Nike is for the exceptional growth it is

likely to achieve over the coming years.”

         10.    Unbeknownst to investors, however, each key component of the CDA strategy was

plagued by persistent, severe problems throughout the Class Period, thus imperiling the success of

the CDA strategy. The existence of such problems is evidenced by, inter alia, the accounts of 19

former NIKE employees serving as confidential witnesses (“CWs”), Defendants’ own public

admissions at the end of the Class Period as the truth regarding the CDA strategy’s failures

gradually emerged, and numerous news reports (by reputable media outlets, like The Wall Street

Journal, based on their independent investigations) published at the end of the Class Period.




1
    All emphasis is added unless otherwise noted.
2
    “UBS” refers herein to “UBS Global Research and Evidence Lab” and/or “UBS Research.”
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       11.     First, the CDA strategy’s success hinged on NIKE developing an effective DTC

supply chain because, without one, NIKE could not successfully distribute its merchandise to meet

consumer demand. During the Class Period, Defendants repeatedly told investors that they had

accomplished this goal. For example, Defendants claimed that NIKE had been able to “fairly

impressively pivot to a more direct-to-consumer supply chain,” and had been “creating a digital-

first supply chain in the marketplace.” But none of this was true.

       12.     Multiple CWs recount that, during the Class Period, NIKE failed to develop an

effective DTC supply chain, which impeded the success of the CDA strategy. Most notably, CW-

1 (a former Vice President (“VP”), Global Store Development from August 2022 through May

2024) stated NIKE did not have sufficient capabilities to manage its supply chain as it pivoted

more toward emphasizing DTC at the expense of wholesale. CW-1 confirmed that the supply

chain management issue was a problem for all of NIKE’s DTC operations: NIKE’s brick-and-

mortar stores, website, and apps. Based on this and other CW accounts (as well as additional

corroboratory sources, including Defendants’ own later admissions), this remained the case

throughout the Class Period, and multiple Individual Defendants and the Board of Directors were

repeatedly notified of this problem.

       13.     Second, the CDA strategy required that NIKE build out and unify its DTC

technological infrastructure, capabilities, and organization. During the Class Period, Defendants

repeatedly claimed to investors that they had done so. For instance, during NIKE’s Annual General

Meeting on October 6, 2021, Defendant Friend falsely assured investors that the “investments

we’ve made against our end-to-end digital transformation are making us more agile, and we’re

building the capabilities that are required for NIKE to operate a digitally led omni-channel,

direct-to-consumer business at scale.” Similarly, in a March 30, 2022 video posted publicly on

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Facebook by Adobe Experience Cloud, Defendant Donahoe falsely touted NIKE’s DTC

technological capabilities (consumer personalization on the Company’s digital platforms) that

Adobe, Inc. (“Adobe”)—a provider of digital marketing software—purportedly helped build as

part of its partnership with NIKE: “The Adobe platform [] has played such an important role of

delivering a more personalized experience for our consumers.”

       14.     Throughout the entire Class Period, however, NIKE failed to successfully build out

the DTC technological capabilities and organization that the Company needed for the CDA

strategy to succeed. Indeed, accounts from multiple CWs employed in NIKE’s Digital Product,

Technology, and other relevant groups during the Class Period—including a Digital Product VP

who regularly interacted directly with Defendant Donahoe and other Individual Defendants

regarding these technology issues—tell a damning story. In particular, NIKE’s DTC technology

was antiquated throughout the Class Period and could not reliably perform critical functions like

effectively personalize marketing to consumers on the NIKE website and its various mobile apps.

NIKE partnered with Adobe in 2021, in an expensive $400-plus million deal that Defendant

Donahoe personally approved, to build out these technological capabilities, which were intended

to generate $1.5 billion or more in revenue. But, internally, the Adobe partnership was widely

recognized as a failure from the start, as Adobe failed to deliver these capabilities during the Class

Period, making limited progress during the next three years and ultimately generating zero revenue

for NIKE.

       15.     These problems were compounded by NIKE’s former Chief Digital Information

Officer, Ratnakar Lavu, who, according to multiple CWs, set up a “shadow organization” within

NIKE that created, inter alia, duplication of efforts and dysfunction within NIKE’s organization

that also impeded the Company’s ability to develop the crucial DTC technology and thus further

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jeopardized the success of the CDA strategy. Per multiple CWs and publicly filed pleadings, Lavu

purportedly engaged in corruption, including kickbacks to external vendors and other misconduct

that prompted an SEC investigation, and, in February 2023, departed NIKE under suspicious

circumstances. Indeed, CW-1 explained that the only reason Lavu wasn’t walked out of the

building in handcuffs – even though he should have been – was to avoid embarrassment for the

Company, especially for Donahoe. Critically, CW allegations support that the Individual

Defendants, particularly Defendant Donahoe, were not only apprised of these problems beginning

no later than early 2022, but also instituted scores of multiple regular and ad-hoc meetings to

discuss these technology issues. Notwithstanding their direct knowledge of these problems,

Defendants continued to mislead investors about NIKE’s purportedly strong DTC technological

capabilities throughout the Class Period.

       16.     Third, the CDA strategy required NIKE to execute a substantial corporate

reorganization, including by pivoting away from categorizing NIKE’s product lines based on

sports (e.g., running, basketball, tennis, etc.) to consumer constructs based on gender and age (e.g.,

“Men’s,” “Women’s,” and “Kids’”). During the Class Period, Defendants repeatedly told investors

that NIKE successfully executed this corporate reorganization. For example, in October 2021,

Defendants claimed that “[w]ith the CDA, we successfully realigned our organization.” Despite

these assurances, however, Defendants later admitted, at the end of the Class Period, the failure of

this restructuring—entirely reversing course to recreate the prior sport-based categorization of

products that existed before the CDA strategy launched. For example, in NIKE’s March 21, 2024

earnings call, Defendants admitted that NIKE had reverted to using the sport-based categorization

“[s]tarting last June” (i.e., June 2023). Indeed, on this call, Defendant Donahoe acknowledged,

while discussing the CDA strategy, that “it’s been clear that we need to make some important

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adjustments,” including that “we need to sharpen our focus on sport.” CW accounts further detail

these failures of NIKE’s CDA-related reorganization, including that NIKE had actually begun to

strategically pivot back to a sport-based category approach an entire year earlier than it had

disclosed—in the summer of 2022.

       17.     Fourth, maintaining an innovative product pipeline to meet consumer demand was

a foundational requirement of the CDA strategy. Throughout the Class Period, Defendants claimed

that NIKE had maintained a robust pipeline of innovative products while effectively managing the

supply of its existing products. For instance, in October 2021, Defendant Parker asserted that

NIKE’s “pace of innovation has not slowed down at all,” and, in September 2022, Defendant

Donahoe claimed that NIKE’s “pipeline of innovative product . . . prove[s] that our strategy is

working.”

       18.     In reality, however, CW allegations show that, during the Class Period, NIKE’s

innovation stagnated after it, inter alia, lost critical talent due to personnel cuts made pursuant to

the CDA strategy. Thus, NIKE cut its innovation, reduced its product pipeline, and instead flooded

the market with key classic products, like the Air Jordan sneakers, to temporarily boost sales. For

example, CW-16 recalled that after the CDA was instituted, NIKE was no longer focused on

innovating its products. CW-16, however, also noted that this impact would not necessarily be felt

in the marketplace until 2022 because NIKE could lean on products that were already in the

pipeline prior to NIKE’s pivot to CDA. She added that by mid-2022, NIKE started to see the

negative effects on new products in the pipeline. Similarly, CW-1 advised that the over-supply of

key products was a “dirty secret” at NIKE. CW accounts and news articles at the end of the Class

Period confirm that NIKE’s innovation stagnation diminished NIKE’s sales and competitive




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standing, as new, innovative competitors like HOKA and On capitalized on NIKE’s innovation

problem to take market share by no later than 2021.

       19.     Defendants’ own subsequent admissions support these CW accounts. For example,

during NIKE’s March 21, 2024 earnings call, Defendants admitted that through the CDA strategy,

NIKE had failed to “drive a continuous flow of new product innovation” and that NIKE had

“been missing some product newness at scale in our portfolio over the last several seasons.” In an

April 2024 CNBC interview, Defendant Donahoe acknowledged that “over the last year, we have

been ruthlessly focused on rebuilding our disruptive innovation pipeline.” This admission—i.e.,

that NIKE had begun “rebuilding” its innovation pipeline since at least early 2023—shows that

Defendants knew of such failures at least by that time, given their institution of significant remedial

measures. Indeed, in November 2023, about a month before the first partial disclosure, NIKE

announced that it had appointed the Company’s first ever Chief Innovation Officer. Moreover,

on NIKE’s December 2023, March 2024, June 2024, and October 2024 earnings calls (all alleged

disclosures of the truth), Defendants highlighted NIKE’s increasingly dire need to “manage” the

supply of key “franchises”—i.e., that NIKE needed to reduce the supply of its most popular

products because NIKE had previously flooded the market with them, thus ultimately diluting their

popularity and reducing consumer demand.

       20.     Fifth, the CDA strategy required NIKE to maintain its brand distinction and

competitive separation. During the Class Period, Defendants repeatedly conveyed that NIKE had

done so. For example, in September 2022, Defendants touted NIKE’s “competitive separation in

the market,” due to the CDA strategy, and asserted in May 2023, that NIKE’s “brand momentum

is strong,” while touting the CDA strategy. Further, during the Class Period, NIKE and other

brands used a key marketing metric to gauge how “cool” consumers considered various brands.

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This allowed companies to measure the strength of brands relative to one another. During an

October 2022 earnings call, Defendants insisted that “NIKE continues to lead as the number one

cool and number one favorite brand in North America.”

       21.    Unbeknownst to investors, however, NIKE’s brand strength and competitive

position significantly declined during the Class Period. For example, CW-10 recounted how NIKE

began losing accounts to competitors in Summer 2021. CW-2 recalled that by May 2022, NIKE’s

“cool” factor was declining, and that NIKE was no longer the number one “cool” brand in North

America. CW-2 further recalled that by May 2022, “cool” metrics showed that NIKE was losing

ground to its competitors, specifically Adidas and Lululemon, both of which were gaining points

and catching up, in “cool” metrics, to NIKE. Thus, such CW accounts directly contradict

Defendants’ repeated claims about NIKE’s brand strength and competitive standing, including the

October 2022 statement touting that “NIKE continues to lead as the number one cool and number

one favorite brand in North America.”

       22.    Defendants’ later admissions further support that NIKE’s brand equity and

competitive standing collapsed during the Class Period. For example, Defendant Donahoe

admitted on NIKE’s March 21, 2024 earnings call that NIKE’s “brand marketing must become

bolder and more distinctive,” and Defendant Friend admitted on NIKE’s June 27, 2024 earnings

call that NIKE needed to now get “focused on taking back market share,” which NIKE had lost

to competitors, including more innovative DTC competitors, like HOKA and On.

       23.    Sixth, in order for the CDA to succeed, NIKE’s channel mix between wholesale

and DTC sales needed to match consumer preferences. In other words, even if NIKE were able to

develop the capabilities to sell a far larger number of its products through DTC channels, those

capabilities would be useless if consumers preferred to purchase NIKE products from non-DTC

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channels (i.e., multi-brand retailers). Throughout the Class Period, Defendants publicly claimed

that their channel mix between DTC and wholesale was matching consumer demand and was thus

fueling growth. For example, in June 2023, when asked by an analyst whether NIKE had changed

its marketplace approach by pivoting back to its former wholesale partners, Defendant Donahoe

denied such a shift, claiming that “our marketplace strategy remains the same.”

       24.     Multiple CWs, however, recounted that NIKE concealed that its pivot away from

its wholesale partners was failing, forcing it to reengage those partners starting early in the Class

Period. Indeed, these CW accounts show that NIKE was aware no later than fall 2021 that the

DTC strategy was failing, given continuing consumer preferences for multi-brand retailers, and

Defendants sought to revive some of the key wholesale partnerships that NIKE had abandoned

after launching its CDA strategy. For example, CW allegations reveal that NIKE began conducting

financial due diligence on Sam’s Club and Macy’s in fall 2021 because the DTC strategy was

“slowing down,” and that NIKE began reengaging with Macy’s in fall 2022. As NIKE’s inventory

continued to pile up, Defendants turned to Foot Locker in late 2022 to take NIKE’s “dead”

inventory off its hands. And, at the same time, NIKE’s mono-brand stores kept performing so

poorly, based on various internal metrics detailed by CW allegations, that NIKE kept cutting its

internal target for how many stores the Company planned to open.

       25.     These allegations are supported by Defendants’ own admissions. Indeed, at the end

of the Class Period, Defendants admitted that they had failed to respond to customer demand for

multi-brand shopping. In particular, on NIKE’s March 21, 2024 earnings call, Defendant Friend

admitted Defendants had knowingly disregarded consumer demand for multi-brand shopping so

that Defendants could hit performance metrics: “we’ve been more focused on trying to achieve

mix of marketplace targets than we have serving consumer demand where the consumer is

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shopping.” Similarly, Defendant Donahoe admitted, in April 2024, that “[w]e recognize that in

our movement toward digital, we had over-rotated away from wholesale . . . . We’ve corrected

that. We’re investing heavily with our retail partners.” Indeed, in the June 27, 2024 partial

disclosure, Defendant Donahoe reiterated that for “the last couple of quarters,” the Company had

“spent a lot of time leaning in with our wholesale partners,” confirming the CWs’ accounts that

NIKE had recognized this problem and begun attempts to remedy it earlier in the Class Period.

       26.     Finally, Defendants repeatedly touted to investors that the CDA strategy was

succeeding at propelling the growth Defendants promised investors. For instance, in a September

23, 2021 press release, Defendant Friend stated that NIKE’s “Q1 results illustrate how NIKE’s

Consumer Direct Acceleration strategy continues to fuel growth.” Similarly, on a June 29, 2023

earnings call, Defendant Donahoe still insisted that “[i]n the end, our CDA strategy is working.”

In reality, however, the CDA strategy was failing to drive sustainable growth for NIKE, as

numerous internal red flags (including missed revenue targets discussed internally by Defendants)

demonstrated since the start of the Class Period.

       27.     Indeed, additional CW allegations show that, beginning no later than February

2022, NIKE employees began voicing their dissent with the Company party-line that the CDA

strategy was “working”—in the chat function, which were monitored by Human Resources

(“HR”), of virtual quarterly all-hands meetings hosted by Defendant Donahoe. These employees

purportedly “got into trouble” with the Company. Such CW accounts were corroborated by The

Wall Street Journal’s investigative reporting, which similarly described one of these all-hands

meetings as “dozens of people writing comments like this in a very public chat that is monitored

by human resources, so it was a very brave and risky thing to do”—it was “an online protest

against the CEO of the company that you’re employed by.”

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       28.     The CDA strategy’s failures were also explicitly recognized by NIKE senior

executives, including at an internal NIKE summit in fall 2023, which was attended by Defendants

Donahoe, Friend, and O’Neill. At this meeting, according to CW-1, NIKE’s President of

Geographies & Marketplace, Craig Williams, stood up and said “CDA was a failure. We have to

acknowledge that.” CW-1 described the summit as “dire,” and observed that the summit was

focused on how much NIKE had to do to grow. CW-1 further noted that Donahoe “painted a

pretty ugly picture” at the summit. CW-1 recalled Donahoe stating that NIKE was no longer a

growth company.

       D.      The Truth of the CDA’s Failure Begins to Emerge

       29.     The truth about Defendants’ misrepresentations concerning the CDA strategy

emerged gradually over the course of four disclosures of the truth and/or materializations of the

risk spanning from December 2023 to October 2024.

       30.     First, on December 21, 2023, NIKE announced disappointing financial results for

the second quarter of FY 2024 and disclosed total quarterly revenue and Direct revenue that were

below analysts’ consensus estimates. NIKE also significantly lowered its financial guidance for

FY 2024. 3 Defendants tied these disappointing results to failures in the CDA strategy. For

example, during NIKE’s related earnings call, Defendant Friend explained that NIKE had lowered

its guidance because it was anticipating slower growth in its Digital channels due to low customer

traffic and the increased necessity to discount and reduce the supply of key products to account for

lagging demand. Defendant Friend also announced that NIKE was “identifying opportunities

across the company to deliver up to $2 billion in cumulative cost-savings over the next three




3
 NIKE’s Fiscal Year (“FY”) runs from June 1–May 31. Thus, for example, FY 2024 began on
June 1, 2023 and ended on May 31, 2024.
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years,” which was necessary because the CDA strategy had added “complexity and inefficiency”

to NIKE’s operations. On this news, the price of NIKE Stock declined nearly 12%.

       31.     Investors and analysts were surprised and disappointed by these revelations. For

instance, in a December 22, 2023 analyst report, UBS wrote that “Nike announced an

uncharacteristic plan to reduce costs by $2B over 3 years. . . . Nike will use some cost saves to

accelerate innovation and improve speed. This is surprising since these have been objectives for

the last 5+ years. We assumed Nike made more progress in these areas.” Just over two weeks

after this partial disclosure, NIKE abruptly announced that Defendant Campion—who had served

as NIKE’s Chief Operating Officer (“COO”) and misrepresented the CDA strategy’s success to

investors during the Class Period—would exit NIKE effective April 5, 2024.

       32.     Second, the truth about CDA’s failures was further partially revealed on March 21,

2024, when NIKE announced another quarter of disappointing financial results (for the third

quarter of FY 2024). These poor results included that NIKE expected “revenue in the first half of

the fiscal year to be down low single digits.” NIKE also lowered guidance as to its gross margins,

which had been widely viewed by analysts as a metric for which the CDA strategy was supposed

to drive growth. On the related earnings call, Defendant Friend attributed NIKE’s lowered

guidance to several factors, including “higher markdowns [and] reduced benefits from channel

mix due to franchise life cycle management.” Thus, NIKE announced that it was anticipating

slower growth and lower profit due to the increased necessity to discount and reduce the supply of

key products to account for lagging demand. On this same call, Defendant Donahoe admitted that

the CDA strategy was not working in key respects, stating that the CDA strategy required

“important adjustments,” including that “[w]e need to sharpen our focus on sport, we must drive

a continuous flow of new product innovation, our brand marketing must become bolder and

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more distinctive [and] . . . we must lean in with our wholesale partners.” Thus, these disclosures

partially revealed the failures in several key pillars of the CDA strategy—the shift away from

sports categorization, product innovation, brand strength, and need to pivot back to wholesale

partners. On this news, the price of NIKE Stock declined nearly 7%.

       33.     Analysts were again surprised by the disclosed poor financial results and

admissions of CDA strategy failures. For instance, in a March 21, 2024 report, Jeffries Equity

Research lowered its price target for NIKE Stock, and noted that: “[f]or years [NIKE] pushed a

narrative it would increase digital/direct and reduce wholesale to improve margins and

maximize customer impact,” but “reducing wholesale dramatically seems like the wrong move.”

       34.     Third, the truth behind the CDA’s failure was further partially revealed on June 27,

2024, when NIKE announced a third consecutive quarter of disappointing financial results (for the

fourth quarter of FY 2024 and for full FY 2024). For example, NIKE disclosed its actual revenue

for the fourth quarter of FY 2024 was $12.61 billion, which missed consensus estimates by $250

million. NIKE also reduced its revenue guidance for FY 2025, with Defendant Friend stating that

“we now expect fiscal 2025 reported revenue to be down mid-single digits, with the first half down

high single digits.” In discussing this lowered guidance on NIKE’s related earnings call, Defendant

Friend revealed that NIKE had lowered its guidance due to factors such as “timelines and pacing

to manage marketplace supply of our classic footwear franchises,” and “lower NIKE Digital

growth . . . as we scale product innovation and newness across the marketplace.” Thus, NIKE

revealed that it was anticipating slower growth because of the increased necessity to reduce the

supply of key products to account for lack of demand, slower growth in NIKE’s digital channels,

and NIKE’s lagging innovation. Defendant Donahoe also admitted that NIKE had “spent a lot of

time leaning in with our wholesale partners”—meaning that consumer demand for multi-brand

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shopping had required NIKE to pivot back from DTC to emphasizing selling products through its

wholesale partners.

       35.     On this news, the price of NIKE Stock collapsed nearly 20%—the largest stock

price drop in NIKE’s history.

       36.     Analysts were shocked by these revelations. For instance, in a June 28, 2024 report,

Bank of America wrote that NIKE’s “guidance reset was larger than expected as it expedites the

reduction in lifestyle franchises in its DTC channel.”

       37.     On September 19, 2024, mere weeks before the end of the Class Period, NIKE’s

Board of Directors announced the abrupt departure of Defendant Donahoe—the key architect of

the CDA strategy and a purveyor of myriad misstatements about its success. Defendant Donahoe’s

successor was long-time NIKE veteran Elliot Hill, who came out of retirement to take the helm of

NIKE’s sinking ship and reverse course on NIKE’s failed CDA strategy. Market commentary

directly linked Defendant Donahoe’s suspicious “resignation” to the disastrous CDA strategy and

its detrimental impact on NIKE’s business, as revealed in the three prior disclosures of the truth.

       38.     Finally, the full extent and financial impact of Defendants’ fraud was revealed on

October 1, 2024, when NIKE announced yet another quarter of poor financial results (for the first

quarter of FY 2025), including total revenue that was below analyst consensus estimates.

Importantly, on the related earnings call, Defendant Friend revealed that NIKE was “withdrawing

our full year guidance.” Defendant Friend also provided specific guidance for NIKE’s second

quarter, stating that NIKE expected “Q2 revenues to be down in the 8% to 10% range . . . [and]

Q2 gross margins to be down approximately 150 basis points,” and attributed this guidance to

factors such as “higher promotions, channel mix headwinds, and supply chain deleverage.”

Thus, NIKE announced that it was anticipating slower growth because of the increased necessity

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to reduce the supply of key products to account for lack of demand and slower growth in NIKE’s

digital channels. On this news, the price of NIKE Stock dropped approximately 6.8%.

       39.     Analysts were again surprised by this final revelation of the CDA’s failure. For

example, on October 2, 2024, Truist noted that “[w]ith another miss vs depressed expectations,

Nike’s visibility into its own business appears lower than we previously anticipated.” On this same

day, Jeffries wrote that “promos are rising, new product will take time to resonate, if it does at

all, and in the meantime competition is proving to be more severe.”

       40.     As a result of Defendants’ misconduct alleged herein, Lead Plaintiffs and the Class

have suffered significant losses. Due to Defendants’ fraud, NIKE Stock reached a Class Period

high closing price of $177.51 on November 5, 2021 and fell to $83.10 on October 2, 2024 after

the truth was fully revealed, wiping out billions of dollars in shareholder value.

II.    JURISDICTION AND VENUE

       41.     The claims alleged herein arise under Section 10(b) of the Exchange Act (15 U.S.C.

§ 78j(b), “§ 10(b)”); Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5,

“Rule 10b-5”); and Section 20(a) of the Exchange Act (15 U.S.C. § 78t(a), “§ 20(a)”).

       42.     This Court has jurisdiction over the subject matter of this Action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa. In connection with

Defendants’ acts alleged herein, Defendants, directly or indirectly, used the means and

instrumentalities of interstate commerce, including, but not limited to, the mails, interstate

telephone communications, and the facilities of the national securities markets.

       43.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act, 15 U.S.C. § 78aa, because NIKE is headquartered in this District, and many of




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Defendants’ acts and practices complained of herein occurred in substantial part in this District,

including the dissemination of materially false or misleading information.

III.    THE PARTIES AND WITNESSES

        A.     Lead Plaintiffs

        44.    Lead Plaintiff Caisse de dépôt et placement du Québec (“CDPQ”) is a global

investment group with 452.1 billion CAD in assets under management. As detailed in its attached

certification (Exhibit A), CDPQ purchased NIKE Stock at artificially inflated prices during the

Class Period and was damaged as a result of the conduct alleged herein. On October 25, 2024, the

Court appointed CDPQ to serve as Lead Plaintiff pursuant to the Private Securities Litigation

Reform Act of 1995 (“PSLRA”). ECF No. 42.

        45.    Lead Plaintiff Deka Investment GmbH (“DEKA”) is an investment management

company organized under the laws of Germany as a Kapitalverwaltungsgesellschaft (“KVG”). As

a KVG, DEKA creates and manages investment funds, including the funds listed in DEKA’s

certification attached hereto (the “DEKA Funds”). As a KVG, DEKA makes investment decisions

on behalf of the DEKA Funds. Under German law, the DEKA Funds are not themselves legal

entities. DEKA has the exclusive authority and obligation to bring claims in this action on behalf

of the DEKA Funds, which have no authority to bring such claims themselves. As detailed in

DEKA’s attached certification (Exhibit B), the DEKA Funds each purchased NIKE Stock at

artificially inflated prices during the Class Period and were damaged as a result of the conduct

alleged herein. On October 25, 2024, the Court appointed DEKA to serve as Lead Plaintiff

pursuant to the PSLRA. ECF No. 42.




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       B.      Defendants

       46.     Defendant Nike, Inc. (“NIKE”) is an Oregon corporation with principal executive

offices located at One Bowerman Drive, Beaverton, OR 97005. NIKE Stock trades in an efficient

market on the New York Stock Exchange (“NYSE”) under the ticker symbol “NKE.” NIKE’s

principal business activity is the design, development, and worldwide marketing and selling of

athletic footwear, apparel, equipment, accessories, and services. NIKE is the largest seller of

athletic footwear and apparel in the world.

       47.     Defendant John J. Donahoe II (“Donahoe”) served as President and CEO of NIKE

from January 13, 2020 until October 13, 2024. Defendant Donahoe also served as a member of the

NIKE Board of Directors from 2014 until October 13, 2024. Throughout the Class Period,

Donahoe served on the Board of Director’s Executive Committee. Defendant Donahoe’s departure

from NIKE was announced on September 19, 2024. In his role as CEO of NIKE during the Class

Period, Donahoe signed SEC filings and participated in earnings calls, conferences with securities

analysts, the Company’s annual general meetings, appearances on behalf of the Company, and

NIKE’s letters to shareholders, during which he made false and misleading statements and

omissions of material fact relating to the success of NIKE’s CDA strategy. Prior to his tenure at

NIKE, Defendant Donahoe had been President and CEO of Servicenow.com, a software company,

and was President and CEO of eBay, Inc.

       48.     Defendant Matthew Friend (“Friend”) joined NIKE in 2009. Friend has served as

Executive Vice President and Chief Financial Officer (“CFO”) of NIKE since April 2020.

Defendant Friend previously served in various roles at NIKE, including as Vice President of

Investor Relations and CFO of the NIKE Brand. Prior to joining NIKE, Defendant Friend worked

in the financial industry, including as Vice President in the investment banking and mergers and


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acquisitions groups at Goldman Sachs and Morgan Stanley. In his role as CFO of NIKE during

the Class Period, Defendant Friend signed SEC filings and participated in earnings calls,

conferences with securities analysts, the Company’s annual general meetings, and appearances on

behalf of the Company during which he made false and misleading statements and omissions of

material fact relating to the success of NIKE’s CDA strategy.

       49.    Defendant Mark G. Parker (“Parker”) has served as Executive Chairman of the

NIKE Board of Directors at all relevant times. Prior to the Class Period, Defendant Parker was

NIKE’s CEO from 2006 to January 13, 2020, and Chairman, President & CEO from 2016 to

January 13, 2020. Defendant Parker has been employed by NIKE since 1979 with primary

responsibilities in product research, design and development, marketing, and brand management.

In his role as Executive Chairman of NIKE’s Board of Directors during the Class Period,

Defendant Parker participated in the Company’s annual general meetings, in which he made false

and misleading statements and omissions of material fact relating to the success of NIKE’s CDA

strategy.

       50.    Defendant Heidi L. O’Neill (“O’Neill”) joined NIKE in 1998. O’Neill has served

as President, Consumer, Product & Brand of NIKE since May 2023. In that role, she was

responsible for the integration of the global Men’s, Women’s & Kids’ consumer teams, the entire

global product engine and global brand marketing and sports marketing. From April 2020 to May

2023, she served as President of NIKE Consumer and Marketplace, responsible for leading NIKE

Brand’s four geographic operating regions along with leading NIKE’s Global Sales and NIKE

Direct organizations. Prior to that position, O’Neill served as President, DTC from 2016 to 2020.

In her roles as President, Consumer, Product & Brand and President of NIKE Consumer and

Marketplace during the Class Period, Defendant O’Neill participated in NIKE’s annual general

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meetings and spoke on behalf of the Company in press appearances during which she made false

and misleading statements and omissions of material fact relating to the success of NIKE’s CDA

strategy.

       51.     Defendant Andrew Campion (“Campion”) joined NIKE in 2007. Campion served

as Managing Director, Strategic Business Ventures at NIKE from June 2023 until his departure

from the Company, which was announced on January 5, 2024 and took effect on April 5, 2024.

Prior to that, Defendant Campion served as Chief Operating Officer (“COO”) of NIKE from April

2020 until June 2023. Campion also served as Executive Vice President and CFO from August

2015 to April 2020. Prior to that, Campion served in a variety of roles, including Vice President

of Global Planning and Development, CFO of the NIKE Brand, and Senior Vice President,

Strategy, Finance and Investor Relations. In his roles as Managing Director, Strategic Business

Ventures and COO of NIKE during the Class Period, Defendant Campion participated in press

appearances on behalf of the Company, during which he made false and misleading statements

and omissions of material fact relating to the success of NIKE’s CDA strategy.

       52.     Defendants Donahoe, Friend, Parker, O’Neill, and Campion are collectively

referred to herein as the “Individual Defendants.” NIKE and the Individual Defendants are

collectively referred to herein as the “Defendants.”

       C.      Relevant Third Parties

       53.     This amended complaint references numerous former employees of NIKE that

support Lead Plaintiffs’ allegations herein. 4




4
 All Confidential Witnesses are referred to with feminine pronouns, regardless of gender, to
protect their identities.
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       54.     CW-1 was a VP, Global Store Development at NIKE from approximately August

2022 through May 2024. CW-1 explained that the role she was hired to perform was to develop

and expand NIKE’s fleet of DTC stores. CW-1 continued that she was tasked with doing anything

needed to help stores prepare for any issues, going to various locations to help them set up, setting

strategy, opening and closing locations, working to prepare stores for the 2024 Olympics, and any

other tasks needed. CW-1 first reported to Sumi Ghosh, then Global VP of Stores. CW-1 added

that Ghosh was fired in October 2023, at which point CW-1 reported directly to Mary Beth

Laughton (who re-joined NIKE in August 2023) 5 in an interim role, until Andy Shih (VP, Global

NIKE Stores) took over Ghosh’s position for the last month or so of CW-1’s employment. CW-1

noted that Laughton reported to Craig Williams (President, Geographies & Marketplace); prior to

Laughton joining NIKE, Ghosh reported to Daniel Heaf, currently Chief Strategy and

Transformation Officer. After Heaf was promoted, CW-1 continued, Ghosh reported to Laughton,

as did Shih.

       55.     CW-26 was employed by NIKE from 2002 to Fall 2022 in a variety of roles. CW-2

noted that she worked on marketing NIKE’s DTC retail stores from 2018 to her departure.

Specifically, in her last role at NIKE, CW-2 was a director within North America Consumer Direct

Marketing for NIKE Direct from fall 2020 to fall 2022. In that capacity, CW-2 reported to a senior

marketing director.




5
  Based on Lead Plaintiffs’ investigation, Laughton served as Head of Nike Global Direct to
Consumer until she left NIKE in early 2025.
6
  At CW-2’s request, Lead Plaintiffs have withheld additional details of CW-2’s employment at
NIKE. While Lead Plaintiffs believe that the details of CW-2’s employment contained herein are
sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
information to the Court for an in camera inspection at the Court’s request.
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       56.     CW-3 was employed by NIKE from February 2020 through July 2024 as Vice

President, NIKE Digital Product. CW-3 explained her job duties as they related to NIKE’s CDA

and DTC strategies, indicating that she was brought in to help build NIKE’s capabilities in those

areas. CW-3 advised that NIKE followed a product development model where an employee

“owned” a type of product, such as digital products or capabilities. CW-3 added that examples of

digital products were Nike.com, the NIKE app, training club, and other consumer-facing digital

experiences. CW-3 elaborated that her role was to work as an intermediary with respect to digital

product development, between the engineering and technology teams—who focused on the

technology side of things, like developing the relevant software and third-party experiences—and

the marketing and strategy teams—who focused on the business/strategic side. CW-3’s role was

to translate the needs of strategy and marketing into design, acting as an advocate for the consumer,

and asking how the design would look and feel for the consumer, what the consumers’ needs were

and how they shopped, and what was achievable given the constraints of the technology. CW-3

added that she would get feedback from the engineering teams regarding these issues. CW-3

confirmed that her role involved bridging the distance between the business and technology sides,

with the business side setting strategy and the technology side attempting to implement that

strategy from a technological perspective. CW-3 analogized her role to an architect managing a

construction project, acting as an intermediary between a carpenter and owner on a construction

project. CW-3 also worked with legal teams to help navigate compliance and regulatory issues for

various countries.

       57.     CW-4 was employed by NIKE as a Senior Finance Manager, NIKE Direct Strategic

Investments from March 2022 to April 2023. CW-4 advised that she oversaw finance for digital

strategic investments. CW-4 added that she reported to current Senior Principal, Organizational

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Performance Agnieszka Janiewicz. CW-4 noted that she supported teams that worked directly on

the Company’s DTC strategy.

       58.     CW-57 was employed by NIKE for over a decade until early 2021 in a variety of

roles. CW-5 most recently served as Global Merchandising Director D2C Omni Channel until her

departure from NIKE. CW-5 advised that in this final role, she was responsible for assorting DTC

merchandise for specific geographies based on DTC consumer data she reviewed. CW-5 added

that she lastly reported to former Vice President North America One NIKE Marketplace

Merchandising Brad Andrews, who in turn reported to former Chief Merchant Anne Spangenberg.

       59.     CW-6 was employed by NIKE from 1998 to June 2024 in a variety of roles. CW-6

most recently served as Supply Chain Finance Director, North America NIKE Direct from

February 2019 to June 2024. CW-6 advised that she was responsible for feeding supply chain costs

to NIKE Direct directors in North America and that she managed “all lanes” of transportation

finance, including delivery costs to consumers and retail stores.

       60.     CW-78 was employed by NIKE from before the Class Period through Summer 2024

in a variety of roles. CW-7 most recently served as a director for the last two years of her tenure

at the Company. CW-7 advised that in this role, she oversaw NIKE’s relationships with various

retailers and supervised a team that worked directly with accounts on various facets of the business.




7
  At CW-5’s request, Lead Plaintiffs have withheld additional details of CW-5’s employment at
NIKE. While Lead Plaintiffs believe that the details of CW-5’s employment contained herein are
sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
information to the Court for an in camera inspection at the Court’s request.
8
  At CW-7’s request, Lead Plaintiffs have withheld additional details of CW-7’s employment at
NIKE. While Lead Plaintiffs believe that the details of CW-7’s employment contained herein are
sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
information to the Court for an in camera inspection at the Court’s request.
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       61.      CW-8 was employed by NIKE from October 2020 to December 2021 as Vice

President of Digital Design. CW-8 advised that she was responsible for helping execute the digital

DTC strategy.

       62.      CW-9 was employed by NIKE as a Strategic Account Executive from June 2013 to

November 2023. CW-9 advised that she managed key accounts for NIKE and was responsible for

maintaining relationships with these accounts, strategic planning, forecasting, shipping and

product launches. CW-9 noted that her largest account was DSW. CW-9 noted that she was moved

to NIKE’s Golf team after the Company pulled out of DSW. CW-9 detailed that she reported to

former Strategic Account Director Paul Scioneaux while she managed the DSW account. CW-9

noted that after reporting to Paul Scioneaux, she reported to another manager during COVID (name

not recalled) and most recently reported to current Sales Director Chris Heniff.

       63.      CW-10 was employed by NIKE as a Financial Analyst from 2021 to December

2021. CW-10 advised that she primarily served as a credit analyst and worked on NIKE’s larger

accounts in the tennis, running, and women’s apparel categories.

       64.      CW-11 was employed by NIKE from September 2014 until April 2023. For the

first six months of her employment, CW-11 was a contractor and became a full-time employee in

April 2015. From December 2020 to February 2022, CW-11 held the position of Principal Product

Director, and, from March 2022 to April 2023, she had the position of Director of Product. As

Principal Product Director, CW-11 worked in the NIKE App and Nike.com space. When she

became Director of Product, CW-11 moved to Nike.net, which she explained was the wholesale

back end for small to medium sized businesses, which included mom-and-pop sized stores as well

as more medium-sized NIKE customers like Nordstroms. As a result, CW-11 advised, she saw the

implementation of the DTC strategy from both sides. CW-11 said she reported to something like

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14 managers during her tenure at NIKE. CW-11 mostly reported to Matthew Strocchia until

Strocchia left in 2020. CW-11 then reported to Indra Kumaran (currently VP, Product

Management, NIKE Direct and Marketplace, at the Company), then after CDA was implemented,

she reported to Brian Reed. CW-11 confirmed that the majority of her time as Director of Product

at Nike.net, she reported to Chris Dolbec, who no longer works at NIKE. For the final two weeks

of her employment, CW-11 indicated that she reported to Dan Hutchins. CW-11 explained that the

Nike.net organization rolled up to Michael Mlakar, currently Vice President, Global, Go to Market

and CX; and from there to the Wholesale General Manager. CW-11 confirmed that, previously,

while working on the NIKE app, everything rolled up to CW-3.

       65.     CW-129 was employed by NIKE from 2018 to 2022 in various roles. In her last

role, which began in Summer 2020, CW-12 served as a technology leader who worked on digital

marketing projects.

       66.     CW-1310 was employed by the NIKE global accounting group from fall of 2018 to

spring of 2023, and in this role she reported to the global controller.

       67.     CW-14 worked as a contractor at NIKE starting before the Class Period to June

2022. From 2018 to late 2021, CW-14 was a Program Manager within the Global Technology

group. From late 2021 to June 2022, CW-14 was a Program Manager in NIKE’s Global Brand




9
 At CW-12’s request, Lead Plaintiffs have withheld additional details of CW-12’s employment at
NIKE. While Lead Plaintiffs believe that the details of CW-12’s employment contained herein are
sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
information to the Court for an in camera inspection at the Court’s request.
10
   At CW-13’s request, Lead Plaintiffs have withheld additional details of CW-13’s employment
at NIKE. While Lead Plaintiffs believe that the details of CW-13’s employment contained herein
are sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
information to the Court for an in camera inspection at the Court’s request.
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Marketing group, where she helped roll out the Adobe Experience Platform 11 and reported to a

Senior Director of Program Management.

       68.     CW-1512 joined NIKE in May 2021 as a technology operations manager. CW-15

was later promoted to a technology operations director in January 2022 and was part of a

companywide layoff at NIKE in May 2024. CW-15 advised that she reported to NIKE’s

Technology Operations structure and worked under the Company’s Global Technology umbrella.

CW-15 stated that she worked in internal and external technology and ensured that technology

funding was approved, among other things

       69.     CW-16 was employed by NIKE and worked at the Company’s global headquarters

in Beaverton, Oregon from 1998 to April 2024. CW-16’s most recent titles were Senior Product

Manager, Virtual Material Ecosystem (2022 – April 2024) and Senior Product Management,

Virtual Product Creation (2019 – 2022). CW-16 advised that in her final reporting structure as

Senior Product Manager, Virtual Material Ecosystem, she reported to Digital Product Director

Lori Thune, who in turn reported to Senior Director, Digital Product Creation Sara Sampson, who

in turn reported to Vice President Consumer Product, Brand & Marketplace Operations, Robert

Barnette, who in turn reported to Senior Director of Product Management, Product Creation and

Innovation, Cedar Miller and Senior Director – Design Engineering, Laurie Koenig. CW-16

advised that in her final reporting structure as Senior Product Management, Virtual Product



11
    As explained infra, Adobe described its Experience platform as a platform that “enables
organizations to centralize and standardize customer data and content” and then “appl[ies] data
science and machine learning to dramatically improve the design and delivery of rich, personalized
experiences.”
12
   At CW-15’s request, Lead Plaintiffs have withheld additional details of CW-15’s employment
at NIKE. While Lead Plaintiffs believe that the details of CW-15’s employment contained herein
are sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
information to the Court for an in camera inspection at the Court’s request.
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Creation, she reported to Senior Director Digital Product Creation, Kerryn Foster, who in turn

reported to Vice President, Digital Product Creation Michael Newton. CW-16 described her

responsibilities between 2019 to April 2024 as supporting the creative team by enhancing NIKE’s

“virtual creation space,” including by introducing 3D-design and sketch capabilities into the

workflow (to replace their 2D-designs), as one example. CW-16 added that this transition was

never implemented properly during her tenure.

       70.    CW-17 was employed by NIKE from March 2010 to October 2021 in a variety of

roles. CW-17 most recently served as a Global Director, Program Management from November

2016 to October 2021. CW-17 advised that as a Global Director, Program Management, she led

program management teams that rolled up to NIKE Direct Digital, which was overseen by

Defendant O’Neill.

       71.    CW-1813 was employed by NIKE from before the Class Period to summer 2024 in

a variety of roles. From the summer of 2022 through her departure in summer 2024, CW was a

General Manager for one of the newly recreated sports categories in the Men's division in North

America. In that role, she reported to the General Manager of the Men's Business, North America,

who in turn reported to the General Manager, North America.

       72.    CW-19 was employed by NIKE from January 2015 to June 2023 in the following

roles: Director of A/B Testing from January 2015 to April 2018; Director of Global

Experimentation Center of Excellence from May 2018 to April 2022; and Director of Digital




13
  At CW-18’s request, Lead Plaintiffs have withheld additional details of CW-18’s employment
at NIKE. While Lead Plaintiffs believe that the details of CW-18’s employment contained herein
are sufficient to satisfy the requirements of the PSLRA, Lead Plaintiffs can provide additional
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Experiments from May 2022 to June 2023. CW noted that she reported to current Nike Global

Vice President, Insights, Data Science, & Analytics Sean Bruich.

IV.    SUBSTANTIVE ALLEGATIONS OF FRAUD

       A.      Relevant Factual Background

               1.      History of NIKE’s Operations and Mix of Wholesale and DTC
                       Channels

       73.     NIKE is headquartered in Beaverton, Oregon and incorporated in Oregon.

       74.     NIKE originally launched its operations with a focus on athletic footwear. The

Company has since evolved to focus on the design, development, and worldwide marketing and

sales of athletic footwear, apparel, equipment, accessories, and services. NIKE is the largest seller

of athletic footwear and apparel in the world.

       75.     NIKE sells its products both through DTC channels and to wholesale accounts.

       76.     NIKE’s wholesale accounts include a mix of independent distributors, licensees,

and sales representatives in nearly all countries around the world. Most of NIKE’s wholesale sales

are to multi-brand retailers that then sell products directly to consumers. Under this model, for

example, Foot Locker will purchase shoes on a wholesale basis from NIKE, and Foot Locker will

then sell those NIKE shoes side-by-side with shoes from other brands to customers. Thus, in this

scenario, Foot Locker is a “wholesale partner” of NIKE, and it is also a “multi-brand retailer” from

the perspective of the customer.

       77.     NIKE also sells its products directly to customers via its DTC channels, rather than

through third parties. These include both physical and online stores. As to the former, NIKE runs

a fleet of brick-and-mortar NIKE-branded stores (e.g., “NIKE Live” stores) that sell only NIKE

products to consumers. DTC stores like these that sell only one brand are commonly referred to as

“mono-brand” (or “monobrand”) stores. In addition to its physical mono-brand stores, NIKE also

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operates a website (Nike.com) and apps such as the NIKE App and the SNKRS App, which allow

customers to purchase NIKE products on the internet.

        78.    NIKE reports its revenue in three segments: NIKE Brand (which comprises the vast

majority of NIKE’s consumer products), Converse (a wholly-owned subsidiary brand), and

Corporate (which primarily consists of foreign currency hedge gains and losses). The vast majority

of NIKE’s revenue is generated in and reported under the NIKE Brand segment. Specifically,

NIKE Brand revenue constituted approximately 94% or more of NIKE’s total revenue in each of

FY 2017, FY 2018, FY 2019, FY 2020, FY 2021, FY 2022, FY 2023, and FY 2024. 14

        79.    Within the NIKE Brand, NIKE has historically, and at all relevant times, reported

its revenue through three segments: Sales through NIKE Direct (“NIKE Direct,” which consists of

Sales through NIKE’s various DTC channels including NIKE’s physical stores and NIKE Brand

Digital), Sales to Wholesale Customers (“Wholesale,” which consists of sales to NIKE’s wholesale

partners), and Global Brand Divisions (“Global Brand,” which consists of NIKE Brand licensing

and other miscellaneous revenues that are not part of a geographic operating segment). Nearly all

of NIKE Brand revenue is generated in and reported under NIKE Direct and Wholesale.

Specifically, NIKE Direct and Wholesale have accounted for approximately 99% of NIKE Brand

revenue in each of FY 2017, FY 2018, FY 2019, FY 2020, FY 2021, FY 2022, FY 2023, and FY

2024.

        80.    Thus, the NIKE Direct and Wholesale segments account for nearly all of the

revenue generated in and reported under the NIKE Brand segment, which itself accounts for nearly

all of NIKE’s total revenue. This had remained constant at all relevant times.



14
  NIKE Brand revenue constituted approximately 95% of NIKE’s overall revenue for each fiscal
year listed except for FY 2017, when it constituted approximately 94% of overall revenue.
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       81.     However, as displayed in the following chart, the mix of revenue derived from

NIKE Direct versus Wholesale has shifted over time, with NIKE Direct increasingly constituting

a larger share of NIKE Brand revenue:

                                    Fiscal Year    NIKE Direct Revenue as a
                                                      % of NIKE Brand
                                                          Revenue
                                   FY2017          28%
                                   FY2018          30%
                                   FY2019          32%
                                   FY2020          35%
                                   FY2021          39%
                                   FY2022          42%
                                   FY2023          44%
                                   FY2024          44%

       82.     This increase in revenue derived from NIKE Direct reflects the Company’s recent

emphasis, since at least FY2018, toward DTC sales as part of its CDO and CDA strategies, as

described infra, Section IV.A.2.

       83.     A significant factor in the growth of NIKE Direct was the substantial growth of

sales in NIKE’s digital channels. NIKE describes sales through its digital platforms as “NIKE

Brand Digital.” Sales from NIKE Brand Digital, a subsegment within NIKE Direct, grew

considerably after NIKE launched the CDA strategy in 2020, and during the Class Period, NIKE

began to report specific revenue figures in NIKE Brand Digital. The following chart describes the

change in NIKE Brand Digital revenue over time:




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     Fiscal Year (ends       NIKE Brand Digital        NIKE Brand        Change in Total NIKE
      May 31 of the              Revenue            Digital Revenue as   Brand Digital Revenue
       relevant year)                                 a % of Overall        From Prior Year
                                                      NIKE Revenue             (Decline)
 FY 2021                    $9.1 billion            20.4%
 FY 2022                    $10.7 billion           22.9%                18%
 FY 2023                    $12.4 billion15         24.2%                16%
 FY 2024                    $12.1 billion           23.6%                (2.4%)

               2.        NIKE Introduces the Consumer Direct Offense Strategy

        84.    In June 2017, NIKE announced its “Consumer Direct Offense” (“CDO”) strategy,

which represented a shift toward a greater emphasis on DTC operations. The June 15, 2017 NIKE

press release announcing the CDO strategy (the “June 15, 2017 Press Release”) touted that the

goal of CDO strategy was to “drive growth—by accelerating innovation and product creation,

moving even closer to the consumer through Key Cities,16 and deepening one-to-one connections.”

        85.    According to the June 15, 2017 Press Release, the CDO strategy would be “fueled

by NIKE’s Triple Double strategy,” which sought to “double innovation,” “double speed,” and

“double direct connections with consumers and shape the future of retail.” To accomplish this

objective, NIKE was “accelerat[ing]” innovation and “supercharg[ing]” its product pipeline. NIKE

also announced it was “accelerat[ing] the impact and cadence of new innovation platforms,” and

“deliver[ing] innovation, at speed, through more direct connections.” Critically, NIKE also

announced that it was creating a new NIKE Direct organization, led by Defendant O’Neill and

Adam Sussman (NIKE’s Chief Digital Officer at the time), which NIKE claimed would “unite


15
   Number taken from NIKE’s Form 10-K filed on July 25, 2024. NIKE’s 10-K filed on July 20,
2023 indicates this figure is $12.6 billion.
16
   NIKE’s “Key Cities” initiative focused on expanding NIKE’s presence in certain critical cities
across the globe, including by building out NIKE’s mono-brand and “digitally enabled” stores in
those cities, as described by Defendant O’Neill in NIKE’s September 17, 2020 Annual General
Meeting.
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Nike.com, Direct-to-Consumer retail, and Nike+ digital products.” 17 Therefore, through the CDO

strategy, NIKE sought to unite its physical stores and digital sales channels to better serve

customers—all with the goal of increasing sales via DTC channels.

       86.    The CDO strategy had the effect of increasing the proportion of NIKE’s revenue

derived from DTC sales. As previously noted, in FY 2017—which ended a few weeks before the

CDO strategy was announced—NIKE reported that approximately 28% of its revenue was

generated by DTC sales. By the end of FY 2020, NIKE Direct was accounting for approximately

34.8% of NIKE Brand revenue. That represents an approximate 23.3% increase within about three

years.18

              3.      NIKE’s CDA Strategy, Led by New CEO John Donahoe, Accelerates
                      NIKE’s DTC Pivot and Promised Long-Term Sustainable Growth

       87.    NIKE’s pivot toward focusing on its DTC channels took a critical turn in 2020,

with the initiation of NIKE’s CDA strategy led by Defendant Donahoe.

       88.    Defendant Donahoe had served on the NIKE Board of Directors since 2014, but in

October 2019, NIKE announced that Defendant Donahoe would succeed Defendant Parker as

NIKE’s President and CEO, effective January 13, 2020.

       89.    Upon Defendant Donahoe’s appointment as President and CEO, Defendant Parker

transitioned to the role of Executive Chairman. As detailed in the October 22, 2019 press release

announcing Donahoe’s appointment (the “October 22, 2019 Press Release”), Parker would

“continue to lead the Board of Directors and work closely with Donahoe and the senior

management team.” The October 22, 2019 Press Release quotes Parker as stating: “I look forward


17
  Nike+ is a mobile application that helps users track fitness performance.
18
  In FY 2017, NIKE reported approximately $9.1B in revenue generated by DTC sales, and in FY
2020, NIKE reported approximately $12.4B in DTC sales—representing an increase of
approximately 36.3%.
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to continuing to lead the Board as Executive Chairman, as well as partnering closely with John

and the management team to help him transition to his new role.”

       90.     In the October 22, 2019 Press Release, Defendant Parker touted Defendant

Donahoe’s “expertise in digital commerce, technology, global strategy and leadership” and made

clear that the goal of NIKE under Donahoe would be to “accelerate our digital transformation and

to build on the positive impact of our Consumer Direct Offense.”

       91.     Defendant Donahoe’s prior corporate roles evidenced his expertise in digital

commerce and made him the perfect candidate to lead the “accelerat[ion]” of the Company’s

“digital transformation.” Specifically, Donahoe had previously served as: a member of the NIKE

Board of Directors; President and CEO of ServiceNow, Inc., a software company; and President

and CEO of eBay, Inc., an e-commerce company that allows users to buy and sell items through

online marketplaces.

       92.     A January 12, 2020 article in Yahoo Finance, titled “Nike’s fourth-ever CEO is

about to take over — and he’s going to be a different kind of leader,” explained that Defendant

“Donahoe’s tech background is precisely the reason he was chosen to become CEO of the

world’s largest sportswear company.” This article emphasized that Donahoe “is someone who can

take the retailer exactly where it needs to be in the digital space,” and quoted a Cowen Equity

Research analyst as stating that Donahoe “obviously has tremendous experience in e-commerce

and software. . . . I think Donahoe will bring a lot of domain expertise in that area of the business.”

       93.     The vaunted digital acceleration that Defendant Donahoe was hired to lead took the

form of NIKE’s new strategy, called CDA, which Defendants announced within a few months of

Donahoe’s appointment as President and CEO.




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        94.     Specifically, on a June 25, 2020 earnings call, Defendants announced the CDA

strategy. Defendant Donahoe described CDA as a “new digitally empowered phase of our

Consumer Direct strategy.” Defendant Friend further described the CDA strategy as “th[e] next

phase of the Consumer Direct Offense.” Thus, the CDA strategy incorporated the tenets of the

CDO strategy, including its commitment to “accelerate” innovation, “supercharge” NIKE’s

product pipeline, and build out and emphasize NIKE’s DTC channels. But the CDA strategy was

not merely a rebranding of the CDO strategy. The CDA strategy went even further—by

accelerating NIKE’s investments in its DTC channels, with a particular focus on intensifying

NIKE’s investments in its digital operations. As Donahoe stated on the June 25, 2020 earnings

call, NIKE’s plan under the CDA strategy was to “accelerate our focus and investment on the key

areas to put an even sharper point on our highest-growth opportunities”—i.e., NIKE’s DTC

operations, particularly its digital DTC operations.

        95.     During this June 25, 2020 earnings call, Defendant Donahoe described “three areas

of strategic acceleration” under CDA—i.e., the three main pillars of the CDA strategy.

        96.     Focus on Digital: First, Defendant Donahoe described that NIKE was increasing

its focus on digitally-led DTC operations. In doing so, Donahoe stated that NIKE “will create a

marketplace of the future, one more closely aligned with what [the] consumer[] want[s] and

need[s].” Donahoe continued that NIKE’s “vision is to create a clear and connected digital

marketplace.” This marketplace includes: (i) NIKE’s digital platforms (i.e., NIKE’s website and

apps); (ii) NIKE’s “digitally-enabled mono-brand stores” (i.e., NIKE’s brick-and-mortar DTC

stores); and (iii) “a small number of strategic partners who share [NIKE’s] vision” (i.e., select

multi-brand retail entities).




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       97.       Shift from Sport-Based to Gender and Aged-Based Categories: Second, as part of

the CDA strategy, NIKE would engage in a massive restructuring of the Company. For example,

on the June 25, 2020 earnings call, Defendant Donahoe announced that NIKE will “realign the

company” to reflect a “simpler consumer construct.” Previously, NIKE had organized its business

based on sport-categorization, i.e., running and basketball, among other sports. With the CDA

strategy, however, NIKE announced that it was shifting away from this sport-based categorization

and was instead organizing around gender- and age-based constructs. As such, the CDA strategy

initiated a corporate restructuring, through which NIKE would align its business under Men’s,

Women’s, and Kids’ constructs.

       98.       DTC Technological Capabilities: Third, under CDA, NIKE would increase its

technological capabilities to enable NIKE’s digitally-led DTC operations—i.e., expand and

enhance NIKE’s digital platforms like its website and various mobile apps. As Defendant Donahoe

stated on the June 25, 2020 earnings call: “[W]e will invest in digital capabilities in our end-to-

end technology foundation to accelerate our transformation” and establish a “single integrated

technology strategy across our business.” Specifically, NIKE would “speed up and unify our

investments across demand sensing, insight gathering, inventory management and more.”

       99.       Upon announcing the CDA strategy, Defendants repeatedly conveyed to investors

that its purpose and effect was to propel long-term sustainable growth, accretive to NIKE’s value.

For example:19

                 (a)    On NIKE’s June 25, 2020 earnings call, Defendant Friend touted that

NIKE’s “transformation to a more digital and direct business is financially accretive to NIKE.”


19
   Certain of these statements were materially misleading for the reasons stated in Section V.
However, all of them conveyed that the purpose (and, in some instances, the effect) of the CDA
strategy was to drive long-term sustainable growth to the benefit of NIKE shareholders.
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                (b)   A July 22, 2020 press release stated that the CDA strategy was the

Company’s “new digitally empowered phase of NIKE’s strategy to unlock long-term growth and

profitability,” which represents “the next phase of [NIKE’s] growth.”

                (c)   In a September 23, 2021 press release, Defendant Friend touted that NIKE’s

“Q1 results illustrate how NIKE’s Consumer Direct Acceleration strategy continues to fuel

growth and transform our long-term financial model.”

                (d)   On June 27, 2022, Defendant Friend highlighted, during an earnings call,

that the CDA strategy “is driving long-term growth in value” and “positioning us well for long-

term growth.”

                (e)   In an October 12, 2022 press release, Defendant Friend claimed that “[t]wo

years into executing our Consumer Direct Acceleration, we are better positioned than ever to drive

long-term growth.”

       100.     Analysts took note of CDA’s importance to NIKE’s long-term growth and

profitability, and repeatedly emphasized that the CDA strategy thus was critical to NIKE’s

valuation. For example:

                (a)   In a July 22, 2020 analyst report, Morgan Stanley assigned NIKE Stock an

“Overweight” rating and noted that the CDA strategy “solidifie[d] our belief in NIKE’s long-term

margin expansion story.”

                (b)   Similarly, on March 11, 2021—on the eve of the Class Period—Morgan

Stanely assigned NIKE Stock an “Overweight” rating, writing that “N[I]KE’s commitment to and

initial execution of its Consumer Direct Acceleration strategy further solidify our belief in the

business’ long-term [] revenue, margin expansion, & EPS growth story.”




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                (c)    On June 16, 2021, Morgan Stanely maintained NIKE Stock’s “Overweight”

rating, reiterating the above sentiment, and specifically emphasized that NIKE’s growth story had

just begun, with significant long-term growth on the horizon due to the CDA strategy, which

“further solidif[ied] our belief that the business’ long-term [] revenue, margin expansion, & EPS

growth story remains in early innings.”

                (d)    Likewise, a June 25, 2021 report by UBS assigning NIKE Stock a “Buy”

rating hailed NIKE’s CDA strategy as the key to a future of “exceptional growth”: “The market’s

main question now is if this is ‘the top’ for Nike? We think the answer is no. The financial benefits

from Nike’s transformation into a digitally-led, direct-to-consumer company are just starting to

play out. We believe the reason to own Nike is for the exceptional growth it is likely to achieve

over the coming years.”

                (e)    A March 22, 2022 report by Seaport Research Partners, assigning NIKE

Stock a “Buy” rating, quoted Defendant Friend’s statement on an earnings call the day before that

“‘the foundation is set for another year of strong growth . . . because our Consumer Direct

Acceleration Strategy is working’”—which the analyst report described as NIKE’s “[q]uote of

the quarter.”

       101.     Similarly, Defendants consistently emphasized, both before and throughout the

Class Period, that Defendant Donahoe’s expertise in digital and DTC commerce perfectly

positioned him to lead NIKE’s CDA strategy.

       102.     For example, in the October 22, 2019 Press Release, Defendant Parker stated that

Defendant Donahoe’s “expertise in digital commerce, technology, global strategy and leadership

combined with his strong relationship with the brand, make him ideally suited to accelerate our

digital transformation and to build on the positive impact of our Consumer Direct Offense.”

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Industry publications like Retail Dive—which wrote that “Donahoe’s experience in digital retail

is a good fit for a brand focused on growing into that space”—and others ran with the story.

       103.    Similarly, on a December 19, 2019 earnings call, Defendant Campion emphasized

Defendant Donahoe’s “deep expertise in strategy, consumer digital technology and enterprise

technology,” and stated: “As we’re still in the early innings of our digital transformation, now . . .

is the perfect time for John to be joining and leading our team.” 20

       104.    Analyst commentary also repeatedly highlighted Defendant Donahoe’s expertise in

digital commerce, technology, and innovation, making Donahoe well-positioned to lead NIKE

through its digital DTC acceleration. For example:

               (a)     On October 23, 2019, Oppenheimer, assigning NIKE Stock an

“Outperform” rating, wrote that Defendant Donahoe “brings to the CEO role at N[I]KE a very

impressive backdrop in technology and innovation, including time spent leading eBay and

ServiceNow and on the board of PayPal,” and that “as a board member of N[I]KE for the past

five years, John Donahoe served as an architect and proponent of the company’s Consumer

Direct Offense operating plan.”

               (b)     Similarly, on October 23, 2019, Cowen reiterated their “Outperform” rating

of NIKE Stock and praised “Donahoe’s skill set and rich experience [that] will directly address




20
  In NIKE’s December 30, 2020 Annual Report and Annual Reports thereafter (e.g., 2021, 2022,
and 2023), Defendant Donahoe’s featured biography highlighted his past roles and Board
experience at such places as cloud computing company ServiceNow, e-commerce platform eBay,
computer manufacturer Intel, and fintech leader PayPal. Likewise, in NIKE’s Annual Reports on
Form 10-K—e.g., as issued on July 20, 2021, July 21, 2022, and July 20, 2023—in the section
entitled “Information About Our Executive Officers,” Defendants consistently touted Defendant
Donahoe’s “expertise in digital commerce, technology and global strategy” and prior service “as
President and Chief Executive Officer at ServiceNow, Inc.” and “as President and Chief Executive
Officer of eBay, Inc.”
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Nike’s digital transformation and help the [C]ompany to become more responsive to digital

trends.”

               (c)      In a March 23, 2021 article, Retail Dive quoted Michael Binetti, managing

director at CreditSuisse, who praised Donahoe’s fitness to lead NIKE under its new CDA strategy

as part of the DTC focus: “He’s the right man for the job . . . And you see him doing it very, very

quickly.”

               (d)      Likewise, in a December 15, 2021 analyst report, Truist Securities assigned

NIKE Stock a “Buy” rating and highlighted Donahoe’s “expertise in digital commerce, technology

and global strategy.”

               4.       Key Factors for the CDA Strategy’s Success

       105.    The CDA strategy depended on NIKE building out or maintaining certain key

aspects of its business. These key areas were: (i) developing an effective DTC supply chain; (ii)

enhancing NIKE’s DTC technological capabilities and establishing a technology organization to

support those capabilities; (iii) engaging in a corporate reorganization to focus on DTC initiatives,

including the creation of new consumer constructs and unifying NIKE’s technological capabilities;

(iv) maintaining a robust pipeline of innovative products while effectively managing the supply of

NIKE’s key products; (v) maintaining its competitive separation and brand strength; and (vi)

effectively adapting to consumer demand patterns regarding shopping at mono-brand and multi-

brand retail stores. Unless NIKE achieved each of these goals, the CDA strategy could not drive

the long-term sustainable growth promised to investors.




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                      a.      The CDA Strategy Depended on Developing an Effective DTC
                              Supply Chain

       106.    The CDA strategy’s success hinged in critical part on NIKE developing an effective

DTC supply chain because, without one, NIKE could not successfully distribute merchandise to

meet consumer demand.

       107.    When a company is relying on selling through wholesale partners, its supply chain

is typically oriented around sending products to those wholesale partners. This involves shipping

merchandise in large quantities to retailers who have already determined what merchandise to

order based on consumer demand. These retailers have their own distribution capabilities, such

that they then distribute the products they ordered to their stores or ship them for home delivery.

Once again, using NIKE and Foot Locker as an example, Foot Locker will notify NIKE of which

products it would like to purchase on a wholesale basis, and when. Foot Locker will then

strategically disperse the NIKE products it purchased throughout Foot Locker’s network of stores

or will deliver them to consumers’ homes.

       108.    When a company does not sell through wholesale partners, but instead operates a

DTC model, it needs a supply chain capable of distributing products directly to consumers—either

by shipping those products to the company’s own mono-brand stores or directly to consumers’

homes. This requires a company to establish complex logistical capabilities allowing it to ship

merchandise directly to homes, take returns, and properly stock its own stores to meet consumer

demand. Therefore, to increase its DTC capabilities, NIKE needed to successfully distribute its

products directly to customers and its own mono-brand stores—without any third-party

intermediary acting as a point-of-sale. Shipping products to NIKE’s own stores creates unique

complications because NIKE must determine how much of each type of merchandise should be in

each store at a given time without relying on the data and expertise of a wholesale partner. This
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involves building out a distinct supply chain infrastructure as compared to a wholesale distribution

model. Thus, a company (in this case, NIKE) must expend large investments in logistics and

infrastructure to develop an effective DTC supply chain.

        109.    These key differences between DTC and wholesale supply chains are commonly

understood, and it is widely accepted that executing a successful DTC strategy requires an effective

DTC supply chain.

        110.    For example, an April 25, 2024 article in The Wall Street Journal, entitled “The

Tricky Logistics Behind Direct-to-Consumer Sales Strategies,” quotes Tom Enright, a consumer

retail analyst with a specialization in supply chain strategies, articulating that in order to execute a

successful DTC strategy, “[y]ou’ve got to have a supply chain that looks more like a retail supply

chain than a distribution one.” When pivoting from wholesale to DTC, according to Enright, there

must be a “reinvention of the supply chain.”

        111.    This Wall Street Journal article explained the typical wholesale distribution process

as follows: “Companies making goods from T-shirts to appliances typically ship merchandise in

large quantities to retailers, often on shrink-wrapped pallets hauled by tractor-trailers to merchants’

distribution centers. Retailers then handle distributing and selling the products through stores and

home delivery.” In contrast, “[r]eaching customers directly [i.e., via a DTC distribution process]

means charting a different supply chain, including picking, packing and shipping individual items

through warehouses, as well as developing shipping and returns policies that are crucial to

consumer sales.”

        112.    Similarly, in a March 13, 2023 Forbes article titled, “The Impact on Supply Chains

By Direct-To-Consumer Brands,” the author quotes Marne Martin, an executive with decades of

technology business leadership in various roles in software companies, who explained that “[a]

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direct-to-consumer (DTC) brand is one that has full control over the selling process and its

channels, which typically include online, other digital channels or its own branded stores.”

       113.      Indeed, after launching the CDA strategy, NIKE publicly acknowledged the

importance of building out a DTC supply chain to meet consumers where they are. For instance: 21

                 (a)   On a December 18, 2020 earnings call, Defendant Friend promised that

NIKE would “create a digital-first supply chain, built on a strong technology and analytics

foundation in order to optimize service, cost, convenience and sustainability.”

                 (b)   On a March 18, 2021 earnings call, Defendant Donahoe misrepresented that

NIKE had been able to “fairly impressively pivot to a more direct-to-consumer supply chain.”

                 (c)   In an April 26, 2021 interview at the U.C. Berkeley Haas School of

Business, Defendant Friend falsely touted NIKE’s DTC supply chain, specifically assuring

investors that NIKE was “employing data and analytics capabilities in our supply chain,” which

yielded “the net benefit of . . . higher margins because we have less waste, less mark-downs, less

inefficiency.”

                 (d)   On a September 23, 2021 earnings call, Defendant Friend falsely claimed

that NIKE was “creating a digital-first supply chain in the marketplace.”

                 (e)   During the October 6, 2021 Annual General Meeting, Defendant Friend

falsely claimed that NIKE was “building a digital-first supply chain to meet the strong and

growing digital demand.”

                 (f)   On May 16, 2022, Defendant Campion represented to publication Women’s

Wear Daily that “the [DTC] supply chain is more productive than ever,” noting that NIKE had


21
  Certain of these statements were materially misleading for the reasons stated in Section V.
However, all of them conveyed to investors the importance to the CDA strategy of building a DTC
supply chain to NIKE.
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“three to four times greater digital commerce distribution capability than [they] had two years

ago.”

        114.      Likewise, analysts repeatedly emphasized that developing a DTC supply chain was

critical to the success of NIKE’s CDA strategy. For example:

                  (a)    On August 17, 2020, Goldman Sachs assigned NIKE Stock a “Buy” rating

and wrote that NIKE deserved its high valuation given NIKE’s “digital shift, and investments in

supply chain.”

                  (b)    Similarly, on March 19, 2021, UBS gave NIKE Stock a “Buy” rating,

highlighting that “Nike’s investments in product innovation, supply chain speed, and digital are

unlocking what is likely a multiyear period of above average growth.” UBS reiterated this

sentiment, verbatim or nearly verbatim, many more times in additional analyst reports during the

Class Period.22

                  (c)    Likewise, on September 24, 2021, October 6, 2021, and January 7, 2022,

Deutsche Bank issued analyst reports assigning NIKE Stock a “Buy” rating and applauding

NIKE’s “enhanced digital/supply chain capabilities” as reasons why “we remain confident in

the company’s long-term earnings algorithm.”

                  (d)    And in a September 24, 2021 analyst report assigning NIKE Stock a “Buy”

rating, Jefferies wrote that NIKE “Shares Should Rise Another 25% From Here,” in significant

part because “the company’s distribution model is moving towards DTC.” In reports by Jefferies




22
  These include reports issued on: June 25, 2021, September 8, 2021, December 9, 2021, March
13, 2022, April 14, 2022, June 15, 2022, June 28, 2022, September 19, 2022, December 12, 2022,
December 21, 2022, March 12, 2023, March 22, 2023, June 19, 2023, June 30, 2023, September
29, 2023, and December 7, 2023.
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issued on December 21, 2021 and March 22, 2022, Jefferies reiterated that NIKE “[s]hares [l]ook

[a]ttractive” for these same reasons.

                       b.     The CDA Strategy Depended on NIKE Building Out Its
                              Technological Capabilities and Organization

       115.    One of the three central pillars of the CDA strategy was that NIKE build out and

unify its DTC technological infrastructure to enhance its DTC technological capabilities. To do

this, NIKE needed to expand its technology organization (i.e., group) that would ensure these DTC

technological capabilities were successfully developed and employed. Without accomplishing

these goals, NIKE’s CDA strategy could not succeed.

       116.    This necessity of establishing sufficient DTC technological capabilities supported

by an effective technological organization is widely understood. For example, in a March 28, 2023

interview published by McKinsey & Co. under the title “Retail growth: The big sprint towards

customer obsession,” Christiana Shi—a consultant focused on digitally-transforming consumer

and retail businesses (who was previously a senior partner at McKinsey & Company and a NIKE

executive who led NIKE DTC from 2013 to 2016)—described the sustained investment in

technology that NIKE’s digital transformation required. Specifically, she stated that “[a]nyone

who is going through a digitally led transformation must understand that the commitment needs to

be sustained, because, if not, you will fall behind the adaption curve, consumers, and the most

efficient and cost-effective technologies.”

       117.    Likewise, an April 8, 2021 MarketingTech article, titled “Why direct-to-consumer

depends on digital transformation: Key brand examples,” noted that “direct-to-consumer depends

on digital transformation.” The article’s author, Dr Anjali Subburaj (then the digital commerce

chief architect at food manufacturer Mars) explained that that “[f]or brands to continue to grow

their revenue and sustain their consumers beyond the pandemic, they must deliver relevant,
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impactful, and cohesive experiences across all digital touchpoints and not just their eCommerce

websites.”

       118.    NIKE fully understood the importance of having a strong technological team

capable of fully utilizing the technology needed to support its DTC acceleration, even before the

CDA strategy was announced. Indeed, in a June 6, 2019 press release (“June 6, 2019 Press

Release”), NIKE announced that it had created the new position of Global Chief Digital

Information Officer, who would “lead all of Nike’s global technology functions across the

enterprise with responsibility for accelerating new digital capabilities for Nike.” The addition of

this new leadership role was necessary because NIKE needed to “sharpen[] our ability to sense

and serve” consumers. Concurrently, NIKE also announced in the June 6, 2019 Press Release that

Ratnakar Lavu would become the Company’s first Global Chief Digital Information Officer.

Previously, Lavu had been the Chief Technology and Information Officer at Kohl’s, “where he led

all of IT, digital and consumer technology,” and was previously Chief Technology Officer at

Redbox. The June 6, 2019 Press Release touted that Lavu’s “20-year track record in building

seamless consumer experiences and leading teams through dynamic, digital transformations will

further accelerate our growth.” Thus, Lavu, as NIKE’s first Global Chief Digital Information

Officer was to play a critical role in building out NIKE’s DTC technological capabilities and thus

ensuring the success of the CDA strategy.

       119.    After the CDA strategy was announced, NIKE repeatedly emphasized that

developing sophisticated technologies to support its DTC operations and establishing a technology

team capable of fully utilizing its technology, was critical to the CDA’s success. For example: 23


23
  Certain of these statements were materially misleading for the reasons stated in Section V.
However, all of them conveyed the importance of building out NIKE’s technology capabilities and
organization to ensuring the success of the CDA strategy.
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               (a)     During a June 25, 2020 earnings call, Defendant Donahoe claimed NIKE

would establish a “single integrated technology strategy across our business.”

               (b)     In a July 22, 2020 press release, NIKE stated that the CDA strategy required

that NIKE “unify investments in an end-to-end technology foundation to accelerate our digital

transformation.”

               (c)     During NIKE’s 2020 Annual Meeting of Shareholders on September 17,

2020, Defendant Donahoe assured investors that “as part of CDA, we will accelerate our

investments in digitally enabled stores and in our technology platform to create one integrated

technology strategy across the business.” Defendant Donahoe claimed that these changes and

investments would result in “greater speed and responsiveness for consumers, as well as generating

more profitability and growth for our business.”

               (d)     On February 9, 2021, NIKE announced in a press release that it had acquired

Datalogue, “a leading data integration platform start-up . . . to enable its consumer-led digital

transformation.” Defendant Donahoe explained that the acquisition would support the CDA

strategy by “build[ing] on our digital momentum by enhancing our ability to transform raw data

into actionable insights in real time and across the enterprise.”

               (e)     In NIKE’s April 2, 2021 10-Q Quarterly Report, Defendants indicated that

they planned to “create an end-to-end technology foundation, which will further accelerate our

digital transformation.”

               (f)     During an April 26, 2021 interview for the U.C. Berkeley Haas School of

Business Dean’s Speaker Series, Defendant Friend touted that “[w]e are clearly going to be a

technology company. . . the big opportunity for Nike is how we responsibly leverage the data that

consumers give to us so that we can . . . serve them in more personalized ways.”

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               (g)    In NIKE’s October 5, 2021 10-Q Quarterly Report, Defendants

misrepresented that as part of the CDA strategy, they would “continue to invest in data and

analytics, demand sensing, insight gathering, inventory management and other areas to create

an end-to-end technology foundation which will further accelerate our digital transformation.”

               (h)    At a February 24, 2022 all-hands employee meeting, as reported by

Business Insider, then-NIKE Chief Digital Information Officer Lavu insisted that “[t]echnology

is going to be at the center of all the transformation that is going to happen now and in the

future of the company . . . [a]nd it’s actually going to get more deep-rooted and embedded into

everything that we do.”

               (i)    In NIKE’s July 20, 2023 10-K, Defendants again noted that “we have made

significant investments in digital technologies and information systems for the digital aspect of

our NIKE Direct operations, and our digital offerings will require continued investment in the

development and upgrading of our technology platforms. In order to deliver high-quality digital

experiences, our digital platforms must be designed effectively and work well with a range of other

technologies, systems, networks, and standards.”

       120.    Likewise, securities analysts repeatedly stressed that developing enhanced DTC

technological capabilities and a technology team to effectively use those capabilities was critical

to the CDA strategy’s success. For example:

               (a)    On November 13, 2020, assigning NIKE Stock an “Overweight” rating,

Morgan Stanley wrote that NIKE had “created one integrated technology roadmap with the goal

of leveraging data to make faster, more informed decisions across the organization.”

               (b)    In a September 24, 2021 analyst report assigning NIKE Stock a “Buy”

rating, Jefferies wrote that NIKE “Shares Should Rise Another 25% From Here,” in significant

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part because “the company is using tech to deepen its connection with its customer.” In reports

by Jefferies issued on December 21, 2021 and March 22, 2022, Jefferies reiterated that NIKE

“[s]hares [l]ook [a]ttractive” for these same reasons.

               (c)     A January 26, 2023 analyst report by J.P.Morgan, assigning NIKE Stock an

“Overweight” rating, highlighted “personalization technology” as a “key” aspect of the CDA

strategy.

                       c.      The CDA Strategy Depended on NIKE Establishing a
                               Streamlined Organizational Structure

       121.    The CDA strategy also required NIKE to execute a substantial corporate

reorganization. This reorganization included NIKE reorganizing its business to focus on gender

and age based “consumer constructs” (specifically Men’s, Women’s, and Kids’), as opposed to its

previous focus on sport-based categories. The reorganization also included significant employee

layoffs. According to a July 22, 2020 press release, this reorganization would “streamline

[NIKE’s] organization.”

       122.    Defendants first conveyed certain specifics of this reorganization to investors on

NIKE’s June 25, 2020 earnings call. During that call, Donahoe began to detail this reorganization,

stating that NIKE would “realign the company to reflect . . . [a] simplified Men’s, Women’s and

Kid’s approach.” Previously, NIKE had organized its business based on sport-categorization, i.e.,

running and basketball, among other sports. With the CDA strategy, however, NIKE announced

that it was shifting away from this sport-based categorization, and was instead organizing around

gender-and age-based constructs. As such, the CDA strategy initiated a corporate restructuring,

through which NIKE would align its business under Men’s, Women’s, and Kids’ constructs. On

the same earnings call, Defendant Donahoe claimed that “this consumer construct will allow us to

significantly simplify our organization and focus more of our resources on the capabilities and
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opportunities that will forge our future . . . These intentional organizational focuses will touch

every area of our business, including innovation, product creation, marketing, merchandising and

distribution.”

       123.      The July 22, 2020 press release further elaborated on NIKE’s corporate

reorganization under CDA, and announced “a series of senior leadership changes [] supporting the

company’s Consumer Direct Acceleration.” These changes included the appointment of: (i) senior

leadership to NIKE’s newly created Men’s, Women’s, and Kids’ constructs; (ii) new leaders for

NIKE Brand’s geographic operating segments (under the leadership of Defendant O’Neill); and

(iii) new members to NIKE’s Executive Leadership Team reporting to Defendant Donahoe

(including Craig A. Williams, President of Jordan Brand). The July 22, 2020 press release touted

that these “leadership changes, combined with a strategic alignment of NIKE’s operating model

against the CDA, will create even greater focus and agility that will be enabled by a nimbler, flatter

organization in service of consumers.”

       124.      This CDA-focused reorganization also included substantial employee layoffs. In

the July 22, 2020 press release, NIKE stated that “[o]perational model changes to fully align

against the CDA are expected to lead to a net loss of jobs across the company, resulting in pre-tax

one-time employee termination costs of approximately $200 million to $250 million.” On

November 2, 2020, The Oregonian reported that NIKE had announced that it “expects to eliminate

700 jobs at its headquarters near Beaverton by early January, part of a broader restructuring the

company announced last summer.”




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       125.    Analysts also repeatedly noted that NIKE’s corporate reorganization under the

CDA strategy was critical to its success. For example:

               (a)     On June 25, 2020, Goldman Sachs Equity Research assigned NIKE Stock a

“Buy” rating, writing that it was a “best-in-class growth asset,” and that analysts were “encouraged

by [NIKE’s] plans to accelerate its digital transformation,” “as well as reorganization plans to

increase focus on women’s and apparel product and better integration of technology.”

               (b)     Likewise, an August 17, 2020 report by Goldman Sachs Equity Research

assigning NIKE Stock a “Buy” rating stated that NIKE’s “new consumer construct . . . will prove

to accelerate [NIKE’s] DTC strategy.”

               (c)     Similarly, on September 15, 2020, BTIG wrote: “[t]he company’s change

to gender-focused categories should make the organization flatter and afford managers the ability

to more efficiently and effectively drive growth.” They added:“[w]e believe that . . . [NIKE’s]

streamlined men’s / women’s / kid’s classifications are important accelerators to the company’s

evolving digital strategy.”

               (d)     Likewise, on December 15, 2021, Wells Fargo published an analyst report

maintaining NIKE Stock’s “Equal Weight” rating (stating: “the [NIKE] story [i]s among the best

of consumer brands today”), and highlighting NIKE’s “slew of organizational changes, including

a shift toward a Men’s/Women’s/Kids’ construct” and noting that “we see the simpler format as

a positive development” and that this reorganization “looks to be a powerful shift.”

               (e)     And, on December 21, 2022, UBS published a report assigning NIKE Stock

a “Buy” rating and describing a call between UBS and NIKE management, during which a focus

of UBS’s questions was whether NIKE’s “simplified men’s, women’s and kids approach . . . is

working out the way [NIKE] intended.”

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                       d.     The CDA Strategy Depended on NIKE Maintaining a Robust
                              Innovative Product Pipeline

       126.    Maintaining an innovative product pipeline to meet consumer demand was also a

foundational requirement of the CDA strategy.

       127.    As described supra, Section IV.A.3., the CDA strategy represented the “next phase

of the Consumer Direct Offense.” Thus, the CDA strategy incorporated key tenets of the CDO

initiative—specifically, CDO’s commitments to “accelerat[e]” innovation and “supercharg[e]”

NIKE’s product pipeline, “accelerate the impact and cadence of new innovation platforms,” and

“deliver innovation, at speed, through more direct connections.”

       128.    Defendants were explicit that a focus on NIKE’s product innovation pipeline was

foundational to the CDA strategy. For example, when announcing the CDA strategy on the June

25, 2020 earnings call, Donahoe specifically assured investors that NIKE’s focus on “product

innovation” was something that “is not going to change” under the CDA strategy, as NIKE’s

peerless innovation “will continue to drive distinction for our brand.” Donahoe also touted NIKE’s

“unmatched investment in product innovation” and conveyed that “innovation continues to be

NIKE’s greatest competitive advantage,” as “[w]e continuously bring fresh, new product to

market.” Further, Donahoe stated that “[t]he strength of our brand, our deep connections to

consumers and our unmatched product innovation give us an advantage to create and define our

future.” On the same call, Defendant Friend echoed this sentiment, stating that “[t]he financial and

operating principles that will carry us through these unprecedented times are the same ones that

have guided us over the decades, and our brand momentum and deep consumer connections, our

differentiated product and continuous flow of innovation, our digital advantage and our

operational capabilities have never been stronger.”



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       129.    After the announcement of the CDA strategy, NIKE continued to emphasize that

the Company’s robust pipeline of innovation products was integral to its DTC pivot. For instance,

in a letter to shareholders dated July 24, 2020, NIKE stated that it was “delivering on . . . our high-

impact differentiators,” including “innovation and direct connections with consumers.” In a

September 22, 2020 earnings call, Defendant Donahoe similarly claimed that NIKE’s “innovation

pipeline and cadence has not slowed.”

       130.    Defendants continued touting the importance of NIKE’s innovation and product

pipeline throughout the Class Period. For example: 24

               (a)     In a September 23, 2021 press release, Defendant Donahoe attributed

“NIKE’s strong results” that quarter to “deep consumer connections, [an] unrelenting innovation

pipeline and a digital advantage that fuels our brand momentum.”

               (b)     During NIKE’s June 27, 2022 Q4 2022 earnings call, Defendant Donahoe

falsely touted NIKE’s “relentless pipeline of innovative products, which continues to drive

separation between us and our competition. No other brand has our ability to resource, solve and

scale in response to a consumer opportunity.”

               (c)     On that same earnings call on June 27, 2022, Defendant Donahoe added, in

response to a Deutsche Bank analyst’s direct question about the product pipeline, that: earlier that

month, at a meeting of Vice Presidents, “everyone walked out excited by the breadth and depth of

the innovation pipeline.”




24
   Certain of these statements were materially misleading for the reasons stated in Section V.
However, all of them conveyed the importance of maintaining NIKE’s innovative product pipeline
to the success of the CDA strategy.
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               (d)    In a June 27, 2022 press release, Defendant Donahoe falsely touted that

“[o]ur competitive advantages, including our pipeline of innovative product and expanding

digital leadership, prove that our strategy is working.”

               (e)    On September 29, 2022, during the Q1 2023 earnings call, Defendant

Donahoe highlighted NIKE’s “culture of innovation that drives a continuous pipeline of new

products,” falsely insisting that “NIKE’s relentless pipeline of innovative product continues to

create separation between us and our competition.”

               (f)    During the December 21, 2023 Q2 2024 earnings call, in response to a J.P.

Morgan analyst’s question regarding NIKE’s product pipeline, Defendant Donahoe underscored

that as part of the CDA strategy, NIKE had “realigned [the] entire organization under Heidi O’Neill

and Craig Williams . . . And as you know, we’re single-mindedly focused on aligning our entire

team to drive what NIKE does best: innovative product.”

       131.    Analyst and news publications demonstrate that the investing public understood

that NIKE’s pipeline of innovative products was critical to the success of the CDA strategy and

the Company’s long-term growth prospects. For example:

               (a)    In the wake of the CDA’s announcement, on August 4, 2020, Bernstein

Societe Generale Group issued a report assigning NIKE Stock a “Buy” rating and stating that it

“believe[s] strong product traction and innovation will continue to drive results, while the shift

to DTC benefits margins.”

               (b)    Similarly, on June 19, 2020, Telsey Advisory Group assigned NIKE Stock

an “Outperform” rating stating that they “see further upside over the next 12 months driven by . .

. Nike’s brand momentum and product innovation pipeline.”




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              (c)     Likewise, on March 19, 2021 UBS gave NIKE Stock a “Buy” rating,

highlighting that “Nike’s investments in product innovation, supply chain speed, and digital are

unlocking what is likely a multiyear period of above average growth.” UBS reiterated this

sentiment, verbatim or nearly verbatim, many more times in separate analyst reports issued during

the Class Period, up through December 7, 2023. 25

              (d)     A March 19, 2021 analyst report by Citi similarly “assign[ed] NIKE a Buy

rating,” in significant part because of NIKE’s purportedly “unrivaled innovation pipeline” and

NIKE’s “accelerating shift toward DTC.”

              (e)     On September 24, 2021, October 6, 2021, and January 7, 2022, Deutsche

Bank assigned NIKE Stock “Buy” ratings and issued analyst reports touting that NIKE’s

“innovative product pipeline” as a key reason why “we remain confident in the company’s long-

term earnings algorithm.”

              (f)     On December 20, 2021, Deutsche Bank released a report assigning NIKE

Stock a “Buy” rating and articulating that “we believe demand for N[I]KE product will remain

robust and anticipate the company to achieve EPS growth of 20%+ in the out-years given N[I]KE’s

product innovation pipeline,” among other reasons.

              (g)     And, on March 21, 2022, J.P. Morgan published a report assigning NIKE

Stock an “Overweight” rating and highlighting that NIKE’s “forward product pipeline . . .

provid[ed] the foundation to execute the model’s financial algorithm.”




25
  These include reports issued on: June 25, 2021, September 8, 2021, December 9, 2021, March
13, 2022, April 14, 2022, June 15, 2022, June 28, 2022, September 19, 2022, December 12, 2022,
December 21, 2022, March 12, 2023, March 22, 2023, June 19, 2023, June 30, 2023, September
29, 2023, and December 7, 2023.
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       132.    The flipside of NIKE’s need to ensure it had a robust pipeline of innovative

products, however, was the Company’s need to ensure it carefully managed the supply of its

already-popular products. NIKE frequently refers to its various products as “franchises.” As part

of NIKE’s pivot, it was important that NIKE have the correct level of supply for popular franchises,

such as the Air Jordan sneakers, so it could meet demand without flooding the market.

       133.    As set forth in a July 5, 2024 Sports Illustrated article, titled “Why Nike Plans To

Make Less of Its 3 Most Popular Sneakers,” NIKE must manage the supply of its key products so

that supply of those products does not outpace demand. This helps to “maintain the long-term

health of Nike’s most popular sneakers.” Flooding the market with key product such that supply

outpaces demand, however, risks making these products “uncool,” thus diluting their popularity

with consumers and reducing demand further. Similarly, an October 1, 2024 article in The Wall

Street Journal, titled “Nike Shares Slide After It Withdraws Year Forecast,” explained that for

years NIKE had “oversold” key products “and diluted their cool in the process.

                       e.     The CDA Strategy Also Depended on NIKE Maintaining Its
                              Brand Strength and Competitive Separation

       134.    The CDA strategy also required NIKE to maintain its competitive separation and

brand distinction. Even if NIKE were able to develop the capability to sell a far larger number of

its products through DTC channels, demand for those products would nonetheless decline if

NIKE’s brand strength suffered and/or NIKE’s competitive standing diminished.

       135.    It was particularly important that NIKE maintain its competitive position and brand

strength in its key categories, such as running. Defendants repeatedly emphasized the special

importance of the running category to NIKE’s long-term success and, therefore, the success of the

CDA strategy. For instance, on NIKE’s March 21, 2023 earnings call, Defendant Donahoe said

that “running is the heart of NIKE.” At the end of the Class Period, in the October 1, 2024 earnings
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call, Defendant Friend further explained the importance to NIKE of the running category, stating

that “NIKE is a running company. NIKE is a running brand. And it’s incredibly important for

NIKE to win with runners.”

       136.    Indeed, Defendants repeatedly publicly acknowledged that competitive separation

and brand distinction were critical aspects of the CDA strategy. For instance: 26

               (a)      During NIKE’s June 25, 2020 earnings call, Defendant Donahoe stated:

“NIKE’s competitive advantage is driven by our team and by our brand’s ability to connect with

consumers, and this is fueled by our strategy, the Consumer Direct Offense, and it’s why I continue

to believe no one is better positioned than NIKE to navigate the current environment.” As

discussed infra, the CDA strategy incorporated the tenets of the CDO strategy.

               (b)      When announcing the CDA strategy on the June 25, 2020 earnings call,

Defendant Donahoe specifically highlighted “[t]he strength of our brand” as a critical “advantage

to create and define our future.”

               (c)      Similarly, on the June 25, 2020 earnings call, Defendant Friend pointed to

NIKE’s “brand momentum” as a key aspect of NIKE’s success that “will carry us through these

unprecedented times.”

               (d)      In a March 18, 2021 Press Release, Defendant Donahoe touted that “NIKE

continues to deeply connect with consumers all over the world driven by our strong competitive

advantages.”




26
   Certain of these statements were materially misleading for the reasons stated in Section V.
However, all of them conveyed the importance of maintaining NIKE’s brand strength and
competitive separation to the success of the CDA strategy and thus the Company’s long-term
financial growth.
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               (e)     On a June 27, 2022 earnings call, Defendant Donahoe falsely assured

investors that NIKE “continue[d] to have a competitive advantage in digital as one of the few

brands that can connect with and directly serve consumers at scale.”

               (f)     On A September 29, 2022 earnings call, Defendant Friend claimed that

“NIKE’s competitive advantages are also growing as the Consumer Direct Acceleration transforms

our operating model, driving deeper and more direct connections through digital.”

               (g)     On a March 21, 2023 earnings call, Defendant Donahoe noted that “[i]n an

environment of increasing macro volatility, the distinction of our brands and our Consumer Direct

Acceleration strategy set NIKE apart.”

       137.    Analysts likewise repeatedly pointed out that NIKE’s competitive separation and

brand strength were crucial for the CDA strategy to succeed. For example:

               (a)     In a September 24, 2021 analyst report assigning NIKE Stock an

“Outperform” rating, Evercore ISI wrote that “we think, given its brand power, engaged

consumers, limited competition, and now scaled DTC business, Nike could more aggressively

use pricing as a lever – especially during this highly inflationary period.”

               (b)     In a December 8, 2021 analyst report assigning NIKE Stock a “Buy” rating,

Goldman Sachs noted that “N[I]KE has a strong runway for longer term growth, driven by: . . .

a superior branding vs competition through continued engagement with consumers by investing

into the DTC channel.”

               (c)     In a March 22, 2022 analyst report assigning NIKE Stock an “Outperform”

rating, Cowen stated that “Nike’s Consumer Direct Acceleration strategy drove further

competitive separation and quality sales growth.”




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               (d)     On June 15, 2022, 2021, UBS gave NIKE Stock a “Buy” rating,

highlighting the Company’s “brand strength” as a key reason that NIKE could “outperform peers

through a potential recession.” UBS reiterated this sentiment verbatim, or nearly verbatim, in

several additional analyst reports published during the Class Period through March 22, 2024. 27

               (e)     On June 29, 2023, a UBS analyst report assigned NIKE Stock a “Buy”

rating and stated that “Nike made it clear it is not changing its Consumer Direct Acceleration

strategy and this likely means Nike will continue to take market share from Foot Locker.” The

UBS report also stated that “Nike is a long-term outperformer,” among other reasons, because

of its “investments in product innovation, supply chain speed, and digital . . . [p]lus, we believe

Nike has the brand strength.”

                       f.      The CDA Strategy Depended on NIKE Effectively Responding
                               to Consumer Demand for Multi-Brand vs. Mono-Brand
                               Shopping

       138.    Another critical component for the success of the CDA strategy was that NIKE’s

channel mix between wholesale and DTC sales needed to match consumer preferences. In other

words, even if NIKE were able to develop the capabilities to sell a far larger number of its products

through DTC channels, those capabilities would be useless if consumers preferred to purchase

NIKE products from non-DTC channels (i.e., multi-brand retailers).

       139.    As previously described, NIKE sells its products through both mono-brand

platforms (such as its own stores, website, and apps) and multi-brand stores (through its wholesale

partners), and NIKE has historically sold a significant majority of its merchandise through its

wholesale partners. Prior to the CDA strategy launch, as part of the CDO strategy, NIKE began to


27
  These include reports issued by UBS on: June 15, 2022, September 19, 2022, December 12,
2022, December 21, 2022, March 12, 2023, March 22, 2023, June 19, 2023, June 30, 2023,
September 29, 2023, December 7, 2023, and March 11, 2024.
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limit its sales to wholesale partners with the goal of instead growing its sales through DTC channels

and a select group of “strategic” wholesale partners. As part of the CDA strategy, NIKE

accelerated its turn away from retail partners, selling even less merchandise through multi-brand

channels. By December 2020, NIKE had dropped about 30% of its undifferentiated wholesale

partners. By spring 2021, NIKE had cut ties with wholesale partners, including many well-known

multi-brand retailers, such as Fred Meyer, Zappos, Dillard’s, City Blue, VIM, EbLens, Belk, Bob’s

Stores Boscov’s, DSW, Urban Outfitters, Shoe Show, Dunham’s Sports, Olympia Sports, Big 5

Sporting Goods, and Macy’s. Indeed, according to a March 28, 2022 article in Retail Wire titled

“Nike heads to the wholesale exits,” by spring 2022, NIKE had reduced its number of wholesale

partners worldwide by more than 50 percent.

       140.      Instead of selling products through wholesale partners, after the launch of the CDA

strategy, NIKE emphasized selling products through its own mono-band channels. These mono-

brand channels included NIKE’s stores that operated under a variety of names, such as NIKE Rise,

NIKE Live, and NIKE House of Innovation, among others. NIKE’s mono-brand channels also

included digital platforms, such as NIKE’s website and mobile apps.

       141.      Indeed, Defendants publicly acknowledged that for the CDA strategy to succeed,

NIKE’s channel mix between wholesale and DTC sales needed to match consumer preferences.

For example:28

                 (a)    On the June 25, 2020 earnings call, Defendant Donahoe claimed that

NIKE’s customers wanted a “consistent, seamless physical and digital experience” ordering

products directly from NIKE through multiple mono-brand channels.


28
 Certain of these statements were materially misleading for the reasons stated in Section V.
However, all of them conveyed the importance of meeting consumer demand for mono-brand and
multi-brand shopping to the success of the CDA strategy and NIKE’s long-term growth.
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               (b)     During the September 17, 2020 Annual General Meeting, Defendant

Donahoe similarly noted: “You’ll see us continue to shift away from undifferentiated retail. That

means we’ll focus on small number of key strategic wholesale partners that share our commitments

to building the same premium, consistent, and seamless experience for our consumers.”

               (c)     Likewise, on a September 28, 2023 earnings call, Defendant Friend stated:

“We have shifted our channel mix, and that’s been a consumer-led and a consumer-driven shift

based on the consumer’s desire to want to connect with NIKE both through our digital apps and

through our stores.”

       142.    Similarly, analysts and industry experts repeatedly emphasized that for the CDA

strategy to succeed, NIKE needed to respond to consumer demand for multi-brand vs. mono-brand

shopping. For instance:

               (a)     A July 29, 2020 article in Vogue Business titled, “Inside Nike’s latest bet to

understand its customers,” cited industry experts stating that “Nike’s colossal investment [in

mono-brand retail] could ultimately pay off. It feeds into the company’s ongoing strategy to scale

back dependency on wholesale partners and have stronger control over its own distribution.”

               (b)     Likewise, on September 23, 2020, analysts at UBS reiterated their “Buy”

rating of NIKE Stock and highlighted that “Nike is proving it can capture demand via its own

websites and stores as it strategically reduces inventory in ‘undifferentiated’ wholesale

channels.”

               (c)     In a March 19, 2021 report by Telsey Advisory Group assigning NIKE

Stock an “Outperform” rating, analysts stated that NIKE’s outlook was positive, “driven by a

favorable channel mix related to higher penetration of Nike Direct.”




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               (d)     In a May 11, 2021 report by Jeffries upgrading NIKE Stock to a “Buy”

rating, analysts stated that “[m]argin trends continue to improve given favorable channel mix

(DTC > Wholesale).”

               (e)     In an October 12, 2021 report by Goldman Sachs assigning NIKE a “Buy”

rating, analysts wrote that they “see the impact of th[e] strategic shift in Nike’s channel mix” and

were encouraged by NIKE executives having “announced that they plan to increase DTC’s

penetration of total sales up to 60% by 2025,” a strategy they called a “meaningful driver for gross

margins.”

               (f)     In a December 21, 2021 report by Goldman Sachs assigning NIKE Stock a

“Buy” rating, analysts saw “continued DTC channel shift as a gross margin driver moving

forward.”

               (g)     In a January 26, 2022 report by Jeffries assigning NIKE Stock a “Buy”

rating, analysts stated that “[m]argin trends continue to improve given favorable channel mix

(DTC > Wholesale)” and NIKE’s “DTC shift aids full-price selling, while margins expand from

channel mix benefits.”

               (h)     In a March 16, 2022 report by Jeffries assigning NIKE Stock a “Buy” rating,

analysts stated that “[m]argin trends continue to improve given favorable channel mix (DTC >

Wholesale).”

               (i)     In an April 14, 2022 report by J.P. Morgan assigning NIKE Stock an

“Overweight” rating, analysts opined that one of NIKE’s “multi-year” drivers of margin growth

included the “Channel Mix: Shift toward DTC (60% by FY25 from 40% in FY21) coupled w/

elevated wholesale positioning in Phase 2 of the Marketplace model now underway (= focus on

driving productivity w/ remaining wholesale accounts following Phase 1 distribution ‘cuts’).”

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               (j)     In a June 23, 2022 report by J.P. Morgan assigning NIKE Stock an

“Overweight” rating, analysts opined that one of NIKE’s “key drivers in FY23” included the

“Channel Mix: Shift toward DTC (60% by FY25 from 40% in FY21) coupled w/ elevated

wholesale positioning in Phase 2 of the Marketplace model now underway (= focus on driving

productivity w/ remaining wholesale accounts following Phase 1 distribution ‘cuts’).”

               (k)     In a July 11, 2022 report by Jeffries assigning NIKE Stock a “Buy” rating,

analysts stated that “[m]argin trends continue to improve given favorable channel mix (DTC >

Wholesale).”

               (l)     In a September 23, 2022 report by Jeffries assigning NIKE Stock a “Buy”

rating, analysts stated that “[m]argin trends continue to improve given favorable channel mix

(DTC > Wholesale).”

               (m)     In a June 16, 2023 CGS-CIMB Securities and Raymond James report

maintaining NIKE Stock’s “Outperform” rating, analysts stated that they “expect tailwinds from

channel mix—DTC should outperform Wholesale due to NKE’s increasing focus on DTC

(strategy).”

               (n)     In a June 16, 2023 Raymond James report maintaining NIKE Stock’s

“Outperform” rating, analysts stated that they “expect tailwinds from channel mix—DTC should

outperform Wholesale due to NKE’s increasing focus on DTC (strategy).”

               (o)     In a June 30, 2023 Bernstein Research report maintaining NIKE Stock’s

“Outperform” rating, analysts stated: “[d]espite concerns that Nike's return to DSW and Macy's

signaled a reversal of the DTC shift or underperformance of the channel, DTC grew +18% cc in

Q4, outpacing Wholesale at +2% cc. Mgmt reiterated their DTC strategy, expecting Nike Direct

to outperform the rest of the business.”

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                (p)    In a December 7, 2023 report assigning NIKE Stock a “Buy” rating, UBS

stated that their “gross margin estimate also increase[d] slightly as NKE's consumer direct

acceleration strategy leads to improved channel mix.”

                (q)    In a December 18, 2023 report, Oppenheimer & Co. assigned NIKE Stock

an “Outperform” rating, highlighting Defendant Donahoe’s September 28, 2023 earnings call

statement that “we’re going to be a more direct and a more digital company and a more profitable

company. And there’s a channel mix and channel profitability opportunity that comes with that as

well.”

         B.     Defendants Misled the Market Concerning the Continued Success of the
                CDA Strategy

                1.     The Undisclosed Truth About the CDA Strategy

         143.   As explained supra, the CDA strategy depended on NIKE building out or

maintaining certain key aspects of its business. These key areas were: (i) developing an effective

DTC supply chain; (ii) enhancing NIKE’s technological capabilities and building out a unified

technology organization to support those capabilities; (iii) engaging in a corporate reorganization,

including the creation of new consumer constructs; (iv) maintaining a robust pipeline of innovative

products while effectively managing the supply of NIKE’s key products; (v) maintaining NIKE’s

brand strength and competitive separation ; and (vi) effectively adapting to consumer demand

patterns regarding shopping at mono-brand and multi-brand retail stores.

         144.   Unbeknownst to investors, however, Defendants knew or recklessly disregarded

that, throughout the Class Period, NIKE was plagued by severe problems in each of these critical

areas, which foreseeably led to the CDA strategy’s eventual demise at the end of the Class Period.




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                        a.     NIKE Failed to Develop an Effective DTC Supply Chain

       145.    Multiple former NIKE employees recount that throughout the Class Period NIKE

failed to develop an effective DTC supply chain, thereby impeding the CDA strategy from the

start. Indeed, as detailed further below, NIKE later tacitly admitted this deficiency after the Class

Period by announcing that the Company’s Chief Supply Chain Officer would report directly to the

new CEO, Elliot Hill.

       146.    NIKE’s Deficient DTC Supply Chain: CW-1 (NIKE’s VP, Global Store

Development from approximately August 2022 through May 2024) explained that the role she was

hired to perform was to develop and expand NIKE’s fleet of DTC stores. CW-1 stated that supply

chain management was integral to the CDA strategy, but NIKE did not have sufficient capabilities

to manage its supply chain as it pivoted more toward emphasizing DTC at the expense of

wholesale, and NIKE did not sufficiently invest in supply chain management. According to CW-

1, as a result, NIKE had significant supply chain problems that inhibited the success of the CDA

strategy. CW-1 confirmed that the supply chain management issue was a problem for all of NIKE’s

DTC operations: NIKE’s brick-and-mortar stores, website, and apps. Critically, this was a

problem throughout CW-1’s entire tenure—i.e., August 2022 through May 2024, and pre-dated

her employment by many years.29

       147.    CW-1 explained that supply chain management for DTC operations is very

different than supply chain management when selling products on a wholesale basis to retailers.

She added that NIKE had historically been a wholesaler, which is logistically simpler from a

supply-chain perspective than running a DTC operation: NIKE could just ship product to retailers,




29
   CW-1’s basis of knowledge for the preceding information predating her employment at NIKE
is explained further below, in this Section at ¶155.
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per the retailers’ orders. Running a DTC operation, CW-1 advised, is much more complicated, as

NIKE needs to know how much product to ship to which location, and when to do it. CW-1

elaborated that a DTC operation requires a different distribution system and measurement of

different metrics.

       148.    CW-1 stated that most DTC retailers therefore have a separate distribution system

for DTC operations than for wholesale operations. In contrast, CW-1 indicated, NIKE never put

that kind of plan into place; the Company had no plan to invest in a distribution system for its

own stores. Instead, CW-1 added, NIKE just took its existing system that was built to supply third-

party retailers with product, and it shifted that system to supply NIKE’s own stores with product.

CW-1 elaborated that the Company never established planning and allocation teams for its DTC

stores. CW-1 commented that there was no way for that system to be successful, and that it was a

failure from the start: if the Company can’t get products into its own stores, it can’t get sales. CW-

1 added that the supply chain was a problem years before she joined NIKE, but no one did

anything. CW-1 explained that the US had the biggest problem with supply chain issues, and the

supply chain problems affected mostly North America, Europe, Middle East & Africa (“EMEA”),

and Latin America.

       149.    CW-1 indicated that she observed supply-chain problems first-hand when she

visited NIKE stores and saw their storerooms, which she described as “hazardous.” CW-1 noted

that store managers tried to control the inventory flow, but they could not, and some stores had to

rent their own separate storage spaces for excess inventory. CW-1 further noted that the poor

distribution system led to product frequently moving back and forth between warehouses, stores,

and storage units, and because of the increased need to move product, there was a large amount of

product lost due to theft and general loss during transit.

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       150.    CW-1 recalled that for months, there was no product able to get pushed out from

the distribution centers to North America not because of COVID (NIKE used that as an excuse)

but because their systems were built as wholesale systems.

       151.    Supply Chain Problems Raised to Management: NIKE’s DTC supply chain

problems were widely discussed and reported to management throughout the Class Period. CW-1

noted that many people internally raised NIKE’s DTC-related supply chain problems. For

example, CW-1 specifically recalled Mary Beth Laughton, Head of NIKE Global DTC, 30

discussing the problem. According to CW-1, management’s response was that it was too expensive

to create a separate DTC distribution system, and therefore they did not want to do it. CW-1 said

that NIKE refused to invest in addressing the root cause of this issue.

       152.    CW-1 elaborated that these supply chain problems frustrated Laughton. CW-1

added that Laughton had a mandate to fix these problems, but she was “stymied from the get-go,”

as she was never given the tools to actually fix the problem.

       153.    CW-1 recalled that CW-1 first learned of the supply chain problems in 2022 from

her former supervisor Sumi Ghosh (Global VP of Stores). CW-1 explained that Ghosh had

informed the entire leadership team about the problem.

       154.    CW-1 stated that NIKE held quarterly audit meetings attended by individuals such

as Mary Beth Laughton and Sumi Ghosh. According to CW-1, Defendant O’Neill and Craig

Williams (currently NIKE’s President of Geographies and Marketplace) would occasionally attend

as well, whereas Defendants Donahoe and Friend did not. However, per CW-1, reports came from

these meetings that went to the Board of Directors saying that supply chain problems were a huge



30
  Based on Lead Plaintiffs’ investigation, Mary Beth Laughton (“Laughton”) left NIKE in early
2025.
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issue that needs to be fixed. CW-1 stated that Donahoe, Friend, O’Neill, and Williams received

the audit reports discussed at these meetings and were included on invites to these meetings.

          155.   CW-1 recalled that the first quarterly audit session she attended was in the fall of

2022, soon after she joined NIKE. CW-1 stated that there were two issues listed in these audit

reports and discussed at the quarterly meetings that related to her team throughout her tenure:

NIKE’s supply chain management problems and the lack of women employed at NIKE’s DTC

stores. CW-1 added that the person who ran supply chain prior to Laughton taking over advised

that the supply chain issue had been on the list for approximately ten years.

          156.   Supply Chain Problems and NIKE’s Mono-Brand Stores: Multiple CWs

described how NIKE’s DTC supply chain problems negatively impacted NIKE’s mono-brand

stores.

          157.   CW-1 used NIKE’s “Well Collective” stores—which were meant to market to

women and compete against entities like Lululemon—as an example showing how supply chain

problems negatively impacted NIKE. CW-1 explained that, due to poor supply chain management,

NIKE could not figure out how to get the proper amount of product into these stores; either there

was not enough product, or way too much. CW-1 clarified that these supply chain problems also

existed at other NIKE stores, including NIKE Live stores (which were the predecessors to the Well

Collective stores).

          158.   CW-1 added that the excess of inventory at NIKE’s stores caused OSHA violations

because the stores could not safely store it all. CW-1 added that sales plummeted as a result and

that this was an ongoing problem, especially in North America. CW-1 cited as an example NIKE’s

New York City store, which performed so poorly that the store’s landlord, which was paid a

percentage of the store’s sales as part of its lease, raised concerns with the Company. CW-1 added

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that this was not just occurring at the New York City store. CW-1 recalled that there were multiple

landlords across the whole fleet of NIKE stores towards the end of her tenure calling and asking

why sales were down 20 to 30%. CW-1 noted that this happened toward the end of her time at the

Company, and that it “got really bad.”

       159.    CW-1 elaborated that a DTC operation also needs internal buyers and allocators,

which she described as the left and right hand. CW-1 explained that the buyers and allocators work

together: the buyer decides what to get for the stores and the allocators decide where to put the

product in the store and how much. CW-1 added that NIKE did not have allocation teams, so every

store got the same amount of product, and it did not matter if the product was selling or not. CW-

1 advised that some of that problem was being fixed when she left NIKE (in May 2024), noting

that the Company promoted Cesar Garcia, currently VP, Global Product Merchandising and

Operations, to address the issue, create allocation teams, and guaranteed buys. CW-1 added that

none of that was done when CDA was launched.

       160.    The account of CW-2—who worked on marketing NIKE’s DTC retail stores from

2018 to her departure in fall 2022—supports these allegations. CW-2 recalled that, beginning in

July 2022, NIKE began lowering its internal targets for the number of NIKE Live stores it planned

to open in North America because the stores were not performing well and because the Company

had trouble finding real estate for its stores, and that NIKE continued to reduce these internal

targets throughout CW-2’s tenure. CW-2 elaborated that in Fall 2020, NIKE’s goal was to open

200 NIKE Live stores in North America in three-to-five-years. However, CW-2 recalled that

beginning in July 2022, the Company changed its NIKE Live strategy because its DTC retail

stores were not performing well. Therefore, CW-2 noted that NIKE subsequently laid off a NIKE

Live Director and changed its goal from opening 200 NIKE Live stores to opening 100 stores and

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then to opening 75 stores in three-to-five-years. CW-2 added that NIKE had only opened 50 NIKE

Live stores at the time of her departure (November 2022).

        161.    CW-2 explained that NIKE Live stores faced supply chain and product-pipeline

problems, which were major contributors to NIKE lowering its target for the number of NIKE Live

Stores the Company planned to open. CW-2 further explained that NIKE was unable to align

receiving products with the timing of opening new NIKE Live stores.

        162.    Thus, NIKE’s DTC supply chain infrastructure and its product pipeline were so

deficient that NIKE could not properly allocate products to NIKE LIVE stores when they needed

to open.

        163.    CW-2 explained that NIKE had to place product orders for its stores 18-months in

advance, but that NIKE was unable to accurately anticipate or project how many and what products

to order for its stores that far in advance. CW-2 further explained that product was lacking in the

pipeline for new NIKE Live store openings, which led to stores not being sufficiently stocked with

the proper products. For example, CW-2 recalled that a lot of NIKE Live stores did not have

enough women’s products. CW-2 explained that this was problematic because women’s product

were the largest revenue generator for NIKE Live stores. CW-2 stated that these supply chain and

product pipeline problems resulted in the Company not being able to evenly distribute new product

between its NIKE Live stores. According to CW-2, this then led to a lack of product in certain

stores, which in turn, resulted in a lack of traffic in those stores.

        164.    CW-2 explained that NIKE was not a good retailer and was better at working with

wholesale partners, including Dick’s Sporting Goods, because its wholesale partners kept their

own consumer data and knew what products to order.




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       165.    Another CW further corroborated these problems with the CDA strategy. CW-5

described that NIKE did not know how much DTC merchandise would sell before placing orders,

because it had not developed the capabilities needed to plan for DTC demand. Therefore, CW-5

explained, running a retail DTC business required strong forecasting skills sets, which NIKE did

not possess. CW-5 noted that prior to NIKE’s pivot to a DTC strategy, NIKE was used to selling

confirmed orders from its wholesale partners, rather than having to forecast which products would

sell in the future through NIKE’s own channels. CW-5 explained that NIKE did not know how

much DTC merchandise would sell before placing orders because it had not developed the

capabilities needed to plan for DTC demand. CW-5 added that before pivoting to DTC, NIKE did

not have to worry about wholesalers’ excess inventory, whereas NIKE would have to worry about

excess inventory in NIKE’s DTC channels.

       166.    Post-Class Period Admissions: The Company’s post-Class Period restructuring to

improve the efficiency of its supply chain supports that NIKE failed to develop an effective DTC

supply chain during the Class Period, as it was then taking measures to remediate these problems.

Specifically, on October 30, 2024, NIKE announced that the Company’s Chief Supply Chain

Officer, Venkatesh Alagirisamy, would now report directly to new CEO Hill (who had taken over

as CEO two weeks before) and that Alagirisamy will become a member of NIKE’s Senior

Leadership Team.

       167.    On NIKE’s December 19, 2024 earnings call, in response to an analyst’s question

about whether there were plans to make “the organizational structure around supply chain and

distribution . . . more efficient,” Hill discussed this shift in senior leadership. Specifically, Hill

responded that NIKE’s Chief Supply Chain Officer “looks [at] everything from factory,

transportation, all the way through to logistics, to the consumer,” and the decision to establish a

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direct reporting line between himself and the Chief Supply Chain Officer was “one of the first

leadership moves I made.” Hill elaborated that this focus on improving NIKE’s supply chain “will

help set us up for long-term, sustainable and profitable growth” and that “it will certainly be a

focus as we move forward as an opportunity for margin expansion.” Thus, such subsequent

remedial measures further support that NIKE lacked adequate DTC supply chain infrastructure

during the Class Period, contrary to its many assurances to investors at the time.

        168.     Hill also admitted the failure of NIKE’s pivot away from a consumer construct

based on sports-categories, stating that NIKE was reversing course: “We lost our obsession with

sport. Moving forward, we will lead with sport.” Hill also admitted that NIKE had cut off

innovation and instead relied on flooding the market with key classic products, which Hill planned

to reverse: “a reliance on a handful of sportswear silhouettes is not who we are. We will get back

to leveraging deep athlete insights to accelerate innovation, design, product creation and

storytelling.”

        169.     On this same call, Hill also acknowledged that “[p]rioritizing NIKE Digital

revenue has impacted the health of our marketplaces. We will build back an integrated

marketplace.” In other words, Hill admitted that the CDA strategy failed to respond to consumer

demand for multi-brand shopping, and NIKE was reversing course. To do so, according to Hill,

NIKE needed to “prioritize is building back and earning the trust of our key wholesale partners,”

as “[s]ome partners and channels feel we've turned our back on them and we stopped engaging

consistently. I’ve connected with many of them directly.”




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                       b.      NIKE Did Not Successfully Build Out Its Technological
                               Capabilities or Organization

       Numerous former NIKE employees describe widespread, persistent, and severe problems

with NIKE’s technology organization and NIKE’s technological capabilities necessary to support

the CDA strategy. Subsequent news reports and other developments confirm these CW allegations.

                               (1)    CWs Detail Widespread Problems Within the
                                      Technology Organization and Related Failures in DTC
                                      Technological Capabilities

       170.    The accounts of multiple former NIKE employees confirm that, throughout the

Class Period, NIKE failed to successfully build out the Company’s DTC technological capabilities

and organization, which were critical for the CDA strategy to succeed.

                                      (a)     CW-3

       171.    CW-3 and Her Critical Role: CW-3 was employed by NIKE from February 2020

through July 2024 as Vice President, NIKE Digital Product. CW-3 explained her job duties as they

related to NIKE’s CDA and DTC strategies, indicating that she was brought in to help build

NIKE’s capabilities in those areas. CW-3 advised that NIKE followed a product development

model where an employee “owned” a type of product, such as digital products or capabilities. CW-

3 added that examples of digital products were Nike.com, training club, and other consumer-facing

digital experiences.

       172.    CW-3 elaborated that her role was to work as an intermediary with respect to digital

product development, between the engineering and technology teams—who focused on the

technology side of things, like developing the relevant software and third-party experiences—and

the marketing and strategy teams—who focused on the business/strategic side. CW-3’s role was

to translate the needs of strategy and marketing into design, acting as an advocate for the consumer,

and asking how the design would look and feel for the consumer, what the consumers’ needs were

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and how they shopped, and what was achievable given the constraints of the technology. CW-3

added that she would get feedback from the engineering teams regarding these issues. CW-3

confirmed that her role involved bridging the distance between the business and technology sides,

with the business side setting strategy and the technology side attempting to implement that

strategy from a technological perspective. CW-3 analogized her role to an architect managing a

construction project, acting as an intermediary between a carpenter and owner on a construction

project. CW-3 also worked with legal teams to help navigate compliance and regulatory issues for

various countries.

       173.    CW-3 added that she started on Donahoe’s first day as CEO, and they attended

orientation together. CW-3 recounted that Donahoe requested to be CW-3’s “life mentor,” and

the two of them had many informal one-on-one meetings during CW-3’s tenure.

       174.    CW-3 noted that when Donahoe first became CEO, Donahoe requested to have

weekly meetings to discuss progress and technology for the DTC strategy.

       175.    CW-3 indicated that from approximately February through April 2020, she

reported directly to Defendant O’Neill, who was then Global Vice President, NIKE Direct. CW-

3 noted that O’Neill recruited her to join NIKE; at the time, O’Neill reported to former President

Elliot Hill. After Hill left NIKE in April 2020, 31 O’Neill was promoted, and CW-3 started

reporting to Daniel Heaf, who assumed the role of Global VP of NIKE Direct, until June 2023.

During this time, Heaf reported to O’Neill. From June 2023 until her departure, CW-3 reported,

sequentially, to Craig Williams, then Mary Beth Laughton, Muge Dogan, and lastly Deepak

Arora.32 CW-3 explained that Williams reported at the time to Donahoe; Laughton reported to


31
   As described infra, Elliot Hill returned to NIKE as President and CEO of NIKE, replacing
Defendant Donahoe, in October 2024.
32
   Based on Plaintiffs’ investigation, Craig Williams is currently NIKE’s President of Geographies
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Williams; Dogan reported to Donahoe; and Arora reported to Dogan, who continued to report to

Donahoe.

       176.    CW-3 explained that Heaf had both direct and indirect lines of people reporting to

him. She elaborated that the NIKE Direct leadership team included both Heaf’s direct and dotted

line reports and global teams, including CW-3. CW-3 added that Heaf had dotted line reports who

were Geo GMs, meaning General Managers responsible for particular geographic (“Geo”) areas.

Those Geo GMs, she continued, had Vice President responsibility for the NIKE Direct business in

their geographic territories, including NIKE’s stores and digital DTC business.

       177.    The account that follows reveals that throughout the Class Period, NIKE failed to

successfully build out the Company’s technological capabilities and organization, which were

critical for the CDA strategy to succeed.

       178.    NIKE’s Deficient Technology, Including Consumer Personalization: CW-3

indicated that, when she joined NIKE, CW-3 had visibility into the Company’s technology, and

she observed how it was heavily “antiquated.” CW-3 commented that the Company made a

significant investment in DTC technology, approximately $2 billion (separate from investment

made in NIKE’s supply chain, which had a separate budget or fund). Despite that significant

investment, CW-3 advised that there was little to no progress made on building out this

technology.

       179.    CW-3 gave an example of a specific problem regarding NIKE’s technological

capabilities that hindered NIKE’s ability to execute its DTC strategy successfully: there was an

expectation that Marketing would send personalized email blasts to consumers based on those



and Marketplace; Mary Beth Laughton is currently Head of NIKE Global DTC; Muge Dohan is
currently NIKE’s Chief Technology Officer; Deepak Arora is the former co-leader of NIKE’s
technology group.
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consumers’ personalized data, but the technology underpinning this aim was not there. CW-3

pointed out that NIKE had not built the capabilities to develop greater personalization. CW-3

added that they did not have the resources to do so. CW-3 further explained that they had so much

else to do that remedying this lack of personalization was not a priority. CW-3 added that one

concern involving collection and use of personalized data was legal compliance.

        180.    CW-3 noted that, as time went on, more pointed conversations about technological

capability problems became more common. According to CW-3, Heaf was responsible for setting

priorities with respect to the DTC strategy, but based on the priorities that Heaf had set, the team’s

ability to execute the strategy was very limited. According to CW-3, the Geo GMs would inform

Heaf that they could not hit their business targets with the resources they had, unless NIKE offered

certain discounts, but Heaf advised that they could not discount NIKE’s products in such a way.

CW-3 added that there was a limited supply of “hot product” and discounts that could be allocated.

According to CW-3, the Geo GMs, who were responsible for the P & L for their businesses,

advised Heaf that “there was only so much magic” they could create given the global landscape

and limited resources; they complained that they needed more resources, or their numbers would

not hit their targets.

        181.    Thus, NIKE not only suffered from deficient technological capabilities, which were

critical to the success of CDA, but little to no progress was made on building them out during the

Class Period.

        182.    April 2022 Paris Meeting: CW-3 recalled that problems with NIKE’s DTC

strategy were discussed at a meeting in Paris on April 27, 2022. CW-3 explained that NIKE held

an offsite meeting in Paris, and the purpose was to team build across the global NIKE Direct




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leadership teams. CW-3 explained that this meeting was attended by Heaf. (As discussed above,

Heaf reported to Defendant O’Neill during this time.)

       183.    At the Paris meeting, CW-3 continued, CW-3 presented a detailed “roadmap”

which outlined the decline in dollars they had, their technology problems, how they were losing

money on their technology problems, how their costs were higher than anticipated, and how poorly

the money was being spent. CW-3 advised that she presented how dire the situation was,

communicating to Heaf that if changes were not made, they would “run out of runway” within

a few quarters to leverage the technological capabilities that they could employ. CW-3 recalled

that there was frustration at the meeting that they were running out of money to complete the

technology projects that were needed to underpin NIKE’s DTC strategy. CW-3 recounted that they

felt NIKE had good product selection and depth, and that they could still manage and sell inventory

well and play on margin dollars at that time. However, CW-3 added, given the outlook presented

at this meeting, the attendees knew that things would get worse in all of those dimensions, which

they did. CW-3 confirmed that off-site meetings such as this Paris meeting occurred every six

months.

       184.    Quarterly DTC Meetings: CW-3 advised that the DTC team met quarterly with

Heaf to discuss the DTC strategy and to prepare Heaf to present to Donahoe regarding the

strategy. CW-3 elaborated that at these quarterly meetings with Heaf, they discussed all aspects of

the division’s performance, including the digital business, geography, how the technology was

progressing, and other matters. CW-3 added that Heaf then met directly with Williams, O’Neill,

Donahoe, and Friend, and other senior leaders for approximately a day and a half to discuss

NIKE’s DTC business strategy. CW-3 was not present for those meetings, but CW-3 noted that

she received many text messages from Heaf asking questions during the meetings, and that after

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Heaf met with Donahoe and the C-suite, Heaf would debrief her and the rest of Heaf’s team about

the meeting.

       185.    Accordingly, by no later than April 2022, Heaf—who reported to Defendant

O’Neill—was apprised in significant detail of the severe technology problems plaguing NIKE’s

DTC strategy, and, during the Class Period, Heaf was meeting on a quarterly basis with Defendants

Donahoe and O’Neill to discuss NIKE’s DTC business strategy. Thus, Heaf likely updated

Defendants Donahoe and O’Neill regarding the significant technology problems undermining the

success of the CDA strategy.

       186.    Ratnakar Lavu’s Shadow Organization: A significant source of the problems

plaguing NIKE’s technological capabilities and organization was the Company’s Chief Digital

Information Officer, Ratnakar Lavu, and his technology team.

       187.    According to CW-3, the Technology leadership was concealing problems and

spending levels. CW-3 confirmed that the head of Technology to whom she was referring was

Ratnakar Lavu, former Global Chief Digital Information Officer at NIKE. CW-3 noted that Lavu

reported to Defendant Campion, who reported to Defendant Donahoe. CW-3 recounted how

Lavu would claim that his department had completed a certain project, for example, “we just

launched this thing in China,” and share that claim with Donahoe, who in turn would make public

statements to investors based on what Lavu had told him. CW-3 added that these statements were

not true; Lavu had lied. CW-3 indicated that the state of the relationship with the Technology team

highlighted the need to resolve and escalate technology issues. CW-3 detailed how Technology

had created a “shadow organization” within its department to replicate the duties and titles of

Senior Directors in CW-3’s team, so that Technology employees would not have to work or

interact with those DTC employees.

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        188.    Mid-2022 Meetings with O’Neill Regarding Technological and Technology-

Organizational Problems: CW-3 indicated that she met with O’Neill, a Human Resources

employee, and others to discuss the problems with Technology and its shadow organization. CW-

3 added that the meeting in Paris highlighted the incompetence, deceit, and related issues, and

made them realize they needed to act. CW-3 described an additional meeting with O’Neill, Heaf,

and a representative from Treasury, sometime between May and July 2022, to further discuss

problems with the Technology team. CW-3 recounted two facets to these problems: first, these

problems were driving poor engagement with the non-Technology DTC team, who could not meet

their requirements, and wound up leaving NIKE, costing the Company talent; second, the

technology projects were costing much more than NIKE’s management were told. CW-3

recounted, as an example, that Technology would state that a project would cost X, when in reality

it would cost six times that. CW-3 recalled O’Neill stating that changes would be made, but she

did not see any immediate changes.

        189.    Thus, by no later than July 2022, the problems with the Lavu’s shadow organization

had been directly raised to Defendant O’Neill via CW-3, and O’Neill acknowledged such problems

but failed to act.

        190.    Monthly Technology Meetings with Donahoe, Friend, O’Neill, Campion, and

Lavu: CW-3 described meeting with four Vice Presidents and Heaf to inform them that she had

no faith in Technology’s ability to execute what they needed to do to support NIKE’s DTC

strategy, and to discuss Technology’s lack of transparency. CW-3 advised that that discussion led

to the establishment of monthly meetings, beginning sometime between May and July 2022, that

CW-3 attended with Donahoe, O’Neill, Friend, Campion, and Lavu. The purpose of these monthly

meetings was to force Lavu to be more transparent and cooperative, and to discuss progress

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regarding technology investments underpinning NIKE’s DTC strategy. CW-3 elaborated that, by

holding these meetings, Lavu was forced to be more transparent. In CW-3’s view, these meetings

did improve transparency and collaboration. CW-3 noted further that Lavu’s direct reports also

wanted the greater transparency, as they did not like the secrecy and deceit, and their working

relationships improved after these meetings were instituted. CW-3 recalled that at these meetings,

they discussed what the largest programs were in which they were investing, from a tech

perspective. CW-3 gave as an example a compliance maintenance program in China which caused

a major problem; the Company had to turn off its app in China in order to meet Chinese compliance

requirements. CW-3 noted that doing so cost the Company millions of dollars. CW-3 advised that

they also met directly with Donahoe about the compliance problems, and Donahoe was able to

start asking questions about it, including questions about costs and timelines. CW-3 observed that

it was clear that the Technology team could do very little but was spending a lot of money and not

making sufficient progress toward executing NIKE’s DTC strategy. Thus, CW-3 confirmed that

by the summer of 2022, CW-3 was having monthly meetings with Donahoe and other executives,

and that, Donahoe was informed about the problems within the Technology group led by Lavu.

       191.    CW-3’s One-on-One Ad Hoc Meetings with Donahoe: In addition to the monthly

meetings that began in the summer of 2022, CW-3 advised that she had many one-on-one ad hoc

meetings with Donahoe throughout her time at NIKE and that CW-3 spoke to Donahoe about

these technological problems underpinning the DTC strategy at these meetings. CW-3 explained

that she and Donahoe held their one-on-one meetings in different ways; sometimes Donahoe would

call or FaceTime with her. CW-3 elaborated that even in January or February 2022, she was clear

with Donahoe about her concerns during their one-on-one meetings. CW-3 recalled that Donahoe

pushed to have more meetings so that he could have more visibility. CW-3 clarified that she had

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been meeting informally with Donahoe since the start of her employment, but in February 2022

she began telling Donahoe about the technological problems underpinning NIKE’s DTC

strategy and her concerns about Lavu; and between May and July 2022, she began participating

in the more formal monthly meetings with Donahoe, Friend, and other senior executives to

discuss the problems.

       192.    Retention of Accenture: CW-3 explained that her concerns about Lavu’s shadow

organization were discussed during her meetings with Donahoe, and that these discussions led to

the hiring of consulting firm Accenture to audit their product teams. According to CW-3, the audit

results confirmed that Lavu had created a shadow organization, that they had “100%” more

product people than they needed, and that led to laying off about 200 of those employees. CW-3

expressed her frustration that these issues took a lot of her attention away from running the business

and focused instead on managing operating levels and org charts.

       193.    DTC Marketing Technology Problems Discussed with Defendant Donahoe,

Including Consumer Personalization: CW-3 detailed some of the problems that were raised in

the meetings with Donahoe starting in the spring of 2022. CW-3 explained that some of the

problems related to things that “you just have to do,” meaning multi-year, hundred-million-dollar

investments that take years to develop, such as their compliance problem in China. Another

example CW-3 gave was building out the Company’s marketing capabilities from a tech

standpoint. CW-3 noted that, prior to 2020, NIKE had third-party wholesalers providing

marketing. After the implementation of the CDA strategy in 2020, CW-3 continued, NIKE needed

to develop personalization in its marketing as it reorganized to target specific markets, such as

women, and competition grew fiercer. CW-3 explained that NIKE needed to focus on

personalization, such as the ability to send push notifications and SMS messages. CW-3 gave the

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example of a consumer getting an email that says, “we have women’s tights now,” and the link

takes you to a web page for running shoes. CW-3 indicated that the Company needed to make sure

its app, website, and the push notifications all lined up, but there were significant gaps in those

capabilities. CW-3 noted that those gaps caused a significant decline in consumer email

responses, which dropped 38% year-over-year. CW-3 also noted that all direct engagement

marketing was declining.

       194.    CW-3 explained that, to resolve those problems, NIKE needed to collect and put to

use personalized consumer data, which required NIKE to capture, store, and use customer data on

a personalized basis to deliver meaningful marketing. CW-3 added that the Company also had to

ensure its data privacy practices were legally compliant within each market. CW-3 commented

that doing so is highly complex and requires a big investment. CW-3 added that her ability to

develop meaningful marketing based on personalized consumer data was a major reason she was

recruited to NIKE, and that it was clear what was required.

       195.    Adobe Partnership: CW-3 advised that, rather than build up its capabilities

internally, NIKE chose to partner with Adobe to do so. According to CW-3, Lavu and Donahoe

led the deal with Adobe, which was a $400-plus million contract which was intended to generate

$1.5 billion or more in revenue. CW-3 explained that the Adobe deal required incremental

payments to Adobe on an ongoing basis, and that it would free up investment after three years;

from a business model perspective, the deal looked good, and Donahoe signed it.

       196.    CW-3 confirmed that the Adobe contract was signed in 2021, but it became

apparent almost immediately that there was a gap between what was promised and Adobe’s

ability to deliver. CW-3 noted that there were expectations that were not met: Adobe promised that

EMEA would have personalized messaging by Black Friday, but that did not happen, and Adobe

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kept shifting the timeline and focus, such as shifting its focus to North America, because that was

an easier geography to address, but that shift still did not yield results. CW-3 added that the Geo

GMs lost faith in the project right away.

       197.    CW-3 confirmed that Donahoe had full visibility into the issues with Adobe as

Donahoe had a direct hand in signing the agreement. CW-3 characterized the Adobe deal as

NIKE’s biggest financial miss from the cost perspective and its inability to deliver resources. CW-

3 observed that the business case for the deal kept getting smaller, costs kept going up, and

resources declined. CW-3 added that in 2024, Muge Dogan33 came in, told Donahoe that the

Adobe contract was “a dog” which was costing way too much, and she renegotiated it.

       198.    CW-3 added that she inherited the deal to implement. CW-3 indicated, however,

that Adobe was not capable of handling the project, which was too large for that company. CW-3

explained that there were too many gaps, which was quickly apparent, between what Adobe said

it would offer and what was actually being delivered. For three years, CW-3 continued, the

project stagnated, but NIKE kept spending money on Adobe. By the third year of the contract,

CW-3 continued, NIKE was paying more to Adobe than the previous years, under the terms of the

deal – approximately $65 million – but the technology still wasn’t working. CW-3 added that the

internal costs and tech resources were not accounted for; the project brought in zero dollars and

the Geo GMs were not getting the resources they needed.

       199.    CW-3 reiterated that Donahoe was kept apprised of the problems with Adobe, as

Adobe’s implementation and its progress were always featured in her monthly meetings with

Donahoe. CW-3 stated that Donahoe was getting answers about the problems with the Adobe



33
 Based on Plaintiffs’ investigation, Dogan was appointed to lead NIKE’s technology group in
November 2023, after Lavu’s departure in February 2023.
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deal, but did not act on it until Dogan came in. CW-3 noted that Lavu also never acted on the

problems with the Adobe deal.

       200.    Additional Meetings with Heaf: In addition to her monthly meetings with

Donahoe, CW-3 stated that she and her team had monthly meetings with Heaf, and Heaf had a

monthly meeting with Donahoe. CW-3 added that her monthly meetings were called Portfolio

Reviews, in which they reviewed programs such as the Adobe contract and the China compliance

issue. At these meetings, they would discuss, for example, having a budget of $2 billion to spend

on technology, the team’s progress, what the results are, the spending trend, and related issues.

       201.    Thus, Defendants, including specifically Defendant Donahoe, were aware that the

Adobe partnership to build NIKE’s DTC technological capabilities as part of the CDA strategy

was a colossal failure, costing NIKE over $400 million—an investment intended to generate over

$1.5 billion in revenue, but in reality generated $0. Accordingly, Defendants’ repeated public

statements during the Class Period touting NIKE’s DTC technological capabilities, including the

Adobe partnership specifically, were knowingly or recklessly false when made.

                                      (b)     CW-12

       202.    Additional CW allegations corroborate the account above regarding the severe

problems in NIKE’s technology organization and capabilities, which substantially undermined the

Company’s ability to successfully execute the CDA strategy and drive the vaunted long-term

financial growth.

       203.    CW-12 was employed by NIKE from 2018 to 2022 in various roles. In her last role,

which began in summer 2020, CW-12 served as a technology leader who worked on digital

marketing projects.




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       204.   Technology Group Merger and Employee Exodus: CW-12 recalled that two

separate technology organizations existed at NIKE when she joined the Company in 2018. CW-

12 explained that one of the technology organizations was a digital technology group within NIKE,

which built software. CW-12 stated that the second technology organization at NIKE was larger

and was more of a traditional IT organization. CW-12 noted that this organization primarily

purchased software through vendors.

       205.   According to CW-12, the two technology organizations merged shortly before

former Chief Digital Information Officer Ratnakar Lavu joined NIKE in June 2019, which CW-

12 noted were related occurrences, as Lavu’s new role and the merger were part of the same re-

alignment of the tech organization within NIKE.

       206.   CW-12 noted that NIKE had less talent and clarity to execute its CDA strategy after

the merger due to an exodus of talented technology employees. CW-12 detailed that the exodus of

technology talent happened at NIKE approximately within a couple of years, beginning with the

merger of the two technology organizations.

       207.   Lavu’s Shadow Organization: CW-12 stated that Lavu’s team impeded the work

of CW-12’s team at NIKE, partially because Lavu hired consultants from other countries to fill

roles that CW-12 already filled with high paid employees. CW-12 recalled that Lavu also brought

in his former Kohl’s colleagues to NIKE. CW-12 noted that Lavu was a big part of why NIKE’s

CDA strategy achieved less than it could have. CW-12 clarified that this was her perception based

on feedback she received from members of her team that were frustrated with Lavu.

       208.   CW-12 stated that complaints about Lavu were coming from all sides. CW-12

added that Lavu signed contracts to bring in contractors to do the same work that CW-12’s team




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was already doing. CW-12 noted that Lavu provided “no visibility” into these contracts. CW-12

stated that Lavu created duplication of efforts without conversation.

       209.    CW-12 recalled that NIKE brought in consultants to solve problems between Lavu

and former Vice President, Digital Product CW-3. CW-12 detailed that CW-3 was hired in

February 2020 to lead NIKE’s Digital Product Management team. CW-12 explained that after

NIKE’s two technology organizations merged in 2019, NIKE pulled out the Digital Product

Management team from the merger and left it as a standalone group within the Company.

According to CW-12, CW-3 faced difficulties with Lavu mainly because Lavu built a technical

product management organization underneath himself that mirrored CW-3’s group.

       210.    CW-3’s Regular Meetings with Donahoe and Lavu: CW-12 advised that

Donahoe, Lavu, and CW-3 regularly met during her tenure to discuss NIKE’s technology, and

CW-12 appreciated hearing about this collaboration. CW-12 stated that she did not attend these

meetings, but she learned from CW-3 that these meetings occurred. CW-12 stated that she became

aware of these meetings prior to CW-12’s departure. CW-12 clarified that Donahoe, Lavu, and

CW-3 met to surf Nike.com and the NIKE app and discuss these platforms.

       211.    Adobe Partnership: CW-12 explained that NIKE employees were frustrated when

NIKE partnered with Adobe because there were already internal efforts to accomplish the work

that Adobe was then hired to do. CW-12 detailed that Adobe was brought on, among other reasons,

to provide a new CMS system (which stands for “content management system”), but that NIKE

already had as many as 200 employees working on a new CMS system. CW-12 clarified that

providing a new CMS system included building out NIKE’s digital marketing capabilities,

including analyzing data to determine which NIKE customers to send marketing emails. However,

CW-12 recalled that NIKE had 20 to 30 NIKE data scientists that were working on this project

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already. CW-12 recalled that this partnership with Adobe began in 2021. CW-12 noted that by the

time she departed the new Adobe CMS system had only launched pilots and had not been fully

rolled out.

        212.   According to CW-12, NIKE never provided clarity to the NIKE employees whose

work was duplicated by Adobe personnel about their responsibilities after NIKE partnered with

Adobe. Therefore, CW-12 detailed that internal NIKE teams continued to build CMS and digital

marketing capabilities even though the Company hired Adobe to work on those same capabilities.

                                     (c)    CW-11

        213.   Another CW focused on NIKE’s technology echoed these concerns with NIKE’s

dysfunctional Technology organization and capabilities. CW-11 was employed by NIKE from

September 2014 until April 2023 during which she worked on roles with the NIKE App, Nike.com,

and Nike.net, which was the wholesale back end for small to medium sized business.

        214.   CW-11 confirmed that NIKE’s CDA strategy depended on NIKE’s technology

team making changes to the Company’s stores, websites, and apps.

        215.   Lavu’s Shadow Organization: CW-11 indicated that NIKE’s attempt to

modernize its technological approach coincided with NIKE’s decision to bring in Ratnakar Lavu

to lead the Company’s technology team. CW-11 advised that Lavu “brought in his crew” from

Kohl’s when he was hired, and they used an “old school, project management approach,” instead

of a modern product management approach, such as at Amazon.

        216.   CW-11 further advised that Lavu and his team were “bad actors.” CW-11

elaborated that Lavu outsourced and off-shored many resources, including sending contracts to

consultants in India, and spending significant amounts of money, but nothing got done.




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        217.     CW-11 stated that when Lavu started using his contractors in India, the Company

was no longer getting work done or getting quality work. CW-11 explained that technical people

frequently had to join calls with these remote technology teams to explain basic issues. CW-11

noted that the front-end team, which CW-11 was on, still existed at NIKE. CW-11 added that this

front-end team was still developing necessary capabilities to update NIKE’s technology. However,

according to CW-11, in order for the front-end capabilities to work, the back-end team needed to

fulfill its function.

        218.     Per CW-11, the back-end teams did not deliver anything to make the front-end

functions work. CW-11 described how relationships became “combative pretty quickly” between

the new technology product managers and the people who had been with NIKE for a while.

        219.     CW-11 stated that another problem in the technology organization was that Lavu

had hired many people for the tech organization in duplicate/redundant roles for positions which

already existed in the product organization. CW-11 stated that the product organization reported

to CW-3, former Vice President, NIKE Digital Product. CW-11 explained that this duplication of

roles made it hard to get work done due to communication issues between the product organization

teams trying to work with people with the same function in the technology organization teams.

CW-11 reiterated that this was primarily an organizational issue more than a technology problem.

CW-11 confirmed that her team reported to CW-3, and that these issues were “absolutely” raised

to CW-3. CW-11 added that she did not know what the senior executive level were told about

these problems, but people at CW-3’s level – that is, vice president – “definitely” knew.

        220.     The reorganization of NIKE’s technology team was impeded by problems with the

staff hired by Lavu. CW-11 noted that Lavu came from Kohl’s, which CW-11 described as a “cut-

rate brand” based only in the United States. CW-11 added that Lavu brought in a bunch of his

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people from Kohl’s to NIKE. CW-11 stated that this in itself was not unusual. The problem, CW-

11 advised, was that the people Lavu brought in had a different way of working than the existing

NIKE employees. CW-11 explained that in a healthy organization, there is a back and forth

between the new team and the existing teams to understand how things operate, how to adjust to

the culture, and figure out how to get things done. According to CW-11, however, Lavu’s team

demanded things be done their way. CW-11 stated that their attitude was “our way is how we do

things,” and that attitude was a challenge.

       221.    In CW-11’s experience, there was tension between her team and Lavu’s team, in

part because CW-11 could not get help when her team needed it from these hires. CW-11 recounted

hearing that Lavu and other leaders in the tech organization engaged in “retribution” against

engineers who spoke up that certain ideas were not feasible or good. According to CW-11, those

engineers were ordered to implement those ideas anyway. Then, CW-11 explained, the ideas could

not be implemented, as the engineers had warned, and those engineers were punished.

       222.    According to CW-11, however, by the end of 2021, it was clear to everyone at the

leadership level that Lavu’s team was not working well or effectively with the other business units,

including the Geos (Geography Managers), product management teams, or others. CW-11

explained that the Geos “owned” the P & L for their areas; they were responsible for taking the

tech that CW-11’s team gave them to sell as many products as they could. CW-11 elaborated that

whenever her team could not deliver on the tech changes, it impacted the Geos marketing or

business practices, creating more labor for them, and/or impacting their business flow. CW-11

added that the technology issues had an indirect impact on the Geos’ numbers, even though the

Geos did not have the interpersonal problems with the tech team like the product management

teams did.

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       223.    Thus, this CW account also confirms that it was well known within NIKE that

Lavu’s shadow organization, and its dysfunctional impact on NIKE’s DTC technology

development efforts, prevented NIKE from achieving an effective reorganization of its technology

group and DTC technological capabilities, thus further undermining the success of the CDA

strategy.

       224.    Adobe Partnership: CW-11 explained that Lavu also launched initiatives that did

not make sense, like bringing in Adobe for a program called Adobe Target, 34 which is used for

A/B testing35 and other features, including marketing technology. CW-11 noted that NIKE had

been using a different system for A/B testing. CW-11 also stated that NIKE had been using a

different Adobe product for analytics. CW-11 stated that each of those systems worked. CW-11

elaborated that, when the technology organization announced that they would switch to Adobe

Target, CW-11 and her peers objected, stating that that this technology was not as good as what

NIKE was currently using and would take a year or more to implement.

       225.    CW-11 said she and her peers asked why NIKE would switch the technology.

According to CW-11, switching the technology was an executive directive and she and her team

had no choice. CW-11 noted that she got into a long argument with a senior director about the

technology change, which occurred during the pandemic. CW-11 recalled that the senior director

actually agreed with her but made it clear that they had no choice but to implement it.

       226.    CW-11 then explained that Adobe Target was the new product used for dynamic

A/B testing and targeted marketing, including serving the right content to the right people,




34
 Adobe Target is further described in paragraphs 226-27 below.
35
 Based on Lead Plaintiffs’ investigation, A/B testing is a method of comparing two versions of a
webpage or mobile app against each other to determine which one performs better.
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determining details such as what colors to make the buttons on the site, how many results should

be returned per search, and how consumers responded, to figure out which features work better.

       227.   CW-11 indicated that NIKE already had tools to perform all these functions, some

of which were other Adobe products. CW-11 stated that Adobe Target was intended to be a

replacement for those tools. CW-11 added that the tech team that looked at Adobe Target for these

marketing and testing tools communicated that Target was not optimal to replace their existing

tools, but NIKE went with the contract for Adobe Target regardless. CW-11 explained that the

problem with Adobe Target was that the technology did not do what NIKE needed it to do, and it

never could. CW-11 described it as “doomed from the start.” CW-11 added that it was understood

by everyone on the technology team from the beginning that it would not be effective. CW-11

indicated that CW-3 and others at CW-3’s level would have been apprised of the problems.

       228.   CW-11 noted that CW-3 was “deeply enmeshed” in Adobe Target and its problems.

CW-11 recalled that Indra Kumaran was also involved with Adobe Target. Kumaran is currently

VP, Product Management, NIKE Direct and Marketplace, at the Company.

       229.   CW-11 indicated that Kumaran was well aware of the Adobe Target issues and

would have reported them up. CW-11 added that James Lane, former Sr. Director, Product

Management - Experimentation & Personalization at NIKE, was also involved with Adobe Target.

CW-11 advised that this situation was bad for employee morale and caused people to stop working

as hard as they used to work. CW-11 noted that, previously, employees liked working at NIKE

and had pride in the company, but when Lavu came in, progress ground to a halt.

       230.   CW-11 explained that the technology changes at NIKE included progress in terms

of replacing APIs (Application Programming Interfaces) and making updates for the website. In

CW-11’s view, CDA would have failed regardless, but it was made much worse due to the failures

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of the technology organization to operate effectively and in good faith. CW-11 explained that APIs

are programs that enable technology systems to talk to each other; the API is the interface that the

back-end uses to communicate with other programs to retrieve data.

        231.    CW-11 recalled that the big reorganization of the technology organization occurred

in November 2020. CW-11 stated that she first started seeing the negative impact of Lavu’s people

by 2021, if not earlier.

        232.    CW-11 added that she shifted her role at NIKE in early 2022, and by that time the

problems had been clear for a year. CW-11 noted that she experienced these problems working

at the front-end consumer-facing side of the business, but when she shifted to working on NIKE.net

– that is, wholesale operations – the problems were clear on that side also.

                                      (d)     Additional CW Accounts

        233.    Other CWs’ accounts further corroborate and provide more details about the issues

with NIKE’s failing Adobe partnership, Lavu’s shadow organization, and other organizational and

technological problems inhibiting the success of the CDA strategy.

        234.    Adobe Partnership: CW-14 worked as a contractor at NIKE starting before the

Class Period to June 2022. From 2018 to late 2021, CW-14 was a Program Manager within the

Global Technology group. From late 2021 to June 2022, she was a Program Manager in NIKE’s

Global Brand Marketing group, where she helped roll out the Adobe Experience Platform and

reported to a Senior Director of Program Management.36




36
   As described on Adobe’s website, Adobe Experience is a platform that “enables organizations
to centralize and standardize customer data and content from any system and apply data science
and machine learning to dramatically improve the design and delivery of rich, personalized
experiences.”
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       235.      According to CW-14, NIKE hired Adobe to help scale the Company’s digital

marketing capabilities. CW-14 detailed that from October 2021 to June 2022, she helped roll out

a segment of the Adobe Experience Platform. CW-14 described that this project was a “mess”

when she joined in October 2021 and that it “stayed a mess” until her departure in June 2022.

CW-14 explained that this project was a mess because there were too many people and vendors

doing duplicative work and because there was a lack of guidance and leadership.

       236.      CW-14 detailed that the Adobe Experience Platform was broken down into four

segments, although she did not recall the name of each specific segment. CW-14 did recall that

she worked on a segment called Target. CW-14 explained that the purpose of the Target segment

was to target customers with campaigns and offer customers specific products based on their likes

and dislikes in an effort to engage them. CW-14 advised that her segment was “still a work in

progress” by the time of her departure in June 2022.

       237.      CW-14 stated that another aspect of the Adobe Experience Platform was meant to

allow for email blasts to consumers. CW-14 explained that while she was not directly involved in

implementing this aspect of the Adobe Experience Platform, she understood that NIKE was in the

early stages of implementing it when she departed. CW-14 explained that NIKE was still building

the email blast segment when she departed NIKE and that there were issues with capabilities such

as tracking email blast numbers. CW-14 added that the email blast portion of Adobe Experience

Platform was an “ongoing work in progress” and that “nothing was fully implemented” when

she left NIKE.

       238.      DTC Technological (Dis)organization: CW-14 explained that NIKE’s digital

reorganization did not account for groups that were a critical part of its business. For example,

CW-14 recalled that NIKE wiped out an internal group that supported retail stores, which the

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Company later brought back. CW-14 stated that her group was broken apart as part of NIKE’s

digital reorganization and that is the reason why she switched to work for Global Brand Marketing.

According to CW-14, Lavu was supposed to take care of the digital reorganization when she joined

NIKE. However, CW-14 noted that NIKE did not complete its digital reorganization by the time

she switched groups in October 2021.

       239.    Lavu’s Shadow Organization: Other CWs recounted similar problems with the

dysfunction in the Technology group resulting from Lavu’s shadow organization and its negative

effects on DTC technology performance.

       240.    CW-8 was employed by NIKE from October 2020 to December 2021 as Vice

President of Digital Design. CW-8 advised that she was responsible for helping execute the DTC

strategy. CW-8 noted that there were concerns that Ratnakar Lavu was not the right person to

execute the strategy. According to CW-8, Lavu was “subpar” and was not qualified to create a

modern technology platform. CW-8 stated that Lavu was building his own shadow organization

within NIKE. CW-8 explained that Lavu led technical engineering at NIKE but also hired his own

design team, which she noted was “not effective” and was “duplicating” NIKE’s own efforts.

CW-8 noted that Lavu wanted the “whole pie” at NIKE and that he was not collaborative. CW-8

learned after her departure that Lavu was under SEC investigation from her former colleagues

when Lavu resigned from NIKE in February 2023.

       241.    CW-8 recalled that she raised concerns about Lavu’s ability to execute the DTC

strategy throughout her tenure to NIKE leadership. CW-8 noted that she did not voice these

concerns during leadership meetings because NIKE is “very political” and “you don’t bring up”

these concerns in “large forums.” However, CW-8 detailed that upon resigning from NIKE, she

sent an email in December 2021 to Defendant Donahoe, Defendant O’Neill and another

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executive named David (surname not recalled) expressing her concern that Lavu was the wrong

person to execute the DTC strategy. CW-8 noted that she resigned from NIKE because she felt

that NIKE was unable to execute NIKE’s DTC strategy.

       242.    CW-14 stated that she heard from NIKE colleagues during her tenure that former

Chief Digital Information Officer Ratnakar Lavu was involved in corruption. CW-14 detailed that

she specifically heard that Lavu worked with fake charities and that he received kickbacks from

vendor placements.

       243.    CW-1 described how Lavu personally was stealing money, creating a shadow

organization within the Company, not putting money where it needed to go, and “robbing the

Company blind.” CW-1 explained that the only reason Lavu wasn’t walked out of the building in

handcuffs – even though he should have been – was to avoid embarrassment for the Company,

especially for Donahoe. CW-1 described it as “absolute craziness” that NIKE allowed Lavu to

continue stealing for as long as they did.

       244.    Additional DTC Technology Problems: Others CWs in the Technology

organization described similar and various other problems with NIKE’s DTC technological

capabilities and technology organization.

       245.    CW-15 worked for NIKE from May 2021 to May 2024 as a technology operations

manager and then technology operations director. She recalled that NIKE’s DTC strategy was not

successful and referred to it as a “colossal failure.” CW-15 recalled hearing from colleagues that

NIKE’s DTC strategy was failing immediately upon joining NIKE in May 2021. CW-15 clarified

that her perspective on the DTC strategy related to how the DTC strategy impacted NIKE’s

technology capabilities.




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       246.    CW-15 stated that when NIKE pivoted to DTC, it did not take into consideration

the impact it would have on its technological infrastructure. CW-15 explained that after NIKE

changed categories as part of its DTC strategy, NIKE had to change and replace coding, which

was time consuming and required funding. CW-15 added that the work to update NIKE’s

technological infrastructure to support DTC technology was not completed by the time she left

NIKE. CW-15 also confirmed that NIKE did not finish replacing the necessary coding by the time

of her departure.

       247.    CW-15 added that NIKE was left vulnerable to cyber-attacks because it had to

change its technological infrastructure. CW-15 detailed that NIKE’s technological systems were

not able to effectively communicate with each other after NIKE was forced to change its

technological infrastructure because of its DTC strategy. CW-15 stated that this led to cost risks.

       248.    According to CW-15, NIKE also did not have the proper mapping and resources

available to make changes effectively. CW-15explained that after NIKE removed certain suppliers

and categories following the pivot to DTC, the Company was “playing catchup” because it had to

remove and replace supplier codes, among other things. CW-15 stated that NIKE’s backend

databases, such as inventory databases, are connected to its website. Therefore, CW-15 explained

that when NIKE made a change to Nike.com, such as changing the categories they were using, the

Company also had to make corresponding updates to its own backend databases, and the databases

of its external partners, like its suppliers, in coordination with them. However, CW-15 detailed

that “nobody bothered to change code to reflect category changes” or to make the terminology

they used uniform across all databases, even within NIKE’s systems. CW-15 stated that NIKE

“did not see the whole picture” and there was no one making sure NIKE understood how changes

would affect the broader business. According to CW-15, NIKE did not have the right leadership

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in place to execute its DTC strategy. CW-15 added that when NIKE leadership knew the DTC

strategy was not working, they “pushed it further.” CW-15 stated that this led to employees

throughout the organization being behind on important projects.

       249.    CW-15 recalled that NIKE did not have the cultural or technological backbone, nor

did NIKE have the right people or leadership in place, to successfully implement its DTC strategy.

       250.    CW-15 detailed that Nike.com experienced a few outages during her tenure (May

2021 to May 2024), which negatively impacted digital sales. Specifically, CW-15 recalled that

NIKE experienced at least two outages during her tenure. CW-15 detailed that one of the outages

was caused a cyber-attack and the other outage was caused by the Company switching to a different

cloud provider.

       251.    CW-15 recalled that she and her team met regularly with technology leadership

during her tenure. CW-15 stated that during these meetings with technology leadership, she and

her team raised concerns about unplanned DTC work impeding the technology organization from

completing other critical tasks. CW-15 detailed that she and her team specifically explained to

technology leadership that NIKE did not take into consideration the technological impacts that the

DTC strategy would have on the Company.

       252.    According to CW-19—who worked as Director of A/B Testing from January 2015

to April 2018; Director of Global Experimentation Center of Excellence from May 2018 to April

2022; and Director of Digital Experiments from May 2022 to June 2023—NIKE was hesitant

about optimizing its website and conducting digital tests to observe the patterns of its consumers,

which it should have done. For example, CW-19 stated that NIKE should have conducted tests and

research to determine when customers were dropping off its website, when consumers were adding

items to their cart and what consumers were clicking on. CW-19 added that she wanted NIKE to

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analyze its problems and strengths through testing and analysis to help make informed decisions

but was largely ignored. CW-19 recalled that she advocated for NIKE’s Digital Product leaders to

conduct more A/B testing. However, CW-19 recalled that they did not want to conduct more A/B

testing and instead relied on what had worked historically for the Company. CW-19 further

recalled that NIKE utilized an outdated Waterfall methodology instead of using agile experiments.

According to CW-19, NIKE’s planning process was 12 to 24 months in advance, which was

antiquated.

       253.   CW-10 stated that one reason why NIKE’s DTC strategy failed was because there

were “always issues” with the NIKE app, which frustrated consumers. CW-10 recalled that

NIKE’s executives frequently met to discuss how to fix these problems and improve the app.

                             (2)     Subsequent News Reports and Other Developments
                                     Confirm the CWs’ Allegations

       254.   Publicly available information near the end or after the Class Period corroborates

these CW allegations of persistent and severe problems in NIKE’s technological organization and

capabilities, which impeded the success of the CDA strategy.

       255.   In late February 2023, as reported in numerous outlets and in the context of the

ongoing failures of NIKE’s technology organization, Lavu was forced to resign from his role at

NIKE under suspicious circumstances. For example, on March 19, 2023, Business Insider reported

on Lavu’s abrupt departure from NIKE: “In an internal email announcing his departure and a

subsequent meeting with technology employees, the company didn’t give a reason for his exit. .

. . But his tenure also coincided with blistering criticisms from technology employees, including

widespread job dissatisfaction, according to a leaked employee survey.” At the same time, the

article reported that several existing NIKE employees were promoted to begin restoration of the

technology team: among them Deepak Arora, “a nearly five-year company veteran, [was appointed
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to] serve as one of two co-heads of global technology. His appointment was announced roughly

two weeks after the sudden resignation of Ratnakar Lavu. . . . [Ryan] Fusselman, a 10-year NIKE

veteran, join[ed] Arora as an interim co-head for global technology.”

       256.    On February 23, 2024, former NIKE employee Bahram Ghiasinejad brought a

lawsuit against NIKE alleging, among other things, that Lavu had been investigated for SEC

violations, and that “Lavu was terminated along with one of his VPs Jacobson due to their

involvement in potential SEC violations.”

       257.    On September 13, 2024, Bloomberg Businessweek published “The Man Who Made

Nike Uncool,” a scathing exposé on Defendant Donahoe’s tenure at NIKE. In this article, the

writers noted that NIKE’s February 2023 layoffs, coinciding with Lavu’s departure, saw the

exodus of “more than 30 software engineering directors and managers from the global tech

division.” These layoffs came after the technology organization “under Donahoe [] had devolved

into a mess: a steady stream of engineers quitting, outsourcing some work to third parties, all

under a chief digital information officer”—Lavu—“allegedly accepting bribes and doing

‘backdoor dealings’ with vendors.”

       258.    In a September 22, 2024 article entitled “Did a Digital Obsession ‘Just Do It’ in for

Nike’s John Donahoe?” The Stack reported that “[b]ehind the scenes, the technology estate that

powers NIKE’s digital efforts arguably does not get enough attention from investors,” pointing

out that the last engineering blog from NIKE’s team was published as far back as June 6, 2019 and

“has not been updated since.” The article further reported that “Nike admitted in one of the few

mentions of technology on its fiscal Q4 earnings call to be ‘optimizing technology spend; and

restructuring our organization to streamline layers and support functions.’” The same article also




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highlighted that “[i]n May 2024 meanwhile Nike appointed its first Chief Data and AI Officer

(CDAO), Alan John” to help revamp its operations and repair its technological capabilities.

                       c.      NIKE’s Corporate Restructuring Under CDA Was a Disaster

       259.    Multiple former NIKE employees describe NIKE’s corporate restructuring

pursuant to the CDA strategy, which included refocusing NIKE’s business along gender-and age-

based consumer constructs instead of sport-based categories, as a disaster that inhibited the success

of the CDA strategy. These accounts have been corroborated by Defendants’ subsequent

admissions and other conduct.

       260.    NIKE’s Restructuring Failed from the Start: Multiple former NIKE employees

described how NIKE’s reorganization pursuant to the CDA strategy was riddled with problems

from the start of the Class Period.

       261.    Based on public information, Massimo Giunco worked at NIKE in a variety of roles

from 1997 to June 2022, and in his final position was Senior Brand Director from September 2017

to June 2022. In July of 2024, Guinco published a widely read piece on LinkedIn, titled “Nike: An

Epic Sage of Value Destruction.” According to Giunco, after NIKE’s reorganization—with its

pivot away from sport categorization and toward gender and age constructs—was implemented

(in June 2020), and “[i]n 6 months, hundreds of colleagues were fired and together with them Nike

lost a solid process and thousands of years of experience and expertise in running, football,

basketball, fitness, training, sportwear, etc., built in decades of footwear leadership (and apparel

too). Product engine became gender led: women, men, and kids (like Zara, GAP, H&M or any

other generic fashion brand).” According to Giunco, NIKE’s “lack of innovation” “originated”

with this reorganization. (NIKE’s innovation woes are discussed in full in Section IV.B.1.d.)




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       262.    Multiple CWs’ accounts corroborate and expand on the failures of NIKE’s

restructuring under the CDA strategy. For example, CW-17—who served as a Global Director,

Program Management from November 2016 to October 2021—stated that NIKE’s DTC strategy

was “the worst thing they ever did” and referred to it as a “disaster.” CW-17 noted that it was “well

known” within NIKE that the DTC strategy was not going well. CW-17 detailed that as part of

NIKE’s CDO and CDA, the Company laid off a lot of longtime employees and replaced them with

unqualified employees. CW-17 added that NIKE conducted reorganizations in 2017 and 2020 and

got rid of certain categories in 2020. CW-17 explained that NIKE used to have teams dedicated to

specific categories, including running, training and soccer. However, CW-17 noted that NIKE got

rid of these specialized teams and categories and only maintained general categories, including

Men’s and Women’s products.

       263.    Thus, this strategy was a failure. Indeed, later in the Class Period, by no later than

summer 2022, NIKE quietly backtracked on this restructuring and began to internally pivot back

to the pre-CDA strategy of organizing groups around sport-based categories.

       264.    NIKE’s Covert Pivot Back to Sport Categorization in Summer 2022: was

employed at NIKE from before the Class Period to summer 2024 in a variety of roles. From the

summer of 2022 through her departure in summer 2024, CW was a General Manager for one of

the newly recreated sports categories in the Men's division in North America. CW-18 described

that NIKE underwent an organizational shift in approximately mid-2022 to address concerns

about the Company’s performance. CW-18 explained that this reorganization created General

Managers for the sports categories within the gender constructs. This reorganization, she added,

was an attempt to recreate the sports categories used by NIKE prior to its CDA strategy, but

within the still-existing gender and age structure. This shift, CW-18 added, was an attempt to

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address the loss of connection to sports among the company’s segments. CW-18 advised that the

General Manager role, which she accepted in the summer of 2022, was created at that time as part

of this shift.

        265.     NIKE’s “Fields of Play” Rebrand by Fall 2023: By fall 2023, NIKE began

internally branding the Company’s sport-based categories within the age and gender constructs as

“fields of play.” CW-1 explained that the first time she heard the term “field of play” was at a VP

summit in September/October 2023. CW-1 stated that Donahoe, Friend, O’Neill, and Williams

orchestrated the summit, and that Donahoe, Friend, and O’Neill spoke at the summit.

        266.     CW-1 advised that “all 300 VPs” were at this VP summit, including VPs from

China (most of whom attended remotely). She further added that the summit occurred in the Coach

K Gymnasium at NIKE’s headquarters, where they took over the entire basketball court, with

tables packed in.

        267.     CW-1 further noted that Donahoe “painted a pretty ugly picture” at the summit.

CW-1 recalled Donahoe stating that NIKE was no longer a growth company, and that there are

things NIKE must do to be a growth company again. CW-1 further described Donahoe referencing

what Apple does to be a growth company, adding that Apple CEO Tim Cook was a guest speaker

who appeared via Zoom. CW-1 described the summit as “dire,” and observed that the summit was

focused on how much NIKE had to do to grow.

        268.     CW-1 confirmed that NIKE’s management acknowledged the Company’s

problems related to CDA at this summit. She explained that they did so because they “ran out of

straws to grasp at.” She added that management acknowledged that business was softening and

that the lack of sufficient investment in DTC capabilities was causing problems for NIKE.




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       269.    CW-1 noted that this summit consisted of two days of talks and breakout sessions.

CW-1 clarified that the breakout sessions consisted of 50 to 75 people per breakout group, who

were then divided further into tables of seven or eight people. CW-1 explained that in one breakout

session she and Williams were in the same group, sitting at the same table. In this breakout session,

according to CW-1, Williams said that the Company had known for a while that the CDA strategy

was not working and that they needed to switch their strategy.

       270.    CW-1 recounted that Craig Williams, President, Geographies & Marketplace, stood

up during a VP Summit in around September/October 2023 and said, “CDA was a failure. We

have to acknowledge that.” CW-1 also said that Williams told her personally during a breakout

session during the summit, “let me be crystal clear. CDA was a disaster and is not working and

we know we have to fix it. It’s our problem to fix it.” According to CW-1, during this same

breakout session, Williams also stated that NIKE needed to return to sport-based categorization

of its product lines. CW-1 added that Williams’ comments were “refreshing,” because everyone

at NIKE knew that CDA (Consumer Direct Acceleration) was “an absolute disaster.”

       271.    CW-1 advised that, at the VP Summit, O’Neill presented a plan called “5 for 15”

to fix these problems. CW-1 noted that the plan flopped. CW-1 explained that “5 for 15” was a

new term for things NIKE was already doing. CW-1 elaborated that 5 referred to the 5 components

to gain market share and lean into fields of play.

       272.    Defendants’ Later Admissions: Numerous later admissions by the Defendants

near the end of the Class Period corroborate that NIKE’s corporate reorganization pursuant to the

CDA strategy was a disaster.

       273.    On the first alleged partial disclosure of the truth, during NIKE’s December 21,

2023 earnings call, Defendant Friend told investors that NIKE was “identifying opportunities

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across the [C]ompany to deliver up to $2 billion in cumulative cost-savings over the next three

years,” because the CDA strategy had “added complexity and inefficiency.” This admission

revealed that NIKE’s corporate reorganization had failed to effectively streamline the

organization, and had in fact led to inefficiencies forcing NIKE to engage in billions of dollars of

cost-saving measures. Indeed, on the same earnings call, Defendant Donahoe disclosed that “six

months ago” NIKE had “realigned our entire organization . . . and it is making a huge difference

in our focus and ability to execute.” This admission indicated that NIKE’s prior reorganization as

part of the CDA strategy had been a failure, and that NIKE had already began taking purportedly

remedial actions to address this failure no later than June 2023—though Defendants still

continued to conceal that NIKE’s pivot had actually begun a full year earlier, in 2022, as discussed

supra.

         274.   Further, on February 19, 2024, NIKE announced that it was laying off 2% of its

corporate workforce, cutting more than 1,500 jobs, as part of a broad corporate restructuring. In

discussing the layoffs, Defendant Donahoe claimed “[t]his is how we will re-ignite our growth.”

This layoff announcement thus further showed that NIKE’s prior reorganization effort had failed,

forcing NIKE to attempt yet another restructuring.

         275.   On the second alleged disclosure of the truth, during NIKE’s March 21, 2024

earnings call, Defendant Donahoe admitted, while discussing the CDA strategy, that “it’s been

clear that we need to make some important adjustments,” including that “[w]e need to sharpen

our focus on sport.” This acknowledgement further revealed that NIKE’s CDA-based

reorganization towards the Men’s, Women’s, and Kids’ consumer construct had failed, and that

NIKE needed to revert to its pre-CDA sport-based consumer construct. On the same call,

Defendant Donahoe stated that NIKE was “making, and started nine months ago, important

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adjustments in our offense. And that started with putting the consumer and sport squarely back

into our offense. And so that allows a sharpness across Men’s-Women’s-Kids and Jordan around

sport.” This admission once again emphasized that NIKE had begun attempting to remedy the

failure of its CDA-based categories reorganization at least by the summer of 2023.

       276.    On April 19, 2024, NIKE announced another round of major layoffs—about 740

more employees at its world headquarters in Oregon—as part of its previously announced

corporate restructuring. This announcement showed that NIKE’s prior CDA-based reorganization

was such a failure that additional layoffs were required to remediate.

       277.    On the third partial disclosure of the truth, during NIKE’s June 27, 2024 earnings

call, Defendant Donahoe admitted that they had finally completed this corporate restructuring back

to sport-based categorization, explaining: “we are now completely aligned across the organization

around sport field of play . . . over the last 90 days, we completed completely aligning our

organization along the lines of sport.” This admission further revealed the extent of the

Company’s CDA strategy’s failure, including the prior corporate restructuring efforts, as NIKE

now had been forced to completely backtrack and once again organize its business around sport-

based categories.

       278.    Finally, on NIKE’s December 19, 2024 earnings call, NIKE’s new CEO Elliot Hill

who replaced Donahoe in September 2024, emphasized that “[m]oving forward, we will lead with

sport and put the athlete at the center of every decision.” This admission confirmed that NIKE’s

realignment around the Men’s Women’s and Kids’ consumer construct as part of the CDA strategy

was a failure, as the Company had been forced to revert to a consumer construct centered on sports.




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                       d.      NIKE Cut Off Its Pipeline of Innovative Products and Instead
                               Relied on Flooding the Market with Legacy Franchises to
                               Temporarily Boost Sales

         279.   Numerous former NIKE employees describe that NIKE did not maintain its

innovative product pipeline during the Class Period. Instead, NIKE relied on unsustainably

flooding the market with classic franchises, flooding the market with these key products to

temporarily boost sales. Defendants’ own subsequent admissions and media coverage confirm

these allegations.

                               (1)    Per Many CWs, NIKE Cut Off Its Pipeline of
                                      Innovative Products, Damaging Its Competitive
                                      Position, and Unsustainably Flooded the Market with
                                      Classic Products

         280.   NIKE’s Deficient Pipeline of Innovative Products: The accounts of multiple

former NIKE employees detail the severely deficient innovation and pipeline problems plaguing

NIKE from the outset of the CDA strategy. CW-16 (who worked at NIKE’s global headquarters

from 1998 to April 2024, most recently as a Senior Product Manager, Virtual Material Ecosystem)

recalled that early in Donahoe’s tenure 37 many of NIKE’s more senior and longest tenured

management personnel were terminated. She explained that as a result of these cuts, the Company

lost cumulatively “thousands of years of NIKE experience” from employees who understood

NIKE’s customer preferences, marketing, workflow from design to production, and work culture.

CW-16 recalled that these cuts were announced by Donahoe as part of the CDA strategy.

         281.   According to CW-16, products going from design to development from 2020

through when she left the Company in April 2024 were not developed as quickly because of the

layoffs directed by Donahoe in 2020, changes in how categories were set up, and constant




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     As a reminder, Donahoe’s tenure at NIKE began in January 2020.
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reorganizations, among other reasons. She described categories as revolving around basketball,

football, baseball, running, as some examples. She also described the changing NIKE culture as a

change in focus from creating and producing products for these categories to “Donahoe trying to

change NIKE into a technology company,” as she recalled Donahoe stating at some point. She

described the impact of NIKE’s restructuring on product development and pipeline as: “It wasn’t

set up in a way that it would be successful,” adding that NIKE “didn’t have the right knowledge

and leadership in place to drive it.”

       282.    According to CW-16, CDA and the loss of institutional NIKE knowledge and

culture negatively affected NIKE’s product pipeline in a number of ways, including a lack of

leadership “to drive things correctly,” as an example. She recalled that in 2020, it was clear that

personnel cuts driven by the CDA would negatively impact NIKE’s product pipeline. CW-16

recalled that after the CDA was instituted, NIKE was no longer focused on innovating its

products. CW-16, however, also noted that this impact would not necessarily be felt in the

marketplace until 2022 because NIKE could lean on products that were already in the pipeline

prior to NIKE’s pivot to CDA. She added that by mid-2022, NIKE started to see the negative

effects on new products in the pipeline. CW-16 stated that “there was no way” senior leadership

would not have known by mid-2022 that innovation and pipeline were being negatively affected.

She recalled her managers seemingly “blew off” the concerns she raised because they became

focused on positioning themselves for promotions rather than preserving the NIKE team culture

after many of the longtime senior leaders had been terminated.

       283.    Other former NIKE employees corroborate that severe innovation and product

pipeline problems plagued NIKE from the start of the CDA strategy.




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       284.    For example, Massimo Giunco’s post, titled “Nike: An Epic Sage of Value

Destruction,” similarly pinpointed NIKE’s “lack of innovation” “originated” with this CDA-based

reorganization in 2020.

       285.    And CW-1 explained that the CDA strategy had not been thought through, that

there was a lack of innovation to support it, and that the Company did not fund innovation to the

level the strategy needed.

       286.    Additional CWs’ accounts corroborate the stagnation of NIKE’s product

innovation after the launch of the CDA strategy. CW-2 worked at NIKE from 2002 to Fall 2022,

most recently as a director within North America Consumer Direct Marketing for NIKE Direct

from Fall 2020 to Fall 2022. According to CW-2, NIKE did not bring new and innovative products

to the market and instead relied on the same products that previously generated revenue, such as

Air Force 1s, Air Jordans, and NIKE Dunks. CW-2 stated that this was clear during her tenure and

that she also experienced this as a consumer because there were no new shoes to buy as a NIKE

employee.

       287.    CW-1 corroborates this account. CW-1 stated that NIKE started flooding the

market with Jordans, Air Force 1s, Pandas (a type of NIKE Dunk shoe), and other “hot” products

by the end of 2022.

       288.    CW-2 further recalled that, beginning in July 2022, NIKE began lowering its

internal targets for the number of NIKE Live stores it planned to open in North America. CW-2

further explained that NIKE Live stores faced supply chain and product-pipeline problems, which

were major contributors to NIKE lowering its target for the number of NIKE Live Stores the

Company planned to open. CW-2 further explained that product was lacking in the pipeline for

new NIKE Live store openings which led to stores not being sufficiently stocked with the proper

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products. For example, CW-2 recalled that a lot of NIKE Live stores did not have enough women’s

products. CW-2 explained that this was problematic because women’s products were the largest

revenue generator for NIKE Live stores. CW-2 stated that these supply chain and product pipeline

problems resulted in the Company not being able to evenly distribute new product between its

NIKE Live stores. According to CW-2, this then led to a lack of product in certain stores, which

in turn, resulted in a lack of traffic in those stores.

        289.    Competition Capitalized on NIKE’s Innovation Problems: Further, other CWs’

allegations show that NIKE’s lack of innovation also diminished the Company’s competitive

standing. For example, CW-15 worked at NIKE from May 2021 to May 2024 as a technology

operations manager and then technology operations director. She explained that NIKE was losing

customers to HOKA and On because they were more creative and innovative than NIKE, which

alternatively focused on rereleasing retro shoes and not new product development. Although the

mantra at NIKE was to be innovative and creative, according to CW-15, NIKE did not allow for

any innovation, and rather relied on the same products that previously generated revenue, such as

Air Force 1s, Air Jordans, and NIKE Dunks. CW-15 stated that it was internally discussed that

NIKE was getting its “ass handed to them” by competitors because the Company was “not moving

fast enough” in terms of creating new and innovative products. CW-15 confirmed that this was the

case throughout her tenure (i.e., May 2021 to May 2024). CW-15 explained that she understood

this information based on her own perspective on NIKE’s technology and based on conversations

with NIKE colleagues who did not work in technology, including designers.

        290.    NIKE’s Unsustainable Flood of Classic Products: To conceal NIKE’s pivot

away from maintaining an innovative product pipeline, NIKE began inundating the market with




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its key classic products. CW accounts support the fact that NIKE flooded the market with these

products during the Class Period.

       291.    As CW-1 recalled, NIKE started flooding the market with Jordans, Air Force 1s,

Pandas (a type of NIKE Dunk), and other “hot” products toward by the end of 2022.

       292.    CW-1 indicated that NIKE lacked innovation. CW-1 added that Donahoe relied on

flooding the market to cover his other sins, and that practice eventually caught up with him. CW-

1 advised that the over-supply of key products was a “dirty secret” at NIKE. CW-1 explained that

everyone saw it, but no one discussed it.

       293.    CW-1 articulated that Donahoe wanted to boost his personal bonuses by cutting

costs for innovation and relying on NIKE’s classic products only. CW-1 indicated that this was a

problem because the classics were “done,” meaning no longer as popular, and NIKE had nothing

to replace them, while competitors, like Lululemon and Hoka, took market share because NIKE

had no new attractive products.

       294.    CW-1 explained that starting at the end of 2022 and continuing all through 2023,

NIKE’s market share was eroding more and more, and the Company was relying more and more

on its classic products. CW-1 advised that NIKE needed to have something in the pipeline to

improve, but NIKE just kept selling the same products.

       295.    According to CW-2, NIKE did not bring new and innovative products to the market

and instead relied on the same products that previously generated revenue, such as Air Force 1s,

Air Jordans, and NIKE Dunks. CW-2 stated that this was clear during her tenure and that she also

experienced this as a consumer because there were no new shoes to buy as a NIKE employee. And

CW-16 recalled that another issue with the advent of Donahoe’s tenure was the switch in focus

from innovative performance- or sport-related footwear and apparel to a focus on selling their pre-

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existing signature footwear, but in more colors and on selling leisure/lifestyle-oriented fashion

apparel rather than apparel designed for athletic performance. According to CW-16, on the

“footwear side” they relied on the staple and signature products but just made them in new colors.

                               (2)    Defendants’ Later Admissions and Media Coverage
                                      Confirm These Innovation Problems

       296.    Defendants’ Admissions About Innovation: On November 14, 2023, about a

month before the first partial disclosure of the truth, NIKE announced that it had appointed John

Hoke as the Company’s first Chief Innovation Officer. In the press release announcing this

appointment, NIKE stated that Hoke’s appointment would “amplify and accelerate Nike’s

innovation strategy and distinction.” This appointment evidenced NIKE’s knowledge that the

Company had been failing to invest in innovation and needed to refocus on building its innovative

product pipeline.

       297.    Defendants also made a series of admissions in late 2023 and throughout 2024

gradually revealing the depth of NIKE’s innovation problems. For example, on NIKE’s December

21, 2023 earnings call, Defendant Donahoe acknowledged that NIKE’s pace of innovation had

slowed, admitting that “we know we must be faster, increasing the pace of innovation.” On NIKE’s

March 21, 2024 earnings call, Defendant Donahoe emphasized, while referencing the CDA

strategy, that “it’s been clear that we need to make some important adjustments,” including that

“we must drive a continuous flow of new product innovation.” Defendant Friend also admitted

that NIKE had to “shift our product portfolio toward newness and innovation,” and that NIKE had

“been missing some product newness at scale in our portfolio over the last several seasons.”

Defendant Friend further stated that NIKE was “scaling newness and innovation from this point

forward.” Thus, Defendants acknowledged on NIKE’s March 21, 2024 earnings call that NIKE

had been aware internally of failure to maintain its pipeline of innovative product for at least “the
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last several seasons,” and that only now was NIKE pivoting back to investing in its innovative

pipeline of products “from this point forward.”

        298.    Approximately three weeks later, on April 12, 2024, in an interview with CNBC,

Defendant Donahoe admitted that “over the last year, we have been ruthlessly focused on

rebuilding our disruptive innovation pipeline.” This admission—i.e., that NIKE had begun

“rebuilding” its innovation pipeline since at least early 2023—shows that Defendants knew of

such failures at least by that time, given their institution of significant remedial measures.

        299.    Similarly, in an April 17, 2024 article in COMPLEX, titled “What’s the Future of

Nike? John Hoke Has Ideas,” NIKE’s new Chief Innovation Officer Hoke stated that NIKE needed

to “get back on the front foot” on innovation, thus acknowledging Defendants’ failure to maintain

innovation previously. Hoke also admitted that “through the pandemic . . . we were serving

consumers things that they know and love, which is fine, but part of our job is to take them

someplace new, to show them things they don’t know are possible.”

        300.    Likewise, an April 21, 2024 article in The Wall Street Journal, titled “Nike

Reverses Course as Innovation Stalls and Rivals Gain Ground,” quoted NIKE’s Chief Design

Officer Martin Lotti as admitting that NIKE had not been forward-looking in its innovation.

Specifically, he stated that “[i]f you drive a car just by looking in the rear view mirror, that’s not a

good thing . . . . The bigger opportunity is the windshield.” The same article stated that NIKE had

“neglect[ed]” innovating in key categories, such as running.

        301.    Then, on NIKE’s June 27, 2024 earnings call, Defendants further acknowledged

NIKE’s failure to innovate during the Class Period. Defendant Donahoe also admitted that NIKE

was “making a series of adjustments to position us to compete and win,” including “accelerating

our pace and scaling of newness and innovation,” and “moving aggressively to reestablish our

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innovation edge.” Further, Defendant Donahoe emphasized that NIKE was “now 100% focused

on driving the growth and innovation,” thus implicitly confirming that NIKE had not been focused

on innovation previously. On the same call, Defendant Friend similarly admitted that NIKE needed

to “accelerate our pace of innovation and scale newness across our product line.” Even with

NIKE’s purportedly revitalized emphasis on innovation, Defendant Friend acknowledged that

“newness [was] not yet at scale”—i.e., that NIKE had not developed enough innovative new

products that were ready to sell to NIKE customers. On the same call, Defendant Friend also stated

that NIKE had “started managing these franchises a couple years ago, and what we were most

focused on was the fact that we needed to restrict supply of these franchises into the marketplace,

because we had a gap in innovation in our pipeline.” Thus, Defendant Donahoe directly admitted

that Defendants knew NIKE “had a gap in our pipeline” at least “a couple of years ago”—i.e.,

no later than summer 2022, as the CWs recounted—directly contrary to Defendants’ statements

touting NIKE’s product innovation pipeline at the time and afterwards during the Class Period.

       302.    In a July 25, 2024 letter to shareholders, Defendant Donahoe confirmed NIKE’s

innovation failures during the CDA strategy and the Company’s belated efforts to right the ship

on that key front. Specifically, Defendant Donahoe articulated that, “[o]ver this past year,” NIKE

had been “kick-starting a multi-year innovation cycle . . . . We’re accelerating our pace and

scaling of newness and innovation.”

       303.    Finally, on NIKE’s October 1, 2024 earnings call, Defendant Friend admitted that

NIKE planned “to introduce and scale newness and innovation across the marketplace.” Defendant

Friend also stated that NIKE was “focused on trying to accelerate newness and innovation in order

to create more momentum with consumers and more energy with consumers.” This




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acknowledgement revealed that NIKE still was struggling to produce innovative new products at

the end of the Class Period.

       304.    Defendants’ Admissions About Flooding the Market with Classic Products:

Defendants admitted that instead of producing new, innovative products, NIKE had relied on

flooding the market with key classic products. Specifically, during NIKE’s December 21, 2023

earnings call, the first partial disclosure of the truth, Defendant Friend admitted that NIKE had to

engage in “lifecycle management of key product franchises”—meaning that NIKE needed to

intentionally lower the supply of its most critical products because it had previously flooded the

market with those products. This tactic had led to a situation where supply of these products had

outstripped demand. According to a December 22, 2023 report by Telsey Advisory Group, this

lifecycle management meant that NIKE needed to “limit[] volumes of in demand franchises to

preserve full price selling.” Defendant Friend also made a similar admission during the March 21,

2024 earnings call, e.g., recognizing the continued need to engage in “lifecycle management of

our key product franchises” even though such franchise management “create[d] some near term

headwinds, particularly on Digital.”

       305.    Further, the above-referenced Wall Street Journal article, titled “Nike Reverses

Course as Innovation Stalls and Rivals Gain Ground,” recounts how NIKE “executives turned to

the brand’s lucrative franchises, including Air Jordan and Dunk, and ramped up the releases” in a

“race to hit revenue targets.” The article describes an interview with Donahoe where he admitted

that this strategy was intentional, claiming that “NIKE ramped up production” of these franchises

“to meet demand on its SNKRS app.” Donahoe specifically cited NIKE’s demand metrics from

“early 2021” as a reason for this shift. Thus, Donahoe’s interview serves as an admission that




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NIKE had intentionally increased the supply of classic franchises, instead of new innovative

products, beginning as soon as “early 2021”—i.e., the start of the Class Period.

         306.   Then, on NIKE’s June 27, 2024 earnings call, Defendant Friend revealed that the

oversaturation of the market of these key products was so dire that NIKE needed to take even

“more aggressive actions in managing our classic footwear franchises.” This revealed that NIKE’s

strategy of increasing the supply of classic franchises over new products had resulted in a serious

oversupply of those classic franchises. Then, on NIKE’s October 1, 2024 earnings call, Defendant

Friend revealed that the Company’s “[f]ranchise management actions will continue throughout the

year.”

         307.   Finally, on NIKE’s October 1, 2024 earnings call (the final disclosures of the truth),

Defendant Friend disclosed that the Company’s “franchise management” plan was even more

destructive to NIKE’s revenues than previously revealed, as NIKE’s actions limiting supply of key

products caused NIKE to plan for “double digit” declines in NIKE’s Men’s and Women’s Lifestyle

business and Jordan brand.

         308.   Thus, Defendants revealed during these disclosures that NIKE had not only failed

to maintain its pipeline of innovative products and had instead flooded the market with key, classic

products, which now needed to then be pulled from the shelves because of decreasing demand.

         309.   Corroborative Media and Analyst Commentary: Media and analyst

commentary corroborates that NIKE cut off innovation during the Class Period, forcing NIKE to

flood the market with key products and allowing competition to take market share.

         310.   For example, the above-referenced April 21, 2024 Wall Street Journal article, titled

“Nike Reverses Course as Innovation Stalls and Rivals Gain Ground,” cited former employees of

NIKE, who stated that “[t]he pursuit of sales growth from limited-edition sneaker releases led Nike

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to neglect its running category, long considered the core product of the company.” The article also

cited current and former NIKE employees who recounted that “Nike veered from its roots as a

maker of cutting-edge footwear for serious athletes,” which “has opened itself to competition from

newcomers such as On and Hoka.” The article also stated that NIKE “has lost ground in its critical

running category while it focused on pumping out old hits,” confirming that NIKE’s reliance on

its classic franchises caused it to lose market share to more innovative competitors.

       311.    In a September 13, 2024 article titled, “The Man Who Made Nike Uncool,”

Bloomberg reported that Defendant Donahoe had claimed NIKE’s lack of innovation during the

Class Period was due to “remote work, explaining that the office was critical to fostering

innovation.” Thus, the article confirmed Donahoe’s later acknowledgement that NIKE had fallen

behind on innovation. The article also detailed how, under Donahoe’s leadership, “the pace of

product development slowed as Donahoe took few risks on performance-oriented shoe lines.”

       312.    Additionally, a September 19, 2024 analyst report by Bernstein Societe Generale

Group described how NIKE’s lack of innovation was a major cause of the Company’s “[market]

share losses to newer competitors including On and Hoka.” According to this analyst report,

NIKE’s production process was complicated by the 2020 shift to a gender-based structure.

Similarly, a September 24, 2024 article in Wired titled, “Nike’s New CEO Has One Hell of a

Challenge Ahead,” explained how a lack of innovation led to a loss in NIKE’s competitive edge,

stating that “[w]hile smaller, niche players like Hoka and On Running doubled down on product

innovation and grassroots marketing, Nike seemed stuck in a loop of digital experimentation that

failed to excite the core sportswear consumer.”




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                      e.      NIKE’s Brand Equity and Competitive Standing Depleted
                              During the Class Period as the CDA Strategy Floundered

       313.    Multiple former employees related that NIKE’s brand equity and competitive

standing decreased during the Class Period. Subsequent developments at the end of the Class

Period, including Defendants’ own admissions, corroborate these allegations.

                              (1)     Former NIKE Employees Detail NIKE’s Market Share
                                      Loss and Decline in Competitive Standing

       314.    NIKE’s Market Share Losses and Diminished Competitive Standing: Multiple

former NIKE employees recounted how NIKE was losing market share to competitors throughout

the Class Period.

       315.    CW-5 (who was responsible for assorting DTC merchandise for specific

geographies based on DTC consumer data until early 2021) recalled that Company metrics

reflected that DTC running shoe sales began declining even before the CDA strategy was

announced and continued to decline through her departure in early 2021. CW-5 explained that

this decline occurred because NIKE withdrew from running specialty stores as part of its DTC

strategy. CW-5 noted that by ditching retailers as part of its DTC strategy, NIKE lost market share

to competitors because other brands took shelf space that previously belonged to NIKE, and as a

result, running customers began to buy product from other brands. According to CW-5, NIKE

utilized third-party The NPD Group (now Circana) to track certain Company metrics. CW-5

recalled that certain metrics tracked by NPD showed that NIKE was losing market share to

competitors.

       316.    According to CW-10 (a Financial Analyst at NIKE from 2021 to December 2021),

NIKE began losing accounts to competitors in Summer 2021. CW-10 detailed that NIKE began

losing market share in the running shoe category to On and Hoka in summer 2021. CW-10


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explained that this embarrassed NIKE because the Company was previously known primarily for

its running shoes. Therefore, CW-10 was asked by NIKE Director of Credit and Risk Noel Runge

to expand credit lines for customers in an effort to build back the Company’s running shoe

business.

       317.   Similarly, CW-7—a NIKE director from before the Class Period through summer

2024 who oversaw NIKE’s relationships with various retailers and supervised a team that worked

directly with accounts on various facets of the business—recounted that NIKE lost a “shit-ton”

of market share to competitors as a direct result of its DTC strategy. CW-7 noted that NIKE did

not completely exit lower-priced retailers, such as Famous Footwear, but did pull some inventory

from these wholesalers because the Company thought those consumers would purchase products

from Nike.com instead. However, CW-7 explained that NIKE lost consumers who purchased items

for $110 or less to low-tier competitors, including Skechers, Adidas, and New Balance. CW-7

added that NIKE lost some Foot Locker consumers to Hoka as well.

       318.   CW-2—who worked at NIKE from 2002 to fall 2022 (including most recently as a

director in NIKE’s North America Consumer Direct Marketing for Direct from fall 2020 to fall

2022)—recounted that a major aim of NIKE was that its NIKE Live stores would compete with

Lululemon Athletica retail stores. But, according to CW-2, NIKE was losing women sportswear

customers to Lululemon Athletica during CW-2’s tenure in her final role (fall 2020 to fall 2022).

CW-2 detailed that she regularly attended meetings with NIKE’s Women’s Brand team and that

this team focused on the fact that NIKE was losing customers to Lululemon Athletica. CW-2

recalled that NIKE tracked sales metrics that reflected that the Company was losing market share

to Lululemon Athletica. CW-2 also stated that it was “widely known” within NIKE that the

Company was losing market share to Lululemon Athletica.

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       319.     Finally, as noted above, at the VP Summit in September/October 2023 attended

by Defendants Donahoe, Friend, and O’Neill, NIKE management strategized how to regain

market share. CW-1 advised that, at the VP Summit, O’Neill presented a plan called “5 for 15” to

fix these problems. She noted that the plan flopped. CW-1 explained that “5 for 15” was a new

term for things NIKE was already doing. CW-1 elaborated that 5 referred to the 5 components to

gain market share and lean into fields of play. CW-1 recalled that, at the VP summit in

September/October 2023 attended by Donahoe, Friend, O’Neill, and others, it was discussed that

NIKE was no longer number 1, number 2, or number 3 in running products; it was also an

acknowledgement of how much the Company had slipped. CW-1 noted that running was the

“DNA of Nike,” and that NIKE was always the premiere lead in running products. For the first

time, CW-1 continued, NIKE dropped down from number one in running products due to CDA.

One purpose of NIKE’s pivot back to using sports categories, according to CW-1, was to try to fix

that problem.

       320.     Similarly, CW-19—who was Director of A/B Testing from January 2015 to April

2018; Director of Global Experimentation Center of Excellence from May 2018 to April 2022;

and Director of Digital Experiments from May 2022 to June 2023—described that NIKE lost

women’s apparel customers to Lululemon and other customers to Adidas and Under Armour.

       321.     NIKE’s “Cool” Metric Decline: Critically, NIKE experienced significant decline

in one of the Company’s s key brand strength metrics, which competitors exploited to their

advantage. CW-2 detailed that she attended quarterly Brand meetings during her tenure at NIKE,

which were co-led by former Chief Marketing Officer DJ van Hameren and current Vice President,

Marketing for North America Adam Roth. CW-2 recalled that a “cool” metric was analyzed during

these quarterly meetings. In regard to the “cool” metric, CW-2 explained this is a common metric

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used by brands to gauge how “cool” the public views the brand. CW-2 noted that NIKE purchased

data from a third-party that, for example, conducted surveys to measure how “cool” the public

viewed NIKE. CW-2 clarified that NIKE measured its cool factor against brands such as YouTube,

TikTok, and Snapchat, and not just against other footwear and apparel brands. CW-2 recalled that,

by May 2022, NIKE’s “cool” factor was declining, and that NIKE was no longer the number

one “cool” brand. CW-2 further recalled that, by May 2022, “cool” metrics showed that NIKE

was losing ground to its competitors, specifically Adidas and Lululemon, both who were gaining

points and catching up in “cool” metrics to NIKE. CW-2 clarified that these “cool” metrics

reflected the views of North America-based consumers. CW-2 also clarified that NIKE measured

NIKE’s “cool” factor with 18-to-24-year-olds because 18-to-24-year-olds are the critical

demographic. CW-2 stated that these “cool” metrics were included in quarterly business unit

review reports.

                                (2)    Defendants’ Subsequent Admissions and Analyst and
                                       Media Coverage Confirm NIKE’s Competitive Decline

       322.       NIKE’s Admissions: Subsequent developments at the end of the Class Period,

including Defendants’ later admissions, further support that NIKE’s brand equity and competitive

position collapsed during the Class Period.

       323.       For example, on NIKE’s March 21, 2024 earnings call (the second disclosure of

the truth), Defendant Donahoe acknowledged that, “[w]hile our Consumer Direct Acceleration

strategy has driven growth and direct connections with consumers, it’s been clear that we need to

make some important adjustments,” including that “our brand marketing must become bolder

and more distinctive.” Less than a week later, on March 25, 2024, NIKE announced it had hired

Tim Hamilton as vice president of men’s apparel design. Industry publication Retail Dive, in a

March 25, 2024 article titled, “Nike hires Tim Hamilton as vice president of men’s apparel design,”
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noted that “[t]he hire comes as Nike rethinks its overall brand strategy following flat Q3

earnings.”

       324.    On NIKE’s June 27, 2024 earnings call (the third disclosure of the truth), Defendant

Donahoe acknowledged that “we’re making a series of adjustments to position us to compete and

win,” including “driving bigger, bolder storytelling, and elevating the entire marketplace to fuel

brand distinction and be in the path of the consumer.” One the same call, Defendant Friend also

stressed that NIKE was “repositioning . . . to be more competitive.” Friend similarly reassured

investors that NIKE was “focused on taking back market share,” thus admitting that NIKE had

lost market share to competitors.

       325.    These March and June 2024 disclosures, therefore, partially revealed that NIKE

had failed to maintain its competitive edge and market share, requiring NIKE to attempt to

remediate its competitive decline.

       326.    Finally, on NIKE’s October 1, 2024 earnings call (the final disclosure), Defendant

Friend further admitted that NIKE was suffering from the fact that “the multi-brand environment

is very competitive today, and it will take time to expand market share.” Likewise, according to

Defendant Friend, NIKE “acknowledged that we’ve lost market share in the running specialty

channel. More than four years ago, we pulled back on our engagement with that channel. And

as a result of that, we saw market share losses.” These disclosures revealed that Defendants had

lost market share in its running shoe segment, which had been the lifeblood of NIKE’s brand equity

and financial success, after it pivoted away from that channel starting in 2020 as part of its CDA

strategy, and the detrimental impact that such decisions had on NIKE’s financial performance at

the end of the Class Period.




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       327.    Media and Analyst Commentary: Media and analyst commentary corroborate

that NIKE’s competitive edge and brand equity declined during the Class Period as a result of the

CDA strategy failures. For instance, a September 24, 2024 article in Wired titled, “Nike’s New

CEO Has One Hell of a Challenge Ahead,” cited Fiona Harkin, director of foresight at The Future

Laboratory, a market research firm, explaining that NIKE’s “aggressive shift away from

wholesale partners ultimately meant that they ‘lost out on a lot of shelf space that went to their

competitors,’ . . . Once retail stores reopened and shopping habits normalized [as the COVID-19

pandemic receded], a flurry of challenger running shoe brands such [as] On Running, Hoka and

Brooks swiftly capitalized on the available real estate.”

       328.    Likewise, the April 21, 2024 Wall Street Journal article titled, “Nike Reverses

Course as Innovation Stalls and Rivals Gain Ground” that was discussed above, explained that

“[c]ompetitors have been using the sneaker giant’s playbook at its expense. Smaller brands like

On, Hoka and New Balance have captured significant pieces of the market for both hard-core

and everyday runners—and their popularity is spreading to the mainstream.” Similarly, a

September 22, 2024 article in The Wall Street Journal titled, “Elliott Hill Loved Nike and Left It.

Now He’s Back as CEO,” reported that “[r]ivals like Hoka and On are taking market share from

Nike’s core running category and its lifestyle offerings.”

                       f.      Defendants Concealed NIKE’s Reliance on Multi-Brand
                               Partners and the Failure of NIKE’s Mono-Brand Stores

       329.    Multiple former NIKE employees stated that, while NIKE focused on driving

business to its mono-brand channels as part of its CDA strategy, the Company failed to effectively

respond to consumer demand for multi-brand shopping during the Class Period. This failure is

further corroborated by Defendants’ own admissions at the end of the Class Period.



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                              (1)     Former NIKE Employees Detail That NIKE Concealed
                                      Its Dependence on Multi-Brand Partners and the
                                      Failure of NIKE’s Mono-Brand Stores

       330.    Pre-Class Period Warning Signs: One of the key hallmarks of NIKE’s CDA

strategy was an aggressive pivot away from selling products through multi-brand retailers (i.e.,

NIKE’s wholesale partners). However, multiple CWs’ accounts reveal that warning signs about

the long-term unsustainability of this strategy existed by the start of the Class Period. CW-5 (who

was responsible for assorting DTC merchandise for specific geographies based on DTC consumer

data until early 2021) stated that a former NIKE Vice President of Global Marketplace Integration

for NIKE Running voiced concern about the DTC strategy during her tenure. CW-5 detailed that

this individual suggested that removing wholesale and running specialty stores would not be

sustainable for NIKE because wholesale was an “anchor” for NIKE and its business would not

work without it. CW-5 recalled that a Key Performance Indicator that NIKE utilized during her

tenure was sell-through rate on new products, which helped determine if the market was able to

assimilate new NIKE products. CW-5 detailed that sell-through rates for new DTC products

reflected that the DTC strategy was not sufficiently working because this data showed that NIKE’s

consumers were not buying new DTC products to the level of NIKE’s expectation. Therefore, CW-

5 recounted, the feedback NIKE received from sales merchants was that this was a red flag.

       331.    NIKE’s Covert Dependence on Multi-Brand Retailers. Multiple CWs recounted

that by fall 2021, NIKE was already relying on multi-brand retailers to rescue the Company from

its faltering CDA strategy.

       332.    CW-10 (a Financial Analyst at NIKE from 2021 to December 2021) recalled that

current NIKE Director of Credit and Risk Noel Runge asked her and another financial analyst in

fall 2021 to conduct financial due diligence on Sam’s Club and Costco because NIKE was looking


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into establishing business relationships with them. CW-10 explained that NIKE wanted to “push

products” that were not selling well, through Sam’s Club and Costco. CW-10 stated that Runge

indicated to her that the main reason why NIKE was interested in partnering with Sam’s Club

and Costco was because its DTC strategy was “slowing down” and “not working.” CW-10 stated

that NIKE was looking at these “big box names” because its DTC strategy “backfired.” CW-10

suggested that NIKE’s pivot to Sam’s Club and Costco indicated that there were “underlying

issues” with its DTC strategy.

       333.    CW-7 (who oversaw NIKE’s relationships with various retailers and left NIKE in

summer 2024) recalled that in late 2021 or early 2022 inventory was piling up at NIKE. CW-7

stated that as a result, NIKE began offering discounts on its products and asked its wholesalers to

take more products. CW-7 detailed that NIKE subsequently sold in bulk to City Specialty, Foot

Locker and Finish Line to lessen its inventory.

       334.    CW-7 recalled that a team was engaged to renew the Company’s relationship with

Macy’s in early 2023. CW-7 suggested that internal conversations at NIKE about reengaging

with Macy’s first occurred in approximately fall 2022. According to CW-7, NIKE apparel

returned to Macy’s stores in fall 2023.

       335.    CW-7 recalled that the internal reason given as to why NIKE returned to Macy’s

was because it wanted to get back in path with Macy’s consumers. However, CW-7 suggested that

NIKE returned to Macy’s, DSW and Foot Locker in 2023 because the Company’s DTC strategy

was not performing as well as projected. CW-7 stated that wholesale was like a pipe for NIKE

while DTC was like a straw for the Company’s business.

       336.    CW-1 described that NIKE’s stores—including the Well Collective and, before

that, NIKE Live – were not hitting the strides the Company wanted them to hit. She noted that

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NIKE’s stores were propped up by Donahoe’s “scheme” to flood the market with Jordans, Air

Force 1s, and other popular brands, but behind the scenes, there was a massive backlog of shoes

and apparel which were not selling. CW-1 described it as like a Ponzi scheme: certain products

were selling very well, but a lot of merchandise was not, and NIKE was still making those products,

which were dead inventory. CW-1 indicated that in 2022, the Ponzi scheme collapsed, and NIKE

“strong-armed” Foot Locker to take a lot of inventory to make NIKE’s financials look better. She

added that doing so made Foot Locker’s numbers awful, but it helped prop up NIKE. She explained

that this occurred at the end of 2022; the Company knew how much inventory it had “sitting there,”

which it was trying to sell at Costco and other places, but it was not moving. As a result, CW-1

continued, NIKE “strong-armed” Foot Locker to take the “dead” inventory. CW-1 explained that

NIKE used Foot Locker almost like an outlet to take all that excess inventory. CW-1 added that

Foot Locker agreed to take the one-time hit to Foot Locker to maintain a strong relationship with

NIKE. CW-1 stated that this was coordinated by Donahoe and Friend so NIKE wouldn’t take a

hit to its stock.

        337.        NIKE’s Faltering Mono-Brand Stores. NIKE’s mono-brand stores, a key

component of the CDA strategy, could only succeed if there was strong consumer demand for

mono-brand shopping (as opposed to multi-brand shopping). Multiple CWs’ accounts show that,

as soon as early 2022, NIKE’s mono-brand stores were faltering, thus further imperiling the

success of the CDA strategy. This issue was true for NIKE’s stores in North America and across

the globe.

        338.        CW-2—who worked at NIKE from 2002 to fall 2022 (including most recently as a

director in NIKE’s North America Consumer Direct Marketing for Nike Direct from fall 2020 to

fall 2022)—detailed that NIKE initially launched DTC retail stores prior to CDA. CW-2 described

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two types of retail DTC stores that NIKE opened: NIKE Rise stores, which are 20,000 to 30,000

square feet and located in big metro areas; and NIKE Live stores, which are small format stores of

5,000 square feet or less. CW-2 stated that NIKE Live stores were more important to NIKE’s DTC

strategy than NIKE Rise stores.

       339.    CW-2 stated that DTC retail stores were a key component of NIKE’s DTC strategy

throughout her tenure, and that NIKE Live stores were a particularly important component. CW-

2 stated that Defendant O’Neill led the NIKE Live team and referred to NIKE Live as O’Neill’s

“project” and “baby.”

       340.    CW-2 recalled that by early 2022, it was apparent that NIKE Live stores on

average were underperforming and not meeting their projected sales goals. CW-2 detailed that

during her tenure, she reviewed daily sales metrics reports, which included total NIKE Live sales

and sales per NIKE Live store. CW-2 stated that daily sales metrics reports reflected that some

NIKE Live stores were underperforming.

       341.    CW-2 recalled other metrics that NIKE tracked relating to its NIKE Live stores

included average order value, in-store foot traffic, units purchased, and sales to members versus

sales to non-members. CW-2 further explained that NIKE valued members more than non-

members because they drove more revenue for NIKE compared to non-members. CW-2 stated

that, in addition to sales, NIKE Live tracked KPIs such as in-store foot traffic and conversion rates.

CW-2 explained that conversion rates are the percentage of people who visit NIKE Live stores and

make a purchase while there. CW-2 recalled that by early 2022, it was apparent that NIKE Live

stores on average were not hitting their traffic or conversion KPI goals. CW-2 added that sales,

traffic, and conversion metrics were updated in NIKE’s system daily.




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       342.   CW-2 noted that many customers were using NIKE’s DTC retail stores to return

items that they purchased online and were not buying new product at the stores. CW-2 recalled

that although NIKE expected customers to return items purchased online at NIKE Live stores, the

ratio of sales-to-returns was greater than projected for some NIKE Live stores, and on some days,

the returns outweighed the sales resulting in negative sales. CW-2 detailed by early 2022, it was

known internally that the sales-to-returns ratio for some NIKE Live stores were not being met,

and that this was acknowledged by NIKE management.

       343.   As described supra, CW-2 recalled that beginning in July 2022 NIKE began

lowering its internal targets for the number of NIKE Live stores it planned to open in North

America.

       344.   Thus, as soon as early 2022, NIKE’s mono-brand “Live” stores, which were key to

NIKE’s CDA strategy, were underperforming—and by July 2022, NIKE began taking internal

measures to cut back on Company goals to open these stores in North America.

       345.   Additionally, NIKE Live stores were struggling so much that NIKE needed to

rebrand them in an effort to make them a more attractive destination for consumers. On NIKE’s

June 29, 2023 earnings all, Defendants announced that NIKE was rebranding its NIKE Live stores

to be known as “NIKE Well Collective” stores. According to CW-2 , NIKE rebranded NIKE Live

stores to NIKE Well Collective stores because the name NIKE Live did not resonate with

consumers. According to CW-2, NIKE began debating rebranding NIKE Live stores to NIKE Well

Collective stores in March 2022. Accordingly, such allegations show that Defendants were aware

of the poor performance of its NIKE Live stores and the need to rebrand by no later than March

2022, even if this decision was not implemented and publicly announced until June 2023.




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         346.   Additional CW accounts support that NIKE’s mono-brand stores were performing

so poorly by 2022 that NIKE needed to persistently decrease its store opening targets, and even

consulted with Dicks Sporting Goods to see how to make NIKE’s stores more profitable.

         347.   CW-1—who was VP, Global Store Development at NIKE from approximately

August 2022 through May 2024—stated that in her interviews for her position in summer 2022,

she was told by Ghosh38 that NIKE’s goal was to open 500 DTC stores. CW-1 elaborated that

Ghosh advised him that NIKE touted a goal that was higher than 500 stores but that the true internal

target was 500 stores. CW-1 described that this target of opening 500 stores kept being reduced by

NIKE.39

         348.   CW-1 indicated that when she joined NIKE, the Geos were instructed that they had

to open a certain number of stores, “no question.” CW-1 added that, when the stores did not

perform after a few years, the Geos were then given latitude to reallocate those resources to other

areas.

         349.   CW-1 confirmed that Defendant Friend “for sure” knew about the lowered store

forecasts. CW-1 recalled Friend instructing the Geos that they were not generating enough

revenue with the funds he was allocating to them, so they could not open more stores. CW-1

analogized the Geos to children and Corporate to the parent providing an allowance in the form of

funding for operations: Corporate provided the funds to the Geos and instructed them how to spend

it, with some leeway. CW-1 added that, when Corporate saw that the Geos were not hitting their




38
   Then Global VP of Stores.
39
   While CW-1 referenced an initial target of 500 stores, and CW-1 cited as initial target of 200
stores (see supra ¶ 160), these numbers are not inconsistent as CW-1 had a “Global” role at NIKE
(see ¶ 54), while CW-2 had a “North America” role (see ¶ 55) and was specifically referring to
NIKE Live stores.
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targets, Corporate had to rein in the funding. CW-1 declared that Friend was “100%” involved in

the decisions to cut the store opening goals.

       350.    Thus, during the Class Period, NIKE’s DTC stores were consistently failing, and

NIKE reached out to third parties to remedy the situation. CW-1 elaborated that NIKE started

talking with Dick’s shortly after she joined the Company (in August 2022) in an effort to make

NIKE’s DTC store fleet more profitable. She explained that most NIKE stores lose money, because

those stores put a lot of money into marketing. She added that all marketing expenses are charged

back to the stores, and since they don’t do “huge business,” the stores are a financial drain. CW-1

advised that, at the time she was leaving the Company, there were internal discussions at NIKE

about handing off its entire fleet of DTC stores in the U.S. to third-parties to run them. CW-1

recalled that these discussions were occurring in spring of 2024.

                              (2)     Defendants’ Subsequent Admissions, as Well as Media
                                      Coverage, Confirm That NIKE’s Channel Mix Strategy
                                      Was Failing During the Class Period

       351.    Defendants’ Admissions: Defendants made a series of admissions in 2024

acknowledging that NIKE had failed to effectively respond to consumer demand for multi-brand

retail shopping throughout the Class Period.

       352.    Specifically, on the March 21, 2024 earnings call, Defendant Donahoe

acknowledged that “it’s been clear that we need to make some important adjustments,” including

that “we must lean in with our wholesale partners to elevate our brand and grow the total

marketplace.” Defendant Donahoe further admitted that NIKE was “increasing our investment

in wholesale to help us elevate and grow the entire marketplace. We recognize that our wholesale

partners help us scale our innovation and newness in physical stores and connect our brands in the

path of the consumer.” Defendant Donahoe also revealed that NIKE was engaging in a


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“reinvestment with our wholesale partners, so we bring a more holistic offense that grows the

market and gets in the path of our consumer.”

       353.    Likewise, on this March 21, 2024 earnings call, Defendant Friend admitted

Defendants had knowingly disregarded consumer demand for multi-brand shopping so that

Defendants could hit performance metrics: “we’ve been more focused on trying to achieve mix of

marketplace targets than we have serving consumer demand where the consumer is shopping.”

Defendant Friend went on, admitting that “[t]he consumer is still clearly shopping in multi-brand

retail, and we need to elevate our brand and our positioning to be able to serve the consumer.”

These admissions were discussed in a March 22, 2024 article in Retail Dive titled “Nike Admits it

Has a Problem, and Its Solution is… Air?” When discussing the March 21, 2024 earnings call,

this article noted that “[t]he big moment for the marketplace may have come when the CEO said

that Nike is increasing its investment in wholesale to elevate and grow the market.” This

admission, the article explained, showed that “Nike should not have turned its back on its retail

partners and upset the delicate balance of the marketplace ecosystem. Instead, they opened the

door for other brands like Hoka, On and New Balance to move into leadership positions in the

innovation pipeline. Nike missed big on the partnership approach with larger retailers that let other

fashion-forward innovators take the shelf space Nike walked away from over the last few years.”

       354.    Three weeks later, on April 12, 2024, Defendant Donahoe similarly admitted in a

CNBC interview: “We recognize that in our movement toward digital, we had over-rotated away

from wholesale a little more than we intended . . . . We’ve corrected that. We’re investing heavily

with our retail partners. They were all here over the last couple of days; they’re very excited about

the innovation pipeline.”




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       355.    On NIKE’s June 27, 2024 earnings call, Defendant Donahoe reiterated that for “the

last couple of quarters,” the Company had “spent a lot of time leaning in with our wholesale

partners,” and that NIKE was “embracing a more balanced approach to growing the whole

marketplace.” On this same call, CFO Defendant Friend similarly discussed that NIKE was

“building momentum with our wholesale partners.”

       356.    Finally, on NIKE’s October 1, 2024 earnings call (the final disclosure of the truth),

Defendant Friend admitted that sales trends for legacy franchises “in the wholesale channel were

substantially better” than they were in NIKE’s digital channel. Defendant Friend also admitted that

NIKE’s “teams [had] been closely engaging with our partners since we acknowledged some of

the missteps related to over-centering on Direct.”

       357.    These disclosures revealed that, during the Class Period, NIKE had failed to

effectively respond to consumer demand for multi-brand shopping (rather than mono-brand

shopping), and that NIKE had to completely backpedal on its strategy of emphasizing DTC

channels over wholesale channels—a core tenet of the CDA strategy.

       358.    NIKE’s Rehiring of Tom Peddie: On July 10, 2024, NIKE announced it had

appointed Tom Peddie, a former NIKE executive who had retired in 2020 when the CDA strategy

launched, as Vice President of Marketplace Partners. In a September 13, 2024 article titled “The

Man Who Made Nike Uncool,” Bloomberg wrote that “Donahoe brought back a retired Nike

veteran of 30 years, Tom Peddie, to help rebuild relationships with retailers” as it backtracked on

such CDA strategy failures.

       359.    On October 10, 2024, NIKE announced that Tom Peddie would become Vice

President, General Manager of the North America Geography. In the press release making this

announcement, Craig Williams, President, Geographies and Marketplace, stated “[i]mportantly,

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Tom’s outstanding relationships with our retailers and deep experience developing an integrated

marketplace will be critical to accelerating our future success.” This admission showed that due

to consumer demand for multi-brand shopping, NIKE still needed to further increase its reliance

on its wholesale partners. Fashion Dive covered this Peddie-led restructuring in an October 14,

2024 article titled “Dive Brief: Nike shakeup continues with appointment of new North America

chief,” and commented that Peddie’s “experience appears to be instrumental to the task of

rebalancing wholesale and DTC.”

       360.    Additional Media Coverage: Additional media coverage confirms that throughout

the Class Period NIKE had failed to effectively respond to consumer demand for multi-brand

shopping. For example, Bloomberg’s “The Man Who Made Nike Uncool” article (referenced

above) described how consumers’ desire to shop at multi-brand stores had forced Defendant

Donahoe to “slowly try[] to repair those retail relationships to get Nikes back in stores.” Likewise,

former NIKE employee’s Massimo Giunco’s LinkedIn post, entitled “Nike: An Epic Sage of Value

Destruction,” described the “simple” story of NIKE’s failed pivot away from multi-brand: “So,

what happened? Simple. Many consumers - mainly occasional buyers - did not follow Nike

(surprise, surprise) but continued shopping where they were shopping before the decision of the

CEO and the President of the Brand. So, once they could not find Nike sneakers in their stores –

because Nike wasn’t serving those stores any longer -, they simply opted for other brands.”

                       g.      Defendants Concealed That NIKE’s Initial DTC Growth Was
                               an Unsustainable Mirage

       361.    Defendants attributed the initial growth of NIKE’s DTC channels during the Class

Period to the success of the CDA strategy. However, in reality, this growth was not driven by the

CDA strategy, but by other unrelated, temporary factors, including: (i) the COVID-19 pandemic;

(ii) NIKE’s reliance on products that were in its production pipeline prior to the CDA strategy;
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and (iii) NIKE’s oversaturation of the market with key classic products, particularly via NIKE’s

DTC channels. Meanwhile, as Defendants told investors that NIKE’s DTC growth was a result of

the CDA strategy, they were aware of or recklessly disregarded, numerous undisclosed warning

signs within NIKE that the CDA strategy was failing. Thus, NIKE’s initial DTC growth at the

beginning of the Class Period was unsustainable, contrary to the goal of the CDA strategy to drive

sustainable long-term growth.

                                (1)    The Purported Initial Success of the CDA Strategy Was
                                       Due to Covid-19, NIKE’s Pre-CDA Pipeline, and
                                       Unsustainable Flood of Classic Products

       362.    Covid-19 Pandemic: NIKE’s initial success in growing its DTC channels is

partially attributable to a temporary boost in sales in digital channels caused by the COVID-19

pandemic. The World Health Organization declared COVID-19 a “public health emergency of

international concern” in January 2020—six months before the CDA strategy was announced. This

designation remained until May 2023, the same month the Biden administration ended its public

health emergency declarations in the United States. During this period, the COVID-19 pandemic

caused in-store retail shopping to be restricted in key NIKE markets, which naturally led to a

temporary boost in NIKE’s digital sales—i.e., via consumer’s increased online shopping on

NIKE’s website or mobile apps during the initial COVID-19 lockdowns in 2021 and as the

pandemic persisted in 2021 and 2022, with multiple variants of the virus keeping many consumers

from returning to in-store shopping.

       363.    CW allegations support that NIKE’s temporary boost from DTC sales was partially

attributable to the COVID pandemic, rather than the CDA strategy. For example, CW-13

recounted that when COVID happened and people were stuck at home, sales on Nike.com initially




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“took off.” According to CW-13, after COVID waned and people started going back to retail

stores, NIKE was hoping that the “sugar rush” of online sales would continue.

         364.   Similarly, according to CW-17, DTC digital sales “went through the roof” at the

beginning of COVID while stores were closed, and people were stuck at home.

         365.   Publicly available information corroborates that the COVID-19 pandemic

temporarily helped boost NIKE’s DTC sales. For example, a September 19, 2024 article in The

Wall Street Journal, titled “Nike CEO John Donahoe Stepping Down After Rocky Tenure,”

explains this phenomenon. The article reported that “in early 2020 . . . as Covid shifted shopping

habits [Defendant Donahoe] set out to change the way the company sold shoes,” as “Nike cut ties

with longtime retail partners . . . tried selling more merchandise directly to consumers.” The article

went on to explain that as the COVID pandemic abated, “[t]he strategy backfired as the e-

commerce boom faded and many shoppers returned to physical stores.” Similarly, a September

22, 2024 article in The Wall Street Journal, titled “Elliott Hill Loved Nike and Left It. Now He’s

Back as CEO,” explained that “[w]hen the pandemic hit in 2020, Donahoe accelerated the digital

sales push to reach shoppers stuck at home on Covid-19 lockdowns. He soon ordered an aggressive

exit from longstanding bricks-and-mortar retail partnerships that Hill had helped build. Donahoe’s

push for digital sales and overreliance on Nike’s cash-cow franchises such as Air Jordan and Dunk

worked initially. But ultimately the strategy backfired, and the company’s sales growth hit a

wall.”

         366.   NIKE’s Pre-2020 Pipeline: As described in full supra, Section IV.B.1.d., NIKE

failed to maintain its innovative product pipeline after the introduction of the CDA strategy.

However, NIKE was able to temporarily rely on selling products that were in its production

pipeline prior to the CDA strategy. This is because, once NIKE begins to develop a product, it

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takes time for that product to make its way through NIKE’s production pipeline and enter the

market. According to a September 19, 2024 analyst report by Bernstein Societe Generale Group,

at NIKE, “[t]he process to create and launch new products takes 2.5-2 years, managed on a rolling

forward basis for 2-3 seasons at a time,” which includes “12-18 months for research and

innovation, 12+ months for product creation, and 6 months for production and shipping.” Thus, in

the early part of the Class Period—specifically 2021 through approximately mid-2022—NIKE

could rely on selling products that were in the production pipeline prior to the launch of the CDA

strategy.

       367.    CW-16 explained this dynamic. According to CW-16, in 2020, it was clear that

personnel cuts driven by the CDA would negatively impact NIKE’s product pipeline. CW-16,

however, also noted that this impact would not necessarily be felt in the marketplace until 2022

because NIKE could lean on products that were already in the pipeline prior to NIKE’s pivot to

CDA. CW-16 added that by mid-2022, NIKE started to see the negative effects on new products

in the pipeline. CW-16 stated that “there was no way” senior leadership would not have known by

mid-2022 that innovation and pipeline were being negatively affected.

       368.    NIKE’s Unsustainable Flood of Key Products: As described in full in Section

IV.B.1.d., NIKE inundated the market with its key classic products like Air Force 1s, Air Jordans,

and NIKE Dunks. This strategy temporarily concealed the flaws of the CDA strategy during the

Class Period. Defendant Donahoe admitted that this was an intentional strategy beginning in early

2021, and multiple CWs witnessed the strategy on the inside (see Section IV.B.1.d.(1) for CW-1

and CW-2’s allegations on this point). Faced with an oversaturated market, however, NIKE was

forced to intentionally limit the supply of these key products more and more aggressively,

beginning in December 2023. As Defendants confirmed in NIKE’s March 21, 2024 earnings call,

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for example, this oversupply was “particularly” acute in NIKE’s digital DTC channels. Therefore,

the initial boost driven by the oversupply also led to outsized growth in these same digital channels.

                               (2)     Internal Warning Signs of the CDA Strategy’s Failure
                                       Were Flashing Throughout the Class Period

       369.    While NIKE’s DTC growth was being artificially boosted during the Class Period

by these other factors, there were a legion of significant internal warning signs within NIKE that

the CDA strategy was failing and that this initial financial growth was unsustainable long-term.

See Sections IV.B.1.(a)-(f) supra. By way of example: (i) before and throughout the Class Period,

severe and pervasive deficiencies with NIKE’s supply chain vis-à-vis NIKE’s DTC strategy were

discussed in audit sessions and included on audit reports that were sent to Defendants Donahoe,

Friend, and O’Neill (CW-1); (ii) by fall 2021, NIKE was looking into establishing relationships

with new wholesale partners to push products that were not selling well (CW-10); (ii) by early

2022, it was apparent internally that NIKE Live stores on average were underperforming and not

meeting projected sales goals (CW-2); (iv) in January or February 2022, the CDA’s ongoing

technological problems were discussed in one-on-one meetings with Defendant Donahoe, similar

technological and other problems with NIKE’s DTC strategy were discussed at a meeting in Paris

on April 27, 2022, and beginning in the summer of 2022, Defendants Donahoe and other

executives were having monthly and other regular meetings to discuss these failures with the

CDA’s technological infrastructure (CW-3); (v) NIKE’s deteriorating brand strength was known

internally at NIKE by May 2022, by which point NIKE’s critical “cool” metric showed that it had

lost ground to key competitors (CW-2); (vi) by fall 2022, NIKE was discussing reengaging certain

wholesale partners internally (CW-7); and (vii) by September/October 2023 the failure of the CDA

strategy was openly discussed at “dire” VP summit orchestrated by Defendants Donahoe, Friend,

and O’Neill.
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       370.   Additional CWs’ accounts support that, throughout the Class Period, Defendants

were aware of various internal red flags that the CDA strategy was not working and thus was not

propelling the sustainable growth NIKE had promised investors.

       371.   All-Employee Engagement Surveys Beginning After 2020: CW-16—who

worked at NIKE from 1998 to April 2024, and most recently was Senior Product Manager, Virtual

Material Ecosystem (2022 – April 2024) and Senior Product Management, Virtual Product

Creation (2019 – 2022)—said that every year NIKE creates and disseminates an All-Employee

Engagement Survey (referred internally as an AES). According to CW-16, once responses are in,

they are sent to an independent outside reviewer, who returns comprehensive findings. Then,

there’s an employee review period of the findings. Before she left, CW-16 recalled seeing a great

deal of employee feedback. CW-16 recalled that in these surveys, employees spoke up about the

problems with the CDA strategy. According to CW-16, the survey consisted of multiple-choice

questions and a free text field where responders could provide more specific feedback.

       372.   CW-16 advised that Defendant Donahoe, Defendant Friend, Defendant O’Neill,

and Executive Vice President, Chief Human Resources Officer, Monique Matheson, were

amongst the senior leadership who reviewed the surveys, which then went to the Vice President

level for review, then her Senior Director, and then her managers who then reviewed the surveys

with the respondents, including CW-16. CW-16stated there was no way NIKE’s senior leadership

“did not know how everyone felt” regarding the CDA strategy because of the responses in the

AES.

       373.   According to CW-16, each spring the surveys were distributed, and were reviewed

with the responders in the summer. CW-16recalled that she began seeing negative feedback in




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the surveys on the CDA in the first survey following the first round of mass terminations which

took place in early/mid-2020.

        374.      Other Internal Evidence of CDA Failures by May 2021: For example, CW-15

(who was a technology operations manager and then technology operations director from May

2021 to May 2024) stated that when she joined the Company in May 2021, it was widely known

within NIKE that the DTC strategy was failing. CW-15 explained that in her role within NIKE’s

Technology umbrella, she had regular contact with employees in other groups at NIKE, including

colleagues who focused on NIKE’s DTC operations. Many of these colleagues focusing on DTC

operations were in direct contact with NIKE’s customers and suppliers. According to CW-15,

NIKE’s customers and suppliers told her colleagues that they hate NIKE’s DTC strategy and that

it was failing.

        375.      According to CW-15, concerns about the DTC strategy were repeatedly raised to

management. CW-15elaborated that these concerns about the DTC strategy were repeatedly raised

to management throughout her tenure, and that these concerns already existed when she joined

NIKE in May 2021, and the negative consequences of the DTC strategy were already apparent at

that time.

        376.      CW-15 detailed that during her tenure, her colleagues frequently told each other

that NIKE “had f***ed up the DTC strategy.” According to CW-15, this caused her colleagues to

scramble. CW-15 stated that she learned this information from colleagues who communicated

directly with customers and suppliers. CW-15 explained that the terms “customers” and

“suppliers” referred to third-parties working with NIKE, including wholesalers like Foot Locker

or Kohl’s, as well as manufacturers and material suppliers. According to CW-15, all of these

customers or suppliers voiced their concerns about DTC to CW-15’s colleagues at NIKE. CW-15

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noted that the colleagues who were directly exposed to DTC customers worked in different

divisions within NIKE.

       377.    Missed Revenue Targets and Inventory Liquidation Beginning in 2021: CW-6

(who worked as a Supply Chain Finance Director, North America NIKE Direct from February

2019 to June 2024) stated that NIKE’s DTC strategy was initially successful. However, CW-6

noted that the DTC strategy ultimately “did not work” beginning in 2021. CW-6 explained that

NIKE’s goal was to triple its digital business as part of its DTC strategy. However, CW-6 noted

that NIKE was “not even close” to hitting digital revenue targets from 2021 through June 2024.

CW-6 noted that NIKE “walked away” from certain capital investments between 2021 and June

2024. CW-6 added that NIKE was also liquidating inventory during this time.

       378.    All-Hands Video Calls Beginning in February 2022: According to CW-16,

Donahoe hosted and led quarterly all-hands video calls that any employee could attend, and CW-

16 attended these live video calls. CW-16 recalled that in February 2022 she first noticed

pushback in the chat function of these video calls. CW-16 recalled that this led the chat function

being disabled, but when it was reactivated, the pushback from NIKE employees increased a lot.

She recalled employees, in the chats while Donahoe was speaking, disagreeing with his narrative

that in order for DTC sales to pick up that employees needed to be back working at the office

instead of remotely, with employees stating that the problem with sales was not working remotely

but rather with the transition to fashion and fashion footwear, NIKE not relating to their market

any longer, the pivot away from brick-and-mortar sales, and the change in workflow and culture

under Donahoe. CW-16 further recalled that the pushback from employees was even stronger on

the final all-hands call she attended in 2024, including responses that “CDA was ineffective.”




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       379.    This CW account reveals that Defendants retaliated against employees who voiced

their dissent during these all-hands video calls through the chats. CW-16 noted that NIKE

employees who spoke up on the February 2022 call got in trouble with HR. CW-16 explained

that, after that first meeting when grievances were aired, at the next all-hands video call, the chat

feature was disabled. Per CW-16, at the next meeting after that, the chat feature was back, but the

chat was monitored by HR. She recalled this pushback grew stronger throughout her tenure and

lasted through the last all-hands quarterly meeting that she attended in early 2024.

       380.    CW-16 recalled that regular attendees at these all-hands meetings included

Defendant Donahoe; President NIKE Global Geographies and Marketplace, Craig Williams;

Defendant O’Neill; and Executive Vice President, Chief Human Resources Officer, Monique

Matheson. She also recalled that Defendants Friend and Campion sometimes, although

infrequently, attended.

       381.    Such CW accounts are corroborated by the news media’s investigative reporting.

For example, an October 3, 2024 episode of The Journal—a podcast by The Wall Street Journal—

titled “The Missteps That Led Nike Off Course,” also described one of these all-hands meetings.

Specifically, The Journal described a February 2024 all-hands call where “20,000 employees

logged onto the Zoom call as Donahoe spoke.” According to The Journal, “When Donahoe started

talking about accountability, saying that he and his team held themselves accountable for all the

mistakes that had happened at the company,” numerous employees began lodging complaints in

the chat function. These employees criticized Donahoe’s leadership and decisions as CEO. One

employee wrote, “Accountability: I do not think that word means what you think it means.”

Another employee wrote “I hope Phil Knight [i.e., NIKE’s founder] is watching this right now.”

As detailed by The Journal, it was “dozens of people writing comments like this in a very public

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chat that is monitored by human resources, so it was a very brave and risky thing to do”—it was

“an online protest against the CEO of the company that you’re employed by.” Confronted by the

details of the incident, Donahoe acknowledged its occurrence, telling The Journal’s interviewer

that Donahoe and “our leadership team understand[]” the concerns raised by employees, and that

such sentiments were unsurprising because NIKE was “going through a period of adjustment.”

       382.      Summer 2022 Missed Revenue Goals: CW-9 stated that she attended NIKE’s

annual sales meeting at its Oregon headquarters in July or August 2022. CW-9 detailed that

NIKE’s entire North America sales team attended this sales meeting, as well as Defendant

Donahoe and Defendant Friend. CW-9 recalled that Donahoe and Friend gave a presentation to

the sales team at this meeting where they delivered the message that NIKE was not hitting its total

revenue goals.

       383.      October 2022 “Budget Scrub”: CW-16 provided a screenshot of an October 4,

2022 email she received stating: “We are doing a massive budget scrub in order to address some

headwinds facing the company.” According to CW-16, a Senior Director had sent this email to

CW-16’s manager and her team although she could not recall to whom else it was sent, CW-16

knew that it was sent to many if not all departments besides hers. She further explained that the

directive in the email would have “come from above,” to a Vice President, then to her Senior

Director who in turn emailed CW-16’s manager and team. CW-16 explained that the reference to

a “budget scrub” meant that NIKE was analyzing its budget with the aim of cutting back. She

added the headwinds necessitating the budget scrub were related to CDA.

       384.      Summer 2023 Plans for Restructuring: In addition, CW-16 provided a screenshot

of a January 24, 2024 post on thelayoff.com, which stated: “they started planning this late last

summer when Bain [NIKE’s outside consultant] arrived. Initially target was to execute layoffs in

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Nov[ember] but they weren’t ready so pushed to Feb[ruary]. I’m close enough to be 99% certain

first big wave will happen between now and mid/late Feb[ruary].” According to CW-16, the job

cuts this post references were the cuts related to the $2 billion in cost cutting that CEO John

Donahoe announced in December 2023. She recalled that in summer 2023, NIKE started planning

a round of cuts for that fall, but those cuts were pushed back to early 2024.

       385.    March 2022-April 2023 Internal Struggles and Missed Revenue Targets: CW-

4 (who was a Senior Finance Manager, NIKE Direct Strategic Investments from March 2022 to

April 2023) recalled that throughout her tenure, she attended in-person monthly finance meetings

with leadership as part of the financial closure process. CW-4 explained that during these meetings,

the finance team went over financial results and forecasts and received permission from leadership

to place investments. CW-4 explained that she and her finance team discussed where the Company

was overspending and underspending during these meetings. CW-4 added that current Vice

President/CFO, NIKE Greater China Amanda Norwood attended these meetings and that

information from these meetings rolled up to the Vice President overseeing NIKE’s CDA strategy.

CW-4 recalled that throughout her tenure (i.e., March 2022-April 2023), conversations from

these meetings reflected that NIKE was struggling with executing its DTC strategy and that the

DTC strategy was not yielding projected results. She detailed that during these meetings

throughout her tenure, it was discussed that NIKE was not hitting its topline revenue projections.

       386.    According to CW-4, NIKE invested more money on operating expenses than

projected and anticipated during her tenure. CW-4 stated that NIKE still made investments during

her tenure as if it was hitting its topline revenue projections, which it was not. CW-4 explained

that NIKE’s year-to-date spending was off by “several million dollars” throughout her tenure.




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Therefore, CW-4 and her team were tasked with determining where to make cuts and what

investments the Company needed to make to yield different DTC results.

        387.    CW-4 recalled that during her tenure, digital sales did not grow as much as NIKE

had projected or enough to offset the decline in wholesale and brick and mortar sales.

        388.    CW-4 stated that she prepared financial reports, which were consolidated with other

reports, that were escalated to Digital Direct and NIKE Direct Vice Presidents. According to CW-

4, information from these reports was escalated to Defendant Donahoe. CW-4 stated that

Donahoe was part of strategic level conversations and that Donahoe was briefed on the Company’s

overall financial results prior to hosting quarterly investor relation calls.

                2.      Defendants Repeatedly Claim to Investors That the CDA Strategy Is
                        Succeeding and Achieving Key Objectives

        389.    Throughout the Class Period, Defendants repeatedly touted the success of the CDA

strategy to investors. Specifically, in addition to repeatedly claiming that the CDA strategy itself

was succeeding, they told investors that NIKE was achieving each of the key pillars needed for

the success of CDA strategy—when, as discussed above, based on numerous CW accounts and

other corroborating sources, the internal reality was vastly different.

        390.    CDA’s Success: Throughout the Class Period, Defendants repeatedly falsely touted

the success of the CDA strategy. For instance, in a September 23, 2021 press release, Defendant

Friend stated that NIKE’s “Q1 results illustrate how NIKE’s Consumer Direct Acceleration

strategy continues to fuel growth.” During an October 6, 2021 Annual General Meeting,

Defendant Donahoe similarly claimed, when referencing CDA, that “Nike’s strategy is working.”

On a June 29, 2023 earnings call, Defendant Donahoe still insisted that “[i]n the end, our CDA

strategy is working.” In reality, however, as discussed above, the CDA strategy was failing to



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drive sustainable growth for NIKE, as numerous internal red flags demonstrated since the start of

the Class Period.

       391.    DTC Supply Chain: Throughout the Class Period, Defendants repeatedly falsely

claimed that NIKE had successfully developed an effective DTC supply chain, which would help

drive the promised sustainable growth. For instance, on a March 18, 2021 earnings call, Defendant

Donahoe assured that NIKE had been able to “fairly impressively pivot to a more direct-to-

consumer supply chain.” Likewise, in a speech streamed live on YouTube on April 26, 2021,

Defendant Friend, when discussing NIKE’s “Consumer Direct strategy,” falsely touted that NIKE

was “leveraging data analytics [and] machine learning so that we can read patterns and

consumer behavior, we’re employing data analytics capabilities in our supply chain.” In a

September 23, 2021 earnings call, when discussing NIKE’s technological investments, Defendant

Friend misrepresented that NIKE had been “creating a digital-first supply chain in the

marketplace.” And in a May 16, 2022 article in Women’s Wear Daily, Defendant Campion

claimed that “we’ve got three to four times greater digital commerce distribution capability than

we had two years ago.” However, as described above by multiple former NIKE employees and

other sources, NIKE failed to develop an effective DTC supply chain, thereby impeding the CDA

strategy from the start—a problem that was repeatedly raised to NIKE management throughout

the Class Period.

       392.    Technological Capabilities and Organization: Throughout the Class Period,

Defendants also repeatedly and falsely touted NIKE’s technological capabilities necessary to

support NIKE’s CDA strategy and technology organization that would ensure these technological

capabilities were successfully developed and utilized. For instance, during NIKE’s Annual General

Meeting on October 6, 2021, Defendant Friend falsely assured investors that the “investments

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we’ve made against our end-to-end digital transformation are making us more agile, and we’re

building the capabilities that are required for NIKE to operate a digitally led omni-channel,

direct-to-consumer business at scale.” Similarly, on a June 29, 2023 earnings call, Defendant

Friend misleadingly highlighted that, as part of “accelerating direct consumer relationships across

our digital platforms,” NIKE had “partnered with Adobe to enable one-to-one member

personalization, driving gains in member retention, click-through rates and conversion

resulting in higher demand per member and returns on digital ad spend.” In a March 30, 2022

video posted on Facebook by Adobe Experience Cloud, Defendant Donahoe falsely touted NIKE’s

DTC technological capabilities that Adobe purportedly helped build as part of their partnership:

“The Adobe platform [] has played such an important role of delivering a more personalized

experience for our consumers.” In reality, as explained above by multiple CWs, Defendants knew

from regular meetings with CW-3 and other internal reporting that NIKE had built out neither the

technological capabilities nor organization needed for the CDA to succeed, including that NIKE’s

partnership with Adobe was failing to deliver promised technological capabilities.

       393.    Streamlined Corporate Reorganization: Throughout the Class Period,

Defendants also repeatedly and falsely claimed that NIKE had engaged in a successful corporate

reorganization to support the CDA strategy, including establishing new consumer constructs (from

sports to gender and age-based categorization) that would fuel further sustainable growth. For

instance, on an October 6, 2021 earnings call, Defendant O’Neill insisted that “[w]ith the CDA,

we successfully realigned our organization to further invest against our highest growth areas.”

Similarly, in an August 9, 2021 annual report, NIKE falsely assured investors that “[a]s part of

CDA, we successfully realigned our organization and began investing in our highest-growth

areas.” In Defendants’ October 6, 2022, Form 10-Q, Defendants falsely claimed NIKE had

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“aligned our product creation and category organizations around a new consumer construct

focused on Men’s, Women’s and Kids’.” As described above, however, CWs detailed that NIKE’s

corporate reorganization was a disaster from the start, and that NIKE reversed course as early as

summer 2022. Indeed, Defendants ultimately admitted at the end of the Class Period that NIKE’s

failed reorganization had forced it to return to its prior sports-focused categories once again,

entirely backtracking on this key CDA initiative.

       394.    Innovative Product Pipeline: Throughout the Class Period, Defendants repeatedly

and falsely represented that, after the launch of the CDA strategy, NIKE had maintained a robust

pipeline of innovative products while effectively managing the supply of its existing product

franchises. For instance, at an Annual General Meeting on October 6, 2021, Defendant Parker

claimed that after the launch of the CDA strategy, NIKE’s “pace of innovation has not slowed

down at all.” In a June 27, 2022 press release, Defendant Donahoe touted that NIKE’s “pipeline

of innovative product . . . prove[s] that our strategy is working.” And in a May 24, 2023 press

release, Defendant Donahoe still insisted to investors that NIKE’s “innovation pipeline is

unmatched, and our strategy is working.” As described above, however, the internal reality

directly contradicted Defendants’ claims. Indeed, Defendants later admitted and multiple CWs

recounted that NIKE had failed to maintain an innovative product pipeline beginning with the

CDA’s launch, and instead relied on flooding the market with classic franchises—providing NIKE

with a temporary boost that eventually ended in catastrophe.

       395.    Competitive Standing and Brand Distinction: Throughout the Class Period,

Defendants repeatedly falsely assured that NIKE had maintained its competitive separation and

brand distinction. For instance, on a June 24, 2021 earnings call, Defendant Donahoe falsely

claimed that NIKE’s “relentless pipeline of innovative product continues to create separation

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between us and our competition.” On a September 29, 2022 earnings call, Defendant Friend

insisted that “NIKE continues to lead as the number one cool and number one favored brand in

North America.” In a May 24, 2023 press release, Defendant Donahoe represented that NIKE’s

“brand momentum is strong,” while touting the CDA strategy. As described above by multiple

CWs, however, NIKE’s brand equity and competitive standing declined during the Class Period

as NIKE began losing market share to more innovative competitors in 2021 and was no longer the

number one “cool” brand by May 2022.

       396.   Successful Channel Mix Between Wholesale and DTC: Throughout the Class

Period, Defendants falsely claimed that NIKE had effectively shifted a significant amount of its

business away from its wholesale partners to its mono-brand channels while successfully meeting

consumer demand. For instance, during a September 12, 2023 Annual General Meeting, in

response to a question regarding whether NIKE was reengaging with wholesale partners,

Defendant Donahoe reassured that “our marketplace strategy remains the same.” However,

multiple CWs recount that as early as fall 2021, NIKE had become dependent on selling through

its muti-brand partners to rescue the Company from its faltering CDA strategy, and that NIKE’s

mono-brand stores were similarly failing by early 2022. Indeed, NIKE later confirmed that it had

failed to effectively respond to consumer demand for multi-brand shopping and that the Company

needed to once again rely on wholesale partners to drive NIKE’s growth.

              3.      The Truth About the Failure of the CDA Strategy Gradually Comes
                      to Light, While Defendants Continue to Mislead Investors

       397.   Investors gradually learned the truth about the failures of the CDA strategy in a

series of disclosures from December 21, 2023 through October 1, 2024. At the same time,

Defendants continued to mislead investors and downplay these failures.



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       398.    December 21, 2023—First Partial Disclosure of the Truth / Materialization of

the Risk: Investors began to learn the truth about the CDA’s failures on December 21, 2023, when

NIKE announced disappointing financial results for the second quarter of FY 2024. NIKE

disclosed quarterly revenue of $13.39 billion, which was $40 million below the consensus estimate

of $13.43 billion. NIKE also disclosed that its Direct revenue was $5.7 billion, below the consensus

estimate of $5.88 billion. These disappointing financial results began to show investors that the

CDA strategy was failing to deliver the sustainable growth Defendants had claimed.

       399.    Importantly, NIKE further lowered its financial guidance for FY 2024, further

revealing to investors that the CDA strategy’s failures would have ongoing consequences for

NIKE. Specifically, on NIKE’s December 21, 2023 earnings call, Defendant Friend stated that

NIKE “expect[ed] Q3 reported revenue to be slightly negative as we again compare to double-

digit growth in the prior year, and Q4 reported revenue to be up low-single digits, with full-year

reported revenue now growing approximately 1%.” This contrasted with NIKE’s prior financial

guidance announced on the Company’s September 28, 2023 earnings call, where Defendant Friend

stated that the Company expected “reported revenue to grow mid-single digits.” During the

earnings call, Defendant Friend cited several factors to explain the lowered guidance, including

“adjusted digital growth plans based on recent digital traffic softness . . . higher marketplace

promotions [and] lifecycle management of key product franchises.” Thus, NIKE revealed that it

was anticipating slower growth in its digital channels because of low customer traffic on those

platforms (NIKE’s website, mobile apps, and the like) and the increased necessity to discount and

reduce the supply of key products to account for lagging demand.

       400.    During this earnings call, Defendant Friend also disclosed that NIKE was

“identifying opportunities across the company to deliver up to $2 billion in cumulative cost savings

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over the next three years, both up and down our P&L and across our value chain.” Defendant

Friend explained that this reorganization was necessary because the CDA strategy had added

“complexity and inefficiency” to NIKE. In the same call, Defendant Donahoe also disclosed that

Defendants knew NIKE “must be faster, increasing the pace of innovation, increasing the pace

of market-to-consumer and increasing our agility and responsiveness.” These disclosures

partially demonstrated to investors not only that the CDA’s reorganization was failing, but that

NIKE had been failing to invest in innovation.

       401.    On this news, the price of NIKE Stock declined $14.49 per share, or nearly 12%,

from a close of $122.53 per share on December 21, 2023, to close at $108.04 per share on

December 22, 2023.

       402.    Investors and analysts were surprised and disappointed by these revelations, which

for the first time partially revealed that the CDA strategy was failing in key respects, including

innovation, and thus was not driving the promised financial growth. For instance, in a December

22, 2023 report, Raymond James wrote that NIKE’s “weaker outlook is disappointing.” In a

December 22, 2023 report, Morgan Stanley noted that “the magnitude of [NIKE’s] cut surprised

to the downside.” And in a December 22, 2023 report, UBS highlighted that “Nike announced an

uncharacteristic plan to reduce costs by $2B over 3 years. . . . Nike will use some cost saves to

accelerate innovation and improve speed. This is surprising since these have been objectives for

the last 5+ years. We assumed Nike made more progress in these areas.”

       403.    Defendants, however, simultaneously downplayed the problems plaguing the CDA

strategy to reassure investors. For instance, on this same earnings call, Defendant Donahoe falsely

conveyed that NIKE’s latest reorganization efforts had been effective:

       [S]ix months ago, we realigned our entire organization under Heidi O’Neill and
       Craig Williams as our Co-Presidents, and it is making a huge difference in our
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          focus and ability to execute. And as you know, we’re single-mindedly focused on
          aligning our entire team to drive what NIKE does best: innovative product,
          combined with distinctive storytelling, combined with unique marketplace
          experiences. And as Matt just said, we have a real focus, Heidi, Craig and teams, a
          real focus on newness and driving our next product innovation cycle, which will
          elevate our entire portfolio, right.

          404.   March 21, 2024—Second Partial Disclosure of the Truth / Materialization of

the Risk: The truth about CDA’s failures were further partially revealed on March 21, 2024, when

NIKE announced a second consecutive quarter of disappointing financial results (this time, for Q3

2024) and lowered its gross margin guidance (for FY 2024). On NIKE’s March 21, 2024 earnings

call discussing these results, Defendant Friend attributed NIKE’s lowered guidance to several

factors, including “higher markdowns [and] reduced benefits from channel mix due to franchise

lifecycle management.” This disclosure showed that, instead of maintaining an innovative product

pipeline, NIKE had flooded the market with its classic “franchises” (i.e., products), forcing NIKE

to “manage” (i.e., reduce) the supply of these franchises in the market because supply of these

products had far outpaced demand. On the same earnings call, NIKE also announced that it

expected “revenue in the first half of the fiscal year [FY 2025] to be down low single digits.”

Defendant Donahoe attributed also this lowered guidance to “near-term headwinds from lifecycle

management of our key product franchises.” Thus, Defendants revealed on this call that NIKE had

misaligned the supply of these franchises so poorly during the Class Period that NIKE’s remedial

measures to limit the supply of these products would now cause NIKE’s margins and revenues to

suffer.

          405.   On the same call, Defendant Donahoe admitted the CDA strategy was failing in

four crucial areas—i.e., i) the shift from sports to other consumer categorization, ii) innovation,

iii) brand equity, and iv) the pivot away from wholesale partners. Specifically, he stated:

          While our Consumer Direct Acceleration Strategy has driven growth and direct
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       connections with consumers, it’s been clear that we need to make some important
       adjustments. Simply put, we need to make adjustments in four areas. We need to
       sharpen our focus on sport, we must drive a continuous flow of new product
       innovation, our brand marketing must become bolder and more distinctive. And
       while NIKE Direct will continue to play a critical role, we must lead in with our
       wholesale partners to elevate our brand and grow the total marketplace.

       406.    Defendant Donahoe further disclosed that NIKE had “started nine months ago,

important adjustments in our offense,” including “putting the consumer and sport squarely back

into our offense.” In other words, Donahoe partially revealed that NIKE’s CDA reorganization, in

particular around the consumer constructs of Men’s Women’s and Kids’, had failed, forcing the

company to revert to organizing around sport-based categories as it did before the CDA strategy.

Defendant Donahoe also admitted that NIKE had been “missing some product newness at scale in

our portfolio over the last several seasons,” which partially revealed to investors that NIKE had

failed to maintain an innovative product pipeline for some time.

       407.    On this news, the price of NIKE Stock declined $6.96 per share, or nearly 7%, from

a close of $100.82 per share on March 21, 2024, to close at $93.86 per share on March 22, 2024.

       408.    Analysts were also similarly surprised by NIKE’s additional revelations about the

CDA strategy’s failures. For example, on March 22, 2024, Telsey Advisory Group wrote that

“Nike admitted it had been too focused on hitting its DTC and digital sales targets vs. serving

consumer demand.” And in a March 21, 2024 report, Piper Sandler noted that NIKE’s “Product

lifestyle management will pressure near-term sales as [NIKE] refocuses on product innovation and

reinvesting in wholesale.” In a March 21, 2024 report, Wells Fargo Equity Research stated that

NIKE’s “franchise management will clearly be more of a headwind to the DTC/digital channel,”

because there was more excess of legacy franchise in NIKE’s digital channels.

       409.    However, despite these partial revelations, Defendants continued to minimize these

issues with the CDA strategy and continued to reassure investors that the CDA strategy was still
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performing well in several key areas. For example, while acknowledging that NIKE needed to

make certain “adjustments” to the CDA strategy, Defendant Donahoe continued to tout its success,

falsely claiming that “[o]ur Consumer Direct Acceleration strategy has driven growth and direct

connections with consumers.” Defendant Donahoe also claimed that, with respect to innovation,

NIKE was “making significant progress . . . building a multiyear cycle of innovation that’s bringing

freshness and newness to consumers.” On the same earnings call, Defendant Donahoe claimed that

the Company was “back on our front foot with growing confidence in our innovation pipeline,”

and “our innovation engine is moving with speed.”

       410.    June 27, 2024—Third Partial Disclosure of the Truth / Materialization of the

Risk: The truth behind the CDA strategy’s failure was further partially revealed on June 27, 2024,

when NIKE announced a third consecutive quarter of disappointing financial results, along with

poor results for FY 2024. For example, NIKE announced revenue for the fourth quarter of $12.61

billion, which missed consensus estimates by $250 million. NIKE also significantly reduced its

guidance for FY 2025, with Defendant Friend stating that “we now expect fiscal 2025 reported

revenue to be down mid-single digits, with the first half down high single digits.”

       411.    In discussing this lowered guidance on NIKE’s June 27, 2024 earnings call,

Defendant Friend explained that NIKE had lowered its guidance due to factors such as “timelines

and pacing to manage marketplace supply of our classic footwear franchises,” and “lower NIKE

Digital growth . . . as we scale product innovation and newness across the marketplace.” Thus,

NIKE revealed that its “franchise management” plan—i.e., its plan to intentionally pull its classic

products off the market—was inflicting even greater pain on NIKE’s revenue outlook than was

previously disclosed, particularly when combined with the fact that NIKE lacked “newness” (i.e.,

innovative products) to fill the gap.

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       412.    Defendant Donahoe also disclosed that NIKE was “completely aligned across the

organization around sport [categories],” which NIKE called “field[s] to play.” This was the first

time that Defendants acknowledged that the failure of NIKE’s reorganization pursuant to the CDA

strategy had forced NIKE to once again formally institute sport-based categories like NIKE had

used prior to the CDA launch.

       413.    On the same earnings call, Defendant Donahoe also told investors that NIKE had

“spent a lot of time leaning in with our wholesale partners.” This disclosure indicated that

consumer demand for multi-brand shopping made NIKE dependent on its wholesale partners, thus

acknowledging that a central component of the CDA strategy (the shift away from wholesale

partners) had failed. Further, Defendant Friend admitted that such issues had begun to adversely

affect NIKE’s competitive position due to the misguided CDA initiatives. Specifically, Defendant

Friend stated: “Although the next few quarters will be challenging, we are confident that we are

repositioning NIKE to be more competitive, with a more balanced portfolio to drive sustainable,

profitable, long-term growth.”

       414.    On this news, the price of NIKE Stock plunged $18.82 per share, or nearly 20%,

from a close of $94.19 per share June 27, 2024, to close at $75.37 per share on June 28, 2024. This

was the largest stock price drop in NIKE’s history,

       415.    Likewise, analysts were shocked by these revelations. For instance, in a June 28,

2024 report, Bernstein Societe Generale Group wrote that a “guidance cut was expected, but the

magnitude of it . . . was startling.” Similarly, in a June 28, 2024 report, Bank of America

highlighted that NIKE’s “guidance reset was larger than expected as it expedites the reduction

in lifestyle franchises in its DTC channel.”




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        416.    However, despite these revelations, Defendants continued to downplay these CDA

strategy problems and their impact on NIKE’s growth prospects. For example, Defendant Donahoe

assured investors he was “confident that our teams are lining up our competitive advantages to

create greater impact for our business.” Defendant Friend claimed that NIKE’s “scaling of newness

is on track” and that, “as we accelerate our pace of newness and innovation, the early response

from consumers and partners are reinforcing our optimism in NIKE’s path forward.”

        417.    October 1, 2024—Final Disclosure of the Truth / Materialization of the Risk:

The full extent and financial impact of Defendants’ fraud was finally revealed on October 1, 2024,

when NIKE announced its financial results for the first quarter of 2025, which again disappointed

the market. For example, NIKE announced that its first quarter revenue was $11.6 billion, below

consensus estimates of $11.64 billion. Notably, on the October 1, 2024 earnings call discussing

these results, Defendant Friend disclosed that NIKE was “withdrawing our full year guidance.”

This disclosure indicated that the CDA strategy had failed to the point where NIKE could no longer

reliably project its financial outlook.

        418.    The guidance that Defendants could provide conveyed the stark state of NIKE due

to the CDA strategy’s failures. Defendant Friend, for example, told investors that “Q2 revenues

[were expected] to be down in the 8% to 10% range” and “Q2 gross margins [were expected] to

be down approximately 150 basis points” because of “higher promotions [and] channel mix

headwinds.” Defendant Friend also disclosed that the Company’s “franchise management” plan—

which was required because of NIKE’s previous oversaturation of the market with key classic

products—was even more destructive to NIKE’s revenues than previously disclosed. For example,

Friend highlighted that NIKE’s actions limiting supply of these products caused NIKE to plan for

“double digit” declines in NIKE’s Men’s and Women’s Lifestyle business and Jordan brand.

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        419.   On the October 1, 2024 earnings call, Defendant Friend also admitted that NIKE

had seen “particular softness in traffic on NIKE Digital” and that the Company had “been closely

engaging with our partners since we acknowledged some of the missteps related to over-

centering on Direct.” This disclosure further revealed that NIKE’s CDA strategy had failed to

account for consumer demand for multi-brand shopping.

        420.   Finally, Defendant Friend also acknowledged that NIKE had lost brand strength

and its competitive edge. Specifically, he stated that “the multi-brand environment is very

competitive today, and it will take time to expand market share,” and that NIKE had

“acknowledged that we’ve lost market share in the running specialty channel. More than four

years ago, we pulled back on our engagement with that channel. And as a result of that, we saw

market share losses.”

        421.   On this news, the price of NIKE Stock declined $6.03 per share, or nearly 6.8%,

from a close of $89.13 per share on October 1, 2024, to close at $83.10 per share on October 2,

2024.

        422.   Analysts were also shocked by these disclosures, which revealed the full extent of

the CDA strategy’s failures and its dire impact on NIKE’s business, including NIKE’s loss of

market share to rising competitors. For example, on October 2, 2024, Jeffries wrote that “promos

are rising, new product will take time to resonate, if it does at all, and in the meantime competition

is proving to be more severe.” On October 2, 2024, analysts at Truist similarly concluded that

“[w]ith another miss vs depressed expectations, Nike’s visibility into its own business appears

lower than we previously anticipated.”




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               4.     Defendant Donahoe Suspiciously Departs, and His Replacement Elliot
                      Hill Admits CDA Failures

        423.   On September 19, 2024—between the third and fourth disclosures of the truth and

a mere two weeks before the end of the Class Period, NIKE’s Board of Directors announced that

Defendant Donahoe would depart as NIKE’s CEO. At the same time, NIKE’s Board announced

that long-time NIKE veteran Elliott Hill would return and replace Defendant Donahoe and become

President and CEO of NIKE effective October 13, 2024. Hill had previously worked at NIKE for

over three decades, and had retired in 2020 from the position of President - Consumer and

Marketplace, wherein he led all commercial and marketing operations for NIKE and Jordan Brand.

        424.   Donahoe’s departure and Hill’s appointment was a tacit admission that the CDA

strategy had failed, as Hill planned to reverse course on key initiatives of the CDA strategy. For

example, in NIKE’s September 19, 2024 press release announcing Donahoe’s departure, NIKE

highlighted that Hill’s     goals   included “delivering bold,       innovative products” and

“reconnect[ing]” with “trusted partners”—i.e., the wholesale partners that NIKE had abandoned

as part of its DTC shift under the CDA strategy. Similarly, a September 20, 2024 article on Inc.com

quoted Thomas Hayes, equity manager at Great Hill Capital that: “Hill is going to work on

repairing some of Nike’s relationships with wholesale customers since Nike has dropped some

customers over the years and pulled back some product that has created some ill will (among

retailers).”

        425.   On NIKE’s December 19, 2024 earnings call—the first since Hill took over as

CEO—Hill discussed NIKE’s CDA failures. As described supra, Hill stated that “one of the first

leadership moves I made” was to realign reporting lines so that NIKE’s Chief Supply Chain

officer was “reporting directly to me”—thus, tacitly acknowledging the prior DTC supply chain

problems. Hill elaborated further that a new focus on improving NIKE’s supply chain “will help
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set us up for long-term sustainable and profitable growth” and that “it will certainly be a focus as

we move forward as an opportunity for margin expansion.” Hill also admitted the failure of NIKE’s

pivot away from a consumer construct based on sports-categories, stating that NIKE was reversing

course: “We lost our obsession with sport. Moving forward, we will lead with sport.” Hill also

admitted that NIKE had cut off innovation and instead relied on flooding the market with key

classic products, which Hill planned to reverse: “a reliance on a handful of sportswear silhouettes

is not who we are. We will get back to leveraging deep athlete insights to accelerate innovation,

design, product creation and storytelling.”

       426.    On this same call, Hill also acknowledged that “[p]rioritizing NIKE Digital

revenue has impacted the health of our marketplaces. We will build back an integrated

marketplace.” In other words, Hill admitted that the CDA strategy failed to respond to consumer

demand for multi-brand shopping, and NIKE thus was reversing course. To do so, according to

Hill, NIKE needed to “prioritize is building back and earning the trust of our key wholesale

partners,” as “[s]ome partners and channels feel we've turned our back on them and we stopped

engaging consistently. I've connected with many of them directly.”

V.     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND OMISSIONS

       427.    The allegations in this Section should be read in conjunction with Section IV, which

provides additional context and explanations relevant to these allegations.

       428.    Lead Plaintiffs allege that the statements highlighted in bold and italics within this

Section were materially false, materially misleading, and/or omitted to disclose material

information.40 The terms “misleading” and “misrepresentation” refer to statements that are false




40
   In other Sections of this pleading, language is also bolded and italicized for emphasis, not merely
to identify specific statements that are materially false or misleading.
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or misleading, including due to omission of information necessary to render the statements not

misleading.

       429.    Each statement and all conduct in this Section by, or attributed to, Defendants

Donahoe, Friend, Parker, O’Neill, or Campion are attributable to NIKE as well, because each such

statement or conduct was made or performed by the relevant Individual Defendant in their capacity

as a representative of NIKE and because each such statement or conduct can be properly deemed

a statement by NIKE or conduct by NIKE.

       430.    During the Class Period, Defendants repeatedly, falsely touted to investors the

purported success of NIKE’s CDA strategy, including the success of its various key components

(such as the Company’s DTC supply chain, technological capabilities, and innovative product

pipeline) that were essential for the CDA strategy to achieve the promised long-term financial

growth, as detailed below. In reality, however, Defendants concealed from investors the following,

severe problems in each of these key components of the CDA strategy that existed at the time of

the misstatements and thus undermined the Company’s ability to successfully execute that strategy

and achieve that financial growth, as was revealed to investors at the end of the Class Period on

the four alleged disclosures of the truth.

       431.    DTC Supply Chain: Several of the misstatements discussed below touted NIKE’s

success in developing an effective DTC supply chain. These representations were material to

investors’ assessment of the CDA strategy because, as described in Section IV.A.4.a., the CDA

strategy’s success hinged on NIKE developing an effective DTC supply chain as, without one,

NIKE could not successfully distribute merchandise to meet consumer demand. As discussed in

Section IV.B.1.a., however, during the Class Period, NIKE failed to develop an effective DTC

supply chain, thereby impeding the CDA strategy from the start. NIKE did not have sufficient

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capabilities to manage its supply chain as it emphasized pivoting towards DTC operations, and did

not sufficiently invest in supply chain management. For example, multiple, well-placed CWs and

other allegations, including Defendants’ own later admissions, set forth that these severe supply

chain problems: predated the Class Period; persisted throughout the Class Period; were repeatedly

raised to NIKE’s senior management, including the Individual Defendants, throughout the Class

Period; and contributed to NIKE reducing its targeted openings of NIKE Live Stores by no later

than July 2022.

       432.    Technological Capabilities and Organization: Several of the misstatements

discussed below claimed that NIKE had developed the technological capabilities necessary to

support NIKE’s CDA strategy and/or had a technology organization that would ensure these

technological capabilities were successfully developed and deployed. These representations were

material to investors assessment of the CDA strategy because, as described in Section IV.A.4.b.,

the CDA strategy depended on NIKE building out and unifying its DTC technological capabilities

and organization. As discussion in Section IV.B.1.b., however, during the Class Period, NIKE had

failed to successfully build out these technological capabilities and organization, which were

critical for the CDA strategy to succeed. For example, based on the accounts of numerous

corroboratory CWs and other sources, including Defendants’ own later admissions: (i) by the start

of the Class Period, NIKE had experienced an exodus of technology talent, hindering its ability to

support the CDA strategy; (ii) at the start of the Class Period, the Company’s technology necessary

to support the CDA strategy, including marketing personalization technology, was antiquated, and

this remained the case throughout the Class Period; (iii) NIKE’s corporate reorganization, pursuant

to the CDA strategy, forced the Company to engage in complex and time-consuming projects,

leading to delays of other technology projects critical to the CDA strategy’s success; (iv) NIKE’s

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expensive partnership with Adobe to build critical DTC marketing and other technology was

known to be a failure as soon as it began in 2021, as Adobe merely duplicated certain technological

capabilities (e.g., A/B testing) and failed to build out others (e.g., marketing personalization); (v)

by January or February 2022 at the latest, Defendant Donahoe and other Individual Defendants

had begun holding regular meetings with key technology personnel to discuss the severe and

persistent problems with the DTC technological capabilities and organization necessary for the

CDA strategy to succeed; and (vi) former Chief Digital Information Officer Ratnakar Lavu

engaged in corruption and created a “shadow” technology group that duplicated and refused to

work with preexisting NIKE teams, which substantially undermined the technology organization’s

efforts to develop the essential DTC technological capabilities, and by the end of 2021, Defendants

knew that these problems were inhibiting the success of the CDA strategy, eventually leading to

Lavu’s suspicious departure in February 2023.

       433.    Streamlined Corporate Reorganization: Several of the misstatements described

below touted the success of NIKE’s corporate reorganization, pursuant to the CDA strategy, which

included refocusing NIKE’s business along gender- and age-based consumer constructs instead of

sport-based categories. These representations were material to investors assessment of the CDA

strategy because, as described in Section IV.A.4.c., the CDA strategy depended on NIKE

successfully establishing a streamlined organizational structure, including by successfully

reorganizing its business around gender-and-age consumer constructs. As discussed in Section

IV.B.1.c., however, this reorganization also was a disaster, thus further undermining the success

of the CDA strategy. For example, based on the accounts of numerous CWs and other sources,

including Defendants’ own subsequent admissions: (i) within six months of NIKE launching its

reorganization in summer 2020, the Company lost substantial expertise and experience in sports

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categories due to layoffs, which further jeopardized the success of the CDA strategy; (ii) by no

later than summer 2022, NIKE began implementing a reversion to its pre-CDA sport-based

categorization model to address concerns with the Company’s lagging performance under the

gender and age-based model; (iii) and Defendants admitted that, by June 2023, the failure of

NIKE’s initial reorganization, pursuant to the CDA strategy, had forced the Company to formally

backtrack to the sport-based categories once again.

       434.    Innovative Product Pipeline: Several of the misstatements discussed below touted

NIKE’s innovative product pipeline. These representations were material to investors’ assessment

of the CDA strategy because, as described in Section IV.A.4.d., maintaining an innovative product

pipeline to meet consumer demand was a foundational requirement of the CDA strategy. As

discussed in Section IV.B.1.d., however, during the Class Period, NIKE failed to maintain its

innovative product pipeline and instead relied on unsustainably flooding with the market with its

classic franchises. For example, according to the allegations of former NIKE employees and the

Company’s own admissions: (i) NIKE’s “lack of innovation” “originated” with the CDA strategy’s

reorganization in 2020; (ii) by early 2021, NIKE began unsustainably flooding the market with its

key classic products (which was a “dirty secret” internally at NIKE); (iii) by 2022, it was apparent

internally that NIKE’s reorganization had impeded its ability to produce innovative products;

(iv) by July 2022, product pipeline problems contributed to NIKE reducing its targeted openings

of NIKE Live Stores; (v) by early 2023, NIKE had begun “rebuilding” its innovation pipeline, as

rising new competitors with more innovative products eroded NIKE’s market share.

       435.    Competitive Standing and Brand Distinction: Several of the misstatements

described below claimed that NIKE had maintained or enhanced its brand equity and/or

competitive standing. These representations were material to investors’ assessment of the CDA

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strategy because, as described in Section IV.A.4.e., the CDA strategy required NIKE to maintain

its competitive separation and brand distinction. As discussed in Section IV.B.1.e., however,

during the Class Period, NIKE’s brand equity and competitive standing declined, thereby

inhibiting the success of the CDA strategy. For example, based on the accounts of numerous CWs

and other sources, including Defendants’ own later admissions: (i) by no later than summer 2021,

NIKE had begun losing customer accounts and market share to growing new competitors such as

On, Hoka, Sketchers, Adidas, and New Balance, at which point NIKE began exploring expanding

credit lines for customers in an effort to build back the Company’s running shoe business; and

(ii) by May 2022, NIKE’s critical “cool” marketing metric showed that NIKE was no longer the

number one cool brand in North America and that NIKE was losing ground to its competitors,

such as Adidas and Lululemon, according to this metric.

       436.   Successful Channel Mix Between Wholesale and DTC: Several of the

misstatements described below claimed that NIKE had effectively shifted a significant amount of

its business away from its wholesale partners to its mono-brand channels, while successfully

meeting consumer demand. These representations were material to investors’ assessment of the

CDA strategy because, as described in Section IV.A.4.f., the CDA strategy depended on NIKE

effectively responding to consumer demand for multi-brand vs. mono-brand shopping. As

discussed in Section IV.B.1.f., however, during the Class Period, NIKE failed to effectively

respond to consumer demand for multi-brand shopping, thereby further undermining the success

of the CDA strategy. For example, according to multiple CWs and other sources, including

Defendants’ own admissions: (i) by early 2021, the sell-through rates for new DTC products

reflected that the DTC strategy was faltering, and a former NIKE Vice President for Global

Marketplace Integration voiced concerns regarding the sustainability of NIKE’s marketplace

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strategy because wholesale partners were an “anchor” of NIKE’s business; (ii) by the fall of 2021,

NIKE was dependent on multi-brand retailers to rescue it from its failing CDA strategy; and

(iii) NIKE’s mono-brand stores were performing poorly by no later than early 2022, thus also

imperiling the success of the CDA strategy.

       437.    CDA’s Overall Success: Several of the misstatements below claimed that NIKE’s

CDA strategy was succeeding. These statements conveyed to investors that NIKE was successfully

building out or maintaining certain key aspects of its business that were critical components of the

CDA strategy, including: (i) developing an effective DTC supply chain; (ii) enhancing NIKE’s

DTC technological capabilities and establishing an effective technology organization to support

those capabilities; (iii) engaging in a corporate reorganization to focus on DTC initiatives,

including the creation of new consumer constructs and unifying NIKE’s technological capabilities;

(iv) maintaining a robust pipeline of innovative products while effectively managing supply of

NIKE’s key products; (v) maintaining its competitive separation and brand strength; and

(vi) effectively adapting to consumer demand patterns regarding shopping at mono-brand and

multi-brand retail stores. As described immediately above, however, per numerous corroboratory

sources, including 19 CWs, NIKE was failing to achieve each of these critical components of the

CDA strategy, thus ensuring the demise of the CDA strategy.

       438.    In addition, these statements conveyed that NIKE’s CDA strategy was succeeding

overall, which, as described in Section IV.B.2., investors understood to mean that the CDA

strategy was propelling long-term sustainable growth for NIKE. As discussed in Section IV.B.1.g.,

however, NIKE’s initial DTC growth during the Class Period was not driven by any purported

success of the CDA strategy, but instead by temporary, unrelated factors, and the CDA strategy

was doomed to fail given the numerous severe problems in its critical components, like the DTC

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supply chain and technology. For example, (i) the initial growth of NIKE’s DTC channels during

the Class Period was driven by the COVID-19 pandemic, which began just before the launch of

the CDA strategy and drove consumers to online shopping temporarily, NIKE’s pre-CDA pipeline

of products, and NIKE’s oversaturation of the market with key classic products; and (ii) a legion

of internal warning signs showed Defendants throughout the Class Period that the CDA strategy

was failing and that NIKE’s initial financial growth was unsustainable long-term.

         A.     March 18, 2021 — FY 2021 Q3 Earnings Announcement

         439.   On March 18, 2021, NIKE issued a Press Release titled “NIKE, Inc. Reports Fiscal

2021 Third Quarter Results,” in which Defendant Donahoe stated, in reference to NIKE’s CDA

strategy:

         NIKE continues to deeply connect with consumers all over the world driven by our
         strong competitive advantages . . . . Our strategy is working, as we accelerate
         innovation and create the seamless, premium marketplace of the future. I’ve never
         been more confident in our leadership and teams to operate with agility in a
         dynamic environment.

         440.   Defendants’ statement that the CDA strategy was “working” conveyed that NIKE

was succeeding in each of the key aspects of the CDA strategy and that the CDA strategy was

propelling long-term sustainable growth, which was materially misleading for the reasons stated

in paragraph 437. Further, Defendants’ representation that NIKE was presently “accelerat[ing]

innovation,” conveyed that NIKE was not just maintaining, but was actually accelerating its

innovative product pipeline, which was materially misleading for the reasons stated in paragraph

434.

         441.   On March 18, 2021, during NIKE’s FY 2021 Q3 earnings call (“March 18, 2021

Earnings Call”), Defendant Donahoe falsely claimed, in response to an Evercore ISI Analyst’s

question about NIKE’s CDA strategy, that:


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       The second area that plays an important role is – one part of the consumer
       experience was getting the right product in the right place at the right time, and so
       this is where our Celect acquisition has allowed us to fairly impressively pivot to a
       more direct-to-consumer supply chain. And I again give our supply chain team
       enormous credit for what they’ve done over the last year as we’ve pivoted toward
       digital. But what that's all about is knowing what inventory do have resident in
       local, regional warehouses so that you can get it delivered more rapidly and often
       through ground transportation.

       442.    This statement conveyed that NIKE had already developed the “direct-to-consumer

supply chain” capabilities it needed for the CDA to succeed, which was materially misleading for

the reasons stated in paragraphs 431.

       443.    During NIKE’s March 18, 2021 Earnings Call Defendant Donahoe stated:

       As always, our brand is propelled by our unmatched innovation investment and
       pipeline. Innovation is at our core, reflecting not just our foundational values, but
       the values we share with consumers. We don’t just innovate for the elite athlete, we
       use innovation and design to solve problems for all consumers, no matter their sport
       or style of play, and we consistently bring fresh, new product to market supported
       by compelling storytelling that helps drive consumer demand.

       444.    This statement conveyed that NIKE had maintained an innovative product pipeline,

which was materially misleading for the reasons stated paragraph 434.

       445.    Analysts were reassured by Defendants’ misstatements concerning NIKE’s

innovative product pipeline. For example, on March 18, 2021, Guggenheim issued an analyst

report assigning NIKE Stock a “Buy” rating and highlighting that NIKE’s “new product

innovation remains robust.” On March 19, 2021, UBS published an analyst report assigning

NIKE Stock a “Buy” rating and stating that “Nike’s investments in product innovation, supply

chain speed and digital are unlocking what is likely a multi-year period of above average growth.”

Analysts were encouraged by Defendants’ misstatements regarding NIKE’s innovative product

pipeline. For instance, in a March 19, 2021 report, Evercore ISI stated that NIKE’s “[s]trong

product pipeline,” was a key factor in its “investment thesis” underpinning its “Outperform,”


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rating of NIKE. Analysts’ positive reactions also confirm that the market was materially misled

by Defendants’ misstatement concerning NIKE’s DTC supply chain. For example, on March 19,

2021, UBS published an analyst report assigning NIKE Stock a “Buy” rating and stating that

“Nike’s investments in product innovation, supply chain speed and digital are unlocking what is

likely a multi-year period of above average growth.”

       B.     April 26, 2021 — UC Berkeley Speech

       446.   On April 26, 2021, The University of California, Berkeley’s Hass School of

Business posted a video on YouTube in which Defendant Friend is depicted making the following

statements as part of the Haas “Dean’s Speaker Series,” where he falsely touted NIKE’s strong

innovation pipeline, technological capabilities, and DTC supply chain:

       [P]roduct innovation and product and storytelling is what makes NIKE special. We
       could have the best mobile app. We could have the best digital commerce
       relationship. But if we didn’t have great products that consumers wanted, it
       wouldn’t matter, right? And so, because we’re not just building a platform to sell
       multiple products, we’re building a tighter and more intentional relationship with
       consumers. And so, what we’ve done through the pandemic and even beyond—
       what I’ve been focused on in my role—is ensuring that we’re investing maniacally
       behind product innovation, sustainability, and then ultimately creating these
       digital, a digital, platform that enables us to have those one-to-one connections with
       consumers at scale. Personalization, leveraging data analytics, um, machine
       learning so that we can read patterns and consumer behavior, we’re employing
       data and analytics capabilities in our supply chain, so we know how to more
       smartly flow our product, where to put our product, um, the net benefit of that is
       higher margins because we have less waste, less mark-downs, less inefficiency,
       and where product sits around the world.

       447.   Defendants’ statement that NIKE was presently “investing maniacally behind

product innovation” conveyed that NIKE had maintained an innovative product pipeline, which

was materially misleading for the reasons stated in paragraph 434. Defendants’ statement that

NIKE was effectively using DTC technology such as consumer “[p]ersonalization” conveyed that

NIKE had successfully built out the technological capabilities and organization needed for the


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CDA strategy to succeed because personalized marketing technology was a key DTC

technological capability necessary to the success of the CDA strategy, which was materially

misleading for the reasons stated in paragraph 432. Defendants’ statement touting NIKE’s “data

and analytics capabilities in our supply chain” conveyed that NIKE had successfully developed an

effective DTC supply chain permitting NIKE to “know how to more smartly flow our product,

where to put our product . . . and where the product sits around the world,” which was materially

misleading for the reasons stated in paragraph 431.

       C.      June 24, 2021 — FY 2021 Q4 Earnings Announcement

       448.    On June 24, 2021, NIKE issued a press release entitled: “Q4 NIKE, Reports Fiscal

2021 Fourth Quarter Results,” in which Defendant Donahoe falsely claimed that NIKE was

investing in innovation:

       NIKE’s strong results this quarter and full fiscal year demonstrate NIKE’s unique
       competitive advantage and deep connection with consumers all over the world . . .
       . FY21 was a pivotal year for NIKE as we brought our Consumer Direct
       Acceleration strategy to life across the marketplace. Fueled by our momentum, we
       continue to invest in innovation and our digital leadership to set the foundation for
       NIKE’s long-term growth.

       449.    This statement conveyed that NIKE had maintained an innovative product pipeline,

which was materially misleading for the reasons stated in paragraph 434.

       450.    On June 24, 2021, during NIKE’s FY 2021 Q4 earnings call (the “June 24, 2021

Earnings Call”), Defendant Donahoe falsely touted NIKE’s strong product innovation pipeline and

competitive position:

       [O]ur relentless pipeline of innovative product continues to create separation
       between us and our competition. Our product is fueled by sharp consumer insight,
       supported by marketing data and analytics as we continue to invest in our digital
       transformation. And through our new operating model, we are bringing more
       precision to the art of product creation as we blend the art and science of innovation.



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       451.    Defendants’ statement touting NIKE’s “relentless pipeline of innovative product”

conveyed that NIKE had maintained an innovative product pipeline, which was materially

misleading for the reasons stated in paragraph 434. Defendants’ statement that this innovative

pipeline “create[d] separation” between NIKE and competitors conveyed that NIKE had

successfully maintained its brand strength and competitive standing, which was materially

misleading for the reasons stated in paragraph 435.

       452.    Analysts were encouraged by Defendants’ misstatements abouts NIKE’s

innovative product pipeline. For example, on June 25, 2021, Evercore ISI published an analyst

report assigning NIKE Stock an “Outperform” rating, and stating that they “believe a premium

multiple is warranted given the secular growth of the active / athletic sector, the company's long-

tailed distribution shift towards digital and DTC, and the strong product pipeline.” Similarly, in

a June 25, 2021 analyst report assigning NIKE Stock a “Buy” rating, UBS wrote that “[w]e see

relatively limited stock price downside,” and explained that, “with . . . Nike’s innovation pipeline

full . . . we see more that can go right, from a sales and margin perspective, than wrong.”

       D.      July 20, 2021 — Form 10-K

       453.    On July 20, 2021, Defendants filed their Annual Report on Form 10-K for the fiscal

year ended May 31, 2021 (“July 2021 10-K”), which was signed by Defendants Donahoe and

Friend. In it, Defendants stated that NIKE’s potential inability to “adjust[] the mix of existing

product offerings” and “develop[] new products, styles and categories” to meet consumer demand

were hypothetical risks that “could have a material adverse effect on our sales and profitability.”

       454.    This statement was materially misleading for the reasons stated in paragraph 434.

In particular, Defendants’ hypothetical warnings about NIKE’s product offerings—e.g., that

potential failure to adjust the mix of NIKE products and develop new products to meet customer


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demand—that “could” negatively impact NIKE’s business were materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE had already failed to maintain its

innovative product pipeline, and instead relied on unsustainably flooding the market with its

classic franchises.

       455.    The July 2021 10-K also included a materially misleading risk disclosure regarding

NIKE’s competitive standing, in which Defendants stated:

       If we do not adequately and timely anticipate and respond to our competitors, our
       costs may increase, demand for our products may decline, possibly significantly,
       or we may need to reduce wholesale or suggested retail prices for our products.

       456.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential failure to “respond to our

competitors” “may” negatively impact NIKE’s business was materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and competitive

standing had already significantly declined as it, inter alia, lost market share to growing

competition, thereby inhibiting the success of the CDA strategy.

       457.    The July 2021 10-K included an additional materially misleading risk disclosure,

in which Defendants stated that a potential “[f]ailure to maintain our reputation, brand image,

and culture could negatively impact our business.”

       458.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential “[f]ailure to maintain our

reputation [and] brand image could negatively impact our business” was materially misleading

because Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and

competitive standing had already significantly declined, thereby inhibiting the success of the CDA

strategy.


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       459.      Further, the July 2021 10-K included a materially misleading risk disclosure

regarding NIKE’s DTC technology, in which Defendants stated:

       In addition, we have made significant investments in digital technologies and
       information systems for the digital aspect of our NIKE Direct operations, and our
       digital offerings will require continued investment in the development and
       upgrading of our technology platforms. In order to deliver high-quality digital
       experiences, our digital platforms must be designed effectively and work well with
       a range of other technologies, systems, networks, and standards that we do not
       control. We may not be successful in developing platforms that operate effectively
       with these technologies, systems, networks or standards.

       460.      This statement was materially misleading for the reasons stated in paragraph 432.

In particular, Defendants’ hypothetical warnings that NIKE “may not be successful” in developing

technology critical to NIKE’s direct-to-consumer operations was materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE already was experiencing severe

problems in its efforts to build out and unify its DTC technological capabilities and organization,

which were critical for the CDA strategy to succeed.

       E.        September 23, 2021 — FY 2021 Q1 Earnings Announcement

       461.      On September 23, 2021, NIKE issued a press release entitled “NIKE, Inc. Reports

Fiscal 2022 First Quarter Results” (“September 23, 2021 Press Release”) in which Defendant

Friend stated:

       NIKE is a growth company with a market opportunity as large as it’s ever been . .
       . Our Q1 results illustrate how NIKE’s Consumer Direct Acceleration strategy
       continues to fuel growth and transform our long-term financial model.

       462.      Defendants’ claim that the CDA strategy was presently “fuel[ing] growth and

transform[ing] our long-term financial model” conveyed that NIKE was succeeding in each of the

key aspects of the CDA strategy and that the CDA strategy was propelling long-term sustainable

growth, which was materially misleading for the reasons stated in paragraph 437.



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       463.    On September 23, 2021, during NIKE’s FY 2022 Q1 earnings call (the “September

23, 2021 Earnings Call”), Defendant Donahoe falsely affirmed the strength of NIKE’s competitive

position:

       Today, we’re in a stronger position relative to our competition than we were prior
       to the pandemic. Why? Because the changes happening in the market worked in
       our favor. Consumers’ shift to digital that might have taken five years will now
       only take two years. That plays to NIKE’s advantage. And our Consumer Direct
       Acceleration strategy is capitalizing on this marketplace transformation.

       464.    This statement conveyed that NIKE had not only successfully maintained its brand

strength and competitive standing but that it had actually increased its brand strength and

competitive standing because it represented that NIKE was “in a stronger position relative to our

competition than we were” prior to the CDA strategy, which was materially misleading for the

reasons stated in paragraph 435.

       465.    During the September 23, 2021 Earnings Call, Defendant Friend stated, in response

to a Guggenheim analyst’s question regarding NIKE’s supply chain capabilities:

       [A] couple of quarters ago I talked about, as we were starting to see the strength in
       consumer connections and the acceleration of our business, that we were going to
       begin accelerating investment to drive our digital transformation. And in
       particular, where we were investing was against technology, creating a digital-
       first supply chain in the marketplace. And we created a multiyear investment plan
       against our outlook to drive that growth.

       466.    This statement conveyed that NIKE had successfully developed an effective DTC

supply chain because it stated that NIKE had previously invested in “creating a digital-first supply

chain,” enabling NIKE to serve consumer demand in the DTC marketplace, which was materially

misleading for the reasons stated in paragraph 431.

       467.    On September 23, 2021, Defendants filed a report titled “Results of Operations and

Financial Condition with Financial Statements and Exhibits” on Form 8-K, which was signed by



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Defendant Friend. In discussing the CDA strategy, Defendant Friend falsely claimed the CDA

strategy was fueling NIKE’s growth:

       NIKE is a growth company with a market opportunity as large as it’s ever been . .
       . Our Q1 results illustrate how NIKE’s Consumer Direct Acceleration strategy
       continues to fuel growth and transform our long-term financial model.

       468.    This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth—and

that NIKE’s FY 2021 Q1 financial results were caused by the purported success of the CDA

strategy—all of which were materially misleading for the reasons stated in paragraph 437.

       469.    Analysts were encouraged by Defendants’ misstatements concerning the CDA

strategy’s positive impact on NIKE’s growth. For instance, in a September 23, 2021 analyst report,

J.P. Morgan issued NIKE Stock an “Overweight” rating, saying that Defendant Donahoe sees

NIKE “in a stronger position 18 months from now . . . accelerated by [] the CDA strategic focus

of leveraging data/digital insights to drive inventory placement and reduce markdowns.” In a

September 24, 2021 analyst report, Barclays Equity Research indicated that NIKE’s Stock price

was “Overweight” in part due to “the acceleration of [NIKE’s] direct-to-consumer strategy.”

       470.    Analysts also reacted positively to Defendants’ misstatements concerning NIKE’s

digital-first supply chain. For example, on September 24, 2021, UBS published an analyst report

assigning NIKE Stock a “Buy” rating and stating that “Nike’s investments in . . . supply chain

speed and digital are unlocking what is likely a multi-year period of above average growth.” On

the same date, Morgan Stanley assigned NIKE Stock an “Overweight” 41 rating, adding: NIKE’s

“supply chain innovation also create[s] LT [long-term] competitive advantages.” On September


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  As described by the Corporate Finance Institute, an “Overweight” stock is a stock that financial
analysts believe will outperform a benchmark stock, security, or index. The “Overweight”
recommendation signals to investors to devote a larger percentage of their portfolio to the stock.
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24, 2021, Deutsche Bank assigned NIKE Stock a “Buy” rating and said: “we remain confident in

the company’s long-term earnings algorithm given the brand’s . . . enhanced digital/supply chain

capabilities.”

       F.        October 5, 2021 — Form 10-Q

       471.      On October 5, 2021, Defendants filed their Quarterly Report on Form 10-Q for the

quarterly period ended August 31, 2021, which was signed by Defendants Donahoe and Friend. In

it, Defendants falsely touted NIKE’s technological capabilities needed for a DTC supply chain:

       Through the Consumer Direct Acceleration we are focusing on creating the
       marketplace of the future through more premium, consistent and seamless
       consumer experiences, leading with NIKE Digital and our owned stores, as well as
       select strategic partners who share our marketplace vision. We have aligned our
       product creation and category organizations around a new consumer construct
       focused on Men’s, Women’s, Kids’ and the Jordan Brand and continue to invest in
       data and analytics, demand sensing, insight gathering, inventory management
       and other areas to create an end-to-end technology foundation which will further
       accelerate our digital transformation.

       472.      Defendants’ statement that NIKE “continue[s] to invest in data and analytics,

demand sensing, insight gathering, inventory management and other areas to create an end-to-end

technology foundation which will further accelerate our digital transformation” conveyed that

NIKE had successfully developed an effective DTC supply chain because it clamed to have

invested heavily in the these capabilities needed to establish such as supply chain, which was

materially misleading for the reasons stated in paragraph 431.

       G.        October 6, 2021 — Annual General Meeting

       473.      On October 6, 2021, at NIKE’s Annual General Meeting (“October 6, 2021 Annual

General Meeting”), Defendant Donahoe falsely touted the continued success of the CDA strategy:

       Our belief in innovation also extends to our digital advantage. We continue to
       elevate our membership proposition, which comes to life across our One NIKE
       Marketplace. This year, NIKE hosted our first-ever globally coordinated Member
       Days, which reached over 60 million members across 25 countries, offering them

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       first access to product, rewards for activity, and exclusives across stores and digital.
       And this year we’ve also added live streaming to the SNKRS app and kept on
       innovating, launching SNKRS LIVE, our first product drop via live streaming.

       So today, we’re the clear leaders in digital in our industry. Our owned Digital
       revenue is now over 20% of our business, a mark we’ve hit three years ahead of
       plan. And looking ahead, we see even greater competitive acceleration. In fact, by
       fiscal 2025, we expect our business to be 40% owned Digital. This shift is having
       a profound transformation on our operating model; and thanks to our playbook, we
       are creating greater value for both consumers and shareholders. And so, in our
       fourth quarter earnings call in June, we outlined new fiscal 2025 financial goals.
       This new financial model is clear proof of the confidence we have in NIKE’s future.

       And as I look ahead to fiscal 2022, I’m excited. We are clearly seeing our strategy
       work. The team at NIKE is energized by our incredible potential and I hope you’re
       energized as well. Fueled by our competitive advantages, we will continue to drive
       our vision to create the future of sport. Thank you.

       474.    Defendants’ statement that they were “clearly seeing [NIKE’s] strategy work”

conveyed that NIKE was presently succeeding in each of the key aspects of the CDA strategy and

that the CDA strategy was propelling long-term sustainable growth, which was materially

misleading for the reasons stated in paragraph 437.

       475.    At the October 6, 2021 Annual General Meeting, in response to a shareholder

question relayed by Defendant Parker about the CDA strategy (“[Y]ou’re about a year into your

new Consumer Direct Acceleration strategy, how is that going?”), Defendant Donahoe assured the

strategy’s continued success:

       As I said in my remarks, NIKE’s strategy is working, and we’re very encouraged
       and excited by the progress we’ve seen thus far. The Consumer Direct Acceleration
       is transforming NIKE with direct impacts that we can already see on our ability to
       serve consumers end-to-end with a premium and seamless experience, and on our
       business.

       476.    This statement conveyed that NIKE was presently succeeding in each of the key

aspects of the CDA strategy and that the CDA strategy was propelling long-term sustainable

growth, which was materially misleading for the reasons stated in paragraph 437


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        477.    At the October 6, 2021 Annual General Meeting, Defendants touted NIKE’s

purportedly successful corporate reorganization of its consumer constructs. Specifically,

Defendant Donahoe stated that “[a]s part of CDA, we successfully realigned our organization

and began investing in our highest growth areas.” Later in this same meeting, in response to the

same shareholder question relayed by Defendant Parker referenced above, Defendant O’Neill

reiterated this sentiment, stating that “[w]ith the CDA, we successfully realigned our organization

to further invest against our highest growth areas.” These statements conveyed that NIKE’s

reorganization had successfully organized around the new consumer constructs, which was

materially misleading for the reasons stated in paragraph 433.

        478.    At the October 6, 2021 Annual General Meeting, in response to the shareholder

question relayed by Defendant Parker referenced above, regarding the CDA strategy, Defendant

Friend falsely assured investors that NIKE was successfully building out its DTC technological

capabilities:

        I’d just add that the Consumer Direct Acceleration is having a profound effect also
        on our operating model. Our relentless focus on serving consumers is resulting in
        healthy profitable growth. And the shift to a more direct model has resulted in
        Nike’s highest EBIT margin in recent history. The investments we’ve made against
        our end-to-end digital transformation are making us more agile, and we’re
        building the capabilities that are required for NIKE to operate a digitally led
        omni-channel, direct-to-consumer business at scale.

        479.    This statement conveyed that NIKE had successfully built out the technological

capabilities and organization needed for the CDA strategy to succeed, which was materially

misleading for the reasons stated in paragraph 432.

        480.    At the October 6, 2021 Annual General Meeting, in response to a shareholder

question about the innovation pipeline, Defendant Parker falsely affirmed: “The pace of

innovation has not slowed down at all.”


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        481.      This statement conveyed that NIKE had maintained an innovative product pipeline,

which was materially misleading for the reasons stated in paragraph 434.

        482.      At the October 6, 2021 Annual General Meeting, in response to a shareholder

question as relayed by Defendant Parker about the status of NIKE’s “digital ecosystem” and the

role of brick-and-mortar stores, Defendant O’Neill again falsely assured that its CDA strategy was

succeeding:

        I’ll start by reiterating what we’ve mentioned before, our strategy is definitely
        working. We’re being very intentional in our plans to shape the marketplace of the
        future and how we intend to lead it.

        483.      This statement conveyed that NIKE was “definitely” succeeding in each of the key

aspects of the CDA strategy and that the CDA strategy was propelling long-term sustainable

growth, which was materially misleading for the reasons stated in paragraph 437.

        484.      At the October 6, 2021 Annual General Meeting, in response to a shareholder

question relayed by Defendant Parker about NIKE’s supply chain capabilities, Defendant Friend

falsely stated:

        We’ve also been investing to build capabilities that are transforming our operating
        model; and Heidi mentioned a number of them in the marketplace question earlier,
        like online to offline services for consumers, we’re leveraging the Express Lane,
        and we’re building a digital-first supply chain to meet the strong and growing
        digital demand that we see.

        And all of these things are helping us to operate with more agility than we’ve ever
        operated before. So we’re optimistic that inventory supply availability will improve
        as we approach fiscal year 2023, and our vision for Nike’s long-term future remains
        unchanged.

        485.      This statement conveyed that NIKE had been successfully developing an effective

DTC supply chain, which was materially misleading for the reasons stated in paragraph 431.

        486.      At the October 6, 2021 Annual General Meeting, Defendant Donahoe falsely

maintained that NIKE’s corporate reorganization had succeeded:

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       And this was also a year where we brought to life our new Consumer Direct
       Acceleration strategy. As part of CDA, we successfully realigned our organization
       and began investing in our highest-growth areas. Part of that investment is our
       consumer construct of men’s, women’s, and kids, and Jordan, which aligns us
       against the biggest opportunities we see ahead of us. We're putting resources
       behind our end-to-end digital transformation across the value chain, as we unlock
       more growth and efficiency for the business

       487.      This statement conveyed that NIKE’s reorganization had successfully established

a streamlined organizational structure, including by successfully reorganizing its business along

gender-and-age consumer constructs, which was materially misleading for the reasons stated in

paragraph 433.

       488.      Analysts were convinced by Defendants’ misstatements concerning their digital

ecosystem and success of their CDA strategy. For example, on October 12, 2021, Goldman Sachs

published an analyst report assigning NIKE Stock a “Buy” rating and stating that NIKE’s “DTC

initiative [] should drive higher gross margins over time” and that “Nike has built an impressive

digital ecosystem.” Goldman also stated that NIKE’s “Powerful Brand Legacy Continues,

Bolstered by Continued DTC Expansion.” Analysts also reacted positively to Defendants’

misstatements concerning the strength and efficacy of NIKE’s DTC supply chain. For example,

on October 6, 2021, Deutsche Bank published an analyst report assigning NIKE Stock a “Buy”

rating and stating that Deutsche Banks “remain[s] confident in the company’s long-term earnings

algorithm given the brand’s . . . enhanced digital/supply chain capabilities,” among other things.

       H.        November 18, 2021 — Press Release

       489.      On November 18, 2021, NIKE issued a press release, entitled “NIKE, Inc.

Announces 11 Percent Increase in Quarterly Dividend,” in which Defendant Donahoe falsely

assured investors the CDA strategy was continuing to fuel growth for NIKE:

       NIKE continues to fuel growth through our Consumer Direct Acceleration
       strategy, while generating strong cash flow and increasing returns to shareholders

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       . . . This is now our 20th consecutive year of increasing dividend payouts, and
       reflects our strong track record and confidence in our ability to deliver sustainable,
       profitable, capital-efficient growth over the long-term.

       490.      This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

       I.        December 20, 2021 — FY 2022 Q2 Earnings Announcement

       491.      On December 20, 2021, NIKE issued a press release entitled “NIKE, Inc. Reports

Fiscal 2022 Second Quarter Results” in which Defendant Donahoe falsely claimed the CDA

strategy was working and that NIKE’s competitive position was strengthening:

       NIKE’s strong results this quarter provide further proof that our strategy is
       working, as we execute through a dynamic environment . . . We are now in a much
       stronger competitive position today than we were 18 months ago. And I want to
       thank our roughly 75,000 global teammates for all their work to provide consumers
       with the compelling new product, innovation and experiences that only NIKE can
       deliver.

       492.      Defendants’ statement that NIKE’s “strong results this quarter provide proof that

our strategy is working” conveyed that NIKE was succeeding in each of the key aspects of the

CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which was

materially misleading for the reasons stated in paragraph 437. Defendants’ statement that NIKE’s

“competitive position” had improved over the past 18 months (since approximately the launch of

the CDA strategy in summer 2020) conveyed that NIKE had successfully maintained its brand

strength and competitive standing, which was materially misleading for the reasons stated in

paragraph 435.

       493.      On December 20, 2021, during NIKE’s FY 2022 Q2 earnings call (the “December

20, 2021 Earnings Call”), Defendant Donahoe falsely touted the continued success of the CDA

strategy:

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       As we look at Q2, the creativity and resilience of our entire NIKE, Inc. team helped
       deliver another strong quarter. The results we delivered offer continued proof that
       our strategy is working, even as we execute through global macroeconomic
       constraints.

       494.    Later during this call, Defendant Donahoe reiterated this sentiment, falsely stating:

“[T]oday, we’re stronger than we were before the pandemic, and I couldn't be more excited by the

opportunity ahead of us. Our results this quarter are evidence that our strategy is working.”

       495.    These statements that “our strategy is working” conveyed that NIKE was

succeeding in each of the key aspects of the CDA strategy and that the CDA strategy was

propelling long-term sustainable growth—and that NIKE’s financial results for FY 2022 Q2 were

caused by the purported success of the CDA strategy—which was materially misleading for the

reasons stated in paragraph 437.

       496.    On the December 20, 2021 Earnings Call, Defendant Friend also falsely touted the

success of the CDA strategy:

       Consumer Direct Acceleration is driving our business forward, and it is
       transforming our financial model. We continue to prove that we can manage
       through the uncertainty and volatility in the current operating environment, but we
       are doing more than just managing through. We are building NIKE for the future
       with deeper consumer connections, a pipeline of product innovation to serve the
       needs of the modern athlete, and new operational capabilities required to serve
       consumers directly and digitally at scale.

       497.    This statement that the CDA strategy was “driving [NIKE’s] business forward”

conveyed that NIKE was succeeding in each of the key aspects of the CDA strategy and that the

CDA strategy was propelling long-term sustainable growth, which was materially misleading for

the reasons stated in paragraph 437.

       498.    Analysts were encouraged by Defendants’ claims about the continued success of

the CDA strategy. For instance, in a December 21, 2021 report, Goldman Sachs Equity Research

wrote that, after NIKE’s earnings report, it maintained a positive “Buy” rating for NIKE, noting
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that while NIKE “is still in the early stages of its DTC strategy . . . [w]e see continued DTC channel

shift as a gross margin driver moving forward.”

       J.      January 6, 2022 — Form 10-Q

       499.    On January 6, 2022, Defendants filed their Quarterly Report on Form 10-Q for the

quarterly period ended November 30, 2021, which was signed by Defendants Donahoe and Friend.

In it, Defendants falsely touted NIKE’s technological capabilities needed for a DTC supply chain:

       Through the Consumer Direct Acceleration we are focusing on creating the
       marketplace of the future through more premium, consistent and seamless
       consumer experiences, leading with NIKE Digital and our owned stores, as well as
       select strategic partners who share our marketplace vision. We have aligned our
       product creation and category organizations around a new consumer construct
       focused on Men’s, Women’s, Kids’ and the Jordan Brand and continue to invest in
       data and analytics, demand sensing, insight gathering, inventory management
       and other areas to create an end-to-end technology foundation which will further
       accelerate our digital transformation.

       500.    Defendants’ statement that NIKE “continue[s] to invest in data and analytics,

demand sensing, insight gathering, inventory management and other areas to create an end-to-end

technology foundation which will further accelerate our digital transformation” conveyed that

NIKE had developed capabilities for an effective DTC supply chain because the listed capabilities

were essential to an effective DTC supply chain, which was materially misleading for the reasons

stated in paragraph 431.

       K.      March 21, 2022 — FY 2022 Q3 Earnings Announcement

       501.    On March 21, 2022, NIKE issued a press release entitled “NIKE, Inc. Reports

Fiscal 2022 Third Quarter Results,” in which Defendant Donahoe again falsely assured investors

of the continued success of the CDA strategy:

       NIKE’s strong results this quarter show that our Consumer Direct Acceleration
       strategy is working, as we invest to achieve our growth opportunities . . . Fueled by
       deep consumer connections, compelling product innovation and an expanding
       digital advantage, we have the right playbook to navigate volatility and create value

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       through our relentless drive to serve the future of sport.

       502.   This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

       503.   On March 21, 2022, during NIKE’s FY 2022 Q3 earnings call (“March 21, 2022

Earnings Call”), in response to a UBS analyst’s question concerning the “contours” of Fiscal Year

2023, Defendant Friend falsely reassured investors that the CDA strategy was working:

       We’re looking at fiscal ‘23 and believe the foundation is set for another year of
       strong growth. And that's because our Consumer Direct Acceleration strategy is
       working.

       504.   This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

       505.   On March 21, 2022, NIKE filed a report titled “Results of Operations and Financial

Condition” with “Financial Statements and Exhibits” on Form 8-K, which was signed by

Defendant Friend. In it, Defendant Donahoe falsely touted the success of the CDA strategy:

       NIKE’s strong results this quarter show that our Consumer Direct Acceleration
       strategy is working, as we invest to achieve our growth opportunities . . . Fueled by
       deep consumer connections, compelling product innovation and an expanding
       digital advantage, we have the right playbook to navigate volatility and create value
       through our relentless drive to serve the future of sport.

       506.   This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

       507.   Analysts were encouraged by Defendants’ claims about the purported success of

the CDA strategy. For instance, on March 22, 2022, Barclays Equity Research indicated that the


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price of NIKE Stock was “Overweight” (meaning it would likely increase in the future) in part due

to “the acceleration of [NIKE’s] direct-to-consumer strategy.” That same report stated that NIKE

“is a DTC acceleration . . . story.”

       L.       March 30, 2022 — Adobe Facebook Video

       508.     In a March 30, 2022 Facebook post by Adobe Experience Cloud, Defendant

Donahoe is featured in a video where he touted NIKE’s DTC technological capabilities that Adobe

purportedly helped build as part of their partnership: “The Adobe platform [] has played such an

important role of delivering a more personalized experience for our consumers.”

       509.     Defendants’ claim that NIKE’s Adobe partnership had “deliver[ed] a more

personalized experience” for consumers conveyed that NIKE had successfully built out the DTC

technological capabilities and organization needed for the CDA strategy to succeed, including

specifically the consumer marketing personalization capabilities, which was materially misleading

for the reasons stated in paragraph 432. Specifically, as described in paragraph 432, NIKE’s DTC

technology, including personalization technology, remained deficient throughout the Class Period,

and NIKE’s partnership with Adobe was a failure from its start in 2021, including because it failed

to build such consumer personalization technological capabilities, as detailed by multiple CWs,

and as Defendant Donahoe was directly informed in regular meetings with CW-3, which had begun

by this time.

       M.       April 5, 2022 — Form 10-Q

       510.     On April 5, 2022, Defendants filed their Quarterly Report on Form 10-Q for the

quarterly period ended February 28, 2022, which was signed by Defendants Donahoe and Friend.

In it, Defendants falsely touted NIKE’s technological capabilities needed for a DTC supply chain:

       Through the Consumer Direct Acceleration we are focusing on creating the
       marketplace of the future through more premium, consistent and seamless

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       consumer experiences, leading with digital and our owned stores, as well as select
       wholesale partners that share our marketplace vision. Over the last several years, as
       we have executed against the Consumer Direct Acceleration we have grown our
       NIKE Direct business to be approximately 43% of total NIKE Brand revenues for
       the first nine months of fiscal 2022, and we have reduced the number of wholesale
       accounts globally. Additionally, we have aligned our product creation and category
       organizations around a new consumer construct focused on Men’s, Women’s, Kids’
       and the Jordan Brand and continue to invest in data and analytics, demand
       sensing, insight gathering, inventory management and other areas to create an
       end-to-end technology foundation which we expect will further accelerate our
       digital transformation.

       511.    Defendants’ statement that NIKE “continue[s] to invest in data and analytics,

demand sensing, insight gathering, inventory management and other areas to create an end-to-end

technology foundation which will further accelerate our digital transformation” conveyed that

NIKE had developed capabilities for an effective DTC supply chain because the listed capabilities

were essential to an effective DTC supply chain, which was materially misleading for the reasons

stated in paragraph 431.

       N.      May 16, 2022 — Women’s Wear Daily Articles

       512.    On May 16, 2022, Women’s Wear Daily published a series of articles about NIKE

(“May 16, 2022 WWD Articles”). In one of those articles, titled “Heidi O’Neill on Creating a

Seamless Digital/Retail Experience,” Defendant O’Neill falsely insisted that the CDA strategy was

succeeding:

       We’ve been driving this Consumer Direct offense for over five years now. And you
       know, we can look at our results and know it’s working.

       513.    This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy, and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.




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       514.   In one of the May 16, 2022 WWD Articles, titled “Supply Chain Guru Andy

Campion Offers a Peek Behind the Curtain,” Defendant Campion falsely touted NIKE’s

purportedly effective DTC supply chain:

       On the one hand, the supply chain is more productive than ever in the amount of
       goods being produced — I think it was up 8 percent last year and that’s not in price,
       that’s in units. Demand is incredibly strong and we’ve got three to four times
       greater digital commerce distribution capability than we had two years ago.

       515.   Defendants Campion’s claim that NIKE had greatly enhanced its “digital

commerce distribution capability” in the prior two years conveyed that NIKE had successfully

developed an effective DTC supply chain (because enabling “distribution” of “digital commerce”

is a key component of a DTC supply chain), which was materially misleading for the reasons stated

in paragraph 431.

       O.     June 27, 2022 — FY 2022 Q4 Earnings Announcement

       516.   On June 27, 2022, NIKE issued a press release, entitled “Q4 NIKE, Reports Fiscal

2022 Fourth Quarter Results”, in which Defendant Donahoe falsely touted NIKE’s purported

competitive advantages, including its innovation, and the CDA strategy’s success:

       NIKE’s results this fiscal year are a testament to the unmatched strength of our
       brands and our deep connection with consumers . . . . Our competitive advantages,
       including our pipeline of innovative product and expanding digital leadership,
       prove that our strategy is working as we create value through our relentless drive
       to serve the future of sport.

       517.   Defendants’ statement that NIKE’s strategy was “working”—as “prove[n]” by the

Company’s “competitive advantages,” including its pipeline of innovative product—conveyed that

NIKE was succeeding in each of the key aspects of the CDA strategy and that the CDA strategy

was propelling long-term sustainable growth, which was materially misleading for the reasons

stated in paragraph 437. Defendants’ statement that NIKE presently had a “pipeline of innovative

product” conveyed that NIKE had maintained an innovative product pipeline, which was

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materially misleading for the reasons stated in paragraph 434. Defendants’ claim that NIKE was

presently experiencing “competitive advantages,” including NIKE’s innovative product pipeline

and “expanding digital leadership,” conveyed that the Company had successfully maintained its

brand strength and competitive standing, which was materially misleading for the reasons stated

in paragraph 435.

       518.    On June 27, 2022, during NIKE’s FY 2022 Q4 earnings call (“June 27, 2022

Earnings Call”), Defendant Donahoe falsely touted the Company’s purportedly strong innovation

product pipeline and competitive position:

       My second point today is our relentless pipeline of innovative products, which
       continues to drive separation between us and our competition. No other brand has
       our ability to resource, solve and scale in response to a consumer opportunity. In
       Q4, we again introduced new performance innovations to the market, including
       new footwear technology from both NIKE Women’s and the Jordan brand.

       519.    Defendants’ statement touting NIKE’s “relentless pipeline of innovative products”

conveyed that NIKE had maintained an innovative product pipeline, which was materially

misleading for the reasons stated in paragraph 434. Defendants’ statement that NIKE’s innovative

product pipeline “continues to drive separation between us and our competition” conveyed that

NIKE had successfully maintained its brand strength and competitive standing, which was

materially misleading for the reasons stated in paragraph 435.

       520.    During the June 27, 2022 Earnings Call, Defendant Friend falsely claimed that the

CDA strategy was working:

       As we set the foundation for another year of strong growth, I’d like to provide some
       broader context around our strategic transformation. Two years ago, we introduced
       a bold new phase of our strategy, our Consumer Direct Acceleration. In the early
       months of the pandemic, we set our sights beyond simply navigating through short-
       term volatility. Instead, we outlined a clear vision to pursue even further
       competitive separation by expanding our digital advantage, reshaping the
       marketplace of the future, and creating deeper, more direct consumer relationships.
       Today, NIKE’s continued momentum shows that our strategy is working. As we
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       look forward let me briefly highlight three of NIKE’s foundational elements for
       long-term value creation: our global portfolio; our consumer-led digital
       transformation; and our expanding direct-to-consumer operational capabilities.

       521.    This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth—and

that NIKE’s “momentum” was caused by the purported success of the CDA strategy—which was

materially misleading for the reasons stated in paragraph 437.

       522.    During the same earnings call, Defendant Friend falsely claimed that NIKE had

developed needed DTC technological capabilities through its partnership with Adobe:

       We will also see a new consumer marketing offense in action in fiscal 2023.
       Through new capabilities activated in partnership with Adobe, we will unlock
       additional productivity and demand creation and member retention across our
       NIKE ecosystem. We have started testing audience segmentation in North America,
       with real-time data and personalized journeys on the Nike App, with plans for
       further expansion in the coming months. In Greater China, we’re also accelerating
       our digital capabilities, building on our 40-year history.

       523.    Defendants’ statement touting NIKE’s “new capabilities” developed through the

Adobe partnership conveyed that NIKE had successfully built out the DTC technological

capabilities and organization needed for the CDA strategy to succeed, which was materially

misleading for the reasons stated in paragraph 432.

       524.    During the June 27, 2022 Earnings Call, Defendant Friend also falsely insisted that

the CDA strategy was working:

       As we move forward, we will stay focused on what we can control and continue
       managing the business for the long-term. This includes leveraging our scale and
       financial strength, optimizing supply and demand, and most importantly, creating
       value for our consumer from the products we design, to the stories we tell, to the
       experiences that we deliver. Our Consumer Direct Acceleration is working.




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       525.    This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

       526.    During June 27, 2022 Earnings Call, Defendant Friend falsely touted the CDA

strategy’s success:

       Two years ago, we introduced a bold new phase of our strategy, our Consumer
       Direct Acceleration. In the early months of the pandemic, we set our sights beyond
       simply navigating through short-term volatility. Instead, we outlined a clear vision
       to pursue even further competitive separation by expanding our digital advantage,
       reshaping the marketplace of the future, and creating deeper, more direct consumer
       relationships.

       Today, NIKE’s continued momentum shows that our strategy is working.

       527.    Defendants’ statement that “our strategy is working” conveyed that NIKE was

succeeding in each of the key aspects of the CDA strategy and that the CDA strategy was

propelling long-term sustainable growth, which was materially misleading for the reasons stated

in paragraph 437.

       528.    Analysts were encouraged by Defendants’ claims. For instance, in a June 28, 2022

report, Telsey Advisory Group assigned NIKE Stock an “Outperform” rating and wrote that it

“remain[ed] encouraged by the pipeline of product innovation, healthy demand, customer

connectivity through digital, and underlying gross margin improvement driven by the shift to

DTC.” Similarly, in a June 28, 2022 report, Evercore ISI Research assigned NIKE Stock an

“Outperform” rating and highlighted that it was “excited about [NIKE’s] innovation pipeline in

FY23, which seems to be an acceleration from the past few years.” Likewise, in a June 28, 2022

report, Barclays Equity Research rated the price of NIKE stock as “Overweight” in part due to

“the acceleration of [NIKE’s] direct-to-consumer strategy.”



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       P.      July 21, 2022 — Form 10-K

       529.    On July 21, 2022, Defendants filed their Annual Report on Form 10-K for the fiscal

year ended May 31, 2022 (July 2022 10-K), which was signed by Defendants Donahoe and Friend.

In it, Defendants stated that NIKE’s potential inability to “adjust[] the mix of existing product

offerings” and “develop[] new products, styles and categories” to meet consumer demand were

hypothetical risks that “could have a material adverse effect on our sales and profitability.”

       530.    This statement was materially misleading for the reasons stated in paragraph 434.

In particular, Defendants’ hypothetical warnings about NIKE’s product offerings—e.g., that a

potential failure to adjust the mix of NIKE products and develop new products to meet customer

demand “could” negatively impact NIKE’s business—were materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE had already failed to maintain its

innovative product pipeline, and instead relied on unsustainably flooding with the market with its

classic franchises.

       531.    The July 2022 10-K also included a materially misleading risk disclosure regarding

NIKE’s competitive standing, in which Defendants stated:

       If we do not adequately and timely anticipate and respond to our competitors, our
       costs may increase, demand for our products may decline, possibly significantly,
       or we may need to reduce wholesale or suggested retail prices for our products.

       532.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential failure to “respond to our

competitors” “may” negatively impact NIKE’s business was materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and competitive

standing had already significantly declined, thereby inhibiting the success of the CDA strategy.




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       533.    The July 2022 10-K included an additional materially misleading risk disclosure,

in which Defendants stated that a potential “[f]ailure to maintain our reputation, brand image,

and culture could negatively impact our business.”

       534.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential “[f]ailure to maintain our

reputation [and] brand image could negatively impact our business” was materially misleading

because Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and

competitive standing had already significantly declined, thereby inhibiting the success of the CDA

strategy

       535.    Further, the July 2022 10-K included a materially misleading risk disclosure

regarding NIKE’s DTC technology, in which Defendants stated:

       In addition, we have made significant investments in digital technologies and
       information systems for the digital aspect of our NIKE Direct operations, and our
       digital offerings will require continued investment in the development and
       upgrading of our technology platforms. In order to deliver high-quality digital
       experiences, our digital platforms must be designed effectively and work well with
       a range of other technologies, systems, networks, and standards that we do not
       control. We may not be successful in developing platforms that operate effectively
       with these technologies, systems, networks or standards.

       536.    This statement was materially misleading for the reasons stated in paragraph 432.

In particular, Defendants’ hypothetical warnings that NIKE “may not be successful” in developing

technology critical to NIKE’s DTC operations was materially misleading because Defendants

knew, or we reckless in not knowing, that NIKE already was struggling to build out and unify its

DTC technological capabilities and organization, which were critical for the CDA strategy to

succeed.




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       Q.       September 9, 2022 — Annual General Meeting

       537.     On September 9, 2022, at NIKE’s Annual General Meeting (“September 9, 2022

Annual General Meeting”), Defendant Donahoe responded to a shareholder question relayed by

Defendant Parker, concerning the CDA strategy: “What’s working, and how has it evolved since

the beginning?” In response, Defendant Donahoe falsely claimed the CDA was succeeding, that

NIKE was maintaining its competitive separation, and had maintained its innovative product

pipeline:

       I just kick off by reiterating that the progress you’re seeing on CDA tells us that
       NIKE’s strategy is working. We continue to see structural tailwinds, as I
       mentioned in my remarks, around . . . a consumer-led shift toward digital that
       drives competence in our direction, in our strategy. And our operational
       transformation is giving us the agility we need to serve consumers more directly as
       we create a digital-led marketplace for the future.

       And over the past couple of years, as we’ve said repeatedly in our quarterly calls
       and other settings, we’ve accelerated our digital transformation in order to capture
       higher engagement with consumers and market share. And we’ve seen this in our
       fiscal 2022 results. So, our capabilities and efficiencies are allowing us to move
       at the speed of the consumer and to drive continued competitive separation in the
       market.


       538.     Defendants’ claims that NIKE’s strategy was “working,” as evidenced by the

purported “progress you’re seeing on CDA,” and that NIKE was seeing “structural tailwinds”

based on a “consumer-led shift toward digital,” conveyed that NIKE was succeeding in each of

the key aspects of the CDA strategy and that the CDA strategy was propelling long-term

sustainable growth, which was materially misleading for the reasons stated in paragraph 437.

       539.     At the September 9, 2022 Annual General Meeting, in response to a shareholder

question relayed by Defendant Parker concerning innovation, Defendant Donahoe stated:

            Well, Mark, as you know, innovation is deeply, deeply woven into every
            dimension of NIKE’s culture. And innovation continues to be our greatest
            competitive advantage.

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         540.   Defendants’ claim that innovation “continue[d]” to be NIKE’s “greatest

competitive advantage” conveyed that NIKE had successfully maintained its brand strength and

competitive standing, which was materially misleading for the reasons stated in paragraph 435.

         541.   At the September 9, 2022 Annual General Meeting, in response to a shareholder

question relayed by Defendant Parker concerning the evolution of the CDA strategy, Defendant

Friend falsely touted the CDA strategy’s success:

         Fundamentally, the Consumer Direct Acceleration strategy is changing our
         financial and operating model, resulting in healthy, profitable growth for NIKE.

         542.   This statement touting the success of the CDA strategy as “resulting in healthy,

profitable growth for NIKE,” conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth (i.e.,

“healthy, profitable growth”), which was materially misleading for the reasons stated in paragraph

437.

         543.   Analysts believed Defendants’ claims that the CDA strategy was succeeding. For

instance, in a September 11, 2022 report, UBS stated that “Nike held its annual shareholder

meeting on 9/9 where it addressed multiple topics relevant to the current investor debates on the

stock, such as its [CDA] strategy . . . Our main takeaway from the event was Nike’s strong

conviction around its CDA strategy. We think this is a positive for the stock.” The report

explained that UBS continued to rate NIKE Stock as a “Buy.”

         R.     September 29, 2022 — FY 2023 Q1 Earnings Announcement

         544.   On September 29, 2022, NIKE issued a press release, entitled “NIKE, Inc. Reports

Fiscal 2023 First Quarter Results,” in which Defendant Donahoe falsely touted NIKE’s continued

competitive advantages, including its strong brand and innovation pipeline, as proof that the CDA

strategy was “working:”

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       Our strong start to FY23 highlights the depth and breadth of NIKE’s global
       portfolio, as we continue to manage through volatility . . . . Our competitive
       advantages, including the strength of our brand, deep consumer connections and
       pipeline of innovative product, continue to prove that our strategy is working. We
       expect our unrelenting focus on better serving the consumer to continue to fuel
       growth and create value like only NIKE can.

       545.    Defendants’ touting of NIKE’s “competitive advantages,” including its brand

strength, conveyed that NIKE had successfully maintained its brand strength and competitive

standing, which was materially misleading for the reasons stated in paragraph 435. Defendants’

claim that NIKE presently had a “pipeline of innovative product” as a key “competitive advantage”

conveyed that NIKE had maintained an innovative product pipeline, which was materially

misleading for the reasons stated in paragraph 434. Defendants’ claim that NIKE’s “strategy is

working” conveyed that NIKE was succeeding in each of the key aspects of the CDA strategy and

that the CDA strategy was propelling long-term sustainable growth, which was materially

misleading for the reasons stated in paragraph 437.

       546.    On September 29, 2022, during NIKE’s FY 2023 Q1 earnings call (“September 29,

2022 Earnings Call”), Defendant Donahoe falsely claimed that NIKE had measured as the

“number one” brand under the “cool” brand metric it employed:

       Now, if you look at this quarter’s strong results, we can see our brand momentum
       and global portfolio come to life. This is true across the three areas I’d like to walk
       through today: a brand that deeply connects with consumers fueled by authenticity
       in sport; a culture of innovation that drives a continuous pipeline of new products;
       and our competitive advantage across the marketplace as one of the few brands that
       can connect with and serve consumers at scale.

       So, let’s start with NIKE’s strong brand and our connection to sport which
       differentiates us all over the globe. Consumers continue to rate us their number
       one cool and number one favorite brand as we connect directly and deeply with
       consumers worldwide.

       547.    Defendants’ claim that consumers were presently rating NIKE “their number one

cool and number one favorite brand” conveyed that NIKE had successfully maintained its brand

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strength and competitive standing because “cool” was a critical metric by which NIKE measured

its brand strength relative to competitors and other brands, which was materially misleading for

the reasons stated in paragraph 435, including that by this time NIKE, in fact, was no longer the

number one cool brand in North America and NIKE was losing ground to its competitors such as

Adidas and Lululemon based on this metric.

       548.    During the September 29, 2022 Earnings Call, Defendant Donahoe also assured

investors that NIKE had maintained its innovative product pipeline, which continued to separate

it from its competitors:

       As we said before, NIKE’s relentless pipeline of innovative product continues to
       create separation between us and our competition. Today, we have incredible
       momentum in key products and franchises across the spectrum of lifestyle and
       performance. And what excites us even more is the energy and anticipation we’re
       feeling for the innovative product that’s next in the pipeline. We’re now starting to
       see the product that reflects our shift two years ago to our new consumer construct
       of men’s, women’s and kids. And the impact it’s had is remarkable.

       549.    Defendants’ statement that NIKE presently had a “relentless pipeline of innovative

product” conveyed that NIKE had maintained an innovative product pipeline, which was

materially misleading for the reasons stated in paragraph 434. Defendants’ statement that NIKE’s

product pipeline continued to drive competitive “separation” for the Company conveyed that

NIKE had successfully maintained its brand strength and competitive standing, which was

materially misleading for the reasons stated in paragraph 435.

       550.    During the September 29, 2022 Earnings Call, Defendant Friend again assured

investors that “NIKE continues to lead as the number one cool and number one favored brand

in North America.”

       551.    Defendants’ claim that NIKE was presently leading as “the number one cool and

number one favored brand in North America” conveyed that NIKE had successfully maintained


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its brand strength and competitive standing because “cool” was a critical metric by which NIKE

measured its brand strength relative to competitors and other brands, which was materially

misleading for the reasons stated in paragraph 435. Specifically, as described in paragraph 435, by

this time NIKE was no longer the number one brand in North America as measured by its critical

“cool” brand strength metric.

       552.    On the September 29, 2022 Earnings Call, in response to a J.P.Morgan analyst’s

question regarding demand for NIKE products in North America, Defendant Donahoe assured

investors of continued “strong consumer demand,” specifically denying seeing any “softness”:

       [W]e see strong consumer demand in North America currently. Right? There’s
       no signs of any softness, that was relatively promotional in August, but strong into
       the first couple of weeks of this quarter. And so, we again talk in terms of
       transitional and structural. On a transitional basis, as Matt said, we’re going to work
       through the excess inventory.

       553.    Defendants’ claim that NIKE was presently experiencing “strong consumer

demand in North America” with “no signs of any softness,” conveyed that NIKE had effectively

driven business to its DTC channels while meeting consumer demand, which was materially

misleading for the reasons stated in paragraph 436. This statement also conveyed that NIKE had

successfully maintained its brand strength and competitive standing, which was materially

misleading for the reasons stated in paragraph 435. This statement is also misleading for the

reasons stated in paragraph 437, including that a legion of internal warning signs showed that by

this time the CDA strategy was failing and that NIKE’s initial financial growth was unsustainable

long-term.

       554.    On the September 29, 2022 Earnings Call, in response to a Guggenheim analyst’s

question regarding inventory and the “supply-demand for NIKE,” Defendant Donahoe assured

investors that NIKE had maintained an innovative product pipeline:


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       [W]e will be aggressive as Matt said on liquidating excess inventory, but also
       coming hard with our key popular franchises to bring heat and energy to them just
       like we did in Q1 like the Travis Scott AJ1 and that had a very strong full price
       realization and we got a very strong innovation pipeline that will still be coming
       hard and hot in Q2, Q3 and Q4. You saw in Q1, we had the Air Zoom Mercurial,
       we had the Air Max Scorpion, the NIKE Forward. We’ve got a really strong
       innovation pipeline.

       555.     Defendants’ statements touting the Company’s “strong innovation pipeline”

conveyed that NIKE had maintained an innovative product pipeline, which was materially

misleading for the reasons stated in paragraph 434.

       556.     Analysts were reassured by Defendants’ claims. For instance, in a September 30,

2022 report, Telsey Advisory Group assigned NIKE Stock an “Outperform” rating and wrote that

it “remain[ed] encouraged by healthy demand, the pipeline of product innovation, customer

connectivity through digital, and the potential for gross margin improvement driven by the shift

to DTC.”

       S.       October 6, 2022 Form 10-Q

       557.     On October 6, 2022, Defendants filed their Quarterly Report on Form 10-Q for the

quarterly period ended August 31, 2022, which was signed by Defendants Donahoe and Friend. In

it, Defendants falsely claimed NIKE had successfully reorganized its business around gender-and-

age-based consumer constructs, and also touted the Company’s DTC supply chain capabilities:

            Additionally, we have aligned our product creation and category organizations
            around a new consumer construct focused on Men’s, Women’s and Kids’ and
            continue to invest in data and analytics, demand sensing, insight gathering,
            inventory management and other areas to create an end-to-end technology
            foundation, which we expect will further accelerate our digital
            transformation.


       558.     Defendants’ statement regarding NIKE’s category alignment conveyed that

NIKE’s reorganization had successfully established a streamlined organizational structure around


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gender-and-age-based consumer constructs, which was materially misleading for the reasons

stated in paragraph 433, including that by no later than summer 2022, NIKE had begun

implementing a reversion of to its pre-CDA sport-based categorization model to address concerns

with the Company’s performance. Defendants’ statement that NIKE “continue[s] to invest in data

and analytics, demand sensing, insight gathering, inventory management and other areas to create

an end-to-end technology foundation, which we expect will further accelerate our digital

transformation” conveyed that NIKE had successfully developed an effective DTC supply chain

because the capabilities listed above, which NIKE claimed to have invested in, were essential to

an effective DTC supply chain, which was materially misleading for the reasons stated in

paragraph 431.

       T.        December 20, 2022 — FY 2023 Q2 Earnings Announcement

       559.      On December 20, 2022, during NIKE’s FY 2023 Q2 Earnings Call (“December 20,

2022 Earnings Call”), Defendant Donahoe falsely touted “the continued success” of the CDA

strategy:

       As I mentioned earlier, our Q2 results speak to the continued success of our
       strategy. Consumer Direct Acceleration is fueling our marketplace approach in
       which we directly connect with the consumer no matter where they shopped. Today
       our marketplace strategy is driving distinction in this current promotional
       environment. Our work to directly connect with consumers is founded on a simple
       consumer insight.

       560.      This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

       561.      During the December 20, 2022 Earnings Call, Defendant Donahoe also touted

NIKE’s CDA-related “competitive advantages:”



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         [O]ur results speak to how we’ve leveraged our competitive advantages, which
         include a relentless innovation pipeline, unmatched brands, and deep consumer
         connections to build relative strength and stay ahead of competition.

         562.     This statement falsely conveyed that, through increased consumer connections and

a “relentless innovation pipeline” (i.e. through the CDA), NIKE had successfully maintained its

brand strength and competitive standing, which was materially misleading for the reasons stated

in paragraph 435.

         563.     Analysts believed Defendants’ claims that the CDA strategy was working. For

instance, in a December 20, 2022 report, Guggenheim Securities assigned NIKE Stock a “Buy”

rating and wrote that “[t]he brand commands dominant market share, which we expect will grow

materially as digital scales up further [and] new product innovation remains robust.” In a

December 21, 2022 report rating NIKE Stock as “Overweight,” Morgan Stanley Research noted

“DTC Skeptics Beware,” and stated that NIKE’s financial performance “gives us incremental

confidence that [NIKE] may deliver the long-awaited, DTC-driven margin gains as soon as next

year.”

         U.       January 5, 2023 Form 10-Q

         564.     On January 5, 2023, Defendants filed their Quarterly Report on Form 10-Q for the

quarterly period ended November 30, 2022, which was signed by Defendants Donahoe and Friend.

In it, Defendants falsely claimed NIKE had successfully reorganized its business around gender-

and-age-based consumer constructs and touted its DTC supply chain capabilities:

              Additionally, we have aligned our product creation and category organizations
              around a new consumer construct focused on Men’s, Women’s and Kids’ and
              continue to invest in data and analytics, demand sensing, insight gathering,
              inventory management and other areas to create an end-to-end technology
              foundation, which we expect will further accelerate our digital
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       565.    Defendants’ statement regarding NIKE’s category alignment conveyed that

NIKE’s reorganization had successfully established a streamlined organizational structure around

these gender-and-age-based consumer constructs, which was materially misleading for the reasons

stated in paragraph 433, including that by no later than summer 2022, NIKE had begun

implementing a reversion of to its pre-CDA sport-based categorization model to address concerns

with the Company’s performance. Defendants’ statement that NIKE “continue[s] to invest in data

and analytics, demand sensing, insight gathering, inventory management and other areas to create

an end-to-end technology foundation which we expect will further accelerate our digital

transformation” conveyed that NIKE had successfully developed an effective DTC supply chain

because the capabilities listed above, which NIKE claimed to have invested in, which was

materially misleading for the reasons stated in paragraph 431.

       V.      March 21, 2023 — FY 2023 Q3 Earnings Announcement

       566.    On March 21, 2023, NIKE issued a press release entitled “NIKE, Inc. Reports

Fiscal 2023 Third Quarter Results,” wherein Defendant Donahoe again claimed that the CDA

strategy was working: “NIKE’s strong results in the third quarter offer continued proof of the

success of our Consumer Direct Acceleration strategy.”

       567.    Defendants’ statement conveyed that NIKE was succeeding in each of the key

aspects of the CDA strategy and that the CDA strategy was propelling long-term sustainable

growth, which was materially misleading for the reasons stated in paragraph 437.

       568.    During the March 21, 2023 Earnings Call, in response to a J.P. Morgan analyst’s

question regarding “market share acceleration opportunities” and “the forward-looking product

pipeline,” Defendant Donahoe falsely touted NIKE’s innovative product pipeline:

       [T]he breadth and depth of the innovation pipeline is really strong and what’s
       clear is as we’ve returned to the office, as our teams are now back together in-
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       person that NIKE magic of consumer insight driving product innovation combined
       with storytelling, combined with marketplace, is really picking up steam.

       569.   This statement conveyed that NIKE had maintained an innovative product pipeline,

which was materially misleading for the reasons stated in paragraph 434.

       W.     May 24, 2024 Press Release

       570.   On May 24, 2023, NIKE issued a press release, entitled “NIKE Announces Senior

Leadership Changes to Deepen Consumer-Led Growth and Marketplace Advantage,” in which

Defendant Donahoe stated: “Our brand momentum is strong, our innovation pipeline is

unmatched, and our strategy is working.”

       571.   Defendants’ claim that NIKE’s brand momentum was presently “strong,” conveyed

that NIKE had successfully maintained its brand strength and competitive standing, which was

materially misleading for the reasons stated in paragraph 435. Defendants’ statement touting

NIKE’s present innovation pipeline conveyed that NIKE had maintained an innovative product

pipeline, which was materially misleading for the reasons stated in paragraph 434. Defendants’

claim that NIKE’s strategy was “working” conveyed that NIKE was succeeding in each of the key

aspects of the CDA strategy and that the CDA strategy was propelling long-term sustainable

growth, which was materially misleading for the reasons stated in paragraph 437.

       572.   Analysts were encouraged by Defendants’ claims about the continued success of

the CDA strategy and its product innovation pipeline. For instance, in a March 22, 2023 report,

UBS wrote: “We continue to view Nike as a long-term outperformer . . . . Nike’s investments in

product innovation, supply chain speed, and digital are unlocking what is likely a multiyear

period of above average growth.”




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       X.       April 6, 2023 Form 10-Q

       573.     On April 6, 2023, Defendants filed their Quarterly Report on Form 10-Q for the

quarterly period ended February 28, 2023, which was signed by Defendants Donahoe and Friend.

In it, Defendants falsely claimed NIKE had successfully reorganized its business around gender-

and-age-based consumer constructs and touted its DTC supply chain:

            Additionally, we have aligned our product creation and category organizations
            around a new consumer construct focused on Men’s, Women’s and Kids’ and
            continue to invest in data and analytics, demand sensing, insight gathering,
            inventory management and other areas to create an end-to-end technology
            foundation, which we expect will further accelerate our digital
            transformation.


       574.     Defendants’ statement regarding NIKE’s category alignment conveyed that

NIKE’s reorganization had successfully established a streamlined organizational structure around

gender-and-age-based consumer constructs, which was materially misleading for the reasons

stated in paragraph 433, including that by no later than summer 2022, NIKE had begun

implementing a reversion of to its pre-CDA sport-based categorization model to address concerns

with the Company’s performance. Defendants’ statement that NIKE “continue[s] to invest in data

and analytics, demand sensing, insight gathering, inventory management and other areas to create

an end-to-end technology foundation which will further accelerate our digital transformation”

conveyed that NIKE had successfully developed an effective DTC supply chain because the

capabilities listed above, which NIKE claimed to have invested in, were essential to an effective

DTC supply chain, which was materially misleading for the reasons stated in paragraph 431.

       Y.       June 29, 2023 — FY 2023 Q4 Earnings Announcement

       575.     On June 29, 2023, NIKE issued a press release, entitled “NIKE, Inc. Reports Fiscal

2023 Fourth Quarter and Full Year Results,” in which Defendant Donahoe falsely assured


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investors that the CDA strategy was working, including because of NIKE’s continued competitive

separation, product innovation, and technological capabilities:

       NIKE’s strong results make clear that our strategy is working . . . FY23 was a
       milestone year for NIKE as our unique advantages continue to drive competitive
       separation. Our investment in innovation and our digital leadership are fueling
       broad-based growth across our portfolio of brands, as we create value by serving
       the future of sport.

       576.    Defendants’ statement that “NIKE’s strong results make clear that our strategy is

working” conveyed that NIKE was succeeding in each of the key aspects of the CDA strategy and

that the CDA strategy was propelling long-term sustainable growth, which was materially

misleading for the reasons stated in paragraph 437. Defendants’ claim that NIKE’s “unique

advantages” were presently driving “competitive separation,” conveyed that NIKE had

successfully maintained its brand strength and competitive standing, which was materially

misleading for the reasons stated in paragraph 435. Defendants’ statement that NIKE was presently

investing in “innovation” that was contributing to “broad based growth” conveyed that NIKE had

maintained an innovative product pipeline, which was materially misleading for the reasons stated

in paragraph 434.

       577.    On June 29, 2023, during NIKE’s FY 2023 Q4 Earnings Call (“June 29, 2023

Earnings Call”), Defendant Donahoe falsely touted the success of the CDA strategy and NIKE’s

competitive standing:

       Fiscal ‘23 was a milestone year for NIKE, as we set new records while delivering
       on our operational and financial goals. It’s clear that our strategy is working, and
       that NIKE’s unique advantages continue to drive competitive separation.

       578.    Defendants’ claim that NIKE’s “strategy is working” conveyed that NIKE was

succeeding in each of the key aspects of the CDA strategy and that the CDA strategy was

propelling long-term sustainable growth, which was materially misleading for the reasons stated


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in paragraph 437. Defendants’ claim that NIKE’s “unique advantages” were presently driving

“competitive separation,” conveyed that NIKE had successfully maintained its brand strength and

competitive standing, which was materially misleading for the reasons stated in paragraph 435.

         579.   During the June 29, 2023 Earnings Call, Defendant Donahoe also falsely assured

investors of the CDA strategy’s continued success:

         In the end, our CDA strategy is working. Our brands have strong energy. Our
         innovation pipeline is as relentless as ever and we’re executing against what matters
         most to consumers. And as we look to fiscal ‘24, NIKE will occupy the same
         leadership position that we earn year after year as we usher our industry into the
         future.

         580.   This statement conveyed that NIKE was succeeding in each of the key aspects of

the CDA strategy and that the CDA strategy was propelling long-term sustainable growth, which

was materially misleading for the reasons stated in paragraph 437.

         581.   During the June 29, 2023 Earnings Call, Defendant Friend falsely maintained that

NIKE had increased its competitive separation:

         Throughout the year, we drove competitive separation by doing what NIKE does
         best, serve athletes with product innovation and rich storytelling, amplify our brand
         voice through key sport and consumer moments, deepen consumer connections
         across our portfolio and actively manage the marketplace to drive sustainable
         profitable growth.

         582.   This statement conveyed that NIKE had successfully maintained its brand strength

and competitive standing, which was materially misleading for the reasons stated in paragraph

435.

         583.   During the June 29, 2023 Earnings Call, Defendant Friend falsely touted NIKE’s

partnership with Adobe in claiming that NIKE had developed key DTC technological capabilities,

including consumer personalization:

         By better knowing and serving the consumers who love our brands, we are also
         unlocking strategic and financial benefits for NIKE. For example, we have

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       partnered with Adobe to enable one-to-one member personalization, driving
       gains in member retention, click-through rates and conversion, resulting in
       higher demand per member and returns on digital ad spend. We are only
       beginning to operationalize these new capabilities and consumer experiences on
       our digital platforms, and we see even greater opportunity to come.

       584.    Defendants’ claim that NIKE’s Adobe partnership had “enable[d] one-to-one

member personalization” for consumers conveyed that NIKE had successfully built out the

technological capabilities and organization needed for the CDA strategy to succeed, which was

materially misleading for the reasons stated in paragraph 432. Specifically, as described in

paragraph 432, NIKE’s DTC technology, including personalization technology, remained

deficient throughout the Class Period, and NIKE’s partnership with Adobe was a failure from its

start in 2021, including because it did not successfully build out such consumer personalization

technology during the Class Period.

       585.    Analyst coverage shows that investors were misled by the above misstatements.

For example, J.P. Morgan published an analyst report on June 30, 2023, giving NIKE an

“Overweight” stock rating and specifically quoted Defendant Donahoe’s misrepresentation that

“[i]n the end our CDA strategy is working” as an example of a key “takeaway” from NIKE’s

earnings call the day before.

       Z.      July 20, 2023 — Form 10-K

       586.    On July 20, 2023, Defendants filed their Annual Report on Form 10-K for the fiscal

year ended May 31, 2023 (“July 2023 10-K”), which was signed by Defendants Donahoe and

Friend. In it, Defendants stated that NIKE’s potential inability to “adjust[] the mix of existing

product offerings” and “develop[] new products, styles and categories” to meet consumer demand

were hypothetical risks that “could have a material adverse effect on our sales and profitability.”




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       587.    This statement was materially misleading for the reasons stated in paragraph 434.

In particular, Defendants’ hypothetical warnings about NIKE’s product offerings—e.g., that a

potential failure to adjust the mix of NIKE products and develop new products to meet customer

demand “could” negatively impact NIKE’s business—were materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE had already failed to maintain its

innovative product pipeline and instead relied on unsustainably flooding with the market with its

classic franchises.

       588.    The July 2023 10-K also included a materially misleading risk disclosure regarding

NIKE’s competitive standing, in which Defendants stated:

       If we do not adequately and timely anticipate and respond to our competitors, our
       costs may increase, demand for our products may decline, possibly significantly,
       or we may need to reduce wholesale or suggested retail prices for our products.

       589.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential failure to “respond to our

competitors” “may” negatively impact NIKE’s business was materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and competitive

standing had already declined, thereby inhibiting the success of the CDA strategy.

       590.    The July 2023 10-K included an additional materially misleading risk disclosure

regarding NIKE’s brand strength, in which Defendants stated that a potential “[f]ailure to

maintain our reputation, brand image and culture could negatively impact our business.”

       591.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential “[f]ailure to maintain our

reputation [and] brand image . . . could negatively impact our business” was materially




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misleading because Defendants knew, or were reckless in not knowing, that NIKE’s brand equity

and competitive standing had already declined, thereby inhibiting the success of the CDA strategy.

       592.    Further, the July 2023 10-K included a materially misleading risk disclosure

regarding NIKE’s DTC technology, in which Defendants stated:

       In addition, we have made significant investments in digital technologies and
       information systems for the digital aspect of our NIKE Direct operations, and our
       digital offerings will require continued investment in the development and
       upgrading of our technology platforms. In order to deliver high-quality digital
       experiences, our digital platforms must be designed effectively and work well with
       a range of other technologies, systems, networks, and standards that we do not
       control. We may not be successful in developing platforms that operate effectively
       with these technologies, systems, networks or standards.

       593.    This statement was materially misleading for the reasons stated in paragraph 432.

In particular, Defendants’ hypothetical warnings that NIKE “may not be successful” in developing

technology critical to NIKE’s DTC operations was materially misleading because Defendants

knew, or we reckless in not knowing, that NIKE already was struggling to build out and unify its

DTC technological capabilities and organization, which were critical for the CDA strategy to

succeed.

       AA.     September 12, 2023 — Annual General Meeting

       594.    At NIKE’s September 12, 2023 Annual General Meeting, in response to a

shareholder question read by Defendant Parker regarding whether NIKE had “changed” its

strategy considering recent “headlines about re-entering various wholesalers,” Defendant Donahoe

misleadingly claimed that NIKE had not altered its wholesale and DTC strategies:

       Our marketplace strategy remains the same. Simply put, our focus is to serve
       consumers with what they want, when they want it and how they want it. And NIKE
       creates distinction across the marketplace by segmenting our consumer experiences
       to drive deep and direct connections with consumers across all channels.




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       595.      NIKE’s claim that its marketplace strategy had not changed conveyed that NIKE

had effectively driven business to its DTC channels while meeting consumer demand without

depending on its wholesale partners, which was materially misleading for the reasons stated in

paragraph 436.

       596.      At NIKE’s September 12, 2023 Annual General Meeting, in response to a

shareholder question read by Defendant Parker about NIKE’s innovation pipeline, Defendant

O’Neill falsely claimed that NIKE’s innovation pipeline enabled it to maintain its leading

competitive position:

       Our Consumer Direct Acceleration strategy continues to unlock our future growth
       potential by powering up our holistic offense across product, innovation,
       storytelling and marketplace, all fueled by consumer insights and the voice of the
       athletes. Everything we do starts with listening to the voice of the athletes. And our
       pipeline is built to serve consumers across all sports, all geographies and all levels
       of play from elite to everyday athletes. And more and more, we’re evolving from
       sponsorship to partnership [], meeting athletes where they are and doing what we
       do best, turning insights into actions. Some examples include Nike’s Athlete Think
       Tank;        Serena        Williams       Design        Crew;        and        Megan
       Rapinoe’s Victory Redefined Collection.

       Our consumer insights, research and development, and innovation pipeline
       continue to keep us in the lead.

       597.      This statement conveyed that NIKE had maintained an innovative product pipeline,

which was materially misleading for the reasons stated in paragraph 434.

       BB.       September 28, 2023 — FY 2024 Q1 Earnings Announcement

       598.      On September 28, 2023, during NIKE’s FY 2024 Q1 earnings call, Defendant

Donahoe falsely touted NIKE’s purportedly “strong” innovative product pipeline:

       Now, our teams have been back together in-person over the past 15 months and our
       innovation pipeline is strong and it was on full display. The excitement and
       alignment of our leadership team was clear as we continued to obsess the product
       and storytelling we’ll be bringing to life for consumers at the Paris Olympics and
       into the fall. Simply put, our teams are on the offense as we compete to win in all
       segments.

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       599.    This statement conveyed that NIKE had maintained an innovative product pipeline,

which was materially misleading for the reasons stated in paragraph 434.

       CC.     December 21, 2023 — FY 2024 Q2 Earnings Announcement and First Partial
               Disclosure of the Truth / Materialization of the Risk

       600.    On December 21, 2023, for the first time, the failure of the CDA strategy was

partially revealed, as discussed in full infra, Section VI.A.

       601.    However, even after these disclosures, the price of NIKE Stock remained

artificially inflated, as Defendants continued to mislead investors about the CDA strategy.

       602.     Specifically, on December 21, 2023 during NIKE’s FY 2024 Q2 earnings call

(“December 21, 2023 Earnings Call”), in response to a J.P. Morgan analyst’s question asking

Defendants to “elaborate on the structural changes that [they] cited,” Defendant Donahoe touted

the purported success of NIKE’s reorganization:

       [S]ix months ago, we realigned our entire organization under Heidi O’Neill and
       Craig Williams as our Co-Presidents, and it is making a huge difference in our
       focus and ability to execute.

       603.    Defendants’ claim that NIKE had “realigned” its organization, and that this

reorganization was benefitting NIKE’s “ability to execute,” conveyed that NIKE’s reorganization

had successfully established a streamlined organizational structure, including by successfully

reorganizing its business around gender and age-based consumer constructs, which was materially

misleading for the reasons stated in paragraph 433.

       DD.     March 21, 2024 — FY 2024 Q3 Earnings Announcement and Second Partial
               Disclosure of the Truth / Materialization of the Risk

       604.    On March 21, 2024, the failure of the CDA strategy was further partially revealed,

as discussed in full infra, Section VI.B.




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       605.    However, even after these disclosures, the price of NIKE Stock remained

artificially inflated, as Defendants continued to mislead investors about the CDA strategy.

       606.    For example, while acknowledging that NIKE needed to make certain

“adjustments” to the CDA strategy, Defendant Donahoe minimized those issues and continued to

tout the strategy’s purported success, falsely claiming that “our Consumer Direct Acceleration

strategy has driven growth and direct connections with consumers.” This statement conveyed

that the CDA strategy had in fact propelled long-term sustainable growth for NIKE, and that only

minor “adjustments” were needed to continue that growth, which was materially misleading for

the reasons stated in paragraph 437, including that (i) the initial growth of NIKE’s DTC channels

during the Class Period was driven by unrelated, temporary factors (i.e., the COVID-19 pandemic,

NIKE’s pre-CDA pipeline of products, and NIKE’s oversaturation of the market with key classic

products); and (ii) a legion of internal warning signs showed Defendants throughout the Class

Period that the CDA strategy was failing and that NIKE’s initial financial growth was

unsustainable long-term.

       EE.     July 25, 2024 — Form 10-K

       607.    On July 25, 2024, Defendants filed their Annual Report on Form 10-K for the fiscal

year ended May 31, 2024 (the “July 2024 10-K”), which was signed by Defendants Donahoe and

Friend. In it, Defendants stated that NIKE’s potential inability to “adjust[] the mix of existing

product offerings” and “develop[] new products, styles and categories” to meet consumer demand

were hypothetical risks that “could have a material adverse effect on our sales and profitability.”

       608.    This statement was materially misleading for the reasons stated in paragraph 434.

In particular, Defendants’ hypothetical warnings about NIKE’s product offerings—e.g., that a

potential failure to adjust the mix of NIKE products and develop new products to meet customer


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demand “could” negatively impact NIKE’s business—were materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE had already failed to maintain its

innovative product pipeline, and instead relied on unsustainably flooding with the market with its

classic franchises.

       609.    The July 2024 10-K also included a materially misleading risk disclosure regarding

NIKE’s competitive standing, in which Defendants also stated:

       If we do not adequately and timely anticipate and respond to our competitors, our
       costs may increase, demand for our products may decline, possibly significantly,
       or we may need to reduce wholesale or suggested retail prices for our products.

       610.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential failure to “respond to our

competitors” “may” negatively impact NIKE’s business was materially misleading because

Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and competitive

standing had already declined, thereby inhibiting the success of the CDA strategy.

       611.    The July 2024 10-K included an additional materially misleading risk disclosure

regarding NIKE’s brand strength, in which Defendants stated that a potential “[f]ailure to

maintain our reputation, brand image and culture could negatively impact our business.”

       612.    This statement was materially misleading for the reasons stated in paragraph 435.

In particular, Defendants’ hypothetical warnings that NIKE’s potential “[f]ailure to maintain our

reputation [and] brand image could negatively impact our business” was materially misleading

because Defendants knew, or were reckless in not knowing, that NIKE’s brand equity and

competitive standing had already declined, thereby inhibiting the success of the CDA strategy.

       613.    Further, the July 2024 10-K included a materially misleading risk disclosure

regarding NIKE’s DTC technology, in which Defendants stated:


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        In addition, we have made significant investments in digital technologies and
        information systems for the digital aspect of our NIKE Direct operations, and our
        digital offerings will require continued investment in the development and
        upgrading of our technology platforms. In order to deliver high-quality digital
        experiences, our digital platforms must be designed effectively and work well with
        a range of other technologies, systems, networks, and standards that we do not
        control. We may not be successful in developing platforms that operate effectively
        with these technologies, systems, networks or standards.

        614.   This statement was materially misleading for the reasons stated in paragraph 432.

In particular, Defendants’ hypothetical warnings that NIKE “may not be successful” in developing

technology critical to NIKE’s DTC operations was materially misleading because Defendants

knew, or we reckless in not knowing, that NIKE already had struggled and failed to build out and

unify its DTC technological capabilities and organization, which were critical for the CDA strategy

to succeed.

VI.     LOSS CAUSATION

        615.   During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated and/or maintained the price of

NIKE Stock at inflated levels and operated as a fraud or deceit on Class Period purchasers of NIKE

Stock by failing to disclose and misrepresenting the adverse facts detailed herein.

        616.   Class members unknowingly and in reliance upon Defendants’ materially false or

misleading statements and/or omissions purchased NIKE Stock at artificially inflated prices. But

for Defendants’ misrepresentations, omissions, and fraudulent scheme, Lead Plaintiffs and other

Class members would not have purchased NIKE Stock at the artificially inflated prices at which it

traded during the Class Period.

        617.   The truth regarding Defendants’ fraud was revealed in a series of partial disclosures

of the truth and/or materializations of concealed risk that occurred between December 21, 2023

and October 1, 2024. During this period, the price of NIKE Stock fell precipitously as the artificial

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inflation caused by Defendants’ unlawful conduct exited the price of NIKE Stock. It was not until

the final disclosure of the truth and/or materialization of concealed risk on October 1, 2024, that

the full truth was known to the market, such that there was no longer any artificial inflation in the

price of NIKE Stock attributable to the fraud.

       618.    The declines in the price of NIKE Stock during this period, including the declines

summarized below, are directly attributable to the market absorbing information that revealed the

truth and/or reflected the materialization of risks concealed by Defendants’ material

misrepresentations or omissions.

       619.    As a result of their purchases of NIKE Stock during the Class Period, Lead

Plaintiffs and the other Class members suffered economic loss (i.e., damages) under the federal

securities laws. Defendants’ materially false and misleading statements had the intended effect and

caused NIKE Stock to trade at artificially inflated levels throughout the Class Period.

       620.    By concealing from investors the adverse facts detailed herein, Defendants

presented a misleading picture of NIKE’s business. As the truth about the Company and the extent

of Defendants’ fraud was revealed to the market, the price of NIKE Stock fell significantly. These

declines removed the artificial inflation from the price of NIKE Stock, causing real economic loss

to investors who had purchased NIKE Stock during the Class Period.

       621.    Each decline in the price of NIKE Stock, as detailed below, was a direct or

proximate result of the nature and extent of Defendants’ fraudulent misrepresentations and/or

omissions being revealed to investors and the market.

       622.    The economic loss (i.e., damages) suffered by Lead Plaintiffs and other Class

members was a direct result of Defendants’ fraudulent scheme to artificially inflate and/or maintain

the price of NIKE Stock at inflated levels and the subsequent significant decline in the value of

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NIKE Stock when Defendants’ prior misrepresentations and other fraudulent conduct were

revealed.

       623.    The market for NIKE Stock was open, well-developed, and efficient at all relevant

times, with average daily trading volume of approximately 8.27 million shares during the Class

Period. As a result of Defendants’ misstatements and material omissions, as alleged herein, NIKE

Stock traded at artificially inflated prices throughout the Class Period. Lead Plaintiffs and other

Class members purchased NIKE Stock relying upon the integrity of the market relating to NIKE

Stock and suffered economic losses as a result thereof.

       624.    The declines in the price of NIKE Stock on December 22, 2023, March 22, 2024,

June 28, 2024, and October 2, 2024, were a direct result of the nature and extent of Defendants’

prior misstatements and omissions being revealed after the market closed on December 21, 2023,

March 21, 2024, June 27, 2024, and October 1, 2024. Each of these stock price declines is

statistically significant at a 100% confidence level. The timing and magnitude of NIKE Stock’s

price declines evidence the impact Defendants’ statements had on the Company’s stock price

during the Class Period and negate any inference that the loss suffered by Lead Plaintiffs and other

Class members was caused by changed market conditions or macroeconomic, industry, or

Company-specific factors unrelated to Defendants’ fraudulent conduct.

       A.      December 21, 2023 — First Partial Disclosure of the Truth / Materialization
               of the Risk

       625.    Investors began to learn the truth about the CDA strategy’s failure on December

21, 2023.

       626.    On December 21, 2023, NIKE announced disappointing financial results for the

second quarter of FY 2024. NIKE disclosed quarterly revenue of $13.39 billion, which was

approximately $40 million below analysts’ consensus estimate of $13.43 billion. NIKE also
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disclosed that its Direct revenue was $5.7 billion, below the consensus estimate of $5.88 billion.

These disappointing financial results, which revealed particular softness in NIKE Direct revenue—

the DTC segment at the core of the CDA strategy—began to show investors that the CDA strategy

was failing to deliver the sustainable growth that Defendants had touted.

       627.    NIKE concurrently lowered its financial guidance for FY 2024, revealing to

investors that the CDA strategy’s failures would have ongoing negative consequences for the

Company’s business. In particular, on NIKE’s December 21, 2023 Earnings Call, Defendant

Friend stated that NIKE “expect[ed] Q3 reported revenue to be slightly negative as we again

compare to double-digit growth in the prior year and Q4 reported revenue to be up low-single

digits with full-year reported revenue now growing approximately 1%.” This contrasted with

NIKE’s prior financial guidance announced on the Company’s September 28, 2023 Earnings Call,

where Defendant Friend stated that the Company expected “reported revenue to grow mid-single

digits.” During the December 21, 2023 Earnings Call, Defendant Friend cited several factors to

explain the lowered guidance, including “adjusted digital growth plans based on recent digital

traffic softness . . . higher marketplace promotions [and] lifecycle management of key product

franchises.” Thus, NIKE revealed that it was anticipating slower growth in its Digital channels—

i.e., a key part of DTC segment that was expected to fuel NIKE’s growth as part of the CDA

strategy—because of low customer traffic on those platforms (i.e., website, mobile apps, and the

like) and the necessity to discount and reduce the supply of (i.e., “manage[]”) key product

franchises to account for lagging demand. Defendant Friend provided additional color on NIKE’s

oversupply of its key product franchises, stating that NIKE was “stepping up our plans to reduce

marketplace supply of our key franchises,” and that the Company was facing “increased macro

headwinds, especially on Digital.”

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       628.    During the December 21, 2023 Earnings Call, Defendants also announced that

NIKE was forced to initiate massive cost-cutting measures due to the CDA strategy’s failure.

Specifically, Defendant Friend disclosed that NIKE was “identifying opportunities across the

[C]ompany to deliver up to $2 billion in cumulative cost savings over the next three years, both

up and down our P&L and across our value chain.” Defendant Friend explained that this

reorganization was necessary because the CDA strategy had added “complexity and inefficiency”

to NIKE’s operations. In the same call, Defendant Donahoe also disclosed that Defendants knew

NIKE “must be faster, increasing the pace of innovation, increasing the pace of market to

consumer and increasing our agility and responsiveness,” and that during “[t]he second half of

fiscal 2024 represents the start of a multiyear product innovation cycle that will introduce new

franchises, concepts, and platforms, elevating our full portfolio. And while there’ll be some key

moments in the second half, this new innovation cycle will take some time to fully ramp up, given

our size and scale.” These disclosures partially revealed to investors not only that the CDA

strategy was failing, but that under this CDA strategy, NIKE had been failing to adequately invest

in product innovation, resulting in innovation stagnation, which endangered NIKE’s brand strength

and competitive position and now needed to be reversed using this new initiative of “a multiyear

product innovation cycle.”

       629.    On this news, the price of NIKE Stock declined $14.49 per share, or nearly 12%,

from a close of $122.53 per share on December 21, 2023, to close at $108.04 per share on

December 22, 2023.

       630.    Investors and analysts were surprised and disappointed by these revelations. For

example, in a December 22, 2023 report, Morgan Stanley wrote that “the magnitude of [NIKE’s]

cut surprised to the downside,” and explained that this revenue guidance cut was due to factors

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such as “digital channel softness [and] intentional supply reduction of key product franchises.”

This report further stated that these factors “sent NKE stock -12%.” Similarly, in a December 22,

2023 report, UBS noted that “Nike announced an uncharacteristic plan to reduce costs by $2B over

3 years. . . . Nike will use some cost saves to accelerate innovation and improve speed. This is

surprising since these have been objectives for the last 5+ years. We assumed Nike made more

progress in these areas.”

       631.    On December 22, 2023, analysts at Cowen Research decreased their NIKE Stock

target price from $129.00 to $104.00, Evercore ISI downgraded their target price from $137.00 to

$122.00, and Raymond James downgraded their target price from $130.00 to $124.00, to name a

few examples. HSBC Research, assigning a “Hold” rating, wrote on December 21, 2023 that if

“you want to buy sales growth, look somewhere else” besides NIKE Stock—as “the Nike brand

[h]as not [been] where it should be on running, and we have made the case that it has been

bleeding market share to more nimble players in both footwear and apparel.” On the same date,

Seaport Research Partners issued a report assigning NIKE Stock a “Neutral” rating and noting that

“2Q24 looked pretty bad for Nike, Jordan, and Converse.” They added: “[c]ompared to N[I]KE,

we continue to see momentum across certain athletic brands, namely HOKA and New Balance,

which we believe are eating into N[I]KE’s market share for running shoes. Also, we believe that

adidas is eating into N[I]KE’s market share for court shoes. We believe that footwear demand,

especially athletic footwear, is driven by key franchises. As such, we suspect that N[I]KE is being

negatively impacted by weakness across certain key footwear franchises, and that is partly due to

the strength of certain competitor franchises.”

       632.    Coverage by media outlets also demonstrates that investors were surprised and

disappointed by NIKE’s disclosures, including the Company’s loss of competitive advantages and

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lack of innovation. For instance, according to a December 22, 2023 Reuters article titled “Nike’s

powerhouse labels lose footing against upstart brands, analysts say,” analysts covering NIKE

believed that NIKE “is starting to lose share to upstart sneaker brands . . . and will need to invest

in fresher styles.” The article highlighted that “[a]t least six brokerage[s] cut their price target on

Nike and two downgraded the stock.”

       633.    Still, the Company’s stock remained artificially inflated, even after this news, as

Defendants continued to reassure the market that the CDA strategy was working. For instance, on

the December 21, 2023 Earnings Call, Defendant Donahoe misleadingly reassured investors that

NIKE’s latest reorganization efforts around the gender and age-based consumer constructs had

been effective: “six months ago, we realigned our entire organization under Heidi O'Neill and

Craig Williams as our Co-Presidents, and it is making a huge difference in our focus and ability

to execute.” Defendant Donahoe continued: “[W]e’re single-mindedly focused on aligning our

entire team to drive what NIKE does best: innovative product, combined with distinctive

storytelling, combined with unique marketplace experiences. And as Matt just said, we have a real

focus, Heidi, Craig and teams, a real focus on newness and driving our next product innovation

cycle, which will elevate our entire portfolio.”

       634.    On the December 21, 2023 Earnings Call, Defendant Friend further reassured

investors that NIKE was managing the supply of its key products, stating “our top franchises

continue to drive strong full-price sales, but we intentionally manage the lifecycle of these models

across the marketplace for long-term value.” Defendant Friend also claimed NIKE was seeing

strong consumer demand due to its innovative products, stating “we saw strong consumer response

to newness and premium innovation.” Defendant Friend further reassured investors that NIKE’s

strategies would allow to drive growth: “Taken altogether, strong gross margin execution and

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disciplined cost controls are enabling us to offset softer second half revenue and drive earnings

growth. Excluding restructuring charges, we expect to deliver on our prior full-year earnings

outlook. While we expect the operating environment to remain dynamic, we have been here before

and we know that moments like this are when NIKE operates and executes at its best.”

        635.      Analysts were reassured by Defendants’ positive statements. For instance, on

December 22, 2023, Deutsche Bank Research assigned NIKE Stock a “Buy” rating and wrote that

it viewed NIKE’s cost cutting efforts “positively as they are geared toward streamlining the

organization, accelerating innovation, and increasing speed to market, all aiming to drive greater

profitability.”

        B.        March 21, 2024 — Second Partial Disclosure of the Truth / Materialization
                  of the Risk

        636.      The truth behind the CDA strategy’s failure was further partially revealed on March

21, 2024, when NIKE announced its financial results for Q3 2024 and lowered its gross margin

guidance for FY 2024. Defendants advised investors they expected NIKE’s full year gross margins

to expand only 120 basis points, in contrast to the expected full year gross margin expansion of

140 to 160 basis points announced in the December 21, 2023 Earnings Call. As described earlier,

supra, analysts believed the CDA strategy was critical to expanding NIKE’s margins and,

therefore, this lowered margins guidance partially revealed the CDA strategy’s failure. Defendants

also attributed NIKE’s disappointing guidance to the CDA strategy’s failure, thus further partially

revealing that the CDA strategy was failing to propel long-term, sustainable growth. In particular,

on NIKE’s March 21, 2024 earnings call discussing these results, Defendant Friend attributed

NIKE’s lowered margins guidance to several factors, including “higher markdowns [and] reduced

benefits from channel mix due to franchise lifecycle management.” On the same call, Defendant

Friend similarly disclosed that NIKE expected “revenue in the first half of the fiscal year [FY
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2025] to be down low single digits,” which he attributed “near-term headwinds from lifecycle

management of our key product franchises.” Thus, Defendants revealed on this call that NIKE had

misaligned the supply of these “franchises” (i.e., classic products) so poorly during the Class

Period that NIKE’s remedial measures to limit the supply of these products had forced NIKE to

cut its margin guidance and revenue guidance. Defendant Friend further explained that “[l]ooking

ahead, we expect lifecycle management of key product franchises to create some near term

headwinds, particularly on Digital.”

        637.    NIKE needed to engage in this drastic reduction of supply because the Company

had flooded the market with its classic franchises during the Class Period. This was necessary

because NIKE had failed to produce new innovative products as part of the CDA strategy. Indeed,

during this call Defendant Donahoe partially revealed that NIKE had failed to effectively innovate

as part of the CDA strategy, stating that “we must drive a continuous flow of new product

innovation.” Defendant Friend elaborated, stating that NIKE had to “shift our product portfolio

toward newness and innovation.” Defendant Donahoe also admitted that NIKE had been “missing

some product newness at scale in our portfolio over the last several seasons,” which partially

revealed to investors that NIKE had failed to maintain an innovative product pipeline for at least

several months preceding this announcement.

        638.    Defendants also elaborated on additional aspects of the CDA strategy’s failures.

Specifically, Defendant Donahoe admitted that the CDA strategy’s failures required that NIKE

make substantial adjustments in four key areas, including that NIKE would (i) refocus back to

sport categories, (ii) increase innovation, (iii) strengthen its brand marketing, and (iv) shift back to

its wholesale partners to reach its sales goals (and thus effectively pulling back from its DTC

channels). Specifically, he stated: “While our Consumer Direct Acceleration Strategy has driven

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growth and direct connections with consumers, it’s been clear that we need to make some

important adjustments. Simply put, we need to make adjustments in four areas. We need to

sharpen our focus on sport, we must drive a continuous flow of new product innovation, our

brand marketing must become bolder and more distinctive. And while NIKE Direct will continue

to play a critical role, we must lead in with our wholesale partners to elevate our brand and grow

the total marketplace.” Defendant Donahoe further explained that NIKE had started making such

major adjustments in June 2023, stating “[s]tarting last June, e aligned our organization to put

the consumer and a sharp focus on sport back at the center of everything we do. We integrated

our leadership structure, appointing Heidi O’Neill and Craig Williams as Co-Presidents.” These

statements partially revealed that the CDA strategy had failed to effectively align NIKE’s business,

maintain NIKE’s innovative product pipeline, preserve NIKE’s brand strength and competitive

position, and successfully pivot to DTC channel sales and away from its wholesale partners.

       639.    Defendants also elaborated on the CDA strategy’s failure to pivot away from sport-

based categories. Specifically. Defendant Donahoe explained that NIKE had “started nine months

ago [i.e., in June 2023] important adjustments in our offense,” including “putting the consumer

and sport squarely back into our offense.” In other words, Donahoe partially revealed that NIKE’s

CDA reorganization—in particular, around the consumer constructs of Men’s Women’s and

Kids’—had failed, forcing the Company to revert to organizing around sport-based categories, as

it did before the CDA strategy. Thus, Defendants confirmed they had been aware of the CDA’s

failure since at least summer 2023.

       640.    Defendants Donahoe and Friend also partially revealed that NIKE failed to

effectively respond to consumer demand for multi-brand shopping by pivoting towards DTC and

away from its wholesale retail partners during the Class Period. Specifically, Defendant Donahoe

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stated that NIKE: (i) was “increasing our investment in wholesale to help us elevate and grow the

entire marketplace”; (ii) “recognize[d] that our wholesale partners help us scale our innovation

and newness in physical stores and connect our brands in the path of the consumer”; (iii) “must

lean in with our wholesale partners to elevate our brand and grow the total marketplace”; and (iv)

had engaged in a “reinvestment with our wholesale partners so we bring a more holistic offense

that grows the market and gets in the path of our consumer,” and that this combination was “driving

[NIKE’s] growth.” Defendant Friend admitted Defendants had knowingly disregarded consumer

demand for multi-brand shopping so that Defendants could hit performance metrics: “we’ve been

more focused on trying to achieve [a] mix of marketplace targets than we have serving consumer

demand where the consumer is shopping.” Defendant Friend then went on, admitting further that

“[t]he consumer is still clearly shopping in multi-brand retail, and we need to elevate our brand

and our positioning to be able to serve the consumer.”

       641.    On this earnings call, Defendant Donahoe also partially revealed that NIKE had

failed to drive competitive separation, stating that the company’s “brand marketing must become

bolder and more distinctive,” thus partially revealing that NIKE’s brand equity and competitive

standing had diminished during the Class Period.

       642.    On this news, the price of NIKE Stock declined $6.96 per share, or nearly 7%, from

a close of $100.82 per share on March 21, 2024, to close at $93.86 per share on March 22, 2024.

       643.    Analysts were again surprised at NIKE’s poor financial results and extent of the

CDA strategy’s failure revealed in these disclosures. For instance, in a March 21, 2024 report,

Jeffries Equity Research assigned NIKE Stock a “Hold” rating, lowered their price target from

$110.00 to $100.00, and pointed out the “slowing trend ahead for revenue growth as old style

inventory is reduced and markdowns increase.” In the same report, Jeffries Equity Research also

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noted that “[f]or years [NIKE] pushed a narrative it would increase digital/direct and reduce

wholesale to improve margins and maximize customer impact. Problem is customers want to

buy NIKE everywhere so reducing wholesale dramatically seems like the wrong move in

hindsight. Now the company is left trying to figure out what the optimal mix between direct and

wholesale should be, and we won’t find that answer until an analyst day later this year.” Similarly,

in a March 21, 2024 report, Piper Sandler assigned NIKE Stock a “Neutral” rating, lowered their

price target from $107.00 to $98.00, and wrote that NIKE’s “[p]roduct lifestyle management will

pressure near-term sales as [NIKE] refocuses on product innovation and reinvesting in

wholesale.” Likewise, in a March 21, 2024 report maintaining NIKE Stock’s “Overweight” rating

but reducing the target price from $125.00 to $120.00, Wells Fargo Equity Research warned that

NIKE’s “franchise management will clearly be more of a headwind to the DTC/digital channel,”

because there was a greater excess of excessive key product franchises in NIKE’s digital channels.

And, in a March 22, 2024 report, Telsey Advisory Group maintained its “Outperform” rating but

lowered its price target from $120.00 to $115.00, stating that “NIKE has realized consumers like

shopping at multi-brand retailers and wants [to] gain share and improve its presence at retail.

In addition, NIKE admitted it had been too focused on hitting its DTC and digital sales targets

vs. serving consumer demand.”

       644.    Various media outlets also reported on NIKE’s disclosures of the CDA strategy’s

failure. For example, Defendants’ March 21, 2024 admissions regarding NIKE’s failure to meet

consumer demand for multi-brand retail shopping were discussed in a March 22, 2024 article in

SGB Media, titled “NIKE Admits it Has a Problem, and Its Solution is… Air?” When discussing

the March 21, 2024 earnings call, this article noted that “[t]he big moment for the marketplace

may have come when the CEO said that NIKE is increasing its investment in wholesale to

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elevate and grow the market.” This, the article explained, showed that “NIKE should not have

turned its back on its retail partners and upset the delicate balance of the marketplace ecosystem.

Instead, they opened the door for other brands like Hoka, On and New Balance to move into

leadership positions in the innovation pipeline. NIKE missed big on the partnership approach

with larger retailers that let other fashion-forward innovators take the shelf space NIKE walked

away from over the last few years.” The article quoted a note to investors by Amalthea Funds

stating that “NIKE used to have 30,000 wholesale arrangements (retailers who sold their product).

They cut this number sharply, down to 3,000 and told people they were going to 1,800.”

       645.    Still, the Company’s stock remained artificially inflated, even after this news, as

Defendants continued to reassure the market that the CDA strategy was working. For example,

while acknowledging that NIKE needed to make certain “adjustments” to the CDA strategy,

Defendant Donahoe continued to tout its success, falsely claiming that “[o]ur Consumer Direct

Acceleration strategy has driven growth and direct connections with consumers.” Defendant

Donahoe also continued to minimize the plight of the CDA strategy, claiming that NIKE was

“making significant progress . . . building a multiyear cycle of innovation that’s bringing freshness

and newness to consumers.” On the same earnings call, Defendant Donahoe similarly downplayed

NIKE’s dire situation, claiming that Company was “back on our front foot with growing

confidence in our innovation pipeline,” and “our innovation engine is moving with speed.”

       646.    Analysts were comforted by Defendants’ reassurances and minimizations of

NIKE’s DTC problems. For instance, in a March 21, 2024 report, Cowen Research wrote that

“[w]e believe direct to consumer expansion and [NIKE’s] Consumer Direct Acceleration

strategy could create a multi-year inflection in gross margin past prior peaks.” Likewise, in a

March 21, 2024 report assigning NIKE Stock a “Buy” rating, Guggenheim Securities opined that

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“we continue to look favorably upon Nike’s innovation pipeline and the ability to scale newness

across the marketplace, including its wholesale partners.” Similarly, in a March 22, 2024 report,

Bernstein Research assigned NIKE Stock an “Outperform” rating and noted that NIKE

management had told investors that “[i]nnovation is finally coming.”

        C.      June 27, 2024 — Third Partial Disclosure of the Truth / Materialization of
                the Risk

        647.    The truth behind the CDA strategy’s failure was further partially revealed on June

27, 2024, when NIKE announced a third consecutive quarter of disappointing financial results,

along with poor results for FY 2024. NIKE’s poor financial results included revenue for the fourth

quarter of $12.61 billion, which missed consensus estimates by $250 million. On NIKE’s June 27,

2024 earnings call, Defendant Friend explained that the disappointing results stemmed, in part,

from a decline in NIKE Digital sales of 10% and “lower sales of certain classic footwear

franchises.” Thus, NIKE’s poor results were caused by the CDA strategy’s failure to drive sales

toward NIKE’s DTC channels and the fact that NIKE had flooded the market with an over-supply

of its classic franchises, leading to lower sales.

        648.    NIKE also announced that it was lowering its revenue guidance for FY 2025 and

expected revenue growth in the first half and first quarter of FY 2025 to be materially constrained

due to the CDA strategy’s failure. Specifically, NIKE significantly reduced its guidance for FY

2025, with Defendant Friend stating that “we now expect fiscal 2025 reported revenue to be down

mid-single digits, with the first half down high single-digits.” As described below, in a related

earnings call Defendants attributed NIKE’s disappointing guidance to the CDA strategy’s failure,

thus further partially revealing that the CDA strategy was failing to propel long term, sustainable

growth.



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       649.    In particular, on NIKE’s June 27, 2024 Earnings Call, Defendant Friend explained

that NIKE had lowered its guidance due to factors such as “timelines and pacing to manage

marketplace supply of our classic footwear franchises,” and “lower NIKE Digital growth . . . as

we scale product innovation and newness across the marketplace.” Defendant Friend then

elaborated further, explaining that NIKE was “advancing our timelines to tighten total supply of

certain classic footwear franchises,” causing NIKE to “aggressively adjust[] our forward-looking

plans for these franchises on NIKE Digital, where they have their highest share of business.” These

actions, according to Defendant Friend, “create several points of short-term headwinds on

revenue in fiscal 2025.” Later in the earnings call, Defendant Friend added that NIKE had “started

managing these franchises a couple years ago, and what we were most focused on was the fact

that we needed to restrict supply of these franchises into the marketplace, because we had a gap

in innovation in our pipeline.” Thus, Defendant Friend directly admitted that Defendants knew

NIKE “had a gap in our pipeline” at least “a couple of years ago”—i.e., no later than summer

2022, as the CWs recounted—directly contrary to Defendants’ statements touting NIKE’s product

innovation pipeline at the time and afterwards during the Class Period.

       650.    Similarly, during this earnings call, Defendant Friend stated that NIKE expected

for FY 2025 that “first quarter revenue to be down approximately 10%,” which he attributed to

several factors, including “more aggressive actions in managing our classic footwear franchises,

continuing challenges on NIKE Digital, muted wholesale order books with newness not yet at

scale.” This admission further revealed the damage caused by NIKE’s CDA-era oversupply of

classic product franchises. Thus, Defendants attributed NIKE’s disappointing financial forecasts

to a lack of innovation and the fact that, due to this lack of innovation, NIKE had flooded the

market with an over-supply of its classic franchises. Now, NIKE had been forced to accelerate its

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reduction of the supply of those franchises. In other words, NIKE revealed that its franchise

management plan—i.e., its plan to intentionally pull its classic products off the market—was

inflicting even greater pain on NIKE’s revenue outlook than was previously disclosed, particularly

when combined with the fact that NIKE’s lacked “newness” (i.e., innovative products) to fill the

gap.

         651.   During the earnings call, Defendants further elaborated on the various key problems

underlying CDA strategy’s failures. For example, Defendants specifically noted NIKE’s lagging

innovation multiple additional times during this call. Specifically, Defendant Donahoe stated that

NIKE was “moving aggressively to reestablish our innovation edge” and noted that “[f]or NIKE,

fiscal 2024 was a pivotal year to get back on the offense in sport with consumers, led by an urgency

to accelerate our pace of innovation and scale newness across our product line.” Similarly,

Defendant Friend reiterated that NIKE needed to “scale product innovation and newness across

the marketplace.”

         652.   Defendant Donahoe also provided additional color on how the failure of the CDA

strategy had forced NIKE to depend on its wholesale partners to sell key products. For instance,

Donahoe admitted that NIKE had “spent a lot of time leaning in with our wholesale partners.”

This disclosure indicated that consumer demand for multi-brand shopping made NIKE dependent

on its wholesale partners, thus acknowledging that a central component of the CDA strategy (the

shift away from wholesale partners) had failed. Defendant Donahoe also stated that NIKE wanted

“to be where the consumer is, whether that’s digital, our own door, or wholesale, and so we’re

embracing a more balanced approach to growing the whole marketplace.” Defendant Friend then

confirmed that NIKE was “building momentum with our wholesale partners” and that the volatility

in NIKE’s financial results had been driven by “the dynamic of increasing supply . . . in the

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wholesale marketplace relative to having the supply of them on Digital.” This acknowledgment

indicated that consumer demand for multi-brand shopping had required NIKE to pivot back to

emphasizing selling products through its wholesale partners.

       653.    Defendant Donahoe also further partially revealed that the CDA strategy failed to

establish the streamlined organizational structure regarding consumer constructs previously

promised to investors. Specifically, Defendant Donahoe stated that NIKE was “now completely

aligned across the organization around sport field of play,” and that “over the last 90 days, we’ve

completed completely aligning our organization along the lines of sport.” He also acknowledged

that NIKE was “sharpening our focus on sport.” This was the first time that Defendants

acknowledged that the failure of NIKE’s reorganization pursuant to the CDA had forced NIKE to

once again formally institute sport-based categories like NIKE had done prior to CDA.

       654.    Defendants also partially revealed that NIKE’s brand equity and competitive

standing had continued to decline throughout the Class Period. In particular, Defendant Friend

admitted that “[a]lthough the next few quarters will be challenging, we are confident that we are

repositioning NIKE to be more competitive, with a more balanced portfolio to drive sustainable,

profitable, long-term growth.” This statement serves as an admission that NIKE had not

previously been well-positioned to compete effectively under the CDA strategy, which thus had

failed to drive sustainable, profitable growth.

       655.    Finally, Defendant Donahoe admitted that NIKE had known the CDA strategy was

a failure and thus had initiated a remediation plan since at least summer 2023, stating that NIKE

“set out our – what we’re calling our comeback plan a year ago.” Thus, Defendants internally

had already initiated a “comeback plan” no later than summer 2023—at the same time that they




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were publicly still professing the continued success of the CDA strategy, including its various key

components.

       656.    On this news, the price of NIKE Stock collapsed $18.82 per share, or nearly 20%,

the largest stock price drop in NIKE’s history, from a close of $94.19 per share June 27, 2024, to

close at $75.37 per share on June 28, 2024.

       657.    Analysts and investors were shocked by these revelations. For example, in a June

28, 2024 report, analysts at Bernstein Societe Generale Group, despite maintaining NIKE Stock’s

“Outperform” rating, reduced the target price from $120.00 to $112.00 and wrote that a “guidance

cut was expected, but the magnitude of it was startling.” The report went on to explain that

NIKE’s “Lifecycle Management process involves cutting distribution on older product to make

room for new innovation. The effect is most prominent on their own digital channel, where the

majority of the long tail of older product resides.” Likewise, in a June 27, 2024 report, maintaining

their “BUY” rating but “reducing our PO to $104 (from $113),” Bank of America highlighted that

NIKE’s “guidance reset was larger than expected as it expedites the reduction in lifestyle

franchises in its DTC channel.” Similarly, in a June 28, 2024 report, analysts at Raymond James

downgraded NIKE Stock’s rating from “Outperform” to “Market Perform” and noted that “[w]hile

Nike’s renewed focus on the Wholesale channel drove growth, it also distorts what Nike is aiming

for in terms of its [long term] channel mix.”

       658.    News media commentary further illustrates the market’s shocked reaction to

Defendants’ disclosures about the CDA strategy’s failures. For example, these revelations were

discussed in a July 9, 2024 Financial Times article, titled “Nike’s new chief runs into trouble as

turnaround efforts falter.” Notably, this article stated that NIKE’s June 28, 2024 stock price decline

was “the single-worst day for the swoosh since its 1980 initial public offering.” The article also

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discussed quality issues with certain NIKE products and quoted a longtime NIKE employee who

stated that such quality lapses “‘would never have happened” when Nike’s internal structure had

focused teams for each sport.’” The article further explained that “by eschewing longtime

wholesale partners, competing brands such as Hoka, On and New Balance took up Nike’s

market share at chains including Foot Locker.”

       659.    Still, the Company’s stock remained artificially inflated, even after this news, as

Defendants continued to downplay the disclosed problems. For instance, Defendant Donahoe

claimed that NIKE’s previously announced adjustments were working and that the Company was

“seeing momentum build in all four areas, particularly on the Performance side of our product

portfolio. We have work to do, but we’re on it. Our teams are moving with energy and urgency

against the opportunity we see in front of us.” Defendant Donahoe further reassured investors that

NIKE was “accelerating our innovation pipeline, including pulling forward several innovations,

some more than a year. We’re moving aggressively to reestablish our innovation edge.”

       660.    Defendant Donahoe also insisted that “our execution continues to stay on pace.”

Further, Defendant Friend reassured that “our past experience gives us confidence that proactively

rebalancing our portfolio will strengthen our competitive position and fuel brand momentum as

we take the consumer somewhere new.” Defendant Friend also stressed that “as we accelerate our

pace of newness and innovation, the early response from consumers and partners are reinforcing

our optimism in NIKE’s path forward.” Friend also claimed that “if I exclude the impact of the

biggest franchises on our Digital business, the rest of our Digital business was healthy and we were

pleased with the growth that it delivered. And so from that end, we feel comfortable in the way

that we’re looking at this.”




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       661.    Analysts were comforted by Defendants’ reassurances. For instance, on June 28,

2024, reiterating a “Buy” rating, Bank of America wrote: “we are encouraged by early signs that

innovation is resonating.”

       D.      October 1, 2024 —Final Partial Disclosure of the Truth / Materialization of
               the Risk

       662.    The full extent and financial impact of Defendants’ fraud was finally revealed on

October 1, 2024, when NIKE announced its financial results for the first quarter of 2025, which

again disappointed the market. In particular, NIKE announced that its first quarter revenue was

$11.59 billion, below consensus estimates of $11.64 billion. On the October 1, 2024 earnings call

discussing these results, Defendant Friend informed investors that NIKE’s poor sales for the

quarter were driven by “[t]raffic declines across NIKE Direct,” including “particular softness in

traffic on NIKE Digital.” Thus, Defendants directly acknowledged that NIKE’s continued poor

financial results were caused by the CDA strategy’s failure to drive sales toward NIKE’s DTC

channels, and thus achieve the promised sustainable, long-term growth.

       663.    During the same earnings call, Defendant Friend also disclosed that NIKE was

“withdrawing our full year guidance.” This announcement indicated that the CDA strategy had

failed to the point where NIKE could no longer reliably project its financial outlook. Defendant

Friend went on to explain that, looking forward, NIKE’s “revenue expectations have moderated

since the start of the year, given traffic trends on NIKE Digital, retail sales trends across the

marketplace and final order books for spring.” Further, the guidance that Defendants could provide

conveyed the dire state of NIKE’s business due to the CDA strategy’s failures. Specifically,

Defendant Friend told investors that NIKE expected “Q2 revenues to be down in the 8% to 10%

range. . . . Q2 gross margins to be down approximately 150 basis points,” because of “higher

promotions [and] channel mix headwind.”
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       664.    Defendants also elaborated on additional aspects of the CDA strategy’s failures,

thus further revealing the extent of NIKE’s DTC problems to the market. For instance, Defendant

Friend disclosed that the Company’s “[f]ranchise management” plan—which was required

because of NIKE’s previous oversaturation of the market with classic product franchises—was

even more destructive to NIKE’s revenues than previously disclosed. Specifically, Defendant

Friend stated that NIKE was “intentionally reducing the proportion of our business driven by our

classic footwear franchises: Air Force 1, Air Jordan 1 and Dunk,” and that “we have taken the

most aggressive actions in NIKE Direct, and especially, Digital.” He then explained that NIKE

was “actively rebalancing product allocations to our highest traffic channel in order to maximize

franchise health and full price realization.” Defendant Friend further disclosed that poor results

from these classic franchises drove particular sales weakness in NIKE’s Digital segment, stating:

“On Digital, we did see – we were down 20% in the quarter in Digital, and that was largely driven

by the three classic franchises being down nearly 50% versus the prior year.” Thus, Defendants

revealed that the financial impact of NIKE’s CDA-era practice of oversaturating the market with

its classic products was worse than previously disclosed, and was causing the Company ongoing

financial harm.

       665.    As discussed above, NIKE had originally oversaturated the market with its classic

franchises because it lacked an innovative product pipeline, and Defendants went on to reveal that

NIKE’s lack of innovation had persisted, compounding NIKE’s CDA strategy failures. During the

same call, Defendant Friend confirmed that NIKE had been failing to effectively innovate as part

of the CDA strategy, saying that that the Company “plan[s] to introduce and scale newness and

innovation across the marketplace,” and was “focused on trying to accelerate newness and

innovation in order to create more momentum with consumers and more energy with consumers.”

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       666.    Defendant Friend went on to detail several related unfavorable business trends

NIKE had seen in the first quarter of FY 2025—and which NIKE expected to continue into the

future—as a result of the CDA strategy’s failure, thus further revealing its continuing, severe

financial impact on NIKE’s business: “Our men’s and women’s lifestyle business was planned

down double digits in Q1, and we expect these declines to continue through the year. The Jordan

brand was planned down double digits this quarter. And we expect Jordan to be down at the same

rate for fiscal 2025. And we expect NIKE Digital to decline double digits in fiscal 2025 versus

the prior year. All taken together, these trends drove a mid-single digit headwind on Q1

revenue.” Defendant Friend further informed investors that “[f]ranchise management actions will

continue throughout the year.”

       667.    Defendant Friend also admitted that the CDA strategy had shifted too much towards

NIKE’s DTC business and thus needed to shift back to its wholesale partners, who had been critical

to the Company’s prior success. Specifically, he stated that NIKE had “been closely engaging with

our partners since we acknowledged some of the missteps related to over-centering on Direct.”

Indeed, Friend noted that “sales trends . . . in the wholesale channel were substantially better” than

the Digital sales trends of key product franchises. This further revealed that NIKE’s CDA strategy

had failed to account for consumer demand for multi-brand shopping.

       668.    Finally, Defendant Friend also acknowledged that NIKE had lost brand strength

and its competitive edge, stating that “the multi-brand environment is very competitive today, and

it will take time to expand market share.” Indeed, he added that NIKE had “acknowledged that

we’ve lost market share in the running specialty channel. More than four years ago, we pulled

back on our engagement with that channel. And as a result of that, we saw market share losses.”

Thus, NIKE admitted that its market share loss to competitors in its key running channel began as

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a result of its pullback from that channel four years earlier, i.e., in 2020—when the Company

launched its disastrous CDA strategy. Thus, Defendants directly connected NIKE’s diminished

competitive standing to its failed CDA strategy.

       669.    On this news, the price of NIKE Stock declined $6.03 per share, or approximately

6.8%, from a close of $89.13 per share on October 1, 2024, to close at $83.10 per share on October

2, 2024.

       670.    Investors and analysts were shocked by this final revelation of the CDA strategy’s

failure. For example, on October 2, 2024, Jeffries assigned NIKE Stock a “Hold” rating and

emphasized that “Digital is A Big Problem” for NIKE, and noted that “promos are rising, new

product will take time to resonate, if it does at all, and in the meantime competition is proving to

be more severe.” Similarly, on October 2, 2024, Truist reduced NIKE Stock’s price target to

$83.00 from $85.00, assigned a “Hold” rating, and noted that “[w]ith another miss vs depressed

expectations, Nike’s visibility into its own business appears lower than we previously anticipated.”

Likewise, in an October 2, 2024 report maintaining its “Market Perform” rating, Raymond James

wrote that “[t]raffic decline at Nike Direct was more severe than expected, particularly in

Digital.”

       671.    Moreover, various media outlets directly connected the Company’s stock price

decline to NIKE’s disappointing disclosures about the severity of the CDA strategy’s failures and

its dire financial impact on NIKE. For instance, an October 1, 2024 article in The Wall Street

Journal, titled “Nike Shares Slide After It Withdraws Year Forecast,” tied NIKE’s disclosures to

the decline in its stock price and explained that NIKE had “oversold” key products “and diluted

their cool in the process. The company is now aggressively reducing supply of those franchises

to save its most iconic sneakers. It is still making more of them than it can sell.” Similarly, an

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October 2, 2024 article in The Wall Street Journal titled, “Nike Needs Time to Get Off the

Sidelines,” described how the price of NIKE shares declined “as the company made it clear that

its turnaround might be more painful than investors thought.” In particular, the article described

that “[Defendant] Friend made it clear that Nike’s deliberate pullback from key franchises—Air

Force 1, Air Jordan 1 and Dunk—will continue to weigh on its top line for the rest of its fiscal

year.” The article also stated that the pivot back to its wholesale partners would not be the quick

fix for its CDA-caused problems that NIKE had hoped for, and that NIKE’s damaged competitive

position may be hard to repair: “The brand’s efforts to cozy up to its once-neglected retail

partners are having mixed effects. Order books for the coming spring season were roughly flat

compared with the prior year, lighter than Nike had hoped. Upstart brands such as Hoka and On

have made concerted efforts to fill the shelves that Nike left bare over the past few years; it is

clear that re-establishing dominant status with those retail partners won’t be easy.”

VII.     ADDITIONAL SCIENTER ALLEGATIONS

         672.   Defendants were active and culpable participants in the fraud, as evidenced by their

knowing and reckless issuance and/or ultimate authority over NIKE’s and their materially false or

misleading statements and omissions. The Individual Defendants acted with scienter in that they

knew or recklessly disregarded that the public statements more specifically set forth in Section V,

supra, were materially false or misleading when made, and knowingly or recklessly participated

or acquiesced in the issuance or dissemination of such statements as primary violators of the

federal securities laws. In addition to the specific facts alleged above, Defendants’ scienter is

further evidenced by the following facts.




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       A.      NIKE Executives, Including Individual Defendants, Attended Meetings and
               Received Critical Information Detailing the CDA Strategy’s Deficiencies

       673.    Throughout the Class Period, the Individual Defendants (alongside other NIKE

executives) attended critical meetings where the deficiencies of the CDA strategy were openly

discussed and acknowledged. These executives also received negative information regularly,

including in internal reports, showing that the CDA strategy was failing.

               1.      Meetings and Reports Regarding NIKE’s Deficient DTC Supply
                       Chain

       674.    Key executives, including Individual Defendants, attended meetings and received

reports where NIKE’s deficient DTC supply chain was openly discussed.

       675.    CW-1 detailed that NIKE held quarterly audit meetings attended by individuals

such as Mary Beth Laughton (Head of Global NIKE Direct to Consumer) and Sumi Ghosh (Global

VP of Stores). According to CW-1, Heidi O’Neill and Craig Williams would occasionally attend

as well, whereas Donahoe and Friend did not. However, per CW-1, reports came from these

meetings that went to the Board of Directors saying that supply chain problems were a huge issue

that needs to be fixed. CW-1 stated that Donahoe, Friend, O’Neill, and Williams received the

audit reports discussed at these meetings and were included on invites to these meetings. CW-1

recalled that the first quarterly audit session she attended was in the fall of 2022, soon after she

joined NIKE. CW-1 stated that there were two issues listed in these audit reports and discussed at

the quarterly meetings that related to her team throughout her tenure: NIKE’s supply chain

management problems and the lack of women employed at NIKE’s DTC stores. CW-1 added that

the person who ran supply chain prior to Laughton taking over advised that the supply chain issue

had been on the list for approximately ten years.




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               2.     Meetings and Reports Regarding NIKE’s Technology and
                      Technology-Organizational Failures

       676.    Allegations from multiple CWs show that the Individual Defendants and other key

members of management (including those who reported to the Individual Defendants) were fully

aware of the problems with NIKE’s DTC technology and technology organization that were

impeding the success of the CDA strategy.

       677.    Mid-2022 Meetings with O’Neill Regarding Technological and Technology-

Organizational Problems: As discussed supra, Section IV.B.1.b., the CDA strategy was not only

plagued by technological deficiencies, but NIKE’s internal technology group caused severe

problems internally due to a corrupt “shadow organization” set up by Chief Digital Information

Officer Ratnakar Lavu—all of which hindered the success of the CDA strategy. CW-3 indicated

that she met with O’Neill, a Human Resources employee, and others to discuss the problems with

Technology and its shadow organization. CW-3 added that the meeting in Paris highlighted the

incompetence, deceit, and related issues, and made them realize they needed to act. CW-3

described an additional meeting with O’Neill, Heaf, and a representative from Treasury, sometime

between May and July 2022, to further discuss problems with the Technology team. CW-3

recounted two facets to these problems: first, these problems were driving poor engagement with

the non-Technology DTC team, who could not meet their requirements, and wound up leaving

NIKE, costing the Company talent; second, the technology projects were costing much more than

NIKE’s management were told. CW-3 recounted, as an example, that Technology would state that

a project would cost X, when in reality it would cost six times that. CW-3 recalled O’Neill stating

that changes would be made, but she did not see any immediate changes.




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       678.    Thus, by no later than July 2022, the problems with the Lavu’s shadow organization

had been directly raised to Defendant O’Neill via CW-3, and Defendant O’Neill acknowledged

such problems but failed to act.

       679.    Monthly Technology Meetings with Donahoe, Friend, O’Neill, Campion, and

Lavu: CW-3 described meeting with four Vice Presidents and Heaf to inform them that she had

no faith in Technology’s ability to execute what they needed to do to support NIKE’s DTC

strategy, and to discuss Technology’s lack of transparency. CW-3 advised that that discussion led

to the establishment of monthly meetings, beginning sometime between May and July 2022, that

CW-3 attended with Donahoe, O’Neill, Friend, Campion, and Lavu. The purpose of these monthly

meetings was to force Lavu to be more transparent and cooperative, and to discuss progress

regarding technology investments underpinning NIKE’s DTC strategy. CW-3 elaborated that, by

holding these meetings, Lavu was forced to be more transparent. CW-3 recalled that at these

meetings, they discussed what the largest programs were in which they were investing, from a tech

perspective. CW-3 gave as an example a compliance maintenance program in China which caused

a major problem; the Company had to turn off its app in China in order to meet Chinese compliance

requirements. CW-3 advised that they also met directly with Donahoe about the compliance

problems, and Donahoe was able to start asking questions about it, including questions about costs

and timelines. CW-3 observed that it was clear that the Technology team could do very little but

was spending a lot of money and not making sufficient progress toward executing NIKE’s DTC

strategy.

       680.    Additionally, as described supra, Section IV.B.1.b., NIKE partnered with Adobe

beginning in 2021 to build out NIKE’s DTC marketing and other technology, but the partnership

failed to deliver. CW-3 reiterated that Donahoe was kept apprised of the problems with Adobe,

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as Adobe’s implementation and its progress were always featured in her monthly meetings with

Donahoe.

       681.    Thus, CW-3 confirmed that by the summer of 2022, CW-3 was having monthly

meetings with Donahoe and other executives, and that Donahoe was informed about the

problems within the Technology group led by Lavu.

       682.    Another CW corroborated CW-3’s account of her regular meetings with Donahoe

and Lavu regarding these technology problems. CW-12 advised that Donahoe, Lavu, and CW-3

regularly met during her tenure to discuss NIKE’s technology, and CW-12 appreciated hearing

about this collaboration. CW-12 stated that she did not attend these meetings, but she learned from

CW-3 that these meetings occurred. CW-12 stated that she became aware of these meetings prior

to CW-12’s departure in 2022. CW-12 clarified that Donahoe, Lavu, and CW-3 met to surf

NIKE.com and the NIKE app and discuss these platforms. CW-12 explained that NIKE employees

were frustrated when NIKE partnered with Adobe because there were already internal efforts to

accomplish the work that Adobe was then hired to do.

       683.    CW-3’s One-on-One Ad Hoc Meetings with Donahoe: In addition to the monthly

meetings that began in the summer of 2022, CW-3 advised that she had many one-on-one ad hoc

meetings with Donahoe throughout her time at NIKE and that CW-3 spoke to Donahoe about

these technological problems underpinning the DTC strategy at these meetings. CW-3 explained

that she and Donahoe held their one-on-one meetings in different ways; sometimes Donahoe would

call or FaceTime with her. CW-3 elaborated that even in January or February 2022, she was clear

with Donahoe about her concerns during their one-on-one meetings. CW-3 recalled that Donahoe

pushed to have more meetings so that he could have more visibility. CW-3 clarified that she had

been meeting informally with Donahoe since the start of her employment, but in February 2022

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she began telling Donahoe about the technological problems underpinning NIKE’s DTC

strategy and her concerns about Lavu; and between May and July 2022, CW-3 began

participating in the more formal monthly meetings with Donahoe, Friend, and other senior

executives to discuss the problems. As explained supra, Section IV.B.1.b., these meetings

included discussions of NIKE’s technology investments, personalization capabilities, and

compliance.

       684.    December 2021 Email to Donahoe Regarding Lavu: CW-8 detailed that upon

resigning from NIKE, she sent an email in December 2021 to Defendant John Donahoe, Defendant

Heidi O’Neill and David (surname not recalled) expressing her concern that Ratnakar Lavu was

the wrong person to execute the DTC strategy. CW-8 noted that she resigned from NIKE because

she felt that NIKE was unable to execute NIKE’s DTC strategy.

       685.    April 2022 Paris Meeting with Heaf: CW-3 recalled that problems with NIKE’s

DTC strategy were discussed at a meeting in Paris on April 27, 2022. CW-3 explained that this

meeting was attended by Heaf. (As discussed above, Heaf reported to Defendant O’Neill during

this time.) At the Paris meeting, CW-3 continued, CW-3 presented a detailed “roadmap” which

outlined the decline in dollars they had, their technology problems, how they were losing money

on their technology problems, how their costs were higher than anticipated, and how poorly the

money was being spent. CW-3 advised that she presented how dire the situation was,

communicating to Heaf that if changes were not made, they would “run out of runway” within

a few quarters to leverage the technological capabilities that they could employ. CW-3 recalled

that there was frustration at the meeting that they were running out of money to complete the

technology projects that were needed to underpin NIKE’s DTC strategy. CW-3 recounted that they

felt NIKE had good product selection and depth, and that they could still manage and sell inventory

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well and play on margin dollars at that time. However, CW-3 added, given the outlook presented

at this meeting, the attendees knew that things would get worse in all of those dimensions, which

they did. CW-3 confirmed that off-site meetings such as this Paris meeting occurred every six

months.

       686.    Quarterly DTC Meetings: CW-3 advised that the DTC team met quarterly with

Heaf to discuss the DTC strategy and to prepare Heaf to present to Donahoe regarding the

strategy. CW-3 elaborated that at these quarterly meetings with Heaf, they discussed all aspects of

the division’s performance, including the digital business, geography, how the technology was

progressing, and other matters. CW-3 added that Heaf then met directly with Williams, O’Neill,

Donahoe, and Friend, and other senior leaders for approximately a day and a half to discuss

NIKE’s DTC business strategy. CW-3 was not present for those meetings, but CW-3 noted that

she received many text messages from Heaf asking questions during the meetings, and that after

Heaf met with Donahoe and the C-suite, Heaf would debrief her and the rest of Heaf’s team about

the meeting.

       687.    Accordingly, by no later than April 2022, Heaf—who reported to Defendant

O’Neill—was apprised in significant detail of the severe technology problems plaguing NIKE’s

DTC strategy, and, during the Class Period, Heaf was meeting on a quarterly basis with Defendants

Donahoe and O’Neill to discuss NIKE’s DTC business strategy. Thus, Heaf likely updated

Defendants Donahoe and O’Neill regarding the significant technology problems undermining the

success of the CDA strategy.

       688.    Additional Meetings with Heaf: In addition to her monthly meetings with

Donahoe, CW-3 stated that she and her team had monthly meetings with Heaf, and Heaf had a

monthly meeting with Donahoe. CW-3 added that her monthly meetings were called Portfolio

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Reviews, in which they reviewed programs such as the Adobe contract and the China compliance

issue. At these meetings, they would discuss, for example, having a budget of $2 billion to spend

on technology, the team’s progress, what the results are, the spending trend, and related issues.

               3.      Additional Meetings and Reports/Data Regarding CDA Strategy
                       Failures

       689.    All-Employee Engagement Survey Data: Defendants Donahoe, Friend, and

O’Neill received employee survey data showing widespread dissatisfaction with NIKE’s CDA

strategy. CW-16 said that every year NIKE creates and disseminates an All-Employee Engagement

Survey (referred internally as an AES). According to CW-16, once responses are in, they are sent

to an independent outside reviewer, who returns comprehensive findings. Then, per CW-16,

there’s an employee review period of the findings. Before she left, CW-16 recalled seeing a great

deal of employee feedback. CW-16 recalled that in these surveys, employees spoke up about the

problems with the CDA strategy. According to CW-16, the survey consisted of multiple-choice

questions and a free text field where responders could provide more specific feedback.

       690.    CW-16 advised that Defendant Donahoe, Defendant Friend, Defendant O’Neill,

and Executive Vice President, Chief Human Resources Officer, Monique Matheson, were amongst

the senior leadership who reviewed the surveys, which then went to the Vice President level for

review, then her Senior Director, and then her managers who then reviewed the surveys with the

respondents, including CW-16. CW-16 stated there was no way NIKE’s senior leadership “did not

know how everyone felt” regarding the CDA strategy because of the responses in the AES.

       691.    According to CW-16, each spring the surveys were distributed, and were reviewed

with the responders in the summer. CW-16 recalled that she began seeing negative feedback in

the surveys on the CDA in the first survey following the first round of mass terminations which

took place in early/mid-2020.
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       692.    All-Hands Video Calls Beginning in February 2022: CW accounts and news

articles at the end of the Class Period (based on those journalists’ independent investigation) also

reveal that Defendants knew about or recklessly disregarded the CDA strategy problems by no

later than early 2022, based on employee feedback in HR-monitored internal chat forums at regular

all-hands video calls that Defendant Donahoe led.

       693.    According to CW-16, Donahoe hosted and led quarterly all-hands video calls that

any employee could attend, and CW-16 attended these live video calls. CW-16 recalled that in

February 2022 she first noticed pushback in the chat function of these video calls. CW-16

recalled that this led to the chat function being disabled, but when it was reactivated, the pushback

from NIKE employees increased a lot. CW-16 recalled employees, in the chats while Donahoe

was speaking, disagreeing with his narrative that in order for DTC sales to pick up that employees

needed to be back working at the office instead of remotely, with employees stating that the

problem with sales was not working remotely but rather with the transition to fashion and fashion

footwear, NIKE not relating to their market any longer, the pivot away from brick-and-mortar

sales, and the change in workflow and culture under Donahoe. CW-16 further recalled that the

pushback from employees was even stronger on the final all-hands call she attended in 2024,

including responses that “CDA was ineffective.”

       694.    This CW account further reveals that Defendants retaliated against employees who

voiced their dissent during these all-hands video calls through the chats. CW-16 noted that NIKE

employees who spoke up on the February 2022 call got in trouble with HR. CW-16 explained

that, after that first meeting when grievances were aired, at the next all-hands video call, the chat

feature was disabled. Per CW-16, at the next meeting after that, the chat feature was back, but the




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chat was monitored by HR. CW-16 recalled this pushback grew stronger throughout her tenure

and lasted through the last all-hands quarterly meeting that she attended in early 2024.

       695.    CW-16 recalled that regular attendees at these all-hands meetings included

Defendant Donahoe; President NIKE Global Geographies and Marketplace, Craig Williams;

Defendant O’Neill; and Executive Vice President, Chief Human Resources Officer, Monique

Matheson. She also recalled that Defendants Friend and Campion sometimes, although

infrequently, attended.

       696.    As detailed above, these CW allegations are corroborated by the news media’s

investigative reporting. Specifically, an October 3, 2024 episode of The Journal—a podcast by

The Wall Street Journal—titled “The Missteps That Led Nike Off Course,” described one of these

all-hands meetings attended by “20,000 employees [who] logged onto the Zoom call as Donahoe

spoke.” According to The Journal, “Donahoe started talking about accountability, saying he and

his team held themselves accountable for all the mistakes that had happened at the Company”—at

which point numerous employees began lodging complaints in the chat function. These employees

criticized Donahoe’s leadership and decisions as CEO. One employee wrote: “Accountability. I

do not think that word means what you think it means.” Another employee wrote: “I hope Phil

Knight [i.e., NIKE’s founder] is watching this right now.” As detailed by The Journal, it was

“dozens of people writing comments like this in a very public chat that is monitored by human

resources, so it was a very brave and risky thing to do”—it was “an online protest against the

CEO of the company that you’re employed by.” Confronted by the details of the incident,

Donahoe acknowledged its occurrence, telling The Journal’s interviewer that Donahoe and “the

leadership team understand[]” the concerns raised by employees, and that such sentiments were

unsurprising because NIKE was “going through a period of adjustment.”

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       697.    Summer 2022 Sales Meeting: CW-9 stated that she attended NIKE’s annual sales

meeting at its Oregon headquarters in July or August 2022. CW-9 detailed that NIKE’s entire

North America sales team attended this sales meeting, as well as Defendant Donahoe and

Defendant Friend. CW-9 recalled that Donahoe and Friend gave a presentation to the sales team

at this meeting where they delivered the message that NIKE was not hitting its total revenue goals.

       698.    September/October 2023 VP Summit Attended by Defendants Donahoe,

Friend, and O’Neill: CW-1 recounted that Craig Williams, President, Geographies &

Marketplace, stood up during a VP Summit in around September/October 2023 and said, “CDA

was a failure. We have to acknowledge that.”

       699.    CW-1 stated that Donahoe, Friend, O’Neill, and Williams orchestrated the summit.

CW-1 added that Donahoe, Friend, and O’Neill spoke at the summit.

       700.    CW-1 advised that “all 300 VPs” were at this VP summit, including VPs from

China (most of whom attended remotely). CW-1 further added that the summit occurred in the

Coach K Gymnasium at NIKE’s headquarters, where they took over the entire basketball court,

with tables packed in.

       701.    CW-1 further noted that Donahoe “painted a pretty ugly picture” at the summit.

CW-1 recalled Donahoe stating that NIKE was no longer a growth company, and that there are

things NIKE must do to be a growth company again. CW-1 further described Donahoe referencing

what Apple does to be a growth company, adding that Apple CEO Tim Cook was a guest speaker

who appeared via Zoom. CW-1 described the summit as “dire,” and observed that the summit was

focused on how much NIKE had to do to grow.

       702.    CW-1 confirmed that NIKE’s management acknowledged the Company’s

problems related to CDA at this summit. CW-1 explained that they did so because they “ran out

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of straws to grasp at.” CW-1 added that management acknowledged that business was softening

and that the lack of sufficient investment in DTC capabilities was causing problems for NIKE.

       703.    CW-1 noted that this summit consisted of two days of talks and breakout sessions.

CW-1 clarified that the breakout sessions consisted of 50 to 75 people per breakout group, who

were then divided further into tables of seven or eight people. CW-1 explained that in one breakout

session she and Williams were in the same group, sitting at the same table. In this breakout session,

according to CW-1, Williams said that the Company had known for a while that the CDA strategy

was not working and that they needed to switch their strategy.

       704.    CW-1 also said that Williams told her personally during a breakout session during

the summit, “let me be crystal clear. CDA was a disaster and is not working and we know we

have to fix it. It’s our problem to fix it.” According to CW-1, during this same breakout session,

Williams also stated that NIKE needed to return to sport-based categorization of its product

lines. CW-1 advised that, at the VP Summit, O’Neill presented a plan called “5 for 15” to fix these

problems. CW-1 noted that the plan flopped. CW-1 explained that “5 for 15” was a new term for

things NIKE was already doing. CW-1 elaborated that 5 referred to the 5 components to gain

market share and lean into fields of play.

       705.    Quarterly Brand Meetings: Defendants were also apprised of NIKE’s declining

brand strength and competitive standing during the Class Period based on quarterly Brand

meetings involving marketing personnel that were also attended by senior management, including

Chief Marketing Officer DJ van Hameren.

       706.    CW-2 detailed that she attended quarterly Brand meetings during her tenure at

NIKE, which were co-led by former Chief Marketing Officer DJ van Hameren and current Vice

President, Marketing for North America Adam Roth. CW-2 recalled that a “cool” metric was

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analyzed during these quarterly meetings. In regard to the “cool” metric, CW-2 explained this is a

common metric used by brands to gauge how “cool” the public views the brand. CW-2 noted that

NIKE purchased data from a third-party that, for example, conducted surveys to measure how

“cool” the public viewed NIKE. CW-2 clarified that NIKE measured its cool factor against brands

such as YouTube, TikTok, and Snapchat, and not just against other footwear and apparel brands.

CW-2 recalled that by May 2022, NIKE’s “cool” factor was declining, and that NIKE was no

longer the number one “cool” brand. CW-2 further recalled that by May 2022, “cool” metrics

showed that NIKE was losing ground to its competitors, specifically Adidas and Lululemon,

both were gaining points and catching up in “cool” metrics to NIKE. CW-2 clarified that “cool”

metrics reflected the views of North America-based consumers. CW-2 also clarified that NIKE

measured NIKE’s “cool” factor with 18-to-24-year-olds because 18-to-24-year-olds are the critical

demographic. CW-2 stated that these “cool” metrics were included in quarterly business unit

review reports.

       707.       Quarterly Business Unit Reports Sent to Defendant O’Neill: CW accounts

confirm that Defendant O’Neill was also informed of NIKE’s declining cool metric and

competitive position through certain regular reports that O’Neill received during the Class Period.

       708.       CW-2 stated that Defendant O’Neill led the NIKE Live team and referred to NIKE

Live as O’Neill’s “project” and “baby.” CW-2 detailed that O’Neill oversaw NIKE Live’s

marketplace. CW-2 noted that O’Neill reported to Defendant Donahoe. CW-2 recalled that she

drafted quarterly business unit review reports. CW-2 explained that the quarterly business unit

reports detailed how each business unit was performing and provided updates on operations. CW-

2 explained that the quarterly business unit review reports she drafted were submitted to senior

directors and vice presidents to analyze and edit before they were ultimately sent to O’Neill to

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review, though CW-2 stated that she could not guarantee the information she drafted was seen by

O’Neill because there were “a lot of layers” between her and O’Neill. As described supra, Section

IV.B.1.e., and in the preceding paragraphs, NIKE tracked a critical metric gauging how “cool”

their products were viewed by the public, and this metric showed NIKE’s brand health declining

by no later than May 2022. CW-2 stated that these “cool” metrics were included in quarterly

business unit review reports.

       709.    Financial Reports and Meetings: NIKE executives received information from the

Finance team showing the CDA strategy’s failure to drive NIKE’s sustainable financial growth.

       710.    CW-4 recalled that throughout her tenure, she attended in-person monthly finance

meetings with leadership as part of the financial closure process. CW-4 explained that during these

meetings, the finance team went over financial results and forecasts and received permission from

leadership to place investments. CW-4 explained that she and her finance team discussed where

the Company was overspending and underspending during these meetings. CW-4 added that

current Vice President/CFO, NIKE Greater China Amanda Norwood attended these meetings and

that information from these meetings rolled up to the Vice President overseeing NIKE’s CDA

strategy. CW-4 recalled that throughout her tenure, conversations from these meetings reflected

that NIKE was struggling with executing its DTC strategy and that the DTC strategy was not

yielding projected results. CW-4 detailed that during these meetings throughout her tenure, it was

discussed that NIKE was not hitting its topline revenue projections.

       711.    CW-4 stated that she prepared financial reports, which were consolidated with other

reports, that were escalated to Digital Direct and NIKE Direct Vice Presidents. According to CW-

4, information from these reports was escalated to Defendant Donahoe. CW-4 stated that Donahoe




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was part of strategic level conversations and that Donahoe was briefed on the Company’s overall

financial results prior to hosting quarterly investor relation calls.

        B.      The CDA Strategy’s Success Was Core to NIKE’s Business

        712.    The Individual Defendants’ knowledge of the CDA strategy’s failure and the cause

of that failure can be inferred because these facts were critical to NIKE’s core operations.

        713.    The importance of the CDA strategy to NIKE’s financial success is made clear by

the growing importance of DTC sales to NIKE’s overall business. Sales made through NIKE’s

wholesale and DTC channels are NIKE’s lifeblood, as revenues from those two channels

constituted approximately 95% of NIKE’s total revenue throughout the Class Period.

        714.    Before and during the Class Period, the mix of NIKE’s revenue derived from

NIKE’s DTC channels grew sharply, demonstrating the importance of the CDA strategy. In FY

2017, DTC sales accounted for approximately 28% of NIKE Brand revenue (which was

approximately 99% of NIKE’s overall revenue). In FY 2020, NIKE Direct accounted for

approximately 35% of NIKE Brand revenue. In FY 2024, NIKE Direct accounted for

approximately 44% of NIKE Brand revenue. This increase shows that the CDA strategy, the point

of which was to increase NIKE Direct as a percentage of NIKE’s revenue while driving sustainable

growth, was critical to NIKE’s strategy.

        715.    NIKE also repeatedly, publicly pointed to the CDA strategy, and its key

components, as critical to NIKE’s ongoing success.

        716.    As Defendant Friend articulated at the start of the Class Period on NIKE’s March

18, 2021 Earnings Call, “[a]t our core, NIKE is a growth company.” And at the core of that growth

potential, according to Defendants, was the CDA strategy. For example, the July 22, 2020 press

release stated that the CDA strategy was the Company’s “new digitally empowered phase of


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NIKE’s strategy to unlock long-term growth and profitability,” which represents “the next phase

of [NIKE’s] growth.”

       717.    Defendants also publicly touted specific aspects of the CDA strategy, including its

DTC technology and supply chain buildout, as critical to NIKE’s business throughout 2021. For

example, during the March 18, 2021 Earnings Call, in response to a Credit Suisse analyst’s

question concerning NIKE’s “reinvestment in demand creation,” Defendant Friend stated that

NIKE “continue[s] investing against the things that matter most to our strategy like our tech

[and] end-to-end tech transformation.” During the same call, Defendant Donahoe stated: “our

brand is powered by our global scale. This is [a] particularly critical advantage as we continue

to fuel our digital transformation.” During the September 23, 2021 Earnings Call, Defendant

Friend stated that “[a]s we accelerate our consumer-led digital transformation, we are developing

and refining new capabilities that are transforming our operating model, quickly becoming a

competitive advantage for NIKE. Central to these capabilities is scaling our digital-first supply

chain to enable NIKE’s digital growth while optimizing service, cost, convenience and

sustainability.”

       718.    In 2021 and 2022, Defendants also repeatedly and publicly touted the importance

of their mono-brand stores to NIKE’s business. For example, during the October 6, 2021 Annual

General Meeting, in response to a shareholder question concerning “NIKE’s digital ecosystem”

and the “role [of] brick-and-mortar stores,” Defendant O’Neill stated: “our digitally enabled

physical stores will continue to play a critical role to better serve and create deep relationships

with our consumers.” And in a May 16, 2022 Women’s Wear Daily article entitled “Nike Working

to Make 2020s the Decade of Women’s Sport,” the then-VP and General Manager of NIKE Global

Women’s, Whitney Malkiel, stated: “[w]e have to own our destiny when it comes to the

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marketplace, that's why the push in Nike Direct is important for the business, and that's where

our brick-and-mortar and Nike Live stores become important.”

       719.    NIKE continued to publicly proclaim the critical importance of the CDA strategy

throughout 2022. For example, during the June 27, 2022 Earnings Call, Defendant Friend said, in

response to a Guggenheim analyst’s question about the health of NIKE’s business in China: “as

we’ve learned from experience over the years, having a healthy pull marketplace in a monobrand

marketplace . . . is critical to brand health and long-term growth.” During the September 29,

2022 Earnings Call, Defendant Donahoe, in response to a Credit Suisse analyst’s question

concerning growth rates and margin opportunities, similarly stated: “directly connecting with

consumers is critical to serve consumers going forward.”

       720.    Likewise, Defendants repeatedly made similar public statements about the

importance of the CDA strategy, including its various key components like DTC technology and

product innovation, to NIKE’s success throughout 2023. For example, on July 19, 2023, in the

“FY22 NIKE, Inc. Impact Report,” with an introductory letter signed by Defendant Donahoe,

Defendants shared that NIKE’s “technology organization” encompasses “teams that are critical

to our overall Consumer Direct Acceleration offense, including Enterprise Data and Analytics,

and Technical Product Management.” And during the June 29, 2023 Earnings Call, Defendant

Donahoe stated: “The key to the whole thing is having the best innovation in the industry. That’s

what brings people to our direct channels, that brings people to our digital channels, and the

momentum – Heidi [O’Neill] has had her team together off site earlier this week and seeing the

design, product creation, Men's, Women's Kids’, storytelling and brand teams really accelerating

the pace of innovation, accelerating our ability to connect with the consumer is ultimately what’s

going to fuel not only our top line but also our bottom line.” Similarly, in a November 14, 2023

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press release, Defendant O’Neill stated that "[i]nnovation, design, and storytelling have always

been the heart and soul of Nike. These leadership changes enable us to obsess further our

unparalleled innovation, product, design, and storytelling to reimagine sport for the next generation

of athletes . . . . Together, these leaders will deliver new levels of performance, style and

breakthrough storytelling for consumers around the world.”

       721.    Finally, Defendants continued making similar pronouncements in 2023. For

instance, during the March 21, 2024 Earnings Call, Defendant Donahoe assured that “NIKE Direct

will continue to play a critical role”—thus confirming that NIKE’s Direct channels (the core of

the CDA strategy) had been and would remain critical to NIKE’s long-term financial success.

       C.      Defendants Closely Monitored the CDA Strategy, Including the Key Metrics
               Critical to Its Success

       722.    The Individual Defendants personally oversaw the CDA strategy, including by

closely monitoring NIKE’s efforts to sustainably build out its DTC channels, such as the DTC

technological capabilities and supply chain, brand strength, competitive edge, and innovative

product pipeline.

       723.    Multiple CW accounts confirm that the Individual Defendants closely tracked the

progress of the CDA strategy, including efforts to build out the necessary DTC technological

capabilities, supply chain, and other key components of this strategy. For example, CW allegations

show that Defendant O’Neill attended audit meetings where problems with NIKE’s supply chain

were discussed, and that Defendants Donahoe, Friend, O’Neill, and Parker received the audit

reports discussed at these meetings. See supra, ¶ 154.

       724.    Defendants also personally tracked the lack of progress NIKE was making in

building out its technological capabilities and organization. Multiple CWs’ accounts show that

Defendants Donahoe, Friend, O’Neill, and Campion attended numerous regular meetings where
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the failures of the CDA strategy to establish needed technological capabilities and organization,

including the problems created by its head, Lavu’s “shadow organization,” were discussed. These

included monthly meetings beginning in May or June 2022. These also included ad-hoc meetings

between CW-3 and Defendant Donahoe beginning in January or February 2022. Additionally,

Defendant Donahoe signed NIKE’s contract with Adobe in 2021 and had “full visibility” into the

Adobe partnership’s failures. See, supra, ¶¶ 190-91 (monthly meetings), 197 (Adobe).

       725.    Defendants also closely monitored the adverse financial impact of the CDA strategy

failures—i.e., its failure to drive the sustainable, long-term growth that Defendants had touted to

investors. For example, CW accounts reveal that in summer 2022, Defendants Donahoe and Friend

attended a large sales meeting where they gave a presentation detailing that NIKE was not hitting

its revenue goals. Additional CW allegations also explained that Defendant O’Neill received

quarterly business unit review reports, which detailed how each business unit was performing and

provided updates on operations. And CW accounts further confirmed that adverse information

contained in Finance team’s reports indicating that the CDA strategy was not yielding the projected

financial results was escalated to Defendant Donahoe. See supra, ¶¶ 382, 696.

       726.    These CW-based allegations are further bolstered by Defendants’ own words,

which conveyed to investors that the Individual Defendants were directly and personally involved

in supervising the CDA strategy, including its key components.

       727.    Defendants claimed they were closely monitoring consumer demand metrics. For

instance, on the September 22, 2020 Earnings Call, Defendant Donahoe stated that NIKE’s

“engagement and membership metrics show incredible momentum,” in its Digital business,

indicating that Defendants were closely monitoring such consumer engagement and membership

metrics related to NIKE’s Digital channels (i.e., its website and mobile apps). On NIKE’s June 27,

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2022 Earnings Call, Defendant Friend stated that Defendants were “closely monitoring consumer

behavior, and . . . consumer demand.” Then, on NIKE’s September 9, 2022 Annual Meeting of

Shareholders, Defendant Friend stated: “[W]e’ll continue to monitor consumer demand for our

brands and ensure that we have appropriate levels of supply, taking into consideration changing

transit trends.” Similarly, on the June 29, 2023 Earnings Call, Defendant Friend stated that NIKE

was “closely monitoring . . . consumer behavior and retail trends.”

       728.    Defendants also claimed that NIKE’s Board of Directors, which included

Defendants Donahoe and Parker, was closely overseeing the CDA strategy. For instance, in a

“Message From Our Executive Chairman,” included in NIKE’s July 21, 2022 Definitive Proxy,

Defendant Parker underscored that NIKE’s “Board of Directors oversaw significant

transformations in support of the Consumer Direct Acceleration strategy.”

       729.    Defendant Friend repeatedly emphasized Defendants’ monitoring of inventory

levels—critical insight when running a DTC operation, including the supply chain. For instance,

on NIKE’s September 22, 2020 Earnings Call, Defendant Friend stated that NIKE had increased

its “inventory visibility,” indicating that NIKE was closely monitoring the supply and demand of

its products. Similarly, on the December 20, 2021 Earnings Call, Defendant Friend told investors

NIKE had “established new fulfillment models with key strategic partners to create inventory

visibility across the marketplace and optimize full-price digital demand.”

       730.    Finally, Defendants repeatedly touted Defendant Donahoe’s expertise in digital

commerce, which was the main reason that he was hired as CEO, to guide the CDA strategy. For

example, in the October 22, 2019 Press Release, Defendant Parker noted Defendant Donahoe’s

“expertise in digital commerce, technology, global strategy and leadership,” and made clear that

the goal of NIKE under Donahoe would be to “accelerate our digital transformation and to build

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on the positive impact of our Consumer Direct Offense.” Defendant Donahoe’s prior corporate

roles evidenced his expertise in digital commerce, and therefore made him the perfect candidate

to lead NIKE’s “accelerat[ion] of [the Company’s] digital transformation.” Thus, from the outset

of Donahoe’s arrival at NIKE, Defendants heralded him as the architect of the CDA strategy, thus

creating the impression with investors that he would personally, closely track its progress and

impact on NIKE’s business.

       731.   The October 22, 2019 Press Release also makes it clear Defendant Parker would

continue to closely monitor NIKE’s DTC transition, as it quotes Defendant Parker stating: “I look

forward to continuing to lead the Board as Executive Chairman, as well as partnering closely with

John and the management team to help him transition to his new role.”

       732.   Likewise, Analysts believed that Defendant Donahoe’s prior digital commerce

expertise positioned him well to lead NIKE’s DTC pivot. For instance, in an October 23, 2019

report assigning NIKE Stock an “Outperform” rating, Oppenheimer wrote that Defendant

Donahoe “brings to the CEO role . . . a very impressive backdrop in technology and innovation,

including time spent leading eBay and ServiceNow and on the board of PayPal,” and that “as a

board member of N[I]KE for the past five years, John Donahoe served as an architect and

proponent of the [C]ompany’s Consumer Direct Offense operating plan.”

       733.   Indeed, after NIKE launched the CDA strategy, analysts similarly hailed Defendant

Donahoe as the CDA strategy’s architect and primary leader, based on his prior digital commerce

expertise. For example, in a March 23, 2021 interview with Retail Dive, an industry publication,

Michael Binetti, managing director at CreditSuisse, praised Donahoe’s fit to lead NIKE under the

new CDA strategy, stating that “[h]e’s the right man for the job . . . . And you see him doing it

very, very quickly.” Later, in reports on December 15, 2021 (rating NIKE Stock “Buy”) and

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November 16, 2023 (rating NIKE Stock “Hold”), Truist Securities again highlighted Defendant

Donahoe’s “expertise in digital commerce, technology and global strategy” as instrumental to the

CDA strategy.

       D.       NIKE Engaged in Large Strategic Shifts That Necessitated Defendants’
                Knowledge of the CDA Strategy’s Failure

       734.     Throughout the Class Period, NIKE engaged in large-scale strategic shifts that

would not have been made without the Individual Defendants’ knowledge and approval.

       735.     Reversion to Multi-Brand Retailers: During the Class Period, NIKE reverted to

selling a larger amount of its products through wholesale partners as opposed to its own DTC

channels. CW allegations support that this began as early as summer 2022. See, supra, Section

IV.B.1.f. Since a major pillar of the CDA strategy was a shift away from wholesale partners,

NIKE’s decision to pivot back to those partners represented a massive shift in Company strategy—

one that would have been known to and approved by NIKE’s senior executives, including the

Individual Defendants.

       736.     Lowered Targets for NIKE’s DTC Stores: During the Class Period, according to

CW accounts detailed above, NIKE repeatedly lowered internal targets for the number of its brick-

and-mortar DTC stores NIKE planned to open because of supply chain, innovation, and consumer

demand problems. NIKE similarly was forced to rebrand its NIKE Live stores, which were a key

element of the CDA strategy, because they were not resonating with consumers. See, supra,

Section IV.B.1.f. Thus, lowering NIKE’s store-opening targets and launching a rebranding

initiative represented a major strategic shift for the Company that would have been known to and

approved by NIKE’s senior executives, including the Individual Defendants.

       737.     Reversion to Sport-Based Categories: During the Class Period, unbeknownst to

investors, NIKE reverted to organizing its business around sport-focused consumer categories.
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Indeed, Defendants admitted explicitly in the disclosures of the truth in 2024 that they had

effectuated this return to sport-based categories in June 2023, and CW accounts indicate that this

shift actually began a year earlier—in summer 2022. See, supra, Section IV.B.1.c. As discussed

above, this undisclosed reversion back to its sport-based categorization half-way through the Class

Period indicates that Defendants knew the CDA was failing. Since a major pillar of the CDA

strategy was a shift away from sport-based categorization, NIKE’s decision to pivot back to these

categories represented a massive strategic shift by the Company—one that would have been known

to and approved by NIKE’s senior executives, including the Individual Defendants.

       E.      Knowledge of the CDA Strategy’s Failures Was Widespread Within NIKE

       738.    Allegations from numerous former employees of NIKE demonstrate that

knowledge of the CDA strategy failures was widespread internally throughout the Class Period,

indicating the Individual Defendants knew or recklessly disregarded that their statements regarding

the CDA strategy’s success were false when made.

       739.    DTC Supply Chain: CW-1 noted that many people internally raised NIKE’s DTC-

related supply chain problems. CW-1 specifically recalled Mary Beth Laughton, currently Head

of NIKE Global Direct to Consumer, discussing the problem. According to CW-1, management’s

response was that it was too expensive to create a separate DTC distribution system, and therefore

they did not want to do it. CW-1 described that NIKE refused to invest in addressing the root cause

of this issue. CW-1 recalled that CW-1 first learned of the supply chain problems in 2022 from her

former supervisor Sumi Ghosh. CW-1 explained that Ghosh had informed the entire leadership

team about the problem.

       740.    Innovation/Product Pipeline: CW-16 recalled that in 2020, it was clear that

personnel cuts driven by the CDA would negatively impact NIKE’s product pipeline. CW-16


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recalled that after the CDA was instituted, NIKE was no longer focused on innovating its products.

CW-16, however, also noted that this impact would not necessarily be felt in the marketplace until

2022 because NIKE could lean on products that were already in the pipeline prior to NIKE’s pivot

to CDA. She added that by mid-2022, NIKE started to see the negative effects on new products in

the pipeline. CW-16 stated that “there was no way” senior leadership would not have known by

mid-2022 that innovation and pipeline were being negatively affected. She recalled her managers

seemingly “blew off” the concerns she raised because they became focused on positioning

themselves for promotions rather than preserving the NIKE team culture after many of the

longtime senior leaders had been terminated.

        741.    NIKE’s strategy of unsustainably flooding the market with its classic product

franchise like the Air Jordan sneakers was also widely known within NIKE. CW-1 advised that

the over-supply of key products was a “dirty secret” at NIKE. CW-1 explained that everyone saw

it, but no one discussed it.

        742.    Lavu’s “Shadow Organization”: Other CWs described widespread internal

knowledge about Chief Digital Information Officer Ratnakar Lavu’s “shadow organization”

within NIKE. According to CW-11, by the end of 2021, it was clear to everyone at the leadership

level that Lavu’s team was not working well or effectively with the other business units, including

the Geos (Geography Managers), product management teams, or others. CW-8 recalled that she

raised concerns about Lavu’s ability to execute the DTC strategy throughout her tenure to NIKE

leadership.

        743.    Likewise, CW-12 stated that complaints about Lavu were coming from all sides.

        744.    The problems with Lavu’s shadow organization were so widely known that NIKE

even brought in a third-party consultant to audit Lavu’s team. CW-12 recalled that NIKE brought

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in consultants to solve problems between Lavu and former Vice President, Digital Product CW-3.

And CW-3 explained that her concerns about Lavu’s shadow organization were discussed during

her meetings with Donahoe, and that these discussions led to the hiring of consulting firm

Accenture to audit their product teams. According to CW-3, the audit results confirmed that Lavu

had created a shadow organization, that they had “100%” more product people than they needed,

and that led to laying off about 200 of those employees. CW-3 expressed her frustration that these

issues took a lot of her attention away from running the business and focused instead on managing

operating levels and organizational charts.

        745.   Adobe Partnership: The failure of NIKE’s Adobe partnership to develop the

necessary DTC technological capabilities were also widely known within NIKE. CW-3 confirmed

that the Adobe contract was signed in 2021, but it became apparent almost immediately that

there was a gap between what was promised and Adobe’s ability to deliver. CW-3 noted that there

were expectations that were not met: Adobe promised that EMEA would have personalized

messaging by Black Friday, but that did not happen, and Adobe kept shifting the timeline and

focus, such as shifting its focus to North America, because that was an easier geography to address,

but that shift still did not yield results. CW-3 added that the Geo GMs lost faith in the project right

away.

        746.   CW-12 explained that NIKE employees were frustrated when NIKE partnered with

Adobe because there were already internal efforts to accomplish the work that Adobe was then

hired to do.

        747.   Additional Widespread Knowledge of CDA’s Failures, Including DTC

Technology Problems, by May 2021: CW-15 recalled hearing from colleagues that NIKE’s DTC

strategy was failing immediately upon joining NIKE in May 2021. CW-15 recalled that she and

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her team met regularly with technology leadership during her tenure. CW-15 stated that during

these meetings with technology leadership, she and her team raised concerns about unplanned

DTC work impeding the technology organization from completing other critical tasks. CW-15

detailed that she and her team specifically explained to technology leadership that NIKE did not

take into consideration the technological impacts that the DTC strategy would have on the

Company.

       748.    According to CW-15, concerns about the DTC strategy were repeatedly raised to

management. CW-15 elaborated that these concerns about the DTC strategy were repeatedly raised

to management throughout her tenure, and that these concerns already existed when she joined

NIKE in May 2021, and the negative consequences of the DTC strategy were already apparent at

that time.

       749.    All-Hands Video Calls Beginning in February 2022: As detailed supra, ¶¶ 378-

79, 691-93, beginning no later than February 2022, Defendant Donahoe faced widespread

employee pushback regarding the CDA strategy on virtual all-hands calls that he led in employee

chats that were monitored by HR. CW-16 recalled that in February 2022 she first noticed

pushback in the chat function of these video calls. CW-16 recalled that this led the chat function

being disabled, but when it was reactivated, the pushback from NIKE employees increased a lot.

She recalled employees, in the chats while Donahoe was speaking, disagreeing with his narrative

that in order for DTC sales to pick up that employees needed to be back working at the office

instead of remotely, with employees stating that the problem with sales was not working remotely

but rather with the transition to fashion and fashion footwear, NIKE not relating to their market

any longer, the pivot away from brick-and-mortar sales, and the change in workflow and culture

under Donahoe. CW-16 further recalled that the pushback from employees was even stronger on

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the final all-hands call she attended in 2024, including responses that “CDA was ineffective.” As

further detailed above, this CW account was corroborated by reputable media outlets like The Wall

Street Journal’s “The Journal” podcast, which quoted Defendant Donahoe as acknowledging such

internal employee pushback on these all-hands chat forums.

       750.   September/October 2023 VP Summit: Another CW’s accounts confirms that

Defendants were also directly confronted by similar pushback against the CDA strategy by senior

executives, who called out the CDA’s failure at internal meetings attended by the Individual

Defendants. CW-1 recounted that Craig Williams, President, Geographies & Marketplace, stood

up during a VP Summit in around September/October 2023 and said, “CDA was a failure. We

have to acknowledge that.” CW-1 also said that Williams told her personally during a breakout

session during the summit, “let me be crystal clear. CDA was a disaster and is not working and

we know we have to fix it. It’s our problem to fix it.” CW-1 added that Williams’ comments were

“refreshing,” because everyone at NIKE knew that CDA was “an absolute disaster.” In this

breakout session, according to CW-1, Williams said that the Company had known for a while that

the CDA strategy was not working and that they needed to switch their strategy. CW-1 stated that

Donahoe, Friend, O’Neill, and Williams orchestrated the summit. CW-1 added that Defendants

Donahoe, Friend, and O’Neill spoke at the summit.

       751.   Additional Allegations of Widespread Knowledge: Moreover, other CWs

similarly confirmed that internally employees widely acknowledged that the CDA strategy was

failing throughout the Class Period. For example, CW-17 stated that NIKE’s DTC strategy was

“the worst thing they ever did” and referred to it as a “disaster.” CW-17 noted that it was “well

known” within NIKE that the DTC strategy was not going well. CW-10 stated that one reason

why NIKE’s DTC strategy failed was because there were “always issues” with the NIKE app,

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which frustrated consumers. CW-10 recalled that NIKE’s executives frequently met to discuss

how to fix these problems and improve the app. This account is supported by additional CW

allegations—including CW-3’s account, detailed above, that described numerous regular meetings

with Defendants Donahoe, Friend, and O’Neill, as well as other senior executives like the

Technology group head Lavu, wherein they discussed the problems with NIKE’s DTC technology

and technology organization. CW-12 advised that Donahoe, Lavu, and CW-3 regularly met during

her tenure to discuss NIKE’s technology, and CW-12 appreciated hearing about this collaboration.

CW-12 clarified that Donahoe, Lavu, and CW-3 met to surf Nike.com and the NIKE app and

discuss these platforms.

       F.      Defendants’ Own Misstatements Support Scienter

       752.    Throughout the Class Period, Defendants repeatedly claimed that the CDA strategy

was succeeding both overall and in its key components (such as the DTC supply chain and

technology buildout). In particular, Defendants repeatedly assured investors throughout the Class

Period that that the CDA strategy was working, including in direct response to analysts’ or

reporters’ questions.

       753.    CDA’s Overall Success: During the Class Period, Defendants repeatedly falsely

attributed NIKE’s favorable financial results to the success of the CDA strategy. For example, in

the September 23, 2021 Press Release, Defendant Friend stated: “Our Q1 results illustrate how

NIKE’s Consumer Direct Acceleration strategy continues to fuel growth and transform our

long-term financial model.” Similarly, on the March 21, 2022 Earnings Call in response to a UBS

analyst’s question concerning the “contours” of Fiscal Year 2023, Defendant Friend falsely

reassured investors that the CDA strategy was working: “We’re looking at fiscal ‘23 and believe

the foundation is set for another year of strong growth. And that's because our Consumer Direct


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Acceleration strategy is working.” Defendants made numerous similar misstatements touting that

the CDA strategy was “working” throughout the Class Period, as discussed above.

       754.     DTC Supply Chain: During the Class Period, Defendants also falsely claimed that

NIKE had developed an effective DTC supply chain. For instance, on the March 18, 2021 Earnings

Call, Defendant Donahoe falsely asserted, in response to an Evercore ISI Analyst’s question about

NIKE’s CDA strategy, NIKE had “fairly impressively pivot[ed] to a more direct-to-consumer

supply chain.” And, during the September 23, 2021 Earnings Call, Defendant Friend stated, in

response to a Guggenheim analyst’s question regarding NIKE’s supply chain capabilities “where

we were investing was against technology, creating a digital-first supply chain in the

marketplace.”

       755.     Technological Capabilities and Organization: During the Class Period,

Defendants also misled investors about NIKE’s progress in developing the DTC technological

capabilities and organization needed for the CDA strategy to succeed. For instance, at NIKE’s

October 6, 2021 Annual General Meeting, Defendant Friend, in response to a shareholder question,

misrepresented that “[t]he investments we’ve made against our end-to-end digital transformation

are making us more agile, and we’re building the capabilities that are required for NIKE to

operate a digitally led omni-channel, direct-to-consumer business at scale.” Further, during the

June 29, 2023 Earnings Call, Defendant Friend falsely touted NIKE’s partnership with Adobe:

“[W]e have partnered with Adobe to enable one-to-one member personalization, driving gains

in member retention, click-through rates and conversion, resulting in higher demand per

member and returns on digital ad spend.”

       756.     Streamlined Corporate Reorganization: During the Class Period, Defendants

additionally falsely touted the success of NIKE’s corporate reorganization under the CDA strategy.

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For example, at the October 6, 2021 Annual General Meeting, in response to a shareholder question

about the CDA strategy, Defendant O’Neill assured that “[w]ith the CDA, we successfully

realigned our organization to further invest against our highest growth areas.” In NIKE’s Form

10-Q filed on January 5, 2023, Defendants falsely claimed to have successfully “aligned our

product creation and category organizations around a new consumer construct focused on

Men’s, Women’s and Kids’.”

       757.   Innovative Product Pipeline: During the Class Period, Defendants further falsely

touted NIKE’s purportedly innovative product pipeline. For instance, on the June 24, 2021

Earnings Call, Defendant Donahoe falsely touted NIKE’s strong product innovation pipeline,

saying “our relentless pipeline of innovative product continues to create separation between us

and our competition.” Likewise, at the October 6, 2021 Annual General Meeting, in response to

a shareholder question about NIKE’s innovation pipeline, Defendant Parker falsely affirmed: “The

pace of innovation has not slowed down at all.” And, at the September 9, 2022 Annual General

Meeting, in response to a shareholder concerning innovation, Defendant Donahoe misrepresented

that “innovation continues to be our greatest competitive advantage.”

       758.   Brand Strength and Competitive Standing: During the Class Period, Defendants

also misrepresented that NIKE had maintained or improved its brand strength and competitive

standing. For instance, during the September 23, 2021 Earnings Call, Defendant Donahoe falsely

affirmed that “we’re in a stronger position relative to our competition than we were prior to the

pandemic.” On the September 29, 2022 Earnings Call, in response to a J.P. Morgan analyst’s

question regarding demand for NIKE products in North America, Defendant Donahoe assured

investors of continued “strong consumer demand,” specifically denying seeing any “softness.”




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       759.    Successful Channel Mix Between Wholesale and DTC: During the Class Period,

Defendants also misrepresented that NIKE had effectively driven business to its DTC channels

while meeting consumer demand without depending on its wholesale partners. For instance, at the

September 12, 2023 Annual General Meeting, in response to a shareholder question read by

Defendant Parker about NIKE’s CDA marketplace strategy (i.e., NIKE’s mix between wholesale

and DTC channels), Defendant Donahoe misleadingly claimed that NIKE had not altered its

wholesale and DTC strategies, stating “[o]ur marketplace strategy remains the same.”

       760.    Accordingly, Defendants’ repeated, specific assurances to investors–particularly in

response to analyst questions, regarding the continued success of the CDA strategy, including its

various key components–support scienter.

       G.      The Suspicious Departures of Defendants Donahoe and Campion and Global
               Chief Digital Information Officer Lavu Support Scienter

       761.    The suspicious departures of Defendants Donahoe and Campion, along with former

NIKE Global Chief Digital Information Officer Lavu, senior executives responsible for the CDA

strategy or its key components (like the DTC supply chain and technological capabilities), at key

points in the Class Period support an inference of scienter.

       762.    Global Chief Digital Information Officer Lavu: On February 20, 2023, Business

Insider reported that Lavu had “resigned, effective immediately, according to an email sent to

[NIKE] employees.” Business Insider had obtained that internal email, which “did not give a

reason for Lavu’s departure.” Similarly, NIKE gave Business Insider a one-sentence statement

regarding this departure, stating only that “[w]e confirm that Ratnakar Lavu is no longer at Nike.”

       763.    Lavu was responsible for overseeing the DTC technological capabilities and

organization NIKE needed for establish for the CDA strategy to succeed. Indeed, in the June 6,

2019 Press Release announcing Lavu’s hiring, NIKE touted that Lavu’s “20-year track record in
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building seamless consumer experiences and leading teams through dynamic, digital

transformations will further accelerate our growth.” Thus, Lavu, as NIKE’s first Global Chief

Digital Information Officer was to play a critical role in building out NIKE’s DTC technological

capabilities and thus ensuring the success of the CDA strategy. Lavu failed spectacularly.

       764.    As described supra, Section IV.B.1.b., under Lavu’s watch, NIKE failed to

effectively build out its DTC technological capabilities and the technology organization necessary

to support those capabilities. Indeed, as described by numerous CWs and in a publicly filed lawsuit,

Lavu created a “shadow organization,” engaged in corruption and employee retribution, and was

purportedly under investigation by the SEC for related misconduct, which all led to his suspicious

departure. These problems were well known to the Individual Defendants and other NIKE senior

executives: NIKE brought in Accenture to audit Lavu’s technology group, which confirmed the

CWs’ accounts of the many problems in that group; Defendants received an email from one CW

in December 2021 detailing such concerns with Lavu, and Defendants had numerous meetings

beginning no later than 2022 to discuss the problems with Lavu’s group and NIKE’s DTC

technology failures. Soon afterwards, in early 2023, Lavu suddenly “resigned” from NIKE.

       765.    Defendant Campion: On January 5, 2024, just over two weeks after the first

disclosure of Defendants’ fraud on December 21, 2023, NIKE abruptly announced that Defendant

Campion would exit NIKE effective April 5, 2024. From February 2020 until June 2023,

Defendant Campion served as the Company’s COO. In that role, according to NIKE’s February

18, 2020 Press Release announcing his appointment, Campion led NIKE’s “global technology and

digital transformation, sourcing and manufacturing, demand and supply management,

distribution and logistics, procurement, sustainability and workplace design and connectivity.”

Subsequently, Campion served as the Company’s Managing Director, Strategic Business

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Ventures. In that role, according to the Company’s May 24, 2023 Press Release announcing his

appointment, Campion “[worked] closely with [Defendant] Donahoe to identify and pursue new

business opportunities to drive disproportionate growth for the company.” Therefore, from the

start of the Class Period until his departure, Defendant Campion closely oversaw the major

initiatives, including technological, supply chain, and DTC expansion, that were essential

components of the CDA strategy.

       766.    Defendant Donahoe: On September 19, 2024, after three consecutive quarters of

disappointing financial results and related disclosures about the failures of the CDA strategy, and

only two weeks before the final disclosure of the truth on October 1, 2024, wherein Defendants,

inter alia, withdrew NIKE’s financial guidance for the year, NIKE’s Board of Directors announced

the abrupt departure of Defendant Donahoe—who was widely regarded as the architect of NIKE’s

DTC shift as part of the CDA strategy. Specifically, NIKE disclosed that that NIKE veteran Elliott

Hill would replace Donahoe as President and CEO of NIKE effective October 13, 2024. In the

announcement, Defendant Parker explained: “Given our needs for the future, the past performance

of the business, and after conducting a thoughtful succession process, the Board concluded it was

clear Elliott’s global expertise, leadership style, and deep understanding of our industry and

partners, paired with his passion for sport, our brands, products, consumers, athletes, and

employees, make him the right person to lead NIKE’s next stage of growth.”

       767.    Indeed, Defendant Donahoe’s suspiciously-timed departure and Hill’s appointment

were tacit admissions of Defendants’ knowledge that the CDA strategy had failed, and that

Donahoe was to be held accountable, as Hill planned to reverse course on key failings of the CDA

strategy. For example, in NIKE’s September 19, 2024 Press Release announcing Donahoe’s

departure, NIKE highlighted Hill’s goals included “delivering bold, innovative products” and

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“reconnect[ing]” with “trusted partners”—i.e., the wholesale partners that NIKE had abandoned

as part of its DTC shift under the CDA strategy. Similarly, a September 20, 2024 article on Inc.com

quoted Thomas Hayes, equity manager at Great Hill Capital that: “Hill is going to work on

repairing some of Nike’s relationships with wholesale customers since Nike has dropped some

customers over the years and pulled back some product that has created some ill will (among

retailers).”

        768.   Moreover, extensive news coverage at the end of the Class Period, by respected

media outlets like The Wall Street Journal, confirms that Defendant Donahoe’s departure from

NIKE was the direct result of the CDA strategy failures.

        H.     End of Class Period/Post-Class Period Admissions Support Scienter

        769.   Near the end and after the Class Period, the Individual Defendants made critical

admissions that also support an inference of scienter.

        770.   Streamlined Organizational Structure: At the end of the Class Period,

Defendants also repeatedly acknowledged the failure of NIKE’s prior CDA-based organizational

shift to gender and age-based consumer constructs, instead of sport. For example, during NIKE’s

March 21, 2024 Earnings Call, Defendant Donahoe admitted NIKE was “making, and started nine

months ago, important adjustments in our offense. And that started with putting the consumer

and sport squarely back into our offense. And so that allows a sharpness across men’s-women’s-

kids and Jordan around sport.” This admission revealed that NIKE had begun addressing the failure

of its reorganization by no later than summer of 2023 (though CW accounts indicate that it was

even earlier, in the summer of 2022). On NIKE’s December 19, 2024 earnings call, Hill admitted

the failure of NIKE’s pivot away from a consumer construct based on sports-categories, stating




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that NIKE was reversing course: “We lost our obsession with sport. Moving forward, we will lead

with sport.”

       771.    Robust Innovation and Product Pipeline: Defendants also made a series of

admissions in late 2023 and throughout 2024 gradually revealing the depth of NIKE’s severe

innovation problems. For example, on NIKE’s December 21, 2023 earnings call, Defendant

Donahoe acknowledged that NIKE’s pace of innovation had slowed—contrary to prior

misstatements specifically denying any such slowdown—admitting that “we know we must be

faster, increasing the pace of innovation.” On NIKE’s March 21, 2024 earnings call, Defendant

Donahoe emphasized, while referencing the CDA strategy, that “it’s been clear that we need to

make some important adjustments,” including that “we must drive a continuous flow of new

product innovation.”

       772.    Brand Strength and Competitive Separation: At the end of the Class Period,

Defendants also made a series of admissions regarding their knowledge that NIKE’s brand equity

and competitive separation had declined during the Class Period. For example, on NIKE’s March

21, 2024 Earnings Call, Defendant Donahoe acknowledged that, “[w]hile our Consumer Direct

Acceleration strategy has driven growth and direct connections with consumers, it’s been clear

that we need to make some important adjustments,” including that “our brand marketing must

become bolder and more distinctive.” On the October 1, 2024 Earnings Call, according to

Defendant Friend, NIKE “acknowledged that we’ve lost market share in the running specialty

channel. More than four years ago, we pulled back on our engagement with that channel. And

as a result of that, we saw market share losses.”

       773.    Successful Channel Mix Between Wholesale and DTC: Finally, toward the end

of the Class Period, Defendants further admitted that NIKE did not effectively respond to

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consumer demand for multi-brand shopping. For example, on the March 21, 2024 Earnings Call,

Defendant Friend admitted that Defendants had knowingly disregarded consumer demand for

multi-brand shopping so that Defendants could hit performance metrics: “we’ve been more

focused on trying to achieve mix of marketplace targets than we have serving consumer demand

where the consumer is shopping.” On NIKE’s June 27, 2024 Earnings Call, Defendant Donahoe

stated that the Company had “spent a lot of time leaning in with our wholesale partners.” He also

stated that NIKE was “embracing a more balanced approach to growing the whole marketplace.”

       774.    DTC Supply Chain: The Company’s post-Class Period restructuring to improve

the efficiency of its supply chain supports that NIKE failed to develop an effective DTC supply

chain during the Class Period, as NIKE was then taking measures to remediate these problems.

Specifically, on October 30, 2024, NIKE announced that the Company’s Chief Supply Chain

Officer, Venkatesh Alagirisamy, would now report directly to new CEO Hill (who had taken over

as CEO two weeks before) and that Alagirisamy will become a member of NIKE’s Senior

Leadership Team. On NIKE’s December 19, 2024 earnings call, in response to an analyst’s

question about whether there were plans to make “the organizational structure around supply

chain and distribution . . . more efficient,” Hill discussed this shift in senior leadership.

Specifically, Hill responded that NIKE’s Chief Supply Chain Officer “looks [at] everything from

factory, transportation all the way through to logistics, to the consumer,” and the decision to

establish a direct reporting line between himself and the Chief Supply Chain Officer was “one of

the first leadership moves I made.”




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       I.      NIKE’s Use of Its Stock Price as a Key Metric in Executive Compensation
               Supports Defendants’ Motive and Thus Contributes to a Strong Inference of
               Scienter

       775.    The compensation of the Individual Defendants was closely tied to the performance

of the price of NIKE Stock during the Class Period. This was an unusual executive compensation

feature that motivated the Individual Defendants to artificially inflate (and/or maintain at artificial

levels) NIKE’s stock price during the Class Period—including by falsely touting the continued

success of the CDA strategy and its various key components, and by concealing adverse

information about the numerous, severe problems. 42

       776.    Prior to FY 2020, executives at NIKE received awards under NIKE’s Long-Term

Incentive Plan (“LTIP”) based on the Company meeting metrics such as revenue goals, and diluted

earnings per share. But in June 2020—the precise month Defendants announced the CDA

strategy—NIKE’s Board of Directors modified the performance metrics it used to calculate LTIP

awards it granted to certain executives, including Defendants Donahoe, Parker, Friend, and

Campion. Specifically, at that time, NIKE adopted a plan modifying the performance metrics for

these awards so that they would be earned based on the performance of the Company’s stock price

(“Absolute TSR”) relative to total shareholder return over the same period for the other companies

in the S&P 500 index (“Relative TSR”). This relative stock price metric was used to calculate


42
   See, e.g., Dan Cable and Freek Vermeulen, Stop Paying Executives for Performance, HARV.
BUS. REV. (Feb. 23, 2016), https://hbr.org/2016/02/stop-paying-executives-for-performance.
(“Contingent pay leads to cooking the books. When a large proportion of a person’s pay is based
on variable financial incentives, those people are more likely to cheat. In academic terms, we
would put it this way: extrinsic motivation causes people to distort the truth regarding goal
attainment. When people are largely motivated by the financial rewards for hitting results, it
becomes attractive to game the metrics and make it seem as though a payout is due. For example,
different studies have shown that paying CEOs based on stock options significantly increases the
likelihood of earnings manipulations, shareholder lawsuits, and product safety problems. When
people’s remuneration depends strongly on a financial measure, they are going to maximize their
performance on that measure; no matter how.”).
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executive compensation over the rolling three-year periods: 2020-2022, 2021-2023, and 2022-

2024.

        777.   Beginning in fiscal year 2022, NIKE replaced cash-based LTIP awards with

performance-based restricted stock units (“PSUs”). Like the LTIP awards, executives received

greater compensation depending on the performance of NIKE’s share price.

        778.   Thus, beginning in June 2020, Defendants Donahoe, Parker, Friend, and Campion

were incentivized to increase or maintain NIKE’s stock price to earn more compensation based on

NIKE’s LTIP and PSU programs. With these unique compensation programs as motivation, these

Defendants made numerous false and misleading statements outlined above, thereby artificially

inflating or maintaining NIKE’s Stock price at artificial levels.

        J.     NIKE’s Use of Adjusted Digital Revenue as an Executive Compensation
               Metric Supports Defendants’ Motive and Thus Contributes to a Strong
               Inference of Scienter

        779.   The compensation of Defendants Donahoe and Friend was, in part, tied to a metric

called Adjusted Digital Revenue. This fact bolsters scienter for at least two reasons.

        780.   First, because Adjusted Digital Revenue was a compensation metric, Defendants

Donahoe and Friend were motivated to closely track NIKE’s revenue generated through sales on

NIKE digital platforms and the operations underlying those sales.

        781.   Second, Defendants Donahoe and Friend were motivated to increase business in

NIKE’s DTC channels, even if that growth were unsustainable long-term, because of the

significant compensation that was closely tied to that DTC growth. According to the Company’s

proxy statements filed with the SEC on July 21, 2022 and July 20, 2023, annual cash incentive

awards for executives were tied to the Company hitting target “Adjusted Digital Revenue,”

meaning Company revenue generated through sales on NIKE digital platforms.


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       782.    In June 2021, the Company began using Adjusted Digital Revenue as a separate

metric for the first time in determining executive bonuses for FY 2022. In FY 2022 and FY 2023,

the Company set a target for Adjusted Digital Revenue. Executive compensation was based in part

on the Company’s success relative to that target.

       783.    Due to the alleged fraud detailed herein, Defendants had intentionally and

unsustainably grown NIKE’s revenue generated through its digital channels by flooding the market

with NIKE’s classic franchise products, which NIKE primarily aimed to sell through its Direct

channels. As shown in the Company’s July 20, 2023 proxy statement, this led to the Company

exceeding the Adjusted Digital Revenue goal for FY 2023, leading to an “earnout” of 137% for

executives. If Defendants had not unsustainably grown NIKE’s Digital revenue, they likely would

not have received this earnout.

       784.    Conveniently for Defendants Donahoe and Friend, according to the NIKE’s July

25, 2024 proxy statement, the Company eliminated Adjusted Digital Revenue as a metric used in

the annual cash incentive program for its fiscal year beginning in June 2023 (FY 2024). Thus, the

Class Period is the only time in which Adjusted Digital Revenue was used to calculate executive

bonuses, further supporting its highly unusual nature. Consequently, Defendants Donahoe and

Friend were motivated to unsustainably push sales through NIKE’s digital channels during the

Class Period, they materially benefited by doing so, and when the failures of NIKE’s CDA strategy

started hitting NIKE’s bottom line towards the end of the Class Period, a new compensation plan

was engineered to protect Defendants Donahoe and Friend from any downside.

       K.      Defendants Donahoe, Friend, and Parker Enriched Themselves Through
               Suspicious Insider Sales During the Class Period

       785.    Knowing all along that the CDA strategy was failing, Defendants Donahoe, Friend,

and Parker enriched themselves at the expense of NIKE investors. As explained above, while
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Defendants repeatedly touted the CDA strategy’s success to investors, they concealed adverse

information concerning the strategy’s failures. Indeed, at the same time as Defendants were

publicly touting the CDA strategy’s success, Defendants Donahoe, Friend, and Parker engaged in

a series of NIKE Stock sales during the Class Period—reaping millions in proceeds. 43 Armed with

the knowledge that the CDA strategy was not delivering sustainable growth for NIKE, these three

Defendants sold a total of 1,945,223 shares of NIKE Stock, generating proceeds of over $245

million.

       786.    Defendant Donahoe’s Suspicious Sales: During the Class Period, Defendant

Donahoe sold 105,540 shares of NIKE Stock during for $13,493,712, which contrasts with his

Control Period sales of 31,648 shares for $4,526,930. Thus, Defendant Donahoe sold more than

twice as many shares for more than three times the proceeds than he did in the Control Period.44

These sales represented a disposition of over 23% of Defendant Donahoe’s beneficial ownership

of NIKE Stock at the start of the Class Period. As detailed above, throughout the Class Period,

Defendant Donahoe knew of multiple key failures in the CDA strategy, including, notably, NIKE’s

failure to build out effective DTC technological capabilities, as was reported to him in multiple

meetings by no later than early 2022, as described by multiple CWs.

       787.    Defendant Friend’s Suspicious Sales: During the Class Period, Defendant Friend

sold 105,280 shares of NIKE Stock on the open market for $14,378,604 in proceeds, which

contrasts with his open market Control Period sales of 75,700 shares for $9,061,290. Thus,



43
   Lead Plaintiffs analyzed the trading by the Individual Defendants during the Class Period and
during the equal-length period of September 1, 2017 – March 18, 2021 (the “Control Period”).
44
   These transactions were coded with an “F” designation on Defendants’ SEC Form 4s. Such
“Code F” transactions are defined by the SEC as the “[p]ayment of exercise price or tax liability
by delivering or withholding securities incident to the receipt, exercise or vesting of a security
issued in accordance with Rule 16b-3.”
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Defendant Friend sold nearly 40% more shares during the Class Period, yielding proceeds that

exceed those sales made during the Control Period by nearly 60%. These Class Period open market

sales represented a disposition of almost 56% of Defendant Friend’s beneficial ownership of NIKE

Stock at the start of the Class Period.

       788.    In additional to these open market sales, Defendant Friend also disposed of 47,392

shares of his NIKE Stock through Code F transactions, worth $5,437,895. These Code F sales

represented an additional disposition of almost 25% of Defendant Friend’s beneficial ownership

of NIKE Stock at the start of the Class Period. In total, Defendant Friend sold 152,672 shares

during the Class Period, reaping $19,816,499 in proceeds, a disposition of approximately 81% of

Defendant Friend’s beneficial ownership NIKE Stock at the start of the Class Period.

       789.    Notably, on August 3, 2021, Defendant Friend engaged in an outsized open market

sale of 43,000 shares of NIKE Stock, resulting in over $7 million in proceeds. Defendant Friend

executed this major sale during the Class Period, after he had made false and misleading statements

as part of Defendants’ fraud, including in an April 26, 2021 speech where Defendant Friend

misleadingly touted NIKE’s pipeline of innovative products and DTC technology. Further, as

detailed above, by the time of his August 3, 2021 sale, Defendant Friend was already aware of

significant problems in the CDA strategy, including, for example that there were severe issues

with NIKE’s DTC supply chain capabilities. Critically, in making this sale, Defendant Friend

exercised vested options for NIKE Stock that did not expire until July 2025. Therefore, there was

no obvious time pressure forcing Defendant Friend to make these sales—except for his own

knowledge that the CDA strategy was a ticking timebomb.

       790.    Defendant Parker’s Suspicious Sales: During the Class Period, Defendant Parker

sold 1,661,428 shares of NIKE Stock on the open market for $208,679,987 in proceeds. These

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open market sales represented a disposition of almost 42% of Defendant Parker’s beneficial

ownership of NIKE Stock at the start of the Class Period. In additional to these sales, Defendant

Parker also disposed of 25,583 shares of his NIKE Stock through Code F transactions, worth

$3,893,946. These Code F sales represented an additional disposition of almost 0.66% of

Defendant Parker’s beneficial ownership NIKE Stock at the start of the Class Period. In total,

during the Class Period, Defendant Parker sold 1,687,011 shares, reaping $212,573,933 in

proceeds, a disposition of approximately 43% of Defendant Parker’s beneficial ownership NIKE

Stock at the start of the Class Period.

       791.    Notably, Defendant Parker engaged in several especially large and suspiciously

timed open market sales during the Class Period. Less than four months into the Class Period, after

Defendants made multiple misstatements that artificially inflated or maintained the price of NIKE

Stock, Defendant Parker sold 140,000 shares on July 8, 2021, resulting in approximately $22

million in proceeds. This sale was not made pursuant to any 10b5-1 trading plan and was

Parker’s largest one-day sale of NIKE Stock since 2015.45 In addition to a large open market sale

on July 8, 2021, the very same day Defendant Parker adopted a 10b5-1 trading plan enabling him

to sell even more shares within a matter of months. After adopting this plan, Defendant Parker

misleadingly touted NIKE’s pipeline of innovative products at NIKE’s Annual General Meeting

on October 6, 2021. Then, in a matter of weeks, on November 2 and 3, 2021, Defendant Parker

made sales pursuant to the 10b5-1 trading plan adopted on July 8, 2021. In these November 2-3,

2021 trades, Defendant Parker sold 160,000 shares for total proceeds of $27,034,362—which

constitute Defendants Parker’s largest two-day sale since 2015. Further, as detailed above, by the



45
  The Form 144 reporting the sale did not contain the representations required if the sale was
pursuant to a 10b5-1 plan.
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time of his each of these sales in July and November 2021, Defendant Parker was already aware

of significant problems in the CDA strategy, including, for example, that there were severe issues

with NIKE’s DTC supply chain capabilities.

       L.      NIKE Possessed Corporate Scienter

       792.    NIKE knowingly and/or with deliberate recklessness made, controlled, or had

ultimate authority over the materially false and/or misleading statements and omissions alleged

herein based on the fact that Individual Defendants knew and/or were deliberately reckless in not

knowing or disregarding that the Company’s statements set forth in Section V were materially

false and/or misleading, and/or omitted material facts at the times that such statements were made.

Each of the Individual Defendants was among the most senior employees of the Company

throughout the Class Period, was acting within the scope of their authority, and was a member of

the Company’s senior management. Their scienter may therefore be imputed to the Company.

Further, the scienter of other NIKE senior-level executives, including, but not limited to, Ratnakar

Lavu (former Global Chief Digital Officer), Craig Williams (President, Geographies &

Marketplace), Mary Beth Laughton (former Head of NIKE Global Direct to Consumer), DJ van

Hameren (former Chief Marketing Officer), Adam Roth (Vice President, Marketing for North

America), and Sumi Ghosh (former Global VP of Stores), who knew or recklessly disregarded

various material problems in the CDA strategy as detailed by numerous CWs and other sources,

may be imputed to NIKE under agency principles. Finally, the scienter of any other employees,

who ordered or approved the misstatements or their making or issuance, or who furnished

information or language for inclusion therein, or the like, may be imputed to the Company.




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VIII. APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-
      MARKET DOCTRINE

       793.    To the extent that Lead Plaintiffs allege that Defendants made affirmative

misstatements, Lead Plaintiffs will rely upon the presumption of reliance established by the fraud-

on-the-market doctrine in that, among other things:

               (a)    Defendants made public misrepresentations or failed to disclose material

facts during the Class Period;

               (b)    the omissions and misrepresentations were material;

               (c)    the Company’s securities traded in an efficient market;

               (d)    the misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the NIKE Stock;

               (e)    Lead Plaintiffs and other members of the Class purchased NIKE Common

Stock between the time Defendants misrepresented or failed to disclose material facts and the time

the true facts were disclosed, without knowledge of the misrepresented or omitted facts;

               (f)    NIKE Stock met the requirements for listing and was listed and actively

traded on the NYSE, a highly efficient and automated market;

               (g)    as a regulated issuer, NIKE filed periodic public reports with the SEC and

the NYSE;

               (h)    NIKE regularly communicated with public investors via established market

communication mechanisms, including regular dissemination of press releases on the national

circuits of major newswire services and other wide-ranging public disclosures, such as

communications with the financial press and other similar reporting services; and

               (i)    NIKE was followed by numerous securities analysts employed by major

brokerage firms, all of which wrote reports that were distributed to the sales force and certain
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customers of their respective brokerage firm(s) and that were publicly available and entered the

public marketplace.

        794.   As a result of the foregoing, the market for NIKE Stock promptly digested current

information regarding NIKE from publicly available sources and reflected such information in the

price of NIKE Stock. Under these circumstances, all persons and entities who or which purchased

or otherwise acquired NIKE Stock during the Class Period suffered similar injuries through their

purchase of NIKE Stock at artificially inflated prices and thus, the presumption of reliance applies.

        795.   The material misrepresentations and omissions alleged herein would induce a

reasonable investor to misjudge the value of NIKE Stock.

        796.   Without knowledge of the misrepresented or omitted material facts alleged herein,

Lead Plaintiffs and other members of the Class purchased shares NIKE Stock between the time

Defendants misrepresented or failed to disclose material facts and the time the true facts were fully

disclosed.

        797.   To the extent that Defendants concealed or improperly failed to disclose material

facts with respect to NIKE’s business, Lead Plaintiffs are entitled to a presumption of reliance in

accordance with Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 153 (1972).

IX.     NO SAFE HARBOR

        798.   The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the false and misleading statements alleged in this amended

complaint. The statements alleged to be false and misleading herein all relate to then-existing facts

and conditions.

        799.   In addition, to the extent certain of the statements alleged to be false and misleading

may be characterized by Defendants as forward-looking, those statements were not identified as


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“forward-looking statements” when made, and there were no meaningful cautionary statements

identifying important factors that could cause actual results to differ materially from those in any

purportedly forward-looking statements.

       800.    Further, to the extent certain of the statements alleged to be false and misleading

may be characterized by Defendants as forward-looking, Defendants are liable for those false

forward-looking statements because at the time each of those forward-looking statements was

made, the speaker had actual knowledge that the forward-looking statement was materially false

or misleading, and/or the forward-looking statement was authorized or approved by an executive

officer who knew that the statement was false when made.

X.     CLASS ACTION ALLEGATIONS

       801.    Lead Plaintiffs bring this federal securities class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of themselves and all persons and entities that

purchased or otherwise acquired publicly traded NIKE Class B Common Stock (NYSE: “NKE”)

(“NIKE Stock”) during the period from March 19, 2021 through October 1, 2024, inclusive, the

(“Class Period”), and were damaged thereby, except as excluded below (the “Class”).

       802.    Excluded from the Class are: (a) Defendants; (b) members of the immediate

families of any Individual Defendant; (c) the subsidiaries and affiliates of NIKE; (d) any person

who was an officer, director or controlling person of NIKE during the Class Period; (e) any entity

in which any Defendant has a controlling interest or beneficial interest; and (f) the legal

representatives, heirs, successors or assigns of any such excluded person or entity, in their

capacities as such.

       803.    The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Lead Plaintiffs at this


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time and can only be ascertained through appropriate discovery, Lead Plaintiffs believe that there

are thousands of members in the proposed Class. Indeed, as of December 27, 2024, NIKE had 1.18

billion outstanding shares of NIKE Stock.

       804.    Members of the Class may be identified from records maintained by NIKE or its

transfer agent and may be notified of the pendency of this Action by mail, using a form of notice

customarily used in securities class actions.

       805.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class, including:

               (a)        whether the federal securities laws were violated by Defendants’ respective

acts as alleged herein;

               (b)        whether the statements made by Defendants were materially false or

misleading, or omitted material facts;

               (c)        whether Defendants acted knowingly or with deliberate recklessness in

making false or misleading statements, omitting material facts, or engaging in deceptive conduct;

               (d)        whether Defendants engaged in a scheme to defraud investors or otherwise

engaged in actionable deceitful conduct;

               (e)        whether the prices of NIKE Stock during the Class Period were artificially

inflated and/or artificially maintained because of Defendants’ conduct complained of herein; and

               (f)        whether the members of the Class have sustained damages and, if so, what

is the proper measure of damages.

       806.    Lead Plaintiffs’ claims are typical of the claims of other members of the Class and

sustained damages arising out of Defendants’ wrongful conduct in violation of the Exchange Act

as alleged in this amended complaint.

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        807.    Lead Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class actions and securities

litigation. Lead Plaintiffs have no interests antagonistic to, or in conflict with, those of the Class.

        808.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since joinder of all members of the Class is impracticable.

Furthermore, because the damages suffered by the individual Class members may be relatively

small, the expense and burden of individual litigation makes it impractical for the Class members

individually to redress the wrongs done to them. There will be no difficulty in the management of

this Action as a class action.

        809.    Lead Plaintiffs will rely, at least in part, on the presumption of reliance established

by the fraud on the market doctrine. All purchasers of NIKE Stock during the Class Period suffered

similar injuries, including injury through their purchase of NIKE Stock at artificially inflated prices

and/or artificially maintained prices. A presumption of reliance therefore applies.

                                         COUNT I
 For Violations of Section 10(b) of the Exchange Act and SEC Rule 10b-5(b) Promulgated
                            Thereunder Against All Defendants

        810.    Lead Plaintiffs reallege, incorporate, and repeat each allegation above as if fully set

forth herein.

        811.    This Count is brought under § 10(b) of the Exchange Act, 15 U.S.C. § 78j(b) and

Rule 10b-5(b) promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5(b), against Defendants

NIKE, Donahoe, Friend, O’Neill, Campion, and Parker.

        812.    Defendants made untrue statements of material fact and/or omitted material facts

necessary to make the statements made not misleading in violation of § 10(b) of the Exchange Act

and Rule 10b-5(b) promulgated thereunder.


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       813.     Defendants acted with scienter in that they knew or recklessly disregarded that the

public documents and statements issued or disseminated in the name of or attributable to NIKE

were materially false and misleading and would be issued or disseminated to the investing public.

       814.     In ignorance of the false and misleading nature of Defendants’ statements and

omissions, and relying directly or indirectly on those statements or upon the integrity of the market

price for NIKE Stock, Lead Plaintiffs and other members of the Class purchased NIKE Stock at

artificially inflated prices during the Class Period. But for Defendants’ fraud, Lead Plaintiffs and

members of the Class would not have purchased NIKE Stock at such artificially inflated prices.

       815.     As set forth herein, when adverse, previously undisclosed facts concerning the

Defendants were disclosed and/or when previously concealed risks materialized, the price of NIKE

Stock declined precipitously, and Lead Plaintiffs and members of the Class were harmed and

damaged as a direct and proximate result of their purchase of shares of NIKE Stock at artificially

inflated prices and the subsequent decline in the price of NIKE Stock.

       816.     By virtue of the foregoing, Defendants are liable to Lead Plaintiffs and members of

the Class for violations of Section 10(b) of the Exchange Act and SEC Rule 10b-5(b) promulgated

thereunder.

                                         COUNT II
 For Violations of Section 20(a) of the Exchange Act Against the Individual Defendants as
                                  Control Persons of NIKE

       817.     Lead Plaintiffs reallege, incorporate, and repeat each allegation above as if fully set

forth herein.

       818.     This Count is brought under § 20(a) of the Exchange Act, 15 U.S.C. § 78t(a),

against Defendants Donahoe, Friend, Parker, O’Neill, and Campion.




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       819.    Defendants Donahoe, Friend, Parker, O’Neill, and Campion, by reason of their

status as senior executive officers and/or directors of NIKE, directly, or indirectly controlled the

conduct of NIKE’s business and its representations to the public, within the meaning of § 20(a) of

the Exchange Act.

       820.    Defendants Donahoe, Friend, Parker, O’Neill, and Campion knew or recklessly

disregarded the fact that NIKE’s representations were materially false and misleading and/or

omitted material facts when made. In doing so, Defendants Donahoe, Friend, Parker, O’Neill, and

Campion did not act in good faith.

       821.    By virtue of their high-level positions and their participation in and awareness of

NIKE’s operations and public statements, Defendants Donahoe, Friend, Parker, O’Neill, and

Campion were able to and did influence and control NIKE’s decision-making, including

controlling the content and dissemination of the misrepresentations and other deceptive conduct,

that Lead Plaintiffs and the Class contend artificially inflated and/or artificially maintained the

price of NIKE Stock.

       822.    Defendants Donahoe, Friend, Parker, O’Neill, and Campion had the power to

control or influence the statements made and conduct engaged in, giving rise to the securities

violations alleged herein, as set forth more fully above.

       823.    By virtue of their positions as controlling persons of NIKE, Defendants Donahoe,

Friend, Parker, O’Neill, and Campion are also liable pursuant to § 20(a) of the Exchange Act. As

a direct and proximate result of Defendants Donahoe, Friend, Parker, O’Neill, and Campion’s

wrongful conduct, Lead Plaintiffs and the Class suffered damages in connection with their

purchase of NIKE Stock during the Class Period.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Lead Plaintiffs, and on behalf of the other members of the Class, demand

judgment against Defendants as follows:

       A.      Determining the instant Action to be a class action properly maintained pursuant to

Rule 23 of the Federal Rules of Civil Procedure, and certifying Lead Plaintiffs as Class

Representatives and Labaton Keller Sucharow LLP as Class Counsel;

       B.      Requiring Defendants to pay damages sustained by Lead Plaintiffs and the Class

by reason of the acts alleged herein;

       C.      Awarding Lead Plaintiffs and the other members of the Class prejudgment and

post-judgment interest, as well as their reasonable attorneys’ fees, experts’ fees, and other costs

and disbursements; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

       Lead Plaintiffs hereby demand a trial by jury of all issues so triable.



DATED: February 10, 2025                      Respectfully submitted,

                                              /s/Irina Vasilchenko
                                              Irina Vasilchenko

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                                    Liaison Counsel for Lead Plaintiffs and the Proposed
                                    Class




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